 xurlv Auditor's
                           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 1 of 479
                   Form 40- iC
 iarris County. Texas   ( REV   09 /07)                                                                                                INSTRUCTIONS
        ' . ATTORNEY FEES EXPENSE CLAIM                                                        Show only one defendant per claim.                               L y
            DISTRICT COURTS-CAPITAL CASE                                                       Before payment can be authorized , each item must be complet /d legibly in (pk .
            '
            jNDER ARTICLE 26 05, CODE OF CRIMINAL PROCEDURE
                              AS AMENDED                                                       Forward completed claim to the presiding judge for approval.
Court No.                                            Defendant Name
                     /77                                                                                                                                 I 3Z3L 3S
                                                                                                                                                           TOTAL
                                                                                                        Number of Court                                                          AMOUNT
                                    CAPITAL CASE                                                          Days/Hours
                                                                                                                                       RATE            ( presumptive
                                                                                                                                                                              (Judge Completes )
                                                                                                                                                         maximum )

                                                 Non-Trial Appearance                                                           S400/day
   DEATH CAPITAL Voir Dire                                                                                                      S600/day
    - 1ST CHAIR  Trial /Hearing with Testimony                                                                                 S800/day
                                                 Out-of-Court Hours*                                                           S100/hour              SI 2,000
                                                 Non-Trial Appearance                                                           S400/day
   DEATH CAPITAL Voir Dire                                                                                                      S500/day
     2 ND CHAIR  Trial /Hearing with Testimony                                                                                  S700/day
                                                 Out -of-Court Hours*                                                           S80/hour               S9,600
                Includes all fees except investigation costs,
                                                                                                                                       1 ST
                expert witness fees, and witness travel costs.                                                                     CHAIR
                                                                                                                                                       S35,000
  DEATH CAPITAL
                Flat rate applies only if testimony begins in
    FLAT RATE
                the guilt/ innocence phase of trial.                                                                                2 ND
                                                                                                                                                       $30,000
                                                                                                                                   CHAIR
                Otherwise, the daily and hourly rates apply.
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       NON-DEATH                                 ^
                                            1' omTrial Appearance
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           CAPITAL
                                             l <5ut-of-Court Hours*
                                                               SI 00/hour                             17&K                                             S5,000            //776.* 6
                Bills submitted by investigators and experts must document
  INVESTIGATION
                the dates and hours spent on the case and must be sworn to
     EXPERT     or affirmed to as accurate. Expert expenses paid per
       TESTIMONY                                 County policy.

MENTAL HEALTH SUPPLEMENT *                                                         ^.                                           S50/hour                S250
BILINGUAL SUPPLEMENT                                                                                                            S50/day                 S250
AFTER HOURS SUPP. (Trial /Hearing after 6:00 pm )                                                                               S50/hour
OTHER
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*Must detail on Out-Of-Court Hours Log. /
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 the information contained above
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                                                     swear or affirm that the Harris County Auditor may rely
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                                   io make payment according to the fee schedule adopted by the Board of District
 Judges  Trying  Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or affirm
 that I have not received nor will I receive anything of value for representing the accused , except as otherwise


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 disclosed to the Court in writina
 SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                                                         BA Y OF
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 Approved                                                     n.    Judge , Presiding                                         s.
                                                                                                                                                          Attorney at Law (Signature)

                                                 District Clerk Deputy (Signature )                                                                     Attorney0002393
                                                                                                                                                                Name ( print legibly)
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                  Case- 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 2 of 479
County Auditor's Form 40 1L
Harris County, Texas (09/07)
                                   OUT OF COURT HOURS LOG
Court Number                   Case Number                         Defendant’s Name

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                                              , swear or affirm that the Harris County Auditor may rely upon the
  information contained above to make payment according to the fee schedule adopted by the Board of District
  Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
  affirm that I have not received nor will I receive anything of value for representing thp accused, except as
  otherwise disclosed to the Courp*rtfntmgi
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                                                                   Judge , Presiding

                                                                    >uty ( Signature )

                                                                                             COURT
                                                                                                                                             Law (Signature )

                                                                                                                                Attorney Name (print legibly)
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Cciynty Auditor's Case
                  Form 4Q-Tt~-
                           4:17-cv-03621                      Document 89-8 Filed on 01/05/23 in TXSD Page 3 of 479
Hams County. Texas (09/07)
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Court Number                     Case Number                             Defendant's Name

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                                                                                   , swear or affirm that the Harris County Auditor may rely upon the
 information contained above to make payment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art . 26.05. I further swear or
 affirm that I have not received nor will I receive anything of value for representing tjje accused, except as
 otherwise disclosed to the CqurfTn writin;                                                                   ~
 SWORN TO AND.                                           ; ED     BEFORE ME ON THIS THE                                                                         Y OF               I                             A. D. 2   [rf
  Approved              /                                M2
                                                                       Judge, Presiding                                                                                                       Attorney at Law (Signature)
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                                        District Clerk Deputy (Signature)                                                                                                                ^ f
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                                                                                                                                                                                          A to>                Name (print legibly)
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                              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 4 of 479

     Defcndnul ' s Name
     A l l o r n c y Nnme; _ j         fcgagn                                          Cause No /
                                                                                    Performed by:
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                                               ATTORNEY FEES EXPENSE CLAIMwCIIliCICaMV ., '.V . -
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                                        CAPITALS CAPITAL APPEALS & J i,0 71 WILtffg QF
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             1)           Conlirmcd corrcci courl number on claim?                                                                                                                    -l
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             2)           Confirmed corrcci defendant ' s name on claim?

             J)           Confirmed corrcci cause number on claim?
         d)               Mulliple eases on claim form ?                                                                                                                                     •:

         5)               NoivDeaih Cnpilal Cast ?                                                                           circle ono:                                ff ' lMfeii
(
         6)               Dcnili Case ?                                                                          Please circle one: ItJlspastjd ’-ljlyfjYKiaT or             -    Plea
                                                                                     j   .
         7)               Same offense throughout LQY 9 history ?




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         0)           Cnpilal - Appeal ?




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        9)                11.07 | Writ ?
                                                                                                                                O /Crt Hours
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        10)           Service dales before January I 2002 ?                                                                     117.75 x $ 100
                                                                                                                                 $      11,775.00
        II )          Corrcci claim form jubmiiicd for p & ymcnl ?


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        12 )          Allorncy Appoinimcnl Order in ease hisilory on



        13 )
                      LQY 9 screen in JIMS ?
                      Allorney approved for capilal appointment m FDAMS 7
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                                                                                                      ss                       NT appearance
                                                                                                                                8 x $400
                                                                                                                                 $       3,200.00
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        M)            Dates of court appearances listed on claim ?                                                               TRL appearance
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                      n. Confirmed wjih history In the LQY 8 screen ?
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                      form completed and allached ?
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                      a.      Is   U   mnllicmmically       accuraie ?
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                      b. Docs it malcli days /hours lisied on the claim ?                                                                  11,775.00 O / CrtHrs _
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                      On 11.07 | Wriis js ihc Appointed Counsel Hourly Worksheet
                                                                                                                                  Total
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                      completed detailing services performed, dales, and times attached ?
                                                                                                                                  $     18,175.00
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                      n.      Arc llie hours maihcmnucally accurate ?                                           DL:                                                                          —.   4
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                      b. Dots it match the amount requested on the claim ?                         0            o\nlA
        17 )          If an I 1.07 | Writ, is the cloim eligible for reimbursement from the stale ?
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                      If no. why rial
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        18 )          Are expenses requested on claim?                                             0"^
                                                     off




        19 )          Expense invoices allached ?                                                               B7
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        20)           Do Ihc expense invoices detail services performed, dales und limes ?
                                                                                                                B\
                      a.      Is ii mnihcmalically accuraie ?                                      a             WA-
                      b       Does     il   malcli ihc   amount     requested on the claim ?
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        2 1)          Is w-niicn courl approval for expenses allached ?                            s-  "'        _
        22 )          Is die expense nmounl on the claim equal lo or less Ilian
                      the amount approved by the court ?                                           B7
        23 )          Correct counly mileage rale used ?
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        2 -1 )        Corrcci claim line iicm used              1
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        25 )          Claim                     -
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                      If claim is lolnled is il malhemnlically accurate ?                                                                         .   n»  ..
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    Allorncy Expense: J                      r. *
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    Expert Expense:           J                                                          TOTAL REQUESTED: S
    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 5 of 479




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                                                                           ler
                                           NO. 1383638




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i
THE STATE OF TEXAS                            §               IN THE DISTRICT COURT OF




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                                              §
v.s.                                                          HARRIS COUNTY, TEXAS




                                                                  ist
                                                             sD
RANDY ALLEN SEGURA                            §               177TH JUDICIAL DISTRICT


                                                                                         I
               MOTION FOR PAYMENT OUTSIDE PRESUMPTIVE MAX




                                                           es
TO THE HONORABLE JUDGE OF SAID COURT:




                                                         rg
                                                     Bu
               COMES NOW, R.P. CORNELIUS, attorney of record for RANDY ALLEN
SEGURA, and respectfully files this Motion For Payment Outside Presumptive Max and would




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show the Court the following:

                                              ari I.
                                           fM
       Counsel was appointed to represent this defendant on April 24, 2013. Said defendant was
                                       eo


charged with capital murder, aggravated assault, and assault on a public servant.
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       Counsel has made a multitude of non-issue court appearances on this matter but seeks
payment for only eight (8).
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       Counsel spent a very significant amount of time preparing this matter for trial and directed
                    ffic




a very extensive investigation.
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                                                  IV.
               Un




       Counsel is seeking payment for a total of 117.75 out-of-court hours on this matter.
                                                  V.
       Counsel spent (19.25) hours of out-of-court time in personal conversation or written
communication with defendant; (.75) hours of out-of-court time with defendant’s family and
                                   -
witnesses; (33.75) hours of out-of court time reviewing documents; (41.00) hours of out-of-court
time preparing for trial or on legal research; and (23.00) hours of out-of-court time in negotiations
and conversations with the prosecutors, communicating with the Court, or in conference with or
directing Counsel’s private investigator in this matter.             F Chris
                                                                       I LDaniel
                                                                             ED
                                                                         District Clerk
                                                                        JAN 2 0 2015
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                                                                         Harris County Texas
                                                                                               0002397
   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 6 of 479




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       WHEREFORE PREMISES CONSIDERED, appointed counsel respectfully requests this




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Honorable Court to order payment for 117.75 out of-court hours in the matter.




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                                                             lly submitted,




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                                                          sD
                                                        es
                                                    R.P/ CORNELIUS
                                                    2028 Buffalo Terrace




                                                       rg
                                                    Houston, Texas 77019




                                                   Bu
                                                    (713) 237-8547
                                                    State Bar No. 04831500
                                                    ATTORNEY FOR DEFENDANT




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   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 7 of 479




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                                        NO. 1383638
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                                                                      tC
THE STATE OF TEXAS                           §             IN THE DISTRICT COURT OF




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                                             §
V.S.                                         §             HARRIS COUNTY, TEXAS




                                                               ist
                                             §




                                                           sD
RANDY ALLEN SEGURA                           §             177TH JUDICIAL DISTRICT
                                             ORDER




                                                         es
       On this                      day of           l                 , 2014, came on to be heard




                                                        rg
                                                    Bu
appointed trial counsel’s Motion For Payment Outside Presumptive Max.
       Said motion is hereby granted/denied and IT IS ORDERED that appointed trial counsel is




                                                lyn
to be paid         hours for out-of-court time spent on this matter.

                                             ari
                                        fM
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                                 ffic



                                             177TH DISTRICT COURT
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                      - . 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 8 of 479
 roumy Auditor's Form 40 1 &
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 Jams County Toun ( RtfV 07/10)                                          INSTRUCTIONS
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         ATTORNEY FEES EXPENSE OLAIMN.
      DISTRICT COURTS-COURT APPEARANCE                                      Before payment can be authorized , each item must be comp!
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       UNDER ARTICLE 26.05 CODE OF CRIMINAL          PROCEDURE              Forward completed claim to the presiding judge for approval .
                                  AS AMENDED               \
Court No. Defendant Name                                       -   .                   Case Number(s)                           Charge(s)
     / 77                                                                                  HZ-775 /
                                                                                        Number of Court                             TOTAL                  AMOUNT
       INDIVIDUAL CASE APPOINTMENT                                                        Days/ Hours
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                                  l furst Degree                                                              $225/day            *$ 1,125
      NON-TRIAL                       Second Degree                                                           $175/day             *$875
                                      Third Degree, SJF, MRP/MAJ                                              $125/day             *$625
                                      First Degree                                                            $500/day
           TRIAL                      Second Degree                                                           $400/day

                                      Third Degree, SJF, MRP/MAJ                                              $300/day
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INVESTIGATION Bills submitted by investigators and experts must                                                                 $600/case
                    document the dates and hours spent oh the case and
     EXPERT         must be sworn to or affirmed to as accurate. Expert
                                                                                                                                $650/case
  TESTIMONY expenses paid per County policy.
MENTAL HEALTH SUPPLEMENT (Must detail on
Out Of Court Hours Log.)                                          $50/hour                                                         $250
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BILINGUAL SUPPLEMENT                                                                                          $ 50/day            $250
AFTER HOURS SUPP. (Trial/Hearing after 6:00 pm)                                                               $50/hour
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*The presumptive maximum number of non trial settings beyond a term assignment is four
List date(s) of all Court Appearances. Attach any Out-of-Court Hours Log.
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                                              , swear or affirm that the Harris County Auditor may rely upon the
 information contained above to make payment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Tex. Code Crim. P. Art. 26.05. I further swear or affirm that I have
 not received nor will I receive anything of value for representing the accused, except as otherwise disclosed to
 the Court i   iting.
 I      did/pid not/ receive this appointment originally as a limited term assignment.
           (Circl           le)                                                                                              ( Attorney Initials)
 SWORN TO AND SUBSCRIBED                                    |      RE ME ON THIS THE                      i         iY OF                            A.D. 20      /  l
 Approved                rz                            Judge, Presiding                                                                                     <«>
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                                                                                                                                     Attorney Name (print legibly)

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County Auditor's Case    4:17-cv-03621
                                            OUT Document 89-8 Filed on 01/05/23 in TXSD Page 9 of 479
                 Form 40-11
Harris County. Texas (09/07)                    OF COURT              HOURS LOG
Court Number                         Case Number                       Defendant' s Name

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    Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art . 26.05 . I further swear or
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    otherwise disclosed t ielpourt in writing.
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   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 10 of 479




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                                                                      C
                                           NO. 1327734




                                                                      t
THE STATE OF TEXAS




                                                                  ric
                                               §               IN THE DISTRICT COURT OF
                                               §
v.s.




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                                                               HARRIS COUNTY, TEXAS
                                               §




                                                             D
ANGELICA SERRANO                               §               177TH JUDICIAL DISTRICT




                                                          ss
                 MOTION FOR PAYMENT OUTSIDE PRESUMPTIVE MAX




                                                        rge
TO THE HONORABLE JUDGE OF SAID COURT:




                                                    Bu
                 COMES NOW, R.P. CORNELIUS, attorney of record for ANGELICA SERRANO,




                                               lyn
and respectfully files this Motion For Payment Outside Presumptive Max and would show the Court
the following:
                                            ari    L
                                         fM
        Counsel was appointed to represent this defendant on November 21, 2011. Said defendant
                                     eo


was charged in this case with murder, a first degree felony.
                                  ffic




                                                   n.
                               yO




       Counsel spent a significant amount of time preparing this matter for trial. However, on trial
                            op




date the case was dismissed.
                        lC




                                                   m.
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       Counsel is seeking payment for a total of 34.75 additional out-of-court hours on this matter.
(Counsel has been paid for five (5) court settings on a previous voucher, as well as for twenty
                  off




(20) out of court hours).
              Un




                                              IV.
       Said additional time includes (5.50) hours of out-of-court time in jail visits and written
correspondence with defendant, (5.25) hours of out-of-court time researching records, (11.25) hours

         -
of out-of court time in conference with the District Attorney or court personnel, and (12.75) hours
of out-of-court time researching legal matters and preparing for trial.



                                                                         F Chris
                                                                           I LDaniel
                                                                                 ED
                                                                          District Clerk
                                                                          MAY 1 2 2014
                                                                Time:.
                                                                          Harris County, Texas
                                                                By.
                                                                               Deputy
                                                                                                 0002402
  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 11 of 479




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       WHEREFORE PREMISES CONSIDERED, appointed counsel respectfully requests this




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Honorable Court to order payment for 34.75 out-of-court hours in the matter.




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                                                   Respectfully submitted,




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                                                   R.P. CORNELIUS
                                                   2028 Buffalo Terrace
                                                   Houston, Texas 77019




                                                Bu
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                                                   (713) 237 8547
                                                   State Bar No. 04831500




                                             lyn
                                                   ATTORNEY FOR DEFENDANT


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          Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 12 of 479




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                                                      NO. 1327734




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        THE STATE OF TEXAS




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                                                           §             IN THE DISTRICT COURT OF
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        V.S.                                               §             HARRIS COUNTY, TEXAS
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        ANGELICA SERRANO                                   §             177TH JUDICIAL DISTRICT




                                                                     ss
                                                           ORDER




                                                                    rge
               On this          ZZ                day of
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                                                               /    Uy            , 2014, came on to be heard




                                                                   Bu
        appointed trial counsel’s Motion For Payment Outside Presumptive Max.




                                                            lyn
               Said motion is hereby granted/denied and IT IS ORDERED that appointed trial counsel is
        to be paid       7                  - -
                             ) hours for out of court time spent onJhfsTTase.
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                                                           RYAN PATRICK, JUDGE
                                                           177TH DISTRICT COURT
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Harris Counly, TX ( REV. 1 (13)                                                                                        INSTRUCTIONS
          ATTORNEY FEES EXPENSE CLAIM                                            Show only one defendant per claim.
       DISTRICT COURTS-COURT APPEARANCE                                          Before payment can be authorized , each item must be completed legibly in ink.
       UNDER ARTICLE 26.05. CODE OF CRIMINAL PROCEDURE
                                     AS AMENDED                                  Forward completed claim to the presiding judge for approval.




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Court No. Defendant Name                                                                    Case Number(s)                          Charge(s)
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                                                                                             Number of Court                            TOTAL                     AMOUNT
       INDIVIDUAL CASE APPOINTMENT                                                             Days/Hours
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                                          First Degree                                                           $225/day              *$1125
      NON TRIAL  -                    l Second Degree
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PRE-TRIAL HEARING WITH TESTIMONY & PSI
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Court Hours Log.)                      Third Degree , SJF, MRP/MAJ                                               $40/ hour     •       $400

INVESTIGATION Bills submitted by investigators and experts must                                                                     $600/'case
                   document the dates and hours spent on the case and
                    must be sworn to or affirmed to as accurate. Expert
EXPERT                                                                                                                              $650/case
                   expenses paid per county policy.
MENTAL HEALTH SUPPLEMENT (Must detail on
Out-Of-Court Hours Log. )
                                                                  $50/hour                                                             $250
BILINGUAL SUPPLEMENT                                               $50/day                                                             $250
AFTER HOURS SUPP. (Trial / Hearing after 6:00 pm)                                                               $50/ hour
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*The presumptive maximum number of non-trial settings beyond a term assignment is four

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                                         y , swear or affirm that the Harris County Auditor may rely upon the information contained
                                        fee schedule adopted by the Board of District Judges Trying Criminal Cases pursuant to Tex.
Code Crim. P. art. 26.05. I further swear or affirm that I have not received nor will I receive anything of value for representing the
accusejLgxcept as otherwise disclosed to the Court in writing.
I «id / i not        «e this appointment originally as a limited term assignment.
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                              Attorney at Law (Signature )                                                       Attorney Name ( print legibly )

 SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                          DAY OF        tjJL                               A. D. 20


                                                 District Clerk Deputy (Signature)
The above            fees,
                including any fees which exceed the presumptive maximum fees set forth herein were reviewed by this court and
determined to be both reasonable and necessary and are hereby apj             y 11 iCTrtr

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                  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 14 of 479
    Hams County, Texas (09/07)
                                             OUT OF COURT HOURS LOG
    Court Number                       Case Number                   Defendant' s Name
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        SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                                       Y OF                   A. D. 20     H
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                                              District Clerk Deputy ( Signature )                                                              0002406
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Hurts County. Texas ( REV . 07/ 10)                                                  INSTRUCTIONS
                                                                             Show only one defendant per claim.
         ATTORNEY FEES EXPENSE CLAIM
      DISfRiCT COURTS-COURT APPEARANCE                                       Before payment can be authorized, each item must be completed legibly in ink.
       UNDER ARTICLE 26.05. CODE OF CRIMINAL PROCEDURE
                                                                             Forward completed claim to the presiding judge for approval.
                         AS AMENDED

Court No. Defendant Name                                                                Case Number( s)

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      NON-TRIAL                            Second Degree                                                     $175/day               *$875           HcD
                                           Third Degree, SJF, MRP/MAJ                                        $125/day               *$625
                                           First Degree                                                      $500/day

            TRIAL                          Second Degree                                                     $400/day
                                           Third Degree, SJF, MRP/MAJ                                        $300/day
PRE-TRIAL HEARING WITH TESTIMONY & PSI                                                                            V -


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HEARING
OUT OF COURT                               First Degree                                                      $85/hour              $1,700
HOURS (Must
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detail on Out-Of-
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INVESTIGATION Bills submitted by investigators and experts must                                                                  $600/case
                   document the dates and hours spentdjp the case and
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Out-Of-Court Hours Log.)
                                                                 $50/hour                                                           $250

BILINGUAL SUPPLEMENT                                                                                         $ 50/day               $250
AFTER HOURS SUPP. (Trial/Hearing after 6:00 pm)                                                              $50/hour
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  I f didr did not receive this appointment originally as a limited term assignment.                                                            C
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  Approved
                                                                Judge, Presiding                                                            Attorney at Law (Signature)

                                              District Clerk Deputy (Signature)                                                                   0002407
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                   -
              Case 4:17-cv-03621
County Auditor's Form 40 1L      Document 89-8 Filed on 01/05/23 in TXSD Page 16 of 479
Harris County. Texas (09/07)
                                OUT OF COURT HOURS LOG
 — — Case Number
CourLNumber

W /WHL
                                                    Defendant's Name


                                                               JAIL VISIT(S)
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  otherwise disclosed to the      in writing.
  SWORN TO AND                              ED BEFORE ME ON THIS THE                                                  A.D. 20

  Approved
                                                   Judge, Presiding                                         Attorney at Law (Signature)

                                  District Clerk Deputy ( Signature )                                     Attorney Name ( print legibly )
                                                                                                                  0002408
                                                                            COURT
Itoumy Auditor's Form 40Case
                        - iC 4:17-cv-03621 Document
                                                ~~T 89-8 Filed on 01/05/23 in TXSD Page 17 of 479
I Harris Coumy. Tens (REV 09/07)                                'T                                                 INSTRUCTIONS
              ATTORNEY FEES EXPENSE CLAIM                                     Show only one defendant per claim.                                         Q Q.
              DISTRICT COyRTS-CAPITAL C SE (
           UNDER ARTICLE 26.05, CODE OF CRLMINAL PROCfe&U&L
                      1
                                   AS AMENDED
                                                           ^                  Before payment can be authorized, each item must be completed legibly in

                                                                              Forward completed claim to the presiding judge for approval.
                                                                                                                                                         mkVv
 Court No.
                   m                       Defen

                                                                                       Number of Court                                 TOTAL
                                                                                                                                                          YU
                                                                                                                                                            AMOUNT
                              CAPITAL CASE                                               Days/Hours
                                                                                                                   RATE             (presumptive
                                                                                                                                                         (Judge Completes)
                                                                                                                                     maximum )

                                             -
                                         Non Trial Appearance                                                 $400/day
    DEATH CAPITAL Voir Dire                                                                                   S600/day
      1ST CHAIR   Trial /Hearing with Testimony                                                               $800/day
                                         Out-of-Court Hours*                                                 SI 00/hour            $12,000
                                             -
                                         Non Trial Appearance                                                 S400/day
   DEATH CAPITAL Voir Dire                                                                                    S500/day
     2ND CHAIR   Trial/Hearing with Testimony                                                                 S700/day
                                         Out-of-Court Hours*                                                  S80/hour              $9,600
                                         Includes all fees except investigation costs,
                                                                                                                   1 ST
                                                                                                                                    $3,5,000
   DEATH CAPITAL
                                         expert witness fees, and witness travel costs.                    yfcHAIR
                 Flat rate applies only if testimony begins in
     FLAT RATE
                 the guilt/innocence phase of trial.                                                            2 ND
                                                                                                                                    S30,000
                                                                                                               CHAIR
                 Otherwise, the daily and hourly rates apply.

        NON- DEATH
                                    i Non-Trial Appearance                                V                  S400/day               $3,200
                                         Trial/Hearing with Testimony                                        S800/day                                         006
            CAPITAL


[ INVESTIGATION
                                         Out-of-Court Hours*
                                         Bills submitted by investigators and experts must document
                                                                                                             SI 00/hour             $5 ,000          J I iS  .
 ^                                       the dates and hours spent on the case and must be sworn to
          EXPERT                         or affirmed to as accurate. Expert expenses paid per
        TESTIMONY                        County policy.

 MENTAL HEALTH SUPPLEMENT*                                                                                    $5 0/hour               S250
 BILINGUAL SUPPLEMENT                                                                                          $50/day                $250
 AFTER HOURS SUPP. (Trial/Hearing after 6:00 pm)                                                              $50/hour
 OTHER
                                                                                                                            TOTAL
|*Must detail on Out-Of-Court Hours Log.
                                                                                                                                                                           3S
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   71 :             SUtfi,' sMni                                                                                                                                      (P
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                                                                 PERSONAL INFORMATION                                                                                its
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                                                                                                                                                                     III
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                                                           ’"yT: *2373                                                    Bar
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                                              uite City,
                                                            (


                                                                       CERTIFICATION
                                                                                             ^           7                                                           I ii
                                                                                                                                                                                I

                       L4 JColUi4UlUS                , swear or affirm that the Harris County Auditor may rely upon
   the information contained above to make payment according to the fee schedule adopted by the Board of District
   Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or affirm
   that I have not received nor will I receive anything of value for representing the accused, except as otherwise
   disclosed to the C
   SWORN                                           ON THIS THE                                             20                                                      $—
   Approved


                                         District
                                                           Judge, Presiding

                                                        Deputy (Signature )
                                                                                              dPCtHt&U' X                                    mey at Law ( Signature)

                                                                                                                                                0002409
                                                                                                                                      Attorney Name (print legibly)
      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 18 of 479
                                                                                                iW 9>




                                                                                k
                                                                            ler
                                                                            tC
                                               NO. 1278256




                                                                         ric
THE STATE OF TEXAS                               §             IN THE DISTRICT COURT OF
                                                 §




                                                                     ist
V.S.                                                           HARRIS COUNTY, TEXAS
                                                 §




                                                                sD
ANDRE JAMAL SLOAN                                              248TH JUDICIAL DISTRICT




                                                              es
                 MOTION FOR PAYMENT OUTSIDE PRESUMPTIVE MAX




                                                            rg
TO THE HONORABLE JUDGE OF SAID COURT:




                                                        Bu
                 COMES NOW, R.P. CORNELIUS, attorney of record for ANDRE JAMAL




                                                    lyn
SLOAN, and respectfully files this Motion For Payment Outside Presumptive Max and would show



                                                 ari
the Court the following:
                                               fM    I.
          Counsel was appointed to represent this defendant on September 21, 2010. Said defendant
                                           eo


was charged with capital murder. The State did not seek the death penalty.
                                          ffic



                                                     n.
                                         yO




                                                      -
          Counsel has made a total of nine (9) non issue court appearances on this matter, but seeks
                                     op




payment for only eight (8); and five (5) trial appearances.
                                lC




                                                     III.
                         icia




          Counsel spent a very significant amount of time preparing this matter for trial.
                                                     IV.
                     off
                 Un




                                                               --
          Counsel is seeking payment for a total of 121.50 out of court hours on this matter.
                                                     V.

                                                 - -
          Counsel spent (12.00) hours of out of court time in personal conversation or written
communication with defendant; (3.75) hours of out-of-court time in actual conversation with family

                                                               - -
of defendant in preparation for trial; (31.75) hours of out of court time reviewing documents;

                       --
(52.50) hours of out of court time preparing for trial or on legal research; and (21.50) hours of out-

  -
of court time in negotiations and conversations with prosecutors, conferences with private
investigators,
                 ^^c   nfflUnijgtiigwith the Court and the Court’s personnel.
                    Chris Dame!
                   District Clerk
                   JUN 2 7 2012
        Tune
                  Herns C U« ,:v 1
                                  exas
       By .                                                                                  0002410
.   -sCase 4:17-cv-03621    Document 89-8 Filed on 01/05/23 in TXSD Page 19 of 479




                                                                          k
                                                                      ler
            WHEREFORE PREMISES CONSIDERED, appointed counsel respectfully requests this




                                                                    tC
        i




Honorable Court to order payment for 121.50 out-of-couit hours in the matter.




                                                                 ric
                                                             ist
                                                         sD
                                                       es
                                                   R.P. CORNELIUS
                                                   2028 Buffalo Terrace




                                                      rg
                                                   Houston, Texas 77019
                                                             -



                                                  Bu
                                                   (713) 237 8547
                                                   State Bar No. 04831500
                                                   ATTORNEY FOR DEFENDANT




                                              lyn
                                           ari
                                       fM
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                                  ffic
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                    offic
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  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 20 of 479


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                                                                                            C
                                         NO. 1278256
                                                                                                 ^




                                                                    tC
THE STATE OF TEXAS                           §           IN THE DISTRICT COURT OF




                                                                 ric
V.S.                                                     HARRIS COUNTY, TEXAS




                                                             ist
                                             §




                                                         sD
ANDRE JAMAL SLOAN                                        248TH JUDICIAL DISTRICT
                                             ORDER




                                                       es
                       2 7 2012
       On this                      day of                          2012, came on to be heard




                                                        rg
                                                    Bu
appointed trial counsel’s Motion For Payment Outside Presumptive Max.
       Said motion is» hereby granted/denied and IT IS ORDERED that appointed trial counsel is




                                                lyn
to be paid               for out-of -court time

                                             ari
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                                                                                      0002412
  \
                    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 21 of 479


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    n aan ’ sNanK
PeitnflQm                           -SfslAAlj $* / / /% 3. Cause No . / f&jL&AJzZ
                                    6
                                                               (                                                             D&tet -6 ?                                                       *
                                                                                                                                                                                                  •
A Korney Name ; '              /                                                Performed by :         G^ALZ&^L                                                    '
                                                                                                                                                                             .

                                           ATTORNEY FEES EXPENSE CLAIJVLCHECKijffiEr                                                    :
                               -   CA PITAL5 , CA PITA L A PPEA L5 & T 1.0? 1 Wtt£TS OF                                                                                      ‘
                                                                                          "
                                                                                              YS       NO                        "




      I)       Confirmed correct court number on claim ?.
                                                                                                                                                                                          asi

      2)       Confirmed correct defendant ' s name on claim ?                                CT            _                                                                             LLL
      J)       Confirmed correct cause number on claim ?                                      0^
      1)       Multiple cases on claim form ?                                                          GT
      5)            -
               Non Death Capital Case ?                                                       O'            Please circle one:   Dhm&$0§)t£
      6)       Death Case ?                                                                            ©flense circle one:       Disfiosed by T&ia'P or Plea




                                                                                                                              k
                                                                                                                                            '
                                                                                                   x


                                                                                               ^



                                                                                                                          ler
      7)       Same offense throughout LQY 9 history ?                                        0




                                                                                                                        tC
      8)       Capital     - Appeal ?                                                                  CK
      9)       11.071 Writ ?                                                                  0         ^
                                                                                                       OZ_
                                                                                                       0



                                                                                                                     ric
      10 )     Service dates before January I . 2002 ?                                             ,

                                                                                                                 ist
      II )     Correct claim form submitted for payment ?
      12 )     Attorney Appointment Order in case history on                                             sD
                                                                                                                                                           8• x
                                                                                                       es
               LQY 9 screen in JIMS ?
                                                                                                                                                       400 *                          =
                                                                                                  rg

      13)      Attorney approved for capital appointment                   in   FDAMS ?                                                          3 > 200 * 00 .
                                                                                              Bu



      U)       Dales of court appearances listed on claim ?
                                                                                                                                                       5• x
               a . Confirmed with history in the LQY 8 screen ?
                                                                                                                                                     800 *
                                                                                          lyn




      15 )                                                              - -
               If claiming out - of - court hours , is the oul of courl hours
                                                                                                                                                 4*000*00
                                                                                       ari




               form completed and attached ?
               a.   Is    >1       mathematically accurate ?                                                                                          1 2V 5 x           -
                                                                                 fM




               b- Does it match daysfhours listed on the claim ?
                                                                                                                                                        100 *
                                                                                                                                             1 2 * ;i 50 * 00
                                                                                                                                                                                     =
                                                                              eo




      16 )     On 11.0? I Writs , is the Appointed Counsel Hourly Worksheet
               completed detailing services performed , dales , and limes attached ?
                                                                                                                                                              0 *00                  *
                                                                        ffic
                                                                    yO




               a.   Arc the hours mathematically accurate ?

               b.    Docs it match the amount requested on the claim ?                        O
                                                              op




      17 )     If an  II 0? I Writ , is the claim eligible for reimbursement from the state ?
                                                           lC




               If no. why not
                                                   icia
                                                off




      18 )     Are expenses requested on claim ?
                                            Un




      19 )     Expense invoices attached ?                                                                   .
      20)      Do the expense invoices detail                services   performed dates and tipx£s ?
                                                                                   ,


                                                                                                                                                                                 - i d?
                                                                                                                                                                                 ! §!
               a.    Is   it       mathematically accurate ?                                                                                                                     :   g£ g
                                                                                                                                                                                     oaf
                                                                                                                                                                                          .
                                                                                                                                                                                                      -
      21 )
               b     Does           it   match the amount requested on the claim ?
                Is written court approval for expenses attached ?
                                                                                                                                                                                     £f £
                                                                                                                                                                                                      -
      2 2)      Is the expense amount on the claim equal to or less than
                                                                                                                                                                   “
                                                                                                                                                                                     18i1 1       "




                the amount approved by the court ?                                                                                               j.


      2 3)     Correct county mileage               rale   used ?

      2 1) -    Correct claim line item used ?                                                                                                   —-       1




      25 )      Claim amounts within limits ?

       26)      If claim is tolaled . is it mathematically accurate ?

Attorney Expense : J
                                                                                                                                                          0002413
Expert Expense: S.                                                                 TOTAL REQUESTED: $„                                                                 ... ’
                                                                                                                                        *   V*        ^        '
                                                                                                                                                               •
County AuditorCase            -
              's Form 404:17-cv-03621
                          1L                               Document 89-8 Filed on 01/05/23 in TXSD Page 22 of 479
Harris County, Texas (09/07)
                                            OUT OF COURT HOURS LOG ffe- I
Court Number                           Case Number                 Defendant’s Name                                                                       /        V
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                                                                                       JAIL VISIT(S)                                                                '
     DATE                INTERVIEW TIME - BEGIN
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                                                                       WITNESS INTERVIEW(S)
    DATE                                INTERVIEW TIME - BEGIN                                                                          INTERVIEW TIME - END

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                                                                                   LEGAL RESEARCH
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                  /           >0            --                                         CERTIFICATION
    I,                                          , swear or affirm that the Harris County Auditor may rely upon the
    information contained above to make payment according to the fee schedule adopted by the Board of District
    Judges Trying CriminaLCases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
    affirm that I hava/ffot                      received
                                   nj»r will I receive anything of value for representing the accused, except as
    otherwise disclp ed to the ,
    SWORN TO
                                   ^   SI
                                                               writing.
                                                               BEFORE ME ON THIS THE                                                         ky
                                                                                                                                                         JUN 2 7 2012
                                                                                                                                                                           A.D. 20

    Approved
                                                                   Judge, Presiding                                                                                      y at Law (Signature )

                                                 District Clerk Deputy ( Signature )                                                                          Attorney  0002414
                                                                                                                                                                        Name (print legibly)

                                                                                                       COURT
I

    County AuditorCase      -1 L
                  's Form 404:17-cv-03621             Document 89-8 Filed on 01/05/23 in TXSD Page 23 of 479
    Harris County, Texas (09/07)
                                         OUT OF COURT HOURS LOG                                                               iMW
    Court Number                   Case Number               Defendant’s Name                                  /
                                                                                                                             P 6- 21
                                   r2-7 f .2 jrj:
                                         .                               JAIL VISIT(S)
       DATE              INTERVIEW TIME - BEGIN                           INTERVIEW TIME - END                               WAIT TIME



                                                                                                                                  55
                                                              WITNESS INTERVIEW(S)
       DATE                            INTERVIEW TIME - BEGIN                                             INTERVIEW TIME - END



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                                                                RECORDS RESEARCH
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                                                                     LEGAL RESEARCH
       DATE                 BEGIN TIME                          END TIME                                    GENERAL TOPIC               Ho .06 )

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                                                                         CERTIFICATION
                                                                                                    LsC   V:iT
                                                  , swear or affirm that the Harris County Auditor may rely upon the



                                   -
      information contained above to make payment according to the fee schedule adopted by the Board of District
      Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
      affirm that I have not received nor will I receive anything of value for representing the accused, except as
      otherwise disclosed to the        writing.
      SWORN TO AND SUB!                                :D BEFORE ME ON THIS THE                                ofN 2 72012 A.D. 20
      Approved             v
                                                             Judge, Presiding                                             Attorney at Law (Signature)

                                             District Clerk Deputy (Signature)                                         Attorney Name (print legibly) ||
                                                                                                                                0002415
                                                                                        COURT
      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 24 of 479




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                                                                              tC
                                               NO. 1278256




                                                                           ric
    THE STATE OF TEXAS                           §               IN THE DISTRICT COURT OF




                                                                       ist
                                                 §
    V.S.                                         §               HARRIS COUNTY, TEXAS




                                                                 sD
                                                 §
    ANDRE JAMAL SLOAN                            §               248TH JUDICIAL DISTRICT




                                                            rg es
                                              ORDER




                                                        Bu
           On this           day of    IN 9 ?   2012 ^ 2012, came on to be heard DEFENDANT’S IN



                                                    lyn
    CAMERA MOTION FOR OUT OF COURT EXPENSE and it is the Order of the Court that said



                                                 ari
    motion should be granted.
                                               fM
           It is the Order of the Court that an amount oft -          Cyy y, f
                                                                             is appro/ed for additional
                                         eo

    out of court expenses consistent with this motion. If additional funds are needed trial counsel is
                                      ffic



    directed to make an additional request.          ” 2012      jr         A         Jfj
                                  yO
                                op




                                                                                                          \
                            lC




                                                          Judge, 248th Tflsi&fi/Ck:
                                                          of Harris County, Texas
                        icia
                     off
                  Un




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                                                                                              0002416
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 25 of 479


 Gradoni &.                                                            Professional Investigative Services

Associates                                                                             Sate License AS741




     BILL TO
    Skip Cornelius
    2028 Buffalo Terrace
    Houston, Texas 77019
                                                                                   Invoice


                                                                            DATE         INVOICE #

                                                                          5/31/2012          17080


                               DESCRIPTION                                             AMOUNT
  FOR PROFESSIONAL SERVICES
Re: State of Texas vs. Andre Sloan
    Cause #1347009, 248th District Court
                  -
    Our File 11-12 0572, Statement

Description of Activity:
See Attached Affidavit

Services:
65.7 hours @ $40.00 per hour
                            0                                                                     2,628!00

Expenses:
                           0
492 miles @ .555 per mile                                                                            273.06
Parking                                                                                               30.00
Word Processing                                                                                       46.50
Computerized searches                                                                                 86.00
Clerical                                                                                              21.10

  Subtotal                                                                                        3,084.66
Tax Exempt                                                                                             0.00



Payment due upon receipt. Thank you!
                                                                         Total                 $3,084.66      s


2611 Cypress Creek Pkwy, Suite ClOO   • Houston, Texas 77068   • (281) 440-0800    • Fax (281) 440-0208

                                                                                             0002417
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 26 of 479




                                                                        k
                                                                    ler
                                                                tC
                  HARRIS COUNTY CRIMINAL APPOINTMENT
                          TIME & MILEAGE LOG




                                                             ric
                              Invoice #17080




                                                         ist
 Attorney: R.P. Cornelius




                                                     sD
 Defendant: Andre Sloan




                                                   es
 Cause #: 1347009                       Court: 248th          Statement #: 1^




                                                  rg
                                              Bu
   Date                         Activity                         Time    Miles   Park    Tolls
 12/21/11    Review Offense Report, Brief with Client,          5.25
             Compile Overview of Report for Attorney, Set




                                          lyn
             Investigative Tasks


                                       ari
 1/4/12      Jail Interview with Defendant, Compile Report      4.00     46      5.00
 1/8/12      Conduct Computerized Searches to Identify          4.50
                                   fM
             Eight Witness Addresses, Attempt to Make
             Contact with Witnesses
                                eo

 1/9/12      Conduct Interview, Compile Report                  2.10
 1/11/12     Conduct Two Interviews, Compile Reports            3.40
                             ffic



 1/17/12     Field Work, Attempts to Contact Witnesses          3.60     58
 1 /18/12    Conduct Interview, Compile Report                  1.60
                            yO




 1/1.9/12    ConduGt Database Searches to Identify. Witness     2.25
             Addresses
                        op




 3/12/12     Background Investigations Seven State              3.20
             Witnesses, Compile Reports
                    lC




 3/15/12     Contacts with HPD, Public Records Request          1.10
 3/26/12     Jail Interview with Defendant, Compile Report      2.20
               icia




 4/5/12      Jail Interview with State Witness, Compile         2.70     46      5.00
             Report
              off




 4/9/12      Field Work, Attempts to Locate Witnesses,          5.20     56
            Un




             Conduct Two Interviews, Compile Reports
 4/10/12     Conduct Interview, Compile Report                  2.10
 4/12/12     Field Work, Attempt to Locate Witnesses            1.70     43
 4/16/12            -
             Follow up Jail Interview with State Witness        2.30     46      5.00
 4/21/12     Attempts to Locate Witnesses by Phone              1.10
 4/26/12     Field Work, Attempt to Locate Witness              2.00     12
 4/30/12.    Draft, File, Serve Two Subpoenas                   2.30     46      10.00
 5/18/12     Followrup Jail Interview with State Witness,       2.90     46      5.00
             Compile Report
 5/19/12     Field Work, Conduct Two Interviews, Compile        3.80     51
             Report
 5/20/12     Conduct Interview, Compile Report                  1.90
 5/21/12     Conduct Interview, Compile Report                  2.00
 5/23/12     Field Work, Attempt to Locate Two Witnesses        2.50     42



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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 27 of 479




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 Total                                                            65.70   492         $30.00




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         I, James Gradoni, President of Gradoni & Associates, Inc., State of Texas licensed
 investigative firm, State License #A05741, do swear to and affirm, that the attached




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 invoice/invoices, for services rendered are true and correct to the best of my belief and




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 knowledge.




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                                           fM   James Gradoni

  o          WORN TO AND SUBSCRIBED before me, the undersigned authority, on this
           day of L/ YljQLtL- 2012, to certify, which witness my hand and seal of
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                        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 28 of 479
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Harris Counly, 7 ;REV . 1 /13)

         ATTORNEY FEES EXPENSE CLAIM
      DISTRICT COURTS-COURT APPEARANCE
                                                                       Show only one defendant per claim.
                                                                                                            INSTRUCTIONS

                                                                       Before payment can be authorized , each item must be completed legibly in ink.
       UNDER ARTICLE 26.05, CODE OF CRIMINAL PROCEDURE
                         AS AMENDED                                    Forward completed claim to the presiding judge for approval.

Court No. Defendant Name                                                          Case Number(s)
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                                                                                   Number of Court                             TOTAL                    AMOUNT
        INDIVIDUAL CASE APPOINTMENT                                                  Days/Hours
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                                                                                                                         ( presumptive max .)     (Judge Completes)


                                          FiridPegree                                                  $225/day              *$1125
      NON-TRIAL
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              Third Degree, SJF, MRP/MAJ                                                               $300/day
PRE-TRIAL HEARING WITH TESTIMONY & PSI                                                                 $350/day
HEARING
OUT OF COURT                              First Degree                                                  $85/ hour            $ 1 ,700
HOURS (Must
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Court Hours Log. )                        Third Degree, SJF, MRP/MAJ                                    $40/hour              $400

INVESTIGATION Bills submitted
                              by investigators and experts must                                                             $600/case
              document the dates and hours spent on the case and
                                          must be sworn to or affirmed to as accurate. Expert
EXPERT                                                                                                                      $650/case
                                          expenses paid per county policy.
MENTAL HEALTH SUPPLEMENT ( Must detail on
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Out-Of-Court Hours Log.)
BILINGUAL SUPPLEMENT                                                          V                        $50/day                $250
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*The presumptive maximum number of non-trial settings beyond a term assignment is four.
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                  L41CDA/ COU.KQ                 ., swear or affirm that the Harris County Auditor may rely upon the information contained
  above to make payment according to the fee schedule adopted by the Board of District Judges Trying Criminal Cases pursuant to Tex .
  Code Crim . P. art. 26.05. 1 further swear or affirm that 1 have not received nor will I receive anything of value for representing the
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                        reive this appointment originally as a limited term assignment.
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                                 Attorney at Law (Signature )                                           Attorney Name ( print legibly )

  SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                DAY OF
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  determined to be both reasonable and necessary and are hereby approved for       ^it.

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                 Form 40 14:17-cv-03621
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Harris Cv oty. Texas (09/07 )
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                             CD)U )GL£ MS       swear or affirm that the Harris County Auditor may rely upon the
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  information contained above to make payment according to the fee schedule adopted by the Board of District
  Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
  affirm that I have not received nor will I receive anything of value for representing the accused, except as
  otherwise disclosed to the Court in writing.
  SWORN TO AND/                                             © BEFORE ME ON THIS THE
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  Approved
                                                                      Judge , Presiding                                                           Attorney at Law (Signature)

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                      = Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23INSTRUCTIONS
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Ham' C mty TX (REVRI / I 3)


            ATTORNEVyFEEVEXPENSE CLAIM
        USTRICTI COI0RTSCOURT APPEARANCE
                                                                           in TXSD Page 30 of 479

                                                                 Show only one defendant per claim .
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                                 AMENDED                         Forward completed claim to the presiding judge for approval.

Court NoT" defendant Name                                                   Case Number(s)                          Charge(s)
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                                                                             Number of Court                              TOTAL
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        INDIVIDUAL CASE APPOINTMENT                                            Days/Hours
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                                                                                                                   (presumptive max .)       (Judge Completes )


                                 First Degree                                                    $225/day                 *$1125
        NON-TRIAL                Seccjjd Degree                                                  $175/day                 *$875
                               [ flltird Degree, SJF, MRP/ MAJ                                   $125/day                 *$625
                                 First Degree                                                    $500/day
          TRIAL                 Second Degree                                                    $400/day
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              Third Degree, SJF, MRP/MAJ                                                         $300/day
PRE-TRIAL HEARING WITH TESTIMONY & PSI
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HEARING
OUT OF COURT                     First Degree                                                    $85/ hour             $ 1 ,700
HOURS ( Must
                                Second Degree                                                    $60/hour                 $600
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Court Hours Log. )              iFfrird Degree, SJF, MRP/ MAJ                                    $40/hour                 $400                 z. S o
INVESTIGATION Bills submitted by investigators and experts must                                                      $600/case
                   document the dates and hours spent on the case and
                   must be sworn to or affirmed to as accurate. Expert
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MENTAL HEALTH SUPPLEMENT ( Must detail on
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List date(s) of all Court Appearances. Attach any, Out-of-Court Hours Log .


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  above to make payment according to the fee schedule adopted by the Board of District Judges Trying Criminal Cases pursuant to Tex.




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  Code Crim. P. art. 26.05. I further swear or affirm that I have not received nor willj receive anything of value for representing the
  acc:u*ed. except as otherwise disclosed to the Court in writing   ,



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                          Attorney at Law (Signature)                                             Attorney Name ( print legibly )

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  The above fees, including any fees which exceed the presumptive maximum fees set forth herein were reviewed by this court and
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  determined to be both reasonable and necessary and are hereby approved for payment.

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                  Case- 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 31 of 479
County Auditor's Form 40 1L
Harris County, Texas (09/07}
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                                                                         CERTIFICATION
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    I,                                           , swear or affirm that the Harris County Auditor may rely upon the
    information contained above to make payment according to the fee schedule adopted by the Board of District
    Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art . 26.05. I further swear or
    affirm that I have not received nor will I receive anything of value fjy epresenting the accused, except as
    otherwise disclosed to the Court in writing.                                                            ^
    SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                                        4 2013       A .D. 20

    Approved
                                                               idge , Presiding                                               ttomey at Law ( Signature )


    l      Zl                          District Clerk Deputy ( Signature )                                                          0002423
                                                                                                                          Attorney Name ( print legibly )

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    A                   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 32 of 479
bounty Auditor's Form 40- 1 B
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Hams Couflty TX ( REV. 1/ 13)                  .   •                                                      INSTRUCTIONS
         ATTORNEY FEES EXPENSE CLAIM                               Show only one defendant per claim.

      DISTRICT COURTS-COLRT APPEARANCE                             Before payment can be authorized , each item must be completed legibly in ink.
         UNDER ARTICLE 26.05, CODE OF CRIMINAL PROCEDURE
                           AS AMENDED                              Forward completed clium to the presiding judge for approval.

Court No. Defendant Name                                                      Case Number(s)                          Charge(s)


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                                   First Degree
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      NON-TRIAL                    Second Degree                                                    $175/day              *$875
                                   Third Degree, SJF, MRP/M AJ                                      $ l 25/day            *$625
                                   First Degree                                                     $500/day
              TRIAL                Second Degree                                                    $400/day
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              Third Degree , SJF, MRP/MAJ                                                           $300/day
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Court Hours Log.)                  Third Degree, SJF, MRP/MAJ                                       $40/ hour             $400
INVESTIGATION Bills submitted by investigators and experts must                                                        $600/case
              document the dates and hours spent on the case and
              must be sworn to or affirmed to as accurate. Expert
EXPERT                                                5/                                                               $650/case
              expenses paid per county policy.
MENTAL HEALTH SUPPLEMENT (Must detail on
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Out-Of-Court Hours Log. )
BILINGUAL SUPPLEMENT                                                                                $50/day               $250
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                                                       or affirm that the Harris County Auditor may rely upon the information contained
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 I   did/aid not/ receive this appointment originally as a limited term assignment.
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                            Attorney at Law (Signature)                                             Attorney Name (print legibly)

 SWORN TO AND SUBSCRIBED BEFORE                            DN.THIS THE                          DAY OF       NOV 2, 1                       A . D. 20

                                               L   District Clerk Deputy (Signature)
 The above fees, including any fees which exceed the presumptive maximum fees set forth herein were reviewed by this court and
 determined to be both reasonable and necessary and are hereby appro

                                                               Approved

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               Case-4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 33 of 479
County Auditor's Form 40 1L
Harris County, Texas (0S/07)
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                                              , swear or affirm that the Harris County Auditor may rely upon the
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 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
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 otherwise disclosed to the Court in writing.
 SWORN TO                      SUBSCRIBED BEFORE ME ON THIS THE                                                D,       JOV 21 2013       A.D. 20

 Approve!
                                 id                          Judge , Presiding
                                                                                                           ^7
                                                                                                                                Attorney at Law ( Signature)


                                       District Clerk Deputy ( Signature )                                                  A*? 0002425
                                                                                                                             AtWHfevy Name (print legibly)

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        J
                       Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 34 of 479
County Auditor's Form 40» IB
-
Lanis County. TX (REV . |/ 13)                                                                          INSTRUCTIONS
          ATTORNEY FEES EXPENSE CLAIM                              Show only one defendant per claim.
       DISTRICT COURTS-COURT APPEARANCE                            Before payment can be authorized , each item must be completed legibly in ink.
       UNDER ARTICLE 26.05. CODE OF CRIMINAL PROCEDURE
                                 AS AMENDED                        Forward completed claim to the presiding judge for approval.

Court No. Defendant Name                                                      Case Number(s)                             Charge(s)

    124                                               om                       limit
                                                                               Number of Court                               TOTAL                     AMOUNT
       INDIVIDUAL CASE APPOINTMENT                                               Days/Hours
                                                                                                        RATE
                                                                                                                        ( presumptive   max . )    (Judge Completes)


                                    First Degree                                                   $225/day                 *$1125
       NON-TRIAL                                                                                   $175/day                  *$875
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                                    First Degree
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            TRIAL                   Second Degree                                                  $400/day
              Third Degree, SJF, MRP/MAJ                                                           $300/day
PRE-TRIAL HEARING WITH TESTIMONY & PSI
                                                                                                   $350/day
HEARING                                                                                                      OJC

OUT OF COURT                        First Degree                                                   $85/hour                $1,700
HOURS (Must
                                    Secorjd Degree                                                 $60/hour                  $600
detail on Out Of-       -
Court Hours Log.) |                        Degree , SJF, MRP/MAJ                                   $40/hour                  $400                       (? d            >   On
INVESTIGATION Bills submitted by investigators and experts must                                                          $600/case
              document the dates and hours spent on the case and
              must be sworn to or affirmed to as accurate. Expert
EXPERT                                                                                                                   $650/case
              expenses paid per county policy.
MENTAL HEALTH SUPPLEMENT (Must detail on
                                                             $50/hour                                                       $250
Out-Of-Court Hours Log.)




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BILINGUAL SUPPLEMENT                                                                               $50/day                  $250
AFTER HOURS SUPP. (Trial/Hearing after 6:00 pm )                                                   $50/hour
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*The presumptive maximum number of non-trial settings beyond a term assignment is four.
List date(s) of all Court Appearances. Attach .any OutHttf -Cpurt Hours Log.

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                                                   , swear or affirm that the Harris County Auditor may rely upon the information contained
    above to make payment according to the fee schedule adopted by the Board of District Judges Trying Criminal Cases pursuant to Tex.
    Code Crim. P. art. 26.05. I further swear or affirm that I have not received nor will I receive anything of value for representing the
    acci aedv except as otherwise disclosed to the Court in writing.
    I    didAtid n o t t h i s appointment originally as a limited term assignment.
              (Circle One


                             Attorney at Law (Signature)                                            Attorney Name (print legibly)

    SWORN TO AND SUBSCRIBED BEFORE Ml                         (THIS THE                    DAY OF        jjQV                                     A . D. 20


                                                           District Clerk Deputy (Signature)
    The above fees, including any fees which exceed the presumptive maximum fees set forth herein were reviewed by this court and
    determined to be both reasonable and necessary and are hereby approval for payment.

                                                              Approved
                                                                                                                   JudcelPresiding
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                                                                          COURT
£B2r,Case    »
     s 4:17-cv-03621
          i OUTDocument  89-8 Filed on 01/05/23 in TXSD Page 35 of 479
                     OF COURT HOURS LOG
Court Number       Case Number             Defendant’s Name

 UdL                                                 JAIL VISvT( S )
 DATE        INTERVIEW TIME - BEGIN                    INTERVIEW TIME - END                         WAIT TIME


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                                   WITNESS INTERVIEW ( S)
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                                            RECORDS RESEARCH
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Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
affirm that I have not received nor will I receive anything of value for representing the accused, except as
otherwise disclosed to the Court in writing.
SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                               A.D. 20    [A
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                       District Clerk Deputy (Signature )                                                 0002427
                                                                                                Attorney Name ( print legibly )

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                         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 36 of 479
                     -
Coumy Auditor's Form 40 1 B
HjfcoCoimty, TX (REV. 013)                                                                                INSTRUCTIONS

         ^ ATTORNEY FEES EXPENSE CLAIM
                                                                     Show only one defendant per claim.                             J j                     1        f f
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               CT COURTS COURT APPEARANCE
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                                                                     Before payment can be authorized, each item must be completed legibly in ink .   J     • QpC,
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Cou                 Defendant Name                                              Case Number( s)                         Charge( s)

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        INDIVIDUAL CASE APPOINTMENT                                                Days/Hours
                                                                                                          RATE
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                                 V First Degree                                                      $225/day              *$1125
       NON-TRIAL                   Second Degree                                                     $175/day               *$875
                                   Third Degree, SJF, MRP/MAJ                                        $ 125/day              *$625
                                   First Degree                                                      $500/day
             TRIAL                 Second Degree                                                     $400/day
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PRE-TRIAL HEARING WITH TESTIMONY & PSI
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HEARING            <                                                                                              Of

OUT OF COURT l First Degree                                                                          $85/hour              $1,700
HOURS (Must
detail on Out-Of-
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Court Hours Log.)                  Third Degree, SJF, MRP/M AJ                                       $40/hour               $400

INVESTIGATION Bills submitted
                                  by investigators and experts must                                                      $600/case
                   document the dates and hours spent on the ease and
                   must be sworn to or affirmed to as accurate. Expert
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                   expenses paid per county policy.
MENTAL HEALTH SUPPLEMENT (Must detail on
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List date(s) of all Court Appearances. Attach any Out-of-Court Hours Log.
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                                                , swear or affirm that the Harris County Auditor may rely upon the information contained
  above to make payment according to the fee schedule adopted by the Board of District Judges Trying Criminal Cases pursuant to Tex.
  Code Crim. P. art. 26.05. I further swear or affirm that I have not received nor will I rt ive anything of value for representing the
  accused, e      s otherwise disclosed to the Court in writing.                                              ^
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                                                  District Clerk
 The above fees, including any fees which exceed the presumptive maximum fees set ford Kcrein wcrcj£>f vcd by this court and
 determined to be both reasonable and necessary and are hereby approved for payment,                      ^                   ^
      RECORDER'S MEMORANDUM
      This instrument is of poor quality
            at the time of imaging
                                                                Approved



                                                                            COURT
                                                                                                              ^   Judge Presiding
                                                                                                                                                 0002428
County Auditor's Case
                 Form 40-14:17-cv-03621
                          L                   Document 89-8 Filed on 01/05/23 in TXSD Page 37 of 479
Mams County. Texas (09/07)
                             OUT OF COURT HOURS LOG
Court Number              Case Number            Defendant’s Name

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                                                , swear or affirm that the Harris County Auditor may rely upon the
    information contained above to make 1payment according to the fee schedule adopted by the Board of District
    Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art . 26.05. I further swear or
    affirm that I have not received nor will I receive anything of value for representing the accused, except as
    otherwise disclosed to the Court in writin
    SWORN TO AND SUBSCRIBED'BEFO]                                ON THIS THE

    Approved
                                                                                                                                       Attorney at     ( Signature )

                                District Clerk Deputy ( Signature )                                                                Attorney   NMe ( print legibly)
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County Auditor'sCase
                Form 40 4:17-cv-03621
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Harris County, Texas (09/07)
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Court Number                   Case Number                Defendant's Name

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 information contained above to make payment according to the fee schedule adopted by the Board of District
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 otherwise disclosed to the Court in writing.
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    Approved
                                                                                                                          Attorney at Law (Signature )

                                       District Clerk            [gnature )                                             Attorney Name (print legibly )
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           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 39 of 479
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                                                                                tC
                                                  NO. 1353062

    THE STATE OF TEXAS                               §              IN THE DISTRICT COURT OF




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                                                                         ist
        V.S.                                         §              HARRIS COUNTY, TEXAS
                                                     §




                                                                    sD
        TONITAVAREZ                                  §              177TH JUDICIAL DISTRICT
                      MOTION FOR PAYMENT OUTSIDE PRESUMPTIVE MAX




                                                                  es
                                                                 rg
        TO THE HONORABLE JUDGE OF SAID COURT:




                                                             Bu
                      COMES NOW, R.P. CORNELIUS, attorney of record for TONI TAVAREZ, and
        respectfully files this Motion For Payment Outside Presumptive Max and would show the Court the




                                                         lyn
        following:

                                                      ariL
                                                  fM
               Counsel was appointed to represent this defendant on July 5, 2012. Said defendant was
                                              eo


    charged in this case with intentional serious bodily injury to a child, a first degree felony.
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               Counsel has made twelve (12) non-trial appearances but seeks payment for only five (5).
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               An extensive amount of trial preparation was done on this matter and Counsel spent a
                             icia




    significant amount of time in contact with defendant and her family.
                                                         IV.
                          off




               Counsel is seeking payment for a total of 78.75 out-of -court hours on this matter.
                       Un




                                                         V.
               Said time includes (6.25) hours of out-of-court time in written correspondence or personal
    contact with defendant, (7.00) hours of out-of -court time with defendant’s family or witnesses in this
    matter, (19.50) hours of out-of-court time researching records, (25.50) hours of out-of-court time
    researching legal matters and preparing for trial, and (20.50) hours of out-of -court-time in conference
    with the District Attorney, the Court, or the private investigator on this.patter.

                                                                                Chris Daniel
                                                                                District Clerk

                                                                       Tima:_ MAR 1 6 2015
                                                                                Harris County, Texas
                                                                       By
                                                                                     Deputy
                                                                                                       0002431
       Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 40 of 479
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           WHEREFORE PREMISES CONSIDERED, appointed counsel respectfully requests this




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    Honorable Court to order payment for 78.75 out-of-court hours in the matter.




                                                              sD
                                                       Respectfully submitted,




                                                            es
                                                           rg
                                                       Bu
                                                       R.P. CORNELIUS
                                                       2028 Buffalo Terrace




                                                   lyn
                                                       Houston, Texas 77019
                                                       (713) 237-8547
                                                       State Bar No. 04831500

                                                ari
                                             fM       ATTORNEY FOR DEFENDANT
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 41 of 479




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                                             NO. 1353062




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     THE STATE OF TEXAS                           §             IN THE DISTRICT COURT OF




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                                                  §
     v.s.                                         §             HARRIS COUNTY, TEXAS




                                                                sD
                                                  §
     TONITAVAREZ                                  §             177TH JUDICIAL DISTRICT




                                                              es
                                                  ORDER




                                                             rg
                                                          MR l6




                                                         Bu
            On this                      day of                           , 2015, came on to be heard
     appointed trial counsel’s Motion For Payment Outside Presumptive Max.




                                                     lyn
            Said motion is hereby granted/denied and IT IS ORDERED that appointed trial counsel is

     to be paid                      - -          ari
                        hours for out of court time spent on this case.
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                                                  RYXNPAT&tK, JUDGE
                                      ffic



                                                  177TH DISTRICT COURT
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                           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 INSTRUCTIONS
         lilor 's Form 40- 1 B
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          ^ATTORNEY
 irris Coum    X (REV 1/13 -
                 ^ FEES EXPENSE CLAIM                                       Show only one defendant per claim.
      DISTRICT COURTS-COURT APPEARANCE                                      Before payment can be authorized, each item must be completed legibly in ink




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      \VTNDER ARTICLE 26.05. CODE OF CRIMINAL PROCEDURE
                   /
Court N <f. Defendant Name

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                                                                            Forward completed claim to the presiding judge for approval

                                                                                       Case Number(s)                          Charge( s)*.


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                                          First Degree                                                      $225/day                *$1125
     NON-TRIAL                        ^   Second Degree                                                     $175/day                *$875
                                          Third Degree, SJF, MRP/MAJ                                        $125/day                *$625
                                          First Degree                                                      $500/day

              TRIAL                       Second Degree                                                     $400/day
              Third Degree, SJF, MRP/ MAJ                                                                   S30Q/day
PRE-TRIAL HEARING WITH TESTIMONY & PSI                                                                      $350/ day
HEARING
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INVESTIGATION Bills submitted
                              by investigators and experts must
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                   document the dates and hours spent on the case and
                   must be sworn to or affirmed to as accurate. Expert                                                             $650/case
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                   expenses paid per county policy.
MENTAL HEALTH SUPPLEMENT ( Must detail on                        $50/hour                                                           $250
Out-Of-Court Hours Log.)
BILINGUAL SUPPLEMENT                              to              $50/day                                                           $250
AFTER HOURS SUPP. (Trial / Hearing after 6:00 pm )                                                          $50/hour
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 Code Crim. P. art. 26.05. I further swear or affirm that 1 have not received nor will I receive anything of value for representing the
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                  is otherwise disclosed to the Court in writing.
     dic/did not J receive this appointment originally as a limited term assignment.
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                                 Attorney at Law (Signature )                                                Attorney Name ( print legibly)   ^(
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                                                  District Cflerk Deputy ( Signature)
 The above fees, including any fees which exceed the presumptive maximum fees set forth herein were reviewed by this court and
 determined to be both reasonable and necessary and are hereby approved for payment.

                                                                       Approved                                  to
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Court Number                Case Number                  Defendant's Name

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                                                               LEGAL RESEARCH
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                                                               PERSONAL INFORMATION
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        SLD7J, KB /tSMa
Mailing   Address Numb
                (       Siate                       ir        , Zip Code )
                       ^                0 YT1 771/1
                               CERTIFICATION
                                              , swear or affirm that the Harris County Auditor may rely upon the
 information contained above to make payment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
 affirm that I have not received nor will I receive anything of value for representing the accused, except as
 otherwise disclosed to the Court in writing.
                                                                                                ~
 SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                             \ / C AX>. 20                                       ]
 Approved
                                                         Judge , Presiding                                                          Attorney at Law ( Signature )


                            T       5 bSa        erk Deputy ( Signature )                                                          Attorney Name (print legibly)
                                                                                                                                               0002435
                        V                                                             COURT
                                                                                                       M
   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 44 of 479
                                                                                          Vv
                                                                                             ^         .




                                                                              k
                                                                          ler
                                           NO. 1353392




                                                                        tC
 HE STATE OF TEXAS                                           IN THE DISTRICT COURT OF




                                                                     ric
                                               §
                                                             HARRIS COUNTY, TEXAS




                                                                 ist
                                               §
                                                             20$fTH JUDICIAL DISTRICT




                                                            sD
DANIEL WARD                                    §

               MOTION FOR PAYMENT OUTSIDE PRESUMPTIVE MAX




                                                          es
TO THE HONORABLE JUDGE OF SAID COURT:




                                                          rg
                                                      Bu
               COMES NOW, R.P. CORNELIUS, attorney of record for DANIEL WARD, and
respectfully files this Motion For Payment Outside Presumptive Max and would show the Court the




                                                  lyn
following:

                                               ari I.
                                          fM
       Counsel was appointed to represent this defendant on July 9, 2012. Said defendant was
                                      eo


charged in this case with aggravated robbery, a first degree felony.
                                   ffic



                                                   n.
                               yO




       Counsel has made ten (10) non-trial appearances but seeks payment for only five (5).
                                                   HI.
                            op
                         C




       An extensive amount of investigation was done on this matter and Counsel spent a significant
                      ial




amount of time attempting to locate the complaining witness in this matter and preparing for trial.
                   ffic




                                                   IV.
                 o




       Counsel is seeking payment for a total of 24.75 out-of -court hours on this matter.
              Un




                                                   V.
       Said time includes (9.25) hours of out-of-court time in written correspondence with
defendant, (3.25) hours of out-of-court time with defendant’s family or witnesses in this matter,

                  - -                                                    - -
(4.00) hours of out of court time researching records, (6.25) hours of out of court time researching

                                           -
legal matters, and (2.00) hours of out-of court time negotiating with the District Attorney, in
conference with the Court or court personnel.




                                                                                             0002436
*-
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 45 of 479




                                                                                k
                                                                            ler
                                                                          tC
                                                                       ric
            WHEREFORE PREMISES CONSIDERED, appointed counsel respectfully requests this




                                                                   ist
     Honorable Court to order payment for 24.75 out-of-court hours in the matter.




                                                                 sD
                                                        Resi         submitted,




                                                            rg es
                                                        R.P. CORNELIUS




                                                        Bu
                                                        2028 Buffalo Terrace
                                                        Houston, Texas 77019




                                                    lyn
                                                        (713) 237-8547
                                                        State Bar No. 04831500

                                                 ari
                                             fM        ATTORNEY FOR DEFENDANT
                                          eo
                                      ffic
                                  yO
                                op
                            lC
                         icia
                     off
                   Un




                                                                                    0002437
   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 46 of 479




                                                                          k
                                                                      ler
                                                                      tC
                                        NO. 1353392




                                                                   ric
THE STATE OF TEXAS                           §             IN THE DISTRICT COURT OF
                                             §




                                                               ist
v.s.                                         §             HARRIS COUNTY, TEXAS
                                             §




                                                          sD
DANIEL WARD                                  §             209TH JUDICIAL DISTRICT




                                                        es
                                             ORDER




                                                        rg
       On this   Al)6 2 2   m       day of                           , 2013, came on to be heard




                                                    Bu
appointed trial couhsers Motion For Payment Outside Presumptive Max.




                                                lyn
       Said motion is hereby granted/denied and IT IS ORDERED that appointed trial counsel is
to be paid
                                             ari
                   hours for out-of-court time spent on this case.
                                        fM
                                    eo


                                             MICHAEL T. MCSPADDEN, JUDGE
                                 ffic



                                             209TH DISTRICT COURT
                            yO
                         op
                      lC
                   icia
               off
             Un




                                                 3



                                                                                        0002438
                         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 47 of 479
County Auditor*) Form 40- 1 C
•lams County . Texas REV. 09/07)
                     (                                                                                          INSTRUCTIONS
                 ATTORNEY FEES EXPENSE CLAIM                              Show only one defendant per claim .
                                        -
                 DISTRICT COURTS CAPITAL CASE
            UNDER ARTICLE 26t05, CODE OF CRIMINAL PROCEDURE.
                                                                          Before payment can be authorized, each item must be completed legibly in ink.

                          “ .AS .AMENDED                                  Forward completed claim to the presiding judge for approval.

Court No.                             Defendant Name
                   in                                         Li/Qty
                                                                                   Number of Court
                                                                                                                   /2              TOTAL
                                                                                                                                                          AMOUNT
                                CAPITAL CASE                                         Days/Hours
                                                                                                                RATE            (presumptive
                                                                                                                                 maximum )
                                                                                                                                                       (Judge Completes)

                                   l" 'Non-Trial Appearance                                                 $400/day
   DEATH CAPITAL Voir Dire                                                                                  S600/day
     1ST CHAIR   Trial /Hearing with Testimony                                                              $800/day
                                       -
                                   [ <3ut of-Court Hours*                                                   $100/hour           $12,000
                                    Non-Trial Appearance                                                    S400/day
   DEATH CAPITAL Voir Dire                                                                                  $500/day
     2ND CHAIR   Trial/Hearing with Testimony                                                               $700/day
                                    Out-of-Court Hours*                                                     $80/hour            $9,600
                                    Includes all fees except investigation costs,
                                    expert witness fees, and witness travel costs.                                              $35,000
   DEATH CAPITAL
     FLAT RATE
                 Flat rate applies only if testimony begins in
                 the guilt/innocence phase of trial.
                                                                                                             CHAIR

                                                                                                              2ND
                                                                                                                                                              m
                                                                                                             CHAIR
                                                                                                                                $30,000                     rig
                                    Otherwise, the daily and hourly rates apply.                                                                           sis
                                    Non-Trial Appearance                                                    $400/day            $3,200
                                                                                                                                                           £   2
                                                                                                                                                                   ^
        NON- DEATH
                                    Trial /Hearing with Testimony                                           S800/day                                       IT?
                                                                                                                                                           C 12 Z
        .   CAPITAL
                                    Out-of-Court Hours*        $100/hour                                                        $5,000                      ti
                Bills submitted by investigators and experts must document                                                                        oU
  INVESTIGATION
                the dates and hours spent on the case and must be sworn to
^     EXPERT    or affirmed to as accurate! Expert expenses paid per
    TESTIMONY   County policy.

MENTAL HEALTH SUPPLEMENT*                                         W'                                        $50/hour              $250
                                                               0
BILINGUAL SUPPLEMENT                                                                                         $50/day              $250
AFTER HOURS SUPP. (Trial/Hearing after 6:00 pm)
OTHER


*Must detail on Out-Of-Court Honrs Log.
                                                   —  0
                                                                                                            $50/hour


                                                                                                                           TOTAL $       [


                                                            PERSONAL INFORMATION
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                                                       'elephone Number                                                Bar Card, Number
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                                                                   CERTIFICATION
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                                                                                             HIT 2                                           .
                                                    , swear or affirm that the Harris County Auditor may rely upon
  the information contained above to make payment according to the fee schedule adopted by the Board of District
  Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or affirm
  that I have not received nor will I receive anything of value for representing the accused, except as otherwise
  disclosed to the Court in writing.
  SWORN TO AND SUBSCRJOBEp BEFORE ME ON THIS THE                               DAY O           '     A.D. 2o                {Qbj                                   /3
  Appr<                                               I
                                                          ;e, Presiding                              / OdlHyin
                                                                                                i / l/ ft
                                                                                                       /T  /  .                      Attorney at Law (Signature)


                                     District Clerk Deputy (Signature)
                                                                                               / rfl
                                                                                                                ^J
                                                                                                                       /


                                                                                                                                                 0002439
                                                                                                                                   Attorney Name (print legibly)

                                                                  COURT
County Auditor'Case    -
               s Form 404:17-cv-03621
                         1L                          Document 89-8 Filed on 01/05/23 in TXSD Page 48 of 479
Harris County, Texas (09/07)
                                  OUT OF COURT HOURS LOG
Court Number                   Case Number                            Defendant's Name

     PT^r                  •
                           •
                                                                                   JAIL VISIT(S)
    DATE             INTERVIEW TIME - BEGIN                                         INTERVIEW TIME - END                                            WAIT TIME
zyW3               TtTfflL      -M
                                /A      \




                                                                       WITNESS INTERVIEW( S)
    DATE                        INTERVIEW TIME - BEGIN                                                                      INTERVIEW TIME - END




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                                                                                    CERTIFICATION
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                                              , swear or affirm that the Harris County Auditor may rely upon the
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 information contained above to make payment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
 affirm that I have not received nor will I receive anything of vqiue /or representing the accused, except as
 otherwise disclosed to the Court in writing.
 SWORN TO                                                         BEFORE ME ON THIS THE                            p        DAY

 Appro'                                                                                                                /7

                                                                           Ige, Presiding                                         7               A t t o r n e y at Law ( Signature )
                                                                                                                            /7           ,


                                   District Clerk Deputy ( Signature )
                                                                                                            /v         U
                                                                                                                       < > / Pfi/ frC( L )
                                                                                                                                                 Attorney Name (print legibly )
                                                                                                                                                          0002440
                                                                                                    COURT
                   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 49 of 479


Defend Dili '5 Name
Allorney Name : > *
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                                                       iC|A.&
                                                                                 Cause No , _
                                                                              Performed by :
                                                                                                            . . .
                                                                                                      TCArCnfc
                                                                                                                                         :_
                                                                                                                                 S i t e: •                -
                                                                                                                                                  oi . 'TSt -a

                                     ATTORNEY FEES EXPENSE CLAIM- CHF-CK Tjftffi                                                              .   L-
                              CAPITALS , CAPITAL APPEALS . & 11.0 71 WJtKPg QF H $
                                                   '

                                                                                                  ,                              W                         ""   '




                                                                                            Yes       No                                          mmM
   n          Confirmed correct court number on claim ?                                     o CL
                                                                                             '"
   2)
   J)
   4)
              Confirmed correct defendant ' s name on claim ?
              Confirmed correct cause number on claim?
              Multiple cases on claim form ?
                                                                                            % °Cf                        •         :
                                                                                                                                       ;; :ggf gP
  5)
  6)
                    -
              Non Death Capital Case?
              Death Case ?                                                         -        0              Please circle one:
                                                                                               0 Please circle one:
                                                                                                           _                       DIFposud . tiyffiiaV or Plea




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                                                                                                                             ler
  7)          Same offense throughout LQY 9 history ?
                                                                                                                                                            -f*r
                          -                                                                           cC



                                                                                                                      tC
  B)          Capital         Appeal ?

  9)          11.071 Wm ?                                                                   o al
                                                                                                      cf _

                                                                                                                   ric
  10)         Service dates before January I , 2002 ?



                                                                                                               ist
  11 )        Correct claim form submitted for payment ?                                    cf          sD
  12 )        Attorney Appointment Order in case history on
                                                                                            cT
                                                                                                      es
              LQY 9 screen in JIMS ?
  13)         Attorney approved for capital appointment                       FDAMS ?       tp
                                                                                             rg

                                                                         in                                                                                                 V

              Dates or court appearances listed on claim ?
                                                                                         Bu



   H)
              a.   Confirmed with history In the LQY 8 screen ?                                       o
                                                                                     lyn




  15 )                                -                              -
              IT claiming out of - court hours, is the oul of courl hours-
                                                                                        '   FT
                                                                                  ari




              form completed and attached ?
              a.    fs'it mathematically accurate?                                          ET
                                                                               fM




              b. Does it match days / hours listed on the claim ?                           cr"
                                                                             eo




  16 )        On 11.071 Writs , is the Appointed Counsel Hourly Worksheet
              completed detailing services performed , dales , and limes attached ?
                                                                     ffic




                                                                                                      Hi
              a.
                                                                yO




                    Arc the hours mathematically accurate?

              b. Docs it match the amount requested on the claim ? D               0                       _        Mr*
                                                           op




  17 )        If an II 071 Writ , is the claim eligible for reimbursement from the state?
                                                                                                                    vO   ^
                                                        lC




              If no , why not
                                                   icia




                                                                                            O'"            _
                                                  off




  18 )        Are expenses requested on claim ?

                                                                                            sr        CL
                                          Un




  19 )        Expense invoices attached ?
  20)         Do the expense invoices detail              services   performed , dates and limes ?
                                                                                            CT"
              a.    Is   II   mathematically accurate ?                                     BR
              b     Docs       it   match the amount requested on the claim ?
   21)        Is                       for expenses attached ?
                   written court approval                                                   0f                      C.

   2 2)       Is the expense amount on  the claim equal to or less than
              the amount approved by the court ?                                                      Ef
   23 )       Correct county mileage rate used ?                                             "
   24 )       Correct claim line item used ?                                                0^
   25 )   *   Claim amounts within limits ?

   26)        If claim is totaled , is it mathematically accurate?                                                                                                     v.
                                                                                                                                                                    „. ,




tllorney Expense J.              Y 6 7<r                                                                                                                   t>6
                                                                                                                    /v       .
                     1

                                                                                                                                                       .

expert Expense: S.              / o , / zs. &                                   TOTAL REQUESTED: S.
                                                                                                                                                           0002441 .
                                                                                                                                                                   .
      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 50 of 479




                                                                                k
     ^
  G adoni & _




                                                                            ler
                                                                              Professional Investigative Services

Associates                                                                                    State License AS7.41




                                                                             tC
                                                                          ric
                                                                      ist
                                                         April 4, 2013




                                                              sD
                                                            es
           Skip Cornelius
           2028 Buffalo Terrace




                                                           rg
           Houston, Texas 77019




                                                       Bu
                                                   lyn
           Re:       Lucky Ward


                                                ari
                                            fM
           Dear Skip,
                                        eo

           Cindy is working daily on Lucky’s case regarding mitigation efforts, while other
           Investigators at the office, namely Edna, are working the guilt and innocence
                                      ffic



           witnesses.
                                  yO




           In an effort to try to keep track of all the time we have spent I put together an
           initial invoice. I’m aware that this invoice probably will not be submitted to the
           court until the case is over, but I had so much paperwork flying everywhere
                              op




           regarding the investigation and mitigation I wanted to get it organized, put it in an
                           lC




           invoice and then start fresh with the additional efforts we’ll make before trial.
                        icia




           The invoice is attached.
                      off




                                                         Sincerely,
                 Un




                                                         JJ Gradoni




            JJG/kk



2611 Cypress Creek Pkwy, Suite ClOO • Houston, Texas 77068        • (281) 440-0800       • Fax (281) 440-0208

                                                                                                0002442
*           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 51 of 479

                                                       j fJfJdC£ fJj £
       Gi doni & _
      ^
    Associates
                                                                        ~
                                                                            Professional Investigative Services




         BILL TO
       Skip Cornelius
       2028 Buffalo Terrace
       Houston, Texas 77019
                                                                                      Invoice

                                                                               DATE         INVOICE #

                                                                            9/20/2013           17735



      FOR PROFESSIONAL SERVICES
                                    DESCRIPTION
                                                  ^                                       AMOUNT



    Re: State of Texas vs. Lucky Ward
        Cause #1297205, 1297204, 1284273, 174th District Court
                    - -
        Our File #12 07 0353, Statement

    Description of Activity:
    See Attached Affidavit
                                       ^
    Services:
    42.95 hours @ $40.00 per houf                                                                   1,718.00

    Expenses:               -P
    495 miles @ .555 per mile                                                                           200.36
    Parking                                                                                              20.00
    Tolls                                                                                                 2.80

      Subtotal                                                                                      1,941.16
    Tax Exempt                                                                                          0.00




    Payment due upon receipt. Thank you!
                                                                            Total                 $1,941.16


    2611 Cypress Creek Pkwy, Suite ClOO    • Houston, Texas 77068 • (281) 440-0800    • Pax (381) 440-0208

                                                                                             0002443
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 52 of 479




                                                                        k
                                                                    ler
                 HARRIS COUNTY CRIMINAL APPOINTMENT




                                                                 tC
                             TIME & MILEAGE LOG
                                 Invoice #17735




                                                              ric
                                                          ist
 Attorney: R.P. Cornelius




                                                    sD
 Defendant: Lucky Ward




                                                  es
 Cause #: 1297205.1297204. 1284273 Court: 174th Statement #:                2




                                                 rg
    Date                       Activity                      Time      Miles    Park     Tolls




                                             Bu
 3/28/13    Field Work, Conduct Interview, Compile
            Report                                           2.75      32




                                         lyn
 3/29/13    Jail Interview with Defendant, Compile Report    4.00      40       5.00

                                      ari
            Conduct Interview, Compile Report
                                   fM
 4/7/13                                                      2.60

            Field Work, Attempts to Contact Witnesses,
                               eo

 4/18/13
            Conduct 2 Interviews, Compile Reports            5.25      81
                             ffic




 4/20/13    Field Work, Conduct 1 Interview, Compile
                            yO




            Report         \                                 3.10      46

 4/21/13    Conduct Interview, Compile Report                2.00
                       op
                    C




 6/5/13     Field Work, Attempts to Locate Witnesses,
            Update Reports                                   3.25      53
                 ial
              ffic




 7/25/13    Field Work, Attempts to Locate Witnesses,
            Conduct 1 Interview, Compile Report              3.40      52                2.80
              o
           Un




 8/29/13    Jail Interview with Defendant, Compile Report    3.10      46       5.00

 8/29/13    Field Work, Conduct 1 Interview, Compile
            Report                                           4.75      53

 9/13/13    Jail Interview with Defendant, Compile Report    4.00      46       5.00

 9/16/13    Review Letter from Defendant, Contacts with
            Attorney                                         1.00

 9/19/13    Jail Interview with Defendant, Compile Report    3.75      46       5.00

 Totals                                                      42.95     495      $20.00   $2.80




                                                                                  0002444
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 53 of 479




                                                                                              k
                                                                                          ler
                                                    AFFIDAVIT




                                                                                      tC
            I, James Gradoni, President of Gradoni & Associates, Inc., State of Texas licensed




                                                                                   ric
    investigative firm, State License #A05741, do swear to and affirm, that the attached




                                                                               ist
    invoice/invoices, for services rendered are true and correct to the best of my belief and
    knowledge.




                                                                        sD
                                                                      es
                                                                nes Gradoni




                                                                  rg
                                                              Bu
  A/ y SWORN TO AND SUBSCRIBED before                               me, the undersigned authority, on this
  r
20 day of f= p [l77d r , 2013, to certify, which witness my hand and seal of
                                       ^
         '

                        ^'

                                                          lyn
    office.


                                                       ari                                  AND FOR
                                                  fM
                        KAYLA KOENIG
                     My Commission Expires                                                  .S
i
                                   .
                      September 13 2016
                                             eo

<                                                            My Commission Expires:
                                         ffic
                                    yO
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               Un




       Gradoni & Associates is licensed by the Texas Board of Private Investigators and Private Security Agency under
                                                     License HA-5741 .

                   Complaints may be directed to P .O. Box 4087 , Austin, Texas 78773-0001 or emailed to
                                        RSD_Customer_Relations@ dps.texas.gov
                                                                                                                 0002445
T
             Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 54 of 479

       Gradoni & _                          Ml                            Professional Investigative Services
     Associates                                                                           State License AS741




         BILL TO
       Skip Cornelius
       2028 Buffalo Terrace
       Houston, Texas 77019
                                                                                    Invoice

                                                                            DATE         INVOICE #

                                                                           3/29/2013          17522


                                  DESCRIPTION                                          AMOUNT
      FOR PROFESSIONAL SERVICES

    Re: State of Texas vs. Lucky Ward
        Cause #1297205, 1297204, 1284273 /mth District Court
        Our File #12-07-0353, Statement #1

    Description of Activity:
    See Attached Affidavit

    Services:
    194.35 hours @ $40.00 per hour                                                                7,774.00

    Expenses:
    440 miles @ .555 per mile                                                                         244.20
    Parking                                                                                            30.00
    Computerized searches                                                                              49.00
    Word Processing                                                                                    69.40
    Clerical                                                                                           14.30

       Subtotal                                                                                   8,180.90
    Tax Exempt                                                                                        0.00




    Payment due upon receipt . Thank you!
                                                                          Total                 $8,180.90



    2611 Cypress Creek Pkwy, Suite ClOO • Houston, Texas 77068   • (281) 440-0800    • Fax (281) 440-0208

                                                                                              0002446
V   '
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 55 of 479




                                                                               k
                                                                           ler
                         HARRIS COUNTY CRIMINAL APPOINTMENT




                                                                        tC
                                 TIME & MILEAGE LOG
                                     Invoice #17522




                                                                     ric
         Attorney: R.P. Cornelius




                                                                 ist
                                                            sD
         Defendant: Lucky Ward




                                                          es
         Cause #: 1297205. 1297204.1284273 Court:174th Statement #:                1




                                                          rg
            Date                       Activity                      Time     Miles    Park   Tolls




                                                      Bu
         8/3/12     Jail Interview with Defendant                   3.50      46       5.00




                                                  lyn
         8/11/12    Review Multiple Offense Reports, Compile
                    Case Overview for Attorney Regarding

                                               ari
                    Witnesses & Evidence Collected
                                           fM                      5.50

         8/12/12    Contacts with Entities Having Records Related
           To       to the Defendant, Prepare, File, 10 Subpoenas
                                        eo


         8/13/12    for Records, Serve 6 Supoenas, Contacts with
                    Entities Regarding Obtaining Records            10.20     110      5.00
                                     ffic




                    Subpoenaed
                                    yO




         8/14/12    Jail Interview with Defendant, Compile Report   4.90      46       5.00
                              op




         8/16/12    Review Records Related to Defendant, Compile
                             C




                    Report                                          3.10
                         ial




         8/27/12    Jail Interview with Defendant, Compile Report   4.75      46       5.00
                      ffic




         8/28/12    Serve 4 Subpoenas for Records                   3.50      63
                      o
                   Un




         8/29/12    Begin Mitigation Report Regarding Family
                    Members and Potential Mitigation Witnesses      5.25

         9/1/12     Review TDCJ Records, Compile Report             5.25
         9/4/12     Attempts to Make Contact with Defendant
                    Relatives by Phone, Update Reports              2.50

         9/18/12    Contacts with CPS, Compile Report               1.00

         9/22/12    Review of Defendant’s Medical Records,
                    Compile Synopsis Report                         4.25




                                                                                          0002447
v.
 .
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 56 of 479




                                                                                k
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      9/24/12    Review of Defendant’s Medical Records,




                                                                             tC
                 Compile Synopsis Report                                 4.75




                                                                          ric
      9/29/12    Review of Defendant’s Medical Records,




                                                                      ist
                 Compile Synopsis Report                                 6.00




                                                                   sD
      10/12/12   Review Offense Reports, Identify Witnesses, .
                 Set Investigative Assignments to Make Contact




                                                                 es
                 and Interview Witnesses            -                    3.75   .




                                                      rg
      10/29/12   Jail Interview with Defendant, Compile Report           3.10       46   5.00




                                                  Bu
      1/8/13     Conduct Computerized Searches to Identify




                                              lyn
                 Current Addresses for Defendant’s Relatives,
                 Update Reports, Attempts to Make Contacts
                 with Relatives by Phone
                                           ari                           4.25
                                        fM
      1/17/13    Jail Interview with Defendant, Compile Report           4.30       46   5.00
                                    eo


      1/18/13    Attempts to Contact Witnesses by Phone,
                                   ffic



                                                     '

                 Update Reports                                          2.50
                             yO




      1/24/13    Review Defendant’s Medical Records, Compile
                 Synopsis Report                                  .      4.00
                          op




      1/29/13    Review Defendant’s TDCJ Records, Compile
                       lC




                 Synopsis Report                                         3.10
                    icia




      1/30/13    Review Defendant’s TDCJ Records, Compile
                 Synopsis Report                                         3.75
                 off




      2/3/13     Review Defendant’s TDCJ Records, Compile
                 Un




                 Synopsis Report                                         6.25

      2/4/13     Review Defendant’s TDCJ Records, Compile
                 Synopsis Report               -
                                                 '

                                                         .
                                                             '
                                                                         8.30

      2/5/13     Review Defendant’s MHMR/TDCJ Records,
                 Compile Synopsis Report                                 5.00

      2/14/13    Jail Interview with Defendant, Compile Report           3.75       46   5.00

      2/22/13    Interviews with Defendant’s Relatives, Update           3.10
                 Reports




                                                                                           0002448
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 57 of 479




                                                                      k
                                                                  ler
 2/23/13   Prepare Final Report to Attorney Regarding




                                                                 tC
           Defendant’s TDCJ Records, Medical Records,
           Family History                                      3.50




                                                              ric
                                                          ist
 3/1/13    Conduct Database Searches to Identify Current
           Addresses for Relatives, Conduct Three




                                                         sD
           Relative Interviews, Compile Reports                6.10




                                                       es
 3/5/13    Contacts with Entities Subpoenaed for Records
           Which Have Not Responded                            2.10




                                                rg
                                            Bu
 3/6/13    Field Work, Attempts to Locate Witnesses,
           Conduct Two Interviews, Compile Reports             7.30    76




                                        lyn
 3/6/13    Conduct Database Searches to Identify and
                                     ari
           Locate Current Addresses for Witnesses, Phone
           Calls to Witnesses Utilizing Information
                                 fM
           Developed, Conduct Two Interviews, Compile
           Reports                                             6.50
                              eo


 3/7/13    Conduct Additional Computerized Searches to
                            ffic




           Locate Current Addresses for Relatives, Update
                       yO




           Reports, Briefing with Attorney         .           3.10

 3/7/13    Field Work, Attempts to Locate 2 Witnesses          2.90    48
                     op
                 lC




 3/7/13    Conduct Interview, Compile Report                   2.40
              icia




 3/8/13    Status Meeting with Investigators Regarding
           Location of Witnesses and Interview Results         1.90
           off




 3/8/13    Conduct Two Interviews, Compile Reports             3.75
           Un




 3/10/13   Review Newly Received Medical Records of
           Defendant, Compile Report                           3.75

 3/11/13   Conduct Five Interviews, Compile Reports            8.25

 3/11/13   Develop Additional Investigative Assignments
           for Investigators                                   1.25

 3/12/13   Phone Attempts to Make Contact with
           Witnesses, Conduct Two Interviews, Compile
           Reports                      -      -               4.10




                                                                            0002449
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 58 of 479




                                                                          k
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 3/13/13    Conduct Interview, Compile Report                  3.25




                                                                    tC
 3/15/13    Status Meeting with Attorney at His Office to.




                                                                 ric
            Review Investigation to Date                       4.00       40




                                                             ist
 3/17/13    Review New Offense Report, Compile Case




                                                       sD
            Overview for Attorney Regarding Witnesses
            and Evidence Collected                             4.25




                                                     es
                                                    rg
 3/26/13     Conduct Two Interviews, Compile Reports           3.60




                                                Bu
 3/27/13     Conduct Database Searches to Identify Current
             Addresses for Defendant’s Relatives               2.75



                                            lyn
 Totals                                                         19435 440         30.00
                                         ari
                                      fM
                                        AFFIDAVIT
                                     eo

        1, James Gradoni, President of Gradoni & Associates, Inc., State of Texas licensed
 investigative firm, State License #A05741, do swear to and affirm, that the attached
                                 ffic



 invoice/invoices, for services rendered are true and correct to the best of my belief and
 knowledge.
                              yO




                                                 fes Gradoni
                         op
                      C




      ij SWORN TO AND SUBSCRIBED before me, the undersigned authority, on this
                  ial




       -day of     cJ^\J , 2013, to certify, which witness my hand and seal of
               ffic




 office.
              o
           Un




                KAYLA KOENIG                 NOTARY             C IN AND FOR
             My Commission Expires           THH STATE OF TEXAS
                          .
              September 13 2016

                                             My Commission Expires:            /V .
                                                                          9 / /L




                                                                                      0002450
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 59 of 479




                                                                             k
                                                                         ler
                                   IN CAMERA MOTION




                                                                       tC
                                                                    ric
                                          NO. 1297205




                                                                ist
THE STATE OF TEXAS                                           IN THE DISTRICT COURT OF




                                                           sD
                                              §
V.S.                                                         HARRIS COUNTY, TEXAS
                                              §




                                                         es
LUCKY WARD                                                   174TH JUDICIAL DISTRICT




                                                       rg
                                                   Bu
       DEFENDANT’S IN CAMERA MOTION FOR OUT OF COURT EXPENSE

TO THE HONORABLE JUDGE OF SAID COURT:



                                               lyn
               COMES NOW, LUCKY WARD, the Defendant in the above-styled and numbered
                                            ari
                                         fM
causes, by and through his attorney of record, R. P. CORNELIUS, and respectfully requests the
                                     eo

Court to grant this request for out of court expenses for the following good and sufficient reasons:
                                 ffic



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                             yO




       Defendant is charged with capital murder.
                          op




                                                  n.
                        C




       Defendant is in need of additional funds to cover the out of court expenses of investigations,
                     ial




possible expert witness fees for guilt/innocense or punishment issues, and possible expert testimony
                  ffic




regarding same.
                o
             Un




                                                  m.
       This request is based on preliminary investigation by defense counsel but a more thorough

investigation is needed to properly prepare this case for trial and/or meaningful plea negotiation.

       WHEREFORE, PREMISES CONSIDERS, Defendant prays that the Court grant this motion

in camera and order that such costs as are necessary be paid by the state.




                                                                                           0002451
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 60 of 479




                                                               k
                                                           ler
                                                          tC
                                                 Respectfully submitted,




                                                       ric
                                                   ist
                                            sD
                                              R.P. CORNELIUS
                                              2028 Buffalo Terrace




                                          es
                                              Houston, Texas 77019




                                            rg
                                              (713) 237-8547




                                        Bu
                                              State Bar No. 04831500

                                              COURT APPOINTED



                                    lyn
                                              ATTORNEY FOR DEFENDANT

                                 ari
                              fM
                           eo
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               ial
           offic
        Un




                                                                           0002452
Vs
       Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 61 of 479




                                                                                    k
                                                                                ler
                                                  .
                                                NO 1297205




                                                                                tC
                                                                             ric
     THE STATE OF TEXAS                           §                 IN THE DISTRICT COURT OF
                                                  §




                                                                         ist
      ..
     VS                                           §                 HARRIS COUNTY, TEXAS




                                                                  sD
                                                  §
     LUCKY WARD                                   §                 174TH JUDICIAL DISTRICT




                                                                es
                                               ORDER




                                                            rg
                                                        Bu
            On this           day of                  , 2013, came on to be heard DEFENDANT’S IN

     CAMERA MOTION FOR OUT OF COURT EXPENSE and it is the Order of the Court that said



                                                    lyn
                                                               g / &> .<?<>
                                                 ari
     motion should be granted.
                                                               jMLJk.
                                               fM
            It is the Order of the Court that an amount of
                                                                  ^
                                                             jQ I "2 '         ’ * aPProved
                                                                                  s         for additional
                                          eo

     out of court expenses consistent with this motion. If additional funds are needed trial counsel is
                                       ffic



     directed to make an additional request.
                                  yO
                                 op




                                                             Judge, 174th District Court
                             C




                                                             of Harris County, Texas
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                                                                                                 0002453
      “V
            •*; S
                           - Case 4:17-cv-03621
                    Form 40 1 B
hl5ms County?Texas ( REV. 07/ 10)
                                                                   Document 89-8 Filed on 01/05/23 in TXSD Page 62 of 479
                                                                                                              INSTRUCTIONS
         ATTORNEY FEES EXPENSE CLAIM
                                                                           Show only one defendant per claim.              //# >                *            /
      DISTRICT COURTS-COURT APPEARANCE                                            Before payment can be authorized, each item must be completed legibly in ink.
                                    .
       UNDER ARTICLE 26.05 CODE OF CRIMINAL PROCEDURE
                                                                                  Forward completed claim to the presiding judge for approval .
                                    AS AMENDED

Court No. Defendant Name

                                                                                                                                        mm
                                                                                             Case Numbers)                              Charge( s)

     33# X)6 L \/j. 'U-UM5              .
                                                                                              Number of Court                               TOTAL                     AMOUNT
       INDIVIDUAL CASE APPOINTMENT                                                              Days/ Hours
                                                                                                                      RATE
                                                                                                                                       ( presumptive max .   /    ( Judge Completes )




      NON-TRIAL
                                    ^   first Degree
                                        Second Degree
                                                                                                   ±              $225/day

                                                                                                                  $175/day
                                                                                                                                          *$1? 125
                                                                                                                                            *$875
                                                                                                                                                                    feo

                                        Third Degree, SJF, MRP/MAJ                                                $125/day                  *$625
                                        First Degree                                                              $500/day
            TRIAL                       Second Degree                                                             $400/day
                                        Third Degree, SJF, MRP/MAJ                                                $300/day

^RETRIAL HEARING WITH TESTIMONY & PSI
HEARING                                                                                            /              $350/day
                                                                                                                                                                  3 72
                                                                                                                                                                       ^
                                                                                                   .00
OUT OF COURT t hrst Degree
HOURS (Must
detail on Out Of
Court Hours Log.)
                          - -
                                        Second Degree

                                        Third Degree, SJF, MRP/MAJ
                                                                                               ^                  $85/hour

                                                                                                                  $60/hour

                                                                                                                  $40/hour
                                                                                                                                          $1,700

                                                                                                                                            $600

                                                                                                                                            $400

INVESTIGATION Bills submitted by investigators and experts must                                                                          $600/case
              document the dates and hours spent on the case and
    EXPERT    must be sworn to or affirmed to as accurate. Expert
                                                                                                                                         $650/case
  TESTIMONY expenses paid per County policy.
MENTAL HEALTH SUPPLEMENT (Must detail on
                                                             $50/hour                                                                      $250
Out Of Court Hours Log.)
      - -
BILINGUAL SUPPLEMENT                                                                                               $50/day                 $250
AFTER HOURS SUPP. (Trial/Hearing after 6:00 pm)                                                                   $50/hour
OTHER                                                                        ,5

                                                                                                                                   TOTAL S                               on
                                                                             -
*The presumptive maximum number of non trial settings beyond a term assignment is four.
List date(s/) ofyall Coui                               Appearances Attacji                   ny Out-of-Court Hours Log.
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      / '
       >  .
             / ww
            aqhoh                           f
                                                *
                                                                            ^              ^
                                                                           PERSONAL INFORMATION
                                                                   elephone Number                                        Bax Card Number


Mailing Address (Number, StreeLSuite, City, State Zip Code)            .                                    1                  _   _
                                                *   _                             CERTIFICATION                                                              *

 i.              [    f&r                     , swear or affirm that the Hanis County Auditor may rely upon the
 information contained above to make payment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Tex. Code Crim. P. Art. 26.05. I further swear or affirm that I have
 not received nor will I receive anything of value for representing the accused, except as otherwise disclosed to                           -
 the Court in writing.
        _
 I / uidAiid not receive this appointment originally as a limited term assignment.
                                                                                                                                                             c
    v Circle One)                                                                  (Atromey Initials)
           ^
 SWORN TO AND                                       iCRJBED BEFORE ME ON THIS THE                                                  OF                            A.D. 20     / 3,.
                                                    / \K.        RECORDER’S MEMORANDUM                                                     7
                                                                 This instrument is of poor quality
 Approved                                                              at the time of imaging      ^
                                                                   Judge, Presiding                                                              Attomevjt Law (Signature)


                                                    listrict Clerk Deputy (Signature)                                                                            0002454
                                                                                                                                                Attorney Name (print legibly)
                                                                                             COURT
                    s Form 40-11
z.   Ssjnty Auditor'Case     4:17-cv-03621
                .
     Hwis County Texas (09/07)
                                   OUTDocument
                                       OF COURT89-8 Filed on 01/05/23 in TXSD Page 63 of 479
                                                             HOURS LOG
     Court Number            Case Number             Defendant’s Name
                                                                       / x /J                  LKJU-UA/H<,
                                                                JAIL VISIT( S)
        DATE               INTERVIEW TIME - BEGIN                 INTERVIEW TIME - END                                    WAIT TIME
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     ft              rC) fi,g, uJ / J -f
                               ^


                                          WITNESS INTERVIEW( S)
        DATE               INTERVIEW TIME - BEGIN               INTERVIEW TIME - END
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                                                        RECORDS RESEARCH
        DATE              BEGIN TIME                   END TIME                                     DESCRIPTION OF ACTIVITY




                                                           LEGAL RESEARCH
        DATE            BEGIN TIME                     END TIME                                          GENERAL TOPIC


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        DATE            BEGIN TIME                     END TIME                                     DESCRIPTION OF ACTIVITY




                                        -O                PERSONAL INFORMATION
                                                                                   '

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                                                  Telephone Number                                      Bar Card Number

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        QJ>&£ (huZfAtj)
                                                  (
     Mailing Address (Number, Street, Suite, City, State, Zip Code )

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                                                                                                ,
                                                                                                                  ^
                                                                CERTIFICATION
                    fkfi Cjofo)£ LIU5              , swear or affirm that the Harris County Auditor may rely upon the
      information contained above to make payment according to the fee schedule adopted by the Board of District
      Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
      affirm that I have not received nor will I receive anything of value for representing the accused, except as
      otherwise disclosed to the Court in writing.
      SWORN TO                                :D BEFORE ME ON THIS THE                                                          A.D. 20 /    3
      Approved                                      IP  :e ,                 .         _                              Attorney at Law ( Signature )

                                   District Clerk Deputy ( Signature )                                              Artomgyrvame ( print legibly)
                                                                                                                             0002455
                                                                           COURT
                     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 64 of 479
                        -
bounty Auditor's Form 40 1 B
HUTU County. TX (REV. 1/13)                                                                                     INSTRUCTIONS

         -
         ATTORNEY FEES EXPENSE CLAIM
      DISTRICT COURTS COURT APPEARANCE  -
       UNDER ARTICLE 26.05, CODE OF CRIMINAL PROCEDURE
                                                                         Show only one defendant per claim.

                                                                           Before payment can be authorized , each item must be completed legibly in ink.

                                   AS AMENDED                              Forward completed claim to the presiding judge for approval.                         P2
Court No         .    Defendant Name                                                  Case Number(s)
                      ~
 hU                    T!LL5T/ AJ WUMfytf
                                                                                       Number of Court                               TOTAL                  AMOUNT
       INDIVIDUAL CASE APPOINTMENT                                                       Days/Hours
                                                                                                               RATE
                                                                                                                             (presumptive max.)       (fudge Completes)


                                        First Degree                                                       $225/day              *$1125
      NON-TRIAL                         Second Degree                                                      $175/day                  *$875
                                    y
                                        ^FirstnirdDegree
                                                   Degree, SJF MRP/MAJ
                                                             ,
                                                                                           £               $125/day                  *$625            So°
                                                                                                           $500/day
             TRIAL                      Second Degree                                                      $400/day
              Third Degree, SJF, MRP/MAJ                                                                   $300/day
        -
PRE TRIAL HEARING WITH TESTIMONY & PSI                                                                     $350/day
HEARING
OUT OF COURT First Degree                                                                                  $85/hour              $1,700
HOURS (Must
             Second Degree                                                                                 $60/hour                  $600
detail on
        Out Of          - -
Court Hours Log.)                    i Jurd Degree, SJF, MRP/MAJ
                                        ^Bills submitted by investigators and experts must                 $40/hour                  $400               / yo         •



INVESTIGATION                                                                                                                  $600/case
             document the dates and hours spent on the case and
             must be sworn to or affirmed to as accurate. Expert
EXPERT                                                                                                                         $650/case
             expenses paid per county policy.
MENTAL HEALTH SUPPLEMENT (Must detail on
Out-Of-Court Hours Log )                    .                                                              $50/hour               $250
BILINGUAL SUPPLEMENT                                                             w                         $50/day                $250
                                            .
AFTER HOURS SUPP (Trial/Hearing after 6:00 pm )                                                            $50/hour
OTHER                                                                    ©
                                                                   &
                                                                 .(&S;                                                   TOTALS                                 "

*The presumptive maximum number of non-trial settings beyond a term assignment is four.
List date(s) of all Court Appearances. Attach anv^Out-of-Court Hours Log.
  yr.
                                                               PERSONAL INFORMATION
                                                         elephone Number                                          Bar Card Number


  [ailing
                                                             K3
             Address (Number, Street, Suite, City, State, Zip Code)
                                                                    A
                                                                             2/
                                                                                        NATION

                                                  , swear or affirm that the Harris County Auditor may rely upon the information contained
  above to make payment according to the fee schedule adopted by the Board of District Judges Trying Criminal Cases pursfiSnt to Tex.
  Code Crim. P. art. 26.05. I further swear or affirm that I have not received nor will I receive anything of value for representing the
             .
  acci s,ed except as otherwise disclosed to the Court in writing.
  I did/flid not repew this appointment originally as a limited term assignment.
               (Circle One
                                        ^
                               Attorney at Law (Signature)                                Z*                Attorney Name (printlegibly)

  SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE
                                                                                         ^^        DAY OF         /VfiV'         f                  A.D. 20
                                                                                                                                                            N




                                                  District Clerk Deputy (Signature)
 The above fees, including any fees which exceed the presumptive maximumjees set forthJyerejjf were reviewed by this court and
 determined to be both reasonable and necessary and are hereby ap|           wyfflgfflT

                                                                    Appi
                                                                                                                      Judge Presiding
                                                                                                                                                0002456
                                                                                  COURT
           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 65 of 479
County Auditor’s Form 40-1L
Harris County. Texas (09/07)
                                   OUT OF COURT HOURS LOG
                                                         Defendant’s Name
Court Number

      /74      .               Case Number

                               \ / mKs \ %&$/£/
                                           JAIL VISIT(S)
   DATE;             INTERVIEW TIME - BEGIN                           INTERVIEW TIME - END                     WAIT TIME




                                                          WITNESS INTERVIEW(S)
   DATE                         INTERVIEW TIME - BEGIN                                    INTERVIEW TIME - END


                                                                                              ;s>

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                                                              RECORDS RESEARCH
   DATE                 BEGIN TIME                            END TIME                  DESCRIPTION OF ACTIVITY

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                                                                LEGAL RESEARCH
   DATE
     -                  BEGIN TIME                            END TIME                        GENERAL TOPIC
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   DATE                 BEGIN TIME                            END TIME                  DESCRIPTION OF ACTIVITY


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                                                               PERSONAL INFORMATION
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 [ailing




 I,
                                                      \Cii3
           Address (Number, Street, Suite, City, State, Zip Code)
                                                                  ^   CERTIFICATION
                                                                                              0/43/if06

                                              , swear or affirm that the Harris County Auditor may rely upon the
 information contained above to make payment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
 affirm that I have not received nor will I receive anything of value for representing the accused, except as
 otherwise disclosed to the Court in writing.
 SWORN TO AND UBSCRffi:
                               ^                              ORE ME ON THIS THE                                      A.D. 20     /1
 Appro vi
                                                        7u3ge, Presiding

                                        District Clerk Deputy (Signature )
                                                                                       WMm?0002457                  y at Law ( Signature)

                                                                                                           Attorney Name (print legibly )

                                                                             COURT
                          -
                       Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 66 of 479
 bounty Auditor's Form 40 1 B
 Harris Coumy. TX ( REV. 1/13)                                                                                   INSTRUCTIONS
                                                                        Show only one defendant per claim.
           ^ATTORNEY FEES EXPENSE CLAIM
        DISTRICT COURTS-COURT APPEARANCE                                Before payment can be authorized, each item must be completed legibly in ink .

 \      UNDEH ARTICLE 26.05. CODE OF CRIM INAL PROCEDURE
              J
 Court No. Defendant Name
                          AS AMENDED

                                                                    7
                                                                        Forward completed claim to the presiding judge for approval.

                                                                                   Case Number(s)                           Charge(s )
                                                                                                                                                     "




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        INDIVIDUAL CASE APPOINTMENT
                                                                                   /37 7
                                                                                               ^^
                                                                                    Number of Couit
                                                                                      Days/Hours
                                                                                                             RATE
                                                                                                                                TOTAL
                                                                                                                           ( presumptive   max. )
                                                                                                                                                          AMOUNT
                                                                                                                                                     (Judge Completes)


                                        First Degree                                                      $225/day             *$1125
       NON TRIAL -                 l Second Degree                                                        $175/day              *$875                    f 7
                                        Third Degree, SJF, MRP/MAJ                                        $125/ day             *$625
                                        First Degree                                                      $500/ day
             TRIAL                      Second Degree                                                     $400/day
                Third Degree, SJF, MRP/ MAJ                                                               $300/day


 ^ RE TRIAL HEARING WITH TESTIMONY & PSI
U HEARING
 OUT OF COURT                           Firstpegree
                                                                                       1                  $350/d

                                                                                                          $85/hour
                                                                                                           Or-
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                     Bills submitted by investigators and experts must                                                       $600/case
 INVESTIGATION
                     document the dates and hours spent on the case and
                      must be sworn to or affirmed to as accurate. Expert
 EXPERT                                                                                                                      $650/case
                     expenses paid per county policy.        v
 MENTAL HEALTH SUPPLEMENT ( Must detail on
 Out-Of -Court Hours Log.)
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 BILINGUAL SUPPLEMENT                                                                                    $50/day               $250
 AFTER HOURS SUPP. (Trial / Hearing after 6:00 pm )
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                                                         or affirm that the Harris County Auditor may rely upon the information contained
  above to make payment according to the fee schedule adopted by the Board of District Judges Trying Criminal Cases pursuant to Tex.
  Code Crim. P. art . 26.05. I further swear or affirm that I have not received nor will I receiv anything of value for representing the
  acc u sed e CepNas otherwise disclosed to the Court in writing.
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                              Attorney at Law (Signature )                                                Attomc Name ( print legibly )
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  SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                    DAY OF         Ocf                               A.D. 20


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                                                                 Deputy (Signature)
  The above fees, including any fees which exceed the presumptive maximum fees set forth herein were reviewed by this court and
  determined to be both reasonable and necessary and are hereby approved for pay

                                                                Approved

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                                                                               COURT
County Auditor’s Form 40-1L
             Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 67 of 479
            .
Harris County Texas (09/07)
                                    OUT OF COURT HOURS LOG
Court Number                  Case Number               Defendant' s Name                             /
     m                        i3Mi£ Kjrnt
                                                                  JAIL VISIT (S)
  DATE                                                                                                              WAIT TIME
                     INTERVIEW TIME - BEGIN                           INTERVIEW TIME - END
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                                                           WITNESS INTERVIEW( S)
   DATE                           INTERVIEW TIME - BEGIN                                         INTERVIEW TIME - END

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                                              , swear or affirm that the Harris County Auditor may rely upon the
 information contained above to make cpayment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art . 26.05. I further swear or
 affirm that I have not received nor will I receive anything of vajii£ for representing the accused, except as
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 SWORN TO                     .SUBSCRIBED BEFORE ME ON THIS THE                                                             A. D. 20

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                                                                                                      /\       / Attorney at Law (Signature )

                                    District Clerk Deputy ( Signature )                                                        -
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                                                                                                              Attorney NafflC

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Couniy Auditor s Form 40 1 B
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                             -    4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 68 of 479
             .
Harris County TX ( REV. 1 /13)                                                                                            INSTRUCTIONS
       \   ATTORNEY FEES EXPENSE CLAIM                                           Show only one defendant per claim.

        DISTRICT COURTS-COURT APPEARANCE                                         Before payment can be authorized , each item must be completed legibly in ink
\                                     .
        UNDKR ARTICLE 26.05 CODE OF CRIMINAL PROCEDURE
\         /               AS AMENDED                                             Forward completed claim to the presiding judge for approval .

             No . Defendant Name                                             I              Case Number(s)                             Charge( s)
    nQ                       K &7HWj/tfsrtN                                                  Number of Court                               TOTAL                   AMOUNT
        INDIVIDUAL CASE APPOINTMENT                                                            Days/Hours
                                                                                                                      RATE
                                                                                                                                      (presumptive max .)       (Judge Completes )


                                          First Degree                                                            $225/day                *$1125
       NON-TRIAL                      \ Second Degree                                           S'                $ 175/day                *$875
                                          Third Degree, SJF, MRP/MAJ                                              $ 125/day                *$625
                                          First Degree                                                            S500/day
             TRIAL                        Second Degree                                                          $400/day

              Third Degree, SJF, MRP/MAJ                                                                         $300/day
FkE-TRIAL HEARING WITH TESTIMONY & PSI
HEARING                                                                                           /              $350/day

OUT OF COURT                              First Degree                                                            $85/ hour              $ 1 ,700
HOURS ( Must
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detail on Out-Of-
                                          Second Degree                                        / O.Q' J           $60/ hour                $600
Court Hours Log. )                        Third Degree, SJF, MRP/MAJ                                              $40/hour                 $400

INVESTIGATION Bills submitted by investigators and experts must                                                                         $600/case
                    document the dates and hours spent on th i case and
                    must be sworn to or affirmed to as accurate. Expert
EXPERT                                                                                                                                 $650/case
                    expenses paid per county policy.
MENTAL HEALTH SUPPLEMENT ( Must detail on
                                                                   $50/hour                                                               $250
Out-Of -Court Hours Log. )
BILINGUAL SUPPLEMENT                                               $50/day                                                                $250
AFTER HOURS SUPP. (Trial / Hearing after 6:00 pm)                                                                $50/hour
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*The presumptive maximum number of non-trial settings beyond a term assignment is fou .
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List date(sLof all Court /Appearances; Attach any Out-of-Court Hours faag DER S MEMORANDUM
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                                                  swear or affirm that the Harris County Auditor may rely upon the information contained
    above to make payment according to the fee schedule adopted by the Board of District Judges Trying Criminal Cases pursuant to Tex.
    Code Crim. P. art. 26.05. I further swear or affirm that I have not received nor will I receive anything of value for representing the
    accused , e
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                   is otherwise disclosed to the Court in writing.
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                               Attorney at Law (Signature )

    SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                          DAY OF
                                                                                                                  Attorney Name ( print legibly )
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                                                     District Clerk Deputy (SigTramfe)
    The above fees, including any fees which exceed the presumptive maximum fees set forth herein were reviewed by this court and
    determined to be both reasonable and necessary and are hereby approved for

                                                                           Approved

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                                                                                        COURT
County Auditor’s Form 40-1L
                       Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 69 of 479
                   .
Harris County Texas (09/07)
                                     OUT OF COURT HOURS LOG
Court Number                     Case Number               [ Defendant s Name                           /

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                                                                      CERTIFICATION
                                              , swear or affirm that the Harris County Auditor may rely upon the
 information contained above to maice tpayment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art . 26.05. I further swear or
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 otherwise disclosed to the Court in writing.
 SWORN TO                        SUBSCRIBED BEFORE ME ON THIS THE                                                               A .D. 20
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                                                           Judge, Presiding                                           Attorney at Law ( Signature)


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                                        District Clerk Deputy ( Signature )                                         Attome
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                                                                                   COURT
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                      -   4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 70 of 479
 nu ily AudiLor's Form 40 IB
            .
Harris County TX ( REV. 1/13)

                                                                    Show only one defendant per claim .
                                                                                                          INSTRUCTIONS
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           ATTORNEY FEES EXPENSE CLAIM
        DISTRICT COURTS-COURT APPEARANCE                            Before payment can be authorized, each item must be completed legibly in ink .
        UrtDER ARTICLE 26.05, CODE OF CRIMINAL PROCEDURE
                                    AS AMENDED                      Forward completed claim to the presiding judge for approval.

 JourtNo. I Defendant Name                                .                     Case Number(s)                         Charge(s)                               i
        ft ft M&7T//£kJ
                                                                                Number of Court                            TOTAL                     AMOUNT
        INDIVIDUAL CASE APPOINTMENT                                               Days/Hours
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                                                                                                                      (presumptive max.)       (Judge Completes)


                                      First Degree                                                  $225/day              *$1125
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        NON TRIAL                   ( Second Degree
                                      Third Degree, SJF, MRP/MAJ
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              Third Degree, SJF, MRP/MAJ
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PRE-TRIAL HEARING WITH TESTIMONY & PSI
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HEARING
OUT OF COURT                          Firstpegree                                                    $85/hour             $1,700
HOURS (Must
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                                    l Second Degree
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INVESTIGATION Bills submitted by investigators and experts must                                                         $600/case
                   document the dates and hours spent on the case and
                    must be sworn to or affirmed to as accurate. Expert
EXPERT                                                                                                                  $650/case
                   expenses paid per county policy                          .
MENTAL HEALTH SUPPLEMENT (Must detail on
                                                                  $50/hour                                                 $250
Out Of Court Hours Log.)
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BILINGUAL SUPPLEMENT                                               $50/day                                                 $250
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*The presumptive maximum number of non-trial settings beyond a term assignment is four.


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 Code Crim. P. art. 26.05. I further swear or affirm that I have not received nor wilUI receive anything of value for repiQegti g the
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                            Attorney at Law (Signature)                                              Attorney Name (print legibly)

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                                                  District CJpfk Deputy (Signature)
 The above fees, including any fees which excee              ptive maximum feesjset forth herein were reviewed by this court and
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                                                                                                              Judge Presiding
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County Auditor'sCase        -
                 Form 40 14:17-cv-03621
                           L                             Document 89-8 Filed on 01/05/23 in TXSD Page 71 of 479
Harris County, Texas (09/07)
                                    OUT OF COURT HOURS LOG
Court Nurpber                    Case Number Defendant's Name

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 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
 affirm that I have not received nor will I receive anything of value for        esenting the accused, except as
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                                                               Judge, Presiding

                                         District Clerk Deputy ( Signature )                                                           Attogieyj)lame (print legibly)
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 72 of 479




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                                                  NO. 1366319




                                                                               tC
     THE STATE OF TEXAS                                              IN THE DISTRICT COURT OF




                                                                            ric
     V.S.                                                            HARRIS COUNTY, TEXAS




                                                                        ist
     MATTHEW VINCENT WOODARD                           §             182ND JUDICIAL DISTRICT




                                                                    sD
                      MOTION FOR PAYMENT OUTSIDE PRESUMPTIVE MAX




                                                                  es
     TO THE HONORABLE JUDGE OF SAID COURT:




                                                                rg
                      COMES NOW, R.P. CORNELIUS, attorney of record for MATTHEW VINCENT




                                                            Bu
     WOODARD, and respectfully files this Motion For Payment Outside Presumptive Max and would




                                                        lyn
     show the Court the following:

                                                     ari   I.
                                                 fM
               Counsel was appointed to represent this defendant on December 10, 2012. Said defendant
                                              eo


     was charged in this case with aggravated assault, a second degree felony.
                                          ffic



                                                           n.
                                      yO




               Counsel has made at least ten (10) non-trial appearances but seeks payment for only four (4).
                                                           m.
                                   op




               An extensive amount of trial preparation was done on this matter and Counsel spent a
                                C
                              ial




     significant amount of time in contact with defendant, his family, and reviewing speech and hearing
                          ffic




     issues.
                        o




                                                           IV.
                     Un




               Counsel is seeking payment for a total of 31.50 out-of-court hours on this matter.
                                                           V.
                                                       --
               Said time includes (3,00) hours of out of court time in written correspondence or personal

                                                 - -
     contact with defendant, (1.25) hours of out of court time with defendant’s family or witnesses in this

                                                                                             --
     matter, (2.00) hours of out-of-court time researching records, (23.50) hours of out of court time
     researching legal matters and preparing for trial, and (1.75) hours of time in contact with the DA or
     the Court.
                                                                                           F Chris
                                                                                             I LDaniel
                                                                                                   ED
                                                                                             District Clerk

                                                                                             JUL 2 8 21M
                                                                                    Time:.
                                                                                              Harris County, Texas
                                                                                     By.            0002464
                                                                                                   Deputy
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      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 73 of 479




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           WHEREFORE PREMISES CONSIDERED, appointed counsel respectfully requests this




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    Honorable Court to order payment for 31.50 out-of-court hours in the matter.




                                                           es
                                                                      submitted,




                                                          rg
                                                      Bu
                                                       R.P. CORNELIUS



                                                  lyn
                                                       2028 Buffalo Terrace
                                                       Houston, Texas 77019

                                               ari
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                                                       (713) 237 8547
                                                       State Bar No. 04831500
                                                       ATTORNEY FOR DEFENDANT
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  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 74 of 479




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                                         NO. 1366319




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THE STATE OF TEXAS                                         IN THE DISTRICT COURT OF




                                                               ist
V.S.,                                                      HARRIS COUNTY, TEXAS
                                             §




                                                          sD
MATTHEW VINCENT WOODARD                      §             182ND JUDICIAL DISTRICT




                                                        es
                                             ORDER




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                                                    Bu
        On this                     day of                           2014, came on to be heard
appointed trial counsel’s Motion For Payment Outside Presumptive Max.




                                                lyn
        Said motion is hereby granted/denied and IT IS ORDERED that appointed trial counsel is

                                             ari
to be paid 31.50 hours for out-of-court time spent on this case.



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                                             JEANMNE BARR, JUDGE
                                 ffic



                                             182®DISTRICT COURT
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    .Aunty Auditor s Form Case
                         ^/.)-11/13B ) 4:17-cv-03621 Document 89-8 Filed on 01/05/23 INSTRUCTIONS
                                                                                     in TXSD Page 75 of 479
    •itmt

             ATTORNEY FEES EXPENSE CLAIM                            Show only one defendant per claim.                                        iv
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         ( ISTRICT COURTS COURT APPEARANCE
         WDER ARTICLE 26.05, CODE OF CRIMINAL PROCEDURE
                                                                    Before payment can be authorized, each item must be completed legibly in ink.

          V               AS AMENDED                                Forward completed claim to the presiding judge for approval.

    Court No. Defendant Name                                                      Case Number(s)

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                                                                                  Number of Court                          TOTAL                    AMOUNT
        INDIVIDUAL CASE APPOINTMENT                                                 Days/Hours
                                                                                                         RATE
                                                                                                                     (presumptive max.)       (Judge Completes)




                                                                                                                                                             .
                                   First Degree                                                     $225/day             *$1125
        NON-TRIAL              i   Second Degree                                     s              $175/day              *$875             43?
                                   Third Degree, SJF, MRP/MAJ                                       $125/day              *$625
                                   First Degree                                                     $500/day
             TRIAL                 Second Degree                                                    $400/day
                  Third Degree, SJF, MRP/MAJ                                                        $300/day
    PRE-TRIAL HEARING WITH TESTIMONY & PSI
                                                                                                    $350/day
    HEARING
    OUT OF COURT Firstpegree                                                                        $85/hour             $1,700
    HOURS (Must
    detail on Out-Of- \
                        Second Degree                                             3J    7           $60/hour               $600
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    CourpHours Log.) Third Degree, SJF, MRP/MAJ                                                     $40/hour              $400
                                   Bills submitted by investigators and experts must

^   INVESTIGATION document the dates and hours spent on the ease and
    EXPERT
                                   must be sworn to or affirmed to as accurate. Expert
                                   expenses paid per county policy.
    MENTAL HEALTH SUPPLEMENT (Must detail on
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                                                                                                                        $600/case

                                                                                                                       $650/case
                                                                                                                                             MdS.
                                                                                                                                                         y
    Out-Of-Court Hours Log.)
    BILINGUAL SUPPLEMENT
                                                                                  £                 $50/hour
                                                                                                    $50/day
                                                                                                                          $250
                                                                                                                          $250
                                                                                                                                                             i
    AFTER HOURS SUPP. (Trial/Hearing after 6:00 pm)                                                 $50/hour                                             «4
    OTHER                                                           cr
                                                                  " O'
                                          O'                  o             TOTAL|$ >609 '
    *The presumptive maximum number of non-trial settings beyond a term assignment is four.                                        ^                 ^
    List date(s) of all.Court Appearances. Attach any Out-of-Court Hours Log.
             - OMtS,
                                                                              /

                                    '
      pT
                                                             PERSONAL INFORMATION
                                                      'elephoneNumber                                      Bar Card Number

                                                     0/2 ^ 2S7 XSY7                                          6 # fe/ Sdo

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              83/1 B<J                                                       UL. { >
                                                                   CERTIFICATION
                                                                                        /      7                7~7*/ T
                                                  «- ( , swear or affirm that the Harris County Auditor may rely upon the information contained
     above to make payment according to the fee schedule adopted by the Board of District Judges Trying Criminal Cases pursuant to Tex.
                  .
     Code Crim P. art. 26.05. I further swear or affirm that I have not received nor will I receive anything of value for representing the
             ^         '   .
     accused eXcepHrs otherwise   disclosed to the Court in writing.
                  jdDOLx
              ^
           '
     I did/          'lgfteive this appointment originally as a limited term assignment.
             (CircUfOnej


                       Attorney at Law (Signature)                                                   Attorney Name (print legibly)

     SWORN TO AND SUBSCRIBED BEFORE ME ON THIS                                       0      DAY OF                                           AJD. 20


                                                      District Clt           (Signature)
                                                                                                                         revised
                                                                         ^
     The above fees, including any fees which exceed the presiint tive maxiprOm fees set forth herein were
     determined to be both reasonable and necessary and are hereby apprdvediior payment. /                 K              /        J
                                                                                                                                       >y this court and


                                                              Approved
                                                                                                                Judge Presiding
                                                                                                                                          0002467
                                                                             COURT
 juhty Auditor's Case
                 Form 40*14:17-cv-03621
                           L                 Document 89-8 Filed on 01/05/23 in TXSD Page 76 of 479
 irris County. Texas (09/07)
                                 OUT OF COURT HOURS LOG
iCourt Number                                        Defendant's Name

mm
                          Case Number

               *            /2t?7S& WinhLMjfiL
                                                                    JAIL VISIT( S)
  DATE             INTERVIEW TIME - BEGIN                              INTERVIEW TIME - END                                 WAIT TIME


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                                                      WITNESS INTERVIEW(S)
  DATE                      INTERVIEW TIME - BEGIN                                                      INTERVIEW TIME - END
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                                                          RECORDS RESEARCH
  DATE                 BEGIN TIME                         END TIME                                DESCRIPTION OF ACTIVITY

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                                                              LEGAL RESEARCH
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 L        ftsPQufcm j -
                                                                     CERTIFICATION
                                                                                                                            ^
                                                                   , swear or affirm that the Harris County Auditor may rely upon the
 information contained above to make payment according to the fee schedule adopted by the Board of District
 Judges Trying Criminal Cases pursuant to Texas Code of Criminal Procedure Art. 26.05. I further swear or
 affirm that I have not received nor will I receive anything of value for representing the accused, except as
 otherwise disclo           to the Court in writini
                                                                                                                                 A.D. 20
 SWORN TQ tf
                   ^       SUBSCRIBED BEF0R£ ME ON THIS THE
 Approved
                                                     Judge, Presiding                       /7 / /       S^            Attorney at Law (Signature)

                                 District Clerk Deputy ( Signature)
                                                                                          A/                 toiler
                                                                                                                                0002468
                                                                                                                      Attorney Name (print legibly)

                                                                              COURT
.r   ..
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 77 of 479




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                                                           |75$
                                                     NO. 138




                                                                                  t
                                                                              ric
          THE STATE OF TEXAS                            §               IN THE DISTRICT COURT OF

                   -                                    §




                                                                          is t
          V.$.                                          §               HARRIS COUNTY, TEXAS
                                                        §




                                                                        D
          KEITH AUNDRE WRIGHT                           §               209TH JUDICIAL DISTRICT




                                                                      ss
                         MOTION FOR        PAYMENT OUTSIDE PRESUMPTIVE MAX




                                                                   rge
          TO THE HONORABLE JUDGE OF SAID COURT:




                                                                  Bu
                         COMES NOW, R,P. CORNELIUS, attorney of record for KEITH AUNDRE
          WRIGHT, and respectfully files this Motion For Payment Outside Presumptive Max and would



                                                            lyn
          show the Court the following:
                                                        ari I.
                                                    fM

                 Counsel was appointed to represent this defendant on June 25, 2013. Said defendant was
                                                 eo


          charged in this case with robbery, a second degree felony.. The case was originally assigned to the
                                              ffic




          Court’s contract lawyers but the defendant developed conflicts with two of the Court’s contract
                                          yO




          lawyers and the case was then assigned to R.P. Cornelius who is filing this motion.
                                                            n.
                                       op
                                   lC




                 Counsel has made four (4) homtrial appearances but Seeks; payment for Only three (3).
                                icia




                                                            HI.
                 Defendant was a very demanding client and. the case was almost immediately put on the
                             off
                         Un




          matter and Counsel spent a significant amount of time in contact with defendant.
                                                            IV.
                 Die case was dismissed on February 3, 2014.
                                                            V.

                                                                      --
                 Counsel is seeking payment for a total of 31.25 out of court; hours on this matter.
                 Said time includes (6:25) hours of out-of-court time in written correspondence or personal

                                                    - -
          contact with defendant, (1.25) hours Of out of court time with the complaining witness imthis matter,

                            --
          (1.50) hours of out of court time researching records, (9.25) hours of out-of-court time researching



                                                                                                       0002469
    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 78 of 479




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                                                                        C
legal matters and preparing fprMal, (13.00) hoxirs bfdut f
                                                        ^ ^im time working with the investigator




                                                                       t
or in negotiations with the District Attorney.




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                                                                  is t
       WHEREFORE PREMISES CONSIDERED, appointed counsel respectfully requests this




                                                                D
                                                   -
Honorable Court to order payment for 29.00 out-of bourt hours: in the matter.




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                                                       Respe6®iiy)ubmitted,




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                                                   Sit,
                                                  lyn
                                                       (713) 237-8547
                                                 ari   ATTORNEY FOR DEFENDANT
                                          fM
                                       eo
                                   ffic
                               yO
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                      icia
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    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 79 of 479




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                                                                     C
                                        NO. 1381758




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                                                                  ric
THE STATE OF TEXAS                                         IN THE DISTRICT COURT OF




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V.S.                                                       HARRIS COUNTY, TEXAS




                                                            D
KEITH AUNDRE WRIGHT                                        209TH JUDICIAL DISTRICT




                                                          ss
                                                       rge
                                                   f £B 1 3 ?CK




                                                    Bu
       On this                      day of                           , 2014, came on to be heard
appointed trial counsel’s Motion For Payment Outside Presumptive Max.



                                              lyn
       Said motion is hereby granted/denied and IT IS ORDERED that appointed trial counsel is
to be paid                         -         ari
                   hours for out-of court time spent on this case.
                                        fM
                                       eo


                             FEB 1 3    mMICHAEL T. MCSPADDEN, JUDGE
                                 ffic




                                             209TH DISTRICT COURT
                             yO
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                 off
                 Un




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           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 80 of 479


   Gradoni          &_
                                                                           *
                                                                           s
                                                                      Professional Investigative Services

Associates                                                            U  )            State License AS741

                                                                  »£ j)
                                                                  :
     BILL TO
   Skip Cornelius
   2028 Buffalo Terrace
   Houston, Texas 77019
                                                                                  Invoice

                                                                           DATE        INVOICE #

                                                                          9/20/2013         17736


                                DESCRIPTION                                           AMOUNT
  FOR PROFESSIONAL SERVICES            TIN)
Re: State of Texas vs. Keith Wright
    Cause #13897580, 209th District Court
                - -
    Our File #13 06 0289, Statement # L\

Description of Activity:
See Attached Affidavit           O
Services:
12.10 hours @ $40.00 per hour                                                                       484.00

Expenses:                  ©
97 miles @ .555 per mile                                                                             53.84
Parking                                                                                               5.00
Word Processing                                                                                      23.10
Clerical                                                                                              9.60

  Subtotal                                                                                          575.54
Tax Exempt                                                                                            0.00




Payment due upon receipt. Thank you!
                                                                      Total                    $575.54


2611 Cypress Creek Pkwy, Suite ClOO • Houston, Texas 77068   • (281) 440-0800 • Flax (281) 440-0208
                                                                                            0002472
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 81 of 479




                                                                                              k
                                                                                          le r
                         HARRIS COUNTY CRIMINAL APPOINTMENT




                                                                                        C
                                 TIME & MILEAGE LOG




                                                                                       t
                                                                                   ric
                                     Invoice #17736




                                                                              is t
Attorney: R.P. Cornelius




                                                                            D
Defendant: Keith A. Wright




                                                                         ss
                                         Court: 209th                  Statement #:




                                                                    rge
Cause #: 13897580                                                                                     1

      Date                                    Activity                                          Miles       Park       Copies




                                                                   Bu
7/1/13            Review Offense Report, Set Investigative Tasks 1.00



                                                             lyn
7/2/13            Field Work, Inspection of Intersection, Contacts
                  with HCC Police                        ari       2.75                         51
                                                   fM
7/8/13            Jail Interview with Defendant, Compile Report                     3.60        46          5.00
                                                  eo


7/23/13           Research Facebook Account on Defendant                            1.00
                                           ffic




8/27/13           Conduct 2 Telephonic Interview of
                                      yO




                  Complainants, Compile Report                                      3.75
                                  op




Totals                                                                              12.10       97          S5.00
                              lC




                                                    AFFIDAVIT
                         icia




        I, James Gradoni, President of Gxadoni & Associates, Inc., State of Texas licensed
investigative firm, State License #A05741, do swear to and affirm, that the attached
                      off




invoice/invoices, for services rendered are true and correct to tjje best of my belief and
knowledge.                                                                       / ).
                  Un




                                                                                                \CV   '

                                                             James Gradoni

  _
  ^
office.

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         )




                          KAYLA KOENIG
                                         —
   V SWORN TO AND SUBSCRIBED before me, the undersigned authority, on this
JP L day of Swjluwla* 2013, to certify, which witness my hand and seal of


                      My Commission Expires
                                              ,




                                                             NOTXRY                     IN AND FOl
 (
                       September 13.2016                     THE STATE OJ;                  S
                                                             My Commission                        / IU
                                                                                             : 1 1.1

      Gradoni & Associates is licensed by the Texas Board of Private Investigators and Private Security Agency under
                                                               -
                                                     License M 5741.

                                              _          _                          -
                  Complaints may be directed to P.O. Box 4087, Austin, Texas 78773 0001 or emailed to
                                       RSD Customer Relations@dps.texas.gov
                                                                                                                   0002473
            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 82 of 479
   *                                                                     2t
                                                                         is= ?
   Gradoni & _                                                        Professional Investigatee Services

Associates                                                                            State License AS741




       BILL TO
   Skip Cornelius
   2028 Buffalo Terrace
   Houston, Texas 77019
                                                                                 Invoice


                                                                        DATE         INVOICE #
                                                                     11/29/2013            17866


                               DESCRIPTION                                          AMOUNT
  FOR PROFESSIONAL SERVICES
Re: State of Texas vs. Keith Wright    If
    Cause #1389758, 209th District Court
                    -
    Our File #13-06 0289, Statement #2\

Description of Activity:
See Attached Affidavit             O
                               Ss>
Services:
9.90 hours @ $40.00 per hour   o                                                                   396.00

Expenses:                 ©
150 miles @ .555 per mile                                                                           83.25
Parking                                                                                             15.00
Computerized searches                                                                               18.00
Word Processing                                                                                     21.40

  Subtotal                                                                                         533.65
Tax Exempt                                                                                           0.00




Payment due upon receipt. Thank you!
                                                                     Total                    $533.65


2611 Cypress Creek Pkwy, Suite ClOO • Houston, Texas 77068   • (281) 4400800     • Flax (281) 4400208
                                                                                           0002474
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 83 of 479




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                             HARRIS COUNTY CRIMINAL APPOINTMENT
                                     TIME & MILEAGE LOG




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                                                                                       ric
                                         Invoice #17866




                                                                                   is t
        Attorney: R.P. Cornelius




                                                                                 D
        Defendant: Keith Wright




                                                                             ss
                                                                        rge
        Cause #: 13897580 Court: 209th                 Statement #:          2




                                                                   Bu
          Date                                  Activity                                   Time     Miles       Park       Copies
        10/24/13      Jail Interview with Defendant, Compile Report                     2.40        46          5.00




                                                               lyn
        10/30/13      Draft, File, Serve Subpoena for Records                           2.10        58          5.00

        11/3/13       Conduct Database Searches to Locate   ari
                                                       fM
                      Complainant                                                       .75
                                                     eo


        11/4/13       Interview Complainant, Draft Affidavit,
                      Compile Report                                                    2.90
                                              ffic




        11/11/13      Jail Interview with Defendant, Compile Report                     1.75        46          5.00
                                         yO




        Totals                                                                          9.90        150         S15.00
                                        op




                                                        AFFIDAVIT
                                  lC




                I, James Gradoni, President of Gradoni & Associates, Inc., State of Texas licensed
                             icia




        investigative firm, State License #A05741, do swear to and affirm, that the attached
        invoice/invoices, for services rendered are true and correct to the best of my belief and
                         off




        knowledge.
                     Un




                                     JDSUBSCRIBED before me, the undersigned authority, on this

                                    ^
                             TQ A
                  SWQRJSj
        office.


                                                                   OTARY PUBLIC IN AND FOR
                           KAYLA KOENIG                                    ATBQEJEXAS
                        My Commission Expires
                         September 13.2016
                                                                My Commission Expires:                         L>
          Gradoni & Associates is licensed by the Texas Board of Private Investigators and Private Security Agency under
                                                                   -
                                                        License M 5741.

                                                 _         _                           -
                      Complaints may be directed to P.O. Box 4087, Austin, Texas 78773 0001 or emailed to
                                           RSD Cttstomer Relations@dps.texas.gov
                                                                                                                       0002475
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 84 of 479




               IN THE 337TH JUDICIAL DISTRICT COURT
                       HARRIS COUNTY, TEXAS

                                  AND

             IN THE TEXAS COURT OF CRIMINAL APPEALS
                          AUSTIN, TEXAS

                           §
Ex parte OBEL CRUZ-GARCIA, §
                           §             Writ No.
                           §             Trial Court Case No:
                           §             1384794
                           §
                Applicant. §             CAPITAL CASE
                           §
                           §
                           §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                     EXHIBIT 139 A
                                  Jeremy Schepers (Texas 24084578)
                                  Supervisor, Capital Habeas Unit
                                  David Currie (TX 24084240)
                                  Naomi Fenwick (TX 24107764)
                                  Assistant Federal Public Defender
                                  Office of the Federal Public Defender
                                  Northern District of Texas
                                  525 S. Griffin St., Ste. 629
                                  Dallas, Texas 75202
                                  jeremy_schepers@fd.org
                                  (214) 767-2746
                                  (214) 767-2886 (fax)

                                  Counsel for Obel Cruz-Garcia



                                                                       0002476
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 85 of 479




                  EXHIBIT 139 A




                                                                      0002477
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 86 of 479
CAUSE NO. \ 'A
             '
                         C>              CHARGE       > VO / <3 C*                        e
THE STATE OF TEXAS                                                    331                 DISTRICT COURT
VS.                                                                      OF HARRIS COUNTY, TEXAS


Defendant

TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                               ( name), the DEFENDANT in the above styled and
numbered cause respectfully petitions the Court to   appointcounsel  to represent him / her in this cause and would
show the Court that he / she is financially unable to hirelmanorn  ef. * ,




                                                                                                   k
                                                               Defendant




                                                                                                ler
                                                                                             C
                                                                ( name), a WITNESS in the above styled and




                                                                                             t
                                                                                         ric
numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                               Witness
                                                                           s                  SEP 0 7 2010
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                                        »ed before me on this, the              day of                              200     .
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                      "cfOerT
                                                               Deputy District Clerk
                     0 720 /fl
                                                                nB



                                                               Harris County , Texas

                                              IR APPOINTING COUNSEL
                                                          rily




                           axas
                                                      Ma




          On this, the              day of                                  ., 20
                                                                                 ^        , the Court determined that the
above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                                                     
                                                 of




financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                               e




represent the defendant / witness named above in this cause.
                                           ffic
                                        O




Attorney
                                    py




Address
                                 o
                              C




City                            State               Zip                  E-Mail Address
                          ial
                   ffic




Bar Card/SPN Number                                                                 R .P. SKIP CORNELIUS
                                                                                          SBN 04831500
               o




                                                                                      2028 Buffalo Terrace
            Un




Phone Number                                                                         Houston, Texas 77019
                                                                                      Phone 713 237 8547
                                                                                       Fax 713 528 0153
Fax Number
          The Court further ORDERS the cause set for :                  VN < ( ^      >
         \o                                                          Oat
on the
County , Texas.
                  day of                                   , 20
                                                           .
                                                                 ^         . . 1201
                                                                           9:00 a m at          Franklin, Houston, Harris


         Signed this                day of                                  ,2   foO
                                                                                                              ff
                                                               Judge Priding.                               •Si"




                                                                                                                   0002478
                                                DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 87 of 479




THE STATE OF TEXAS                                        02056544                       D.A. LOG NUMBER:1673078
VS.                                                                                      CJ1S TRACKING NO.:9165792599-A001
ROBERT EDWIN LEWIS                             SPN:                                      BY: KV DA NO: 002334357
                                               DOB:|                                     AGENCY.SHPD
                                               DATE PREPARED: 9/3/2010                   O/RNO: 1009030011
                                                                                         ARREST DATE: 09-03-10
                                                                                                            w—
NCIC CODE: 2202 05                            RELATED CASES: ONE OTHER F; CHIVERS F               -        if   *




FELONY CHARGE: BURGLARY OF A HABITATION
CAUSE NO:                                                                                             &
                                                                                           BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                 1276750
                                                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:                                              338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                        e.\
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ROBERT EDWIN LEWIS, hereafter styled the Defendant, heretofore on or about SEPTEMBER 3, 2010, did then and there unlawfully, with
intent to commit theft, enter a habitation owned by CAROLINA GAUNA, a person having a greater right to possession of the habitation than the
Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.




AGAINST THE PEACE AND DIGNITY OF THE STATE                  .

                                                                         FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                         0002479
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 88 of 479
     CAUSE NO. \         9y                ^^->3                               CHARGE

     THE STATE OF TEXAS                                                       3M               DISTRICT COURT
                                                                                                                       ^
                                                                                                                              v
                                                                                                                           90 \ di ^
     VS.                                                                       OF HARRIS COUNTY, TEXAS


     Defendant                                          ^
                                                        )ey\OnpC\



     TO THE HONORABLE JUDGE OF SAID COURT: (check one )


                                                                     ( name), the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire aattorney.                                     1

                                                                                                   IJkrsfpfJ




                                                                                                       k
                                                                     Defendant




                                                                                                    ler
                                                                                                 C
                                                                     ( name), a WITNESS in the above styled and




                                                                                                   t
                                                                                               ric
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
     justice and would show the Court that he / she is financially unable to hire an attorney.




                                                                                         ist
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                                                                     Witness
                                                                                   s           SEP -0 7 2010
                                                                                es
                   iriflto               isc        before me on this, the            day of                           , 200
                                                                                                                       .       .
                     Loren Jackson
                                                                             urg

                      District Cierk

                  SEP 0 7 2010                                       Deputy District Clerk
                                                                        B



                                                                     Harris County, Texas
      Time:
                                                                     lyn




                              .
                   Hams County Texas
      By                                       ORDER APPOINTING COUNSEL
                         deputy
                                                                    ari




                                  *"’"
                                     \
o              On this, the                    day of                              , 20(AQ the Court determined that the
                                                              fM




                                           L                                      .

     above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                                                            eo




     financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
     represent the defendant / witness named above in this cause.
                                                    ffic




X)
                                               yO




     Attorney
                                     op




     Address
\0
                                   C




     City                                State                Zip              E-Mail Address
                            ial




                                                                                               R.P. SKIP CORNELIUS
                        ffic




     Bar Card/SPN Number
                                                                                                   SBN 04831500
                    o




                                                                                                 2028 Buffalo Terrace
                                                                                                Houston, Texas 77019
                 Un




     Phone Number                                                                                Phone 713 237 8547
                                                                                                  Fax 713 528 0153

     Fax Number
               The Court further ORDERS the cause set for :
                                          O                                                     5
                                                                           C Nat 9:00 a.m. at 1201 Franklin, Houston, Harris
     on the
     County , Texas.
                       day of

                              ~
                                    \
                                                                     20
                                                                       ^                            3*1'
                                                                                                               '
                                                                                                           * ***   ^
              Signed this                      day of



                                                                     Judge Presiding




                                                                                                                       0002480
                                                            DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 89 of 479


                                                         \
THE STATE OF TEXAS                                           10073969                     DA. LOG NUMBER:1672356
VS.                                                                                       CJ1S TRACKING NO.:
ANTHANA DENMON                                 SPN:                                       BY: SP DA NO: 001677155
                                               DOB:                                       AGENCYHPD
                                               DATE PREPARED: 9/1/2010                    O/RNO: 122061410C
                                                                                          ARREST DATE: TO BE

NCIC CODE: 130119                              RELATED CASES: SAME DEF - 2F
FELONY CHARGE: AGGRAVATED ASSAULT
CAUSE NO:                                                                                  BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                    1276473
                                                                                           PRIOR CAUSENO:
FIRST SETTING DATE:                                                 338
                                                                                                   e   %
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ANTHANA DENMON, hereafter styled the Defendant, heretofore on or about AUGUST 26, 2010, did then and there unlawfully, intentionally
and knowingly cause bodily injury to DAVID WOODS by using a deadly weapon, namely, A GLASS.
                                                                                    of
Before the commission of the offense alleged above, (hereafter styled the primary offense), on MAY 17, 1983, in Cause No. 378161, in the 209TH
DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony offense of AGGRAVATED ASSAULT WITH A
DEADLY WEAPON.

Before the commission of the primary offense, and after the conviction in Cause No. 378161 was final, the Defendant committed the felony
offense of DELIVERY OF A CONTROLLED SUBSTANCE and was finally convicted of that offense on JUNE 13, 1991, in Cause No. 596004,
in the 180TH DISTRICT COURT of HARRIS County, Texas
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                                                                                          By




AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                              -oreman                           208th



                                                                INDICTMENT                  ^
                                                                              s/sH' yyut (Lf /i
                                                                          FOREMAN OF THE GRAND JURY


                                                                                                                         0002481
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 90 of 479
                              \5r                 53_c>
        CAUSE NO .

        THE STATE OF TEXAS
                                   ^          >                                   CHARGE



        VS.                                                                       OF HARRIS COUNTY., TEXAS

         jgS,
        Defendant            ^^ \Q 9
                               Q                                         .


        TO THE HONORABLE JUDGE OF SAID COURT: (check one )


                                                                         ( name ) , the DEFENDANT in the above styled and
        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
        show the Court that he / she is financially unable to hire ah attorney
                                                                                                          C




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                                                                        Defendant




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                                                                        ( name ), a WITNESS in the above styled and




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        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
        justice and would show the Court that he / she is financially unable to hire an attorney .




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                                                                        Witness

                                                                                    s               SEP 0 7 2010
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                       ori             .subscribed   before me on this, the              day of                         200     .


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                Loren Jackson
                 District Clerk

                    « 7 2010                                            Deputy District Clerk
                                                                           B



           SEP                                                          Harris County , Texas
                                                                        lyn




Time:
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               Hams County Texas
                                            DRDER APPOINTING COUNSEL
By
                                                                   ari




                    Deputy

                                                                                      , 20& O . the Court determined that the
                                                              fM




                   On this, the               day of                                 .


        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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        financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
        represent the defendant / witness named above in this cause.
                                                      ffic
                                                  yO




        Attorney
                                          op




        Address
                                        C




        City                              State              Zip                  E- Mail Address
                                   ial
                               ffic




        Bar Card/SPN Number
                                                                                           R.P. SKIP CORNELIUS
                                                                                               SBN 04831500
                           o




                                                                                             2028 Buffalo Terrace
                        Un




                                                                                            Houston, Texas 77019
        Phone Number                                                                         Phone 713 237 8547
                                                                                              Fax 713 528 0153

        Fax Number
                   The Court further ORDERS the cause set for :
        on the                day of                                , 200
                                                                    .          at 9:00 a.m. at 1201 Franklin, Houston, Harris
        County , Texas.
                   Signed this               day of                                  ,2   oVci.
                                                                        Judge Presidii




                                                                                                                         0002482
                                                               DISTRICT CLERK
       J         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 91 of 479



THE STATE OF TEXAS                                              01338867                        D.A. LOG NUMBER:1672704
VS.                                                                                             CJIS TRACKING NO.:9165786653 D001     -
ANGELA MICHELLE PALMER                             SPN:                                         BY: CS/AC DA NO: 002333805
                                                   DOB:                                         AGENCY .TIPD
                                                   DATE PREPARED: 9/ 2 / 2010                   O/ RNO: 124990710
                                                                                                ARREST DATE: 09/01/ 2QJHJ
NCIC CODE: 4004 05                                RELATED CASES: REFILE
FELONY CHARGE: PROSTITUTION
CAUSE NO:                                                                                         BAIL : S5,000
HARRIS COUNTY DISTRICT COURT NO:                                        1276580                   PRIOR CAUSE NO: CCCL //8/1204226
FIRST SETTING DATE:                                                     338
                                                                                                                -




IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                                   o
                                                                                                          §S
Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, ANGELA MICHELLE PALMER hereafter styled the Defendant, heretofore on or
about SEPTEMBER 1, 2010, did then and there unlawfully, in a public place knowingly solicit K . MILTON to engage with the Defendant in
                                                       -
sexual conduct, namely deviate sexual intercourse, to wit: ORAL SEX for hire.
                                                                                         A
  Before the commission of the offense alleged above, on APRIL 16, 2008, in Cause No. 1519973, in the County Criminal Court at Law No. 9 of
HARRIS County, Texas, the Defendant was finally convicted of the offense of prostitution.

  Before the commission of the offense alleged above, on JULY 28, 1997, in Cause No. 9731318, in the County Criminal Court at Law No. 1 of
HARRIS County, Texas, the Defendant was finally convicted of the offense of prostitution.

   Before the commission of the offense alleged above, on OCTOBER 25, 1996 in Cause No. 9646098, in the County Criminal Court at law No.
13 of HARRIS County, Texas, the Defendant was finally convicted of the offense of prostitution.

Before the commission of the offense alleged above (hereinat
                                                                   -<
                                                                    fyled the pninapy'offense), on JANUARY 16, 2           in Cause N umber-   1135, m
the 262 N1) District C a n f f o f HARRIS Copnfy/Texas, the \)/t
CONTROLLED SUBSTANCE.
                                                                   dant was copt/Icted of the state iarTfelony offep e of DELIVER Y
                                                                                                                    ^               ^    A

                                                      Ss
Before the commission of the pjamary offense, thp'Defendant committed the state jail felony offense (ELIVERY OFA CONTROLLED

SUBSTANCE and was     convjtted  on SEPTEMBER, It , 2000. ©'Cause Number 854959 in the 232KD District Co (f HARRIS County, Texas.



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 AGAINST THE PEACE AND DIG!                     OF THE STATE.



                                         ASSISTANT DISTRICT ATTORNEY                                        BAR CARD NO.
                                         OF HARRIS COUNTY, TEXAS


                                                                   INFORMATION
                                                                                                                                  0002483
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 92 of 479
     CAUSE NO.                                                            CHARGE

     THE STATE OF TEXAS                                                                 DISTRICT COURT

     VS.                                                                  OF HARRIS COUNTY, TEXAS

        \ v
     Defendant
                       e- V'H
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     TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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  n                                                                ( name), the DEFENDANT in the above styled and
  numbered cause respectfully petitions the Court to appoint counsel to represeru him / her in thi .cause and would
  show the Court that he / she is financially unable to hire an attorney. /      /              /     ^




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                                                                Defendant




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                                                                  ( name), a WITNESS in the above styled and




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  numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
  justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                Witness

                                                                            s              SEP 012010
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                       to ai         jcribed before me on this, the            day of                          .   200.

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                 Loren Jackson
                  District Clerk
                                                                Deputy District Clerk
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            SEP 0 7 2010                                        Harris County, Texas
                                                                lyn




Time:
By
             Harris County, Texas
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                                      f RBER APPOINTING COUNSEL
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                     Deputy

           On this, the                   day of                             , 20?lO> . the Court determined that the
                                                      fM




 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
 represent the defendant / witness named above in this cause.
                                              ffic
                                          yO




 Attorney
                                     op




 Address
                                   C




 City                               State             Zip                 E-Mail Address
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                                                                                        R.P. SKIP CORNELIUS
                       ffic




 Bar Card/SPN Number
                                                                                            SBN 04831500
                                                                                          2028 Buffalo Terrace
                    o




                                                                                         Houston, Texas 77019
                 Un




 Phone Number                                                                             Phone 713237 8547
                                                                                           Fax 713 528 0153

 Fax Number
           The Court further ORDERS the cause set for :
 on the    VA
 County, Texas.
                      day of
                                     ^~                     , 2Cty
                                                            .        CJbt 9:00 a.m. at 1201 Franklin, Houston, Harris

           Signed this                   day of                             , 2dp

                                                                      JA
                                                                             ^S
                                                                Judge Presid *




                                                                                                               0002484
                                                    DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 93 of 479



THE STATE OF TEXAS                                         01887783                        D.A. LOG NUMBER:1673227
VS.                                                                                        CJIS TRACKING N0.:9165795008 A001                -
 TRUETT LANE FINCH                              SPN:                                       BY: TM DA NO: 050787163
                                                DOB:|                                      AGENCY:HPD
                                                DATE PREPARED: 9/4/2010                    O/RNO: 12595001OS
                                                                                           ARREST DATE: 9 3-10       -
NCIC CODE: 2202 09                              RELATED CASES:
FELONY CHARGE: BURGLARY OF HABITATION
CAUSE NO:                                                                                    BAIL. $40,000
                                                                                                                     m&
HARRIS COUNTY DISTRICT COURT NO:                                  1276862                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                               338                                        "


                                                                                                         '       ;


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                                 4?
                                                                                                    „
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TRUETT LANE FINCH, hereafter styled the Defendant, heretofore on or about SEPTEMBER 3, 2010, did then and there unlawfully, with
intent to commit AGGRAVATED ASSAULT enter a habitation owned by JESSICA FLORES, a person having a greater right to possession of the
habitation than the Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent
of any kind.
                                                                                  S’
Before the commission of the offense alleged above, on SEPTEMBER 6, 2006, in Cause No. 38374 in the 268th District Court of Fort Bend
County, Texas, the Defendant was convicted of the felony offense of ASSAULT OF A FAMILY MEMBER

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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                                INDICTMENT

                                                                                                    *5535»                          0002485
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 94 of 479
        CAUSE NO .                 /   mm                                          CHARGE

        THE STATE OF TEXAS                     tai151v                               /   v?            DISTRICT COURT

        VS.                                                                        OF HARRIS COUNTY , TEXAS


        Defendant


        TO THE HONORABLE JUDGE OF SAID COURT: (check one )



                                      ^ [             /                                  -
                                                                      ( name ) the DEFENDANT in the above styled and
                                                                                             ,


        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
        show the Court that he / she is financially unable to hire an




                                                                                                                   k
                                                                         Defendant




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                                                                       ( name ) , a WITNESS in the above styled and




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        numbered cause respectfully petitions the Court to appoint counsel to repri                          'STTOT
        justice and would show the Court that he               laity unable to hire an attorney .




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                                                                         Witness
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                    Sworn to and subscribed before me on this, the                           day of
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        FILED  Loren Jackson
                  District Clerk                                         De RutyDistrict Clerk
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                                                                         Harris County , Texas
               SEP 13 2010
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                                                  ORDER APPOINTING COUNSEL
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Time:
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                 Harris County   io«




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                                       he         day of                                                   the Court determined that the
        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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        financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
        represent the defendant / witness named above in this cause.
                                                           ffic
                                                      yO




        Attorney
                                               op




        Address
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        City                                  State           Zip                  E- Mail Address
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                                                                                                 R .P. SKIP CORNELIUS
        Bar Card/SPN Number
                                 off




                                                                                                      SBN 04831500
                                                                                                   2028 Buffalo Terrace
                                                                                                  Houston, Texas 77019
                         Un




        Phone Number                                                                               Phone 713 237 8547
                                                                                                    Fax 713 5280153

        Fax Number
                    The Court furtheuxORDERS the cause set for :
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        on the       $ day              of                           , 20(
                                                                     .       f / 0 at 9:00 a.rfjyat 1201 Franklin. Houston. Harris
        County , Texas.
                    Signed this                   day of


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                                                                         Judge resWmg
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                                                                  DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 95 of 479



THE STATE OF TEXAS                                                                          D A. LOG NUMBER:1675489
                                                           02293689
VS.                                                                                         CJIS TRACKING NO.:9165816927 A002             -
 SHENEKA HENDERSON                               SPN:                                       BY: AC DA NO: 002334355
                                                 DOB:|                                      AGENCY:HCSO
                                                 DATE PREPARED: 9/11/2010                   O/RNO: 10126379
                                                                                            ARREST DATE: 09 / 10/ 10

NCIC CODE: 1301 19                              RELATED CASES: S. DEF-2 FEL TOTAL     .
FELONY CHARGE: AGGRAVATED ASSAULT
CAUSE NO:
                                                                                                             0
                                                                                              BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:                                   1277574                    PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                   177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                              S8?   '



The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
SHENEKA HENDERSON, hereafter styled the Defendant, heretofore on or about SEPTEMBER 10, 2010, did then and there unlawfully,
intentionally and knowingly cause bodily injury to ZOKYRA BRISCOE by using a deadly weapon, namely, A BOX CUTTER.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                     .

                                                                            FOREMAN OF THE GRAND JURY

                                                                   INDICTMENT
                                                                                                                              0002487
            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 96 of 479
              CAUSE NO.                   i£ im9                                                 CHARGE           A5      >

              THE STATE OF TEXAS                                                                   r2±           DISTRICT COURT
                                                                                                 OF HARRIS CO                   t', TEXAS



              Defendant

              TO THE HONORABLE JUDGE OF SAID COURT: ( check one )


                                                                               ( name ) , ihe DEFENDANT in the above styled and
              numbered cause respectfully petitions titeGtoun to appoint couurffcl to represent him / her in this cause and would
              show the Court that he / she is financially unable to hire an attorney.
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                                                                                       Defendant




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                                                                             ( name), a WITNESS in the above styled and

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              numbered cause respectfully petitions the Court to appoint counsel tq p p r ^e^ n t h i m i h n n i n i i m i M t u nf -




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              justice and would show the Court that he I                ly unable to hire an attorney.
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                         i                 and suhl - r r i h p r i helYire fpr on this, the            day of                              „ 2«
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               Dtotrict Clerk

            SEP 1 4 2010                                                               Deputy District Clerk
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                                                                                       Harris County , Texas
Time :
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             Karris County Tc*as
By                                                      ORDER APPOINTING COUNSEL


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                   Deputy
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              above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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              Financially unable lo hire an attorney . The Court ORDERS that the attorney listed below is appointed to

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              repfe eiit the                 dantAwitirfJss named above in this cause.
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              Attorney
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                             The Court further ORDERS the cause set for :
             on the                      day of                                       , 200    at 9:00 a . m . at 1201   Franklin , Houston , Harris
             County , Texas.
                             Signed this                  day of



                                                                                      Judge Presiding




                                                                                                                                            0002488
                                                                             DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 97 of 479
      ..   •
           >


THE STATE OF TEXAS                                          02517153                         D.A. LOG NUMBER:1675923
VS.                                                                                          CJIS TRACKING NO :9165821939- A 001
ELMER YOB A NY MARTINEZ                          SPN:                                        BY : JDL DA NO: 065021651
                                                 DOB:  |                                     AGENCY:HPD
                                                 DATE PREPARED: 9/12/ 2010                   O/RNO: 130522610K
                                                                                             ARREST DATE: 09/12/10

NCIC CODE: 5599 04                              RELATED CASES:
FELONY CHARGE : Possession of a Controlled Substance                                                                            T P|
                                                                                                                                   2
CAUSE NO:                                                                                      BAIL: $50,000
HARRIS COUNTY DISTRICT COURT NO:                                   1277739                     PRIOR CAUSE NO:
FIRST SETTING DATE:                                                177
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LN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, ELMER YOBANY MARTINET hereafter styled the Defendant, heretofore on or
about SEPTEMBER 12, 2010, did then and there unlawfully, intentionally and knowingly possess a controlled substance, namely, COCAINE,
weighing less than one gram by aggregate weight, including any adulterants and dilutants j
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                                                                                                 2 (o ?^S
                                        ASSISTANT DISTRICT ATTORNEY
                                        OF HARRIS COUNTY, TEXAS
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                                                                                                             ^
                                                                                                           BAR CARD NO.




                                                                 INFORMATION
                                                                                                            RECORDER'S MEMORANDUM
                                                                                                            This instrument is of poor quality
                                                                                                                  at the time of imaging
                                                                                                                                0002489
          CAUSE NO          .        mom
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 98 of 479
                                                                                  CHARGE           Bikdi
          THE STATE OF TEXAS                                                          dl           DISTRICT CO




                                                            —                     OF HARRIS COUNTY ,             :AS
            fcuJcdio Gflsifaa                                  ^                                                       1 HP
                                                                                                                       /
          Defendant

          TO THE HONORABLE JUDGE OF SAID COURT: (check one )


                 FPumlin ( laAr.LD-'-                                      ( name) , the DEFENDANT in the above styled and
          numbered cause    petitions the Court
                          respectfully                      to appoint counsel to represent him / her in this cause and would
          show the Court that he / she is financially unable to hire an attorney fl   ,
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                                                                      Defendant




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          numbered cause respectfully petitions the Couj               counsel to represent him / her in the interests of




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           SEP 1 4 2010                                               Deputy District ClerJj.
                                                                      Harris County, Ttfxas
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Time :
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            Harrli County Tom
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Dy                 Deputy
                                                 ORDER APPOINTING COUNSEL
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                     On this, the                                                     ., 20()/O. the Court determined that the
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          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                                                                               ) at 9:00 a.m. at 1201 Franklin, Houston, Harris
          County, Texas         .
                    Signed this          l   ±
                                                                     Judge Presiding




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                                                          DISTRICT CLERK
*                   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 99 of 479



    THE STATE OF TEXAS                                        0250S 108                         D A. LOG NUMBER:1676229
    VS.                                                                                         CJIS TRACKING NO.:9165825292-A001
    EULALIO ALEJANDRO GARCIA                        SPN ;                                       BY: CS DA NO: 001641643
                                                    DOB:                                        AGENCY:PASADENA PD
                                                    DATE PREPARED: 9/13/2010                    O/RNO: 20100022600
                                                                                                ARREST DATE: 09/13/ 2010

    NCIC CODE: 4801 02                              RELATED CASES:
    FELONY CHARGE: Evading Arrest or Detention
    CAUSE NO:                                                                                    BAIL: S5,000
                                                                                                                                W   x>


                                                                     1277801
    HARRIS COUNTY DISTRICT COURT NO:
    FIRST SETTING DATE:                                              177                                      _
                                                                                                 PRIOR CAUSE NO:

                                                                                                                    -
                                                                                                                        .   J

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                                                                                                         <S
    IN T1IE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                              oj#       5



    Comes now the undersigned Assistant District Attorney of Harris County, Texas, m behalf of the State of Texas, and presents m and to the District
    Court of Harris County, Texas, that in Harris County, Texas, ElILALIO ALEJANDRO GARCIA, hereafter styled the Defendant, heretofore on
    or about SEPTEMBER 13, 2010, did then and there unlawfully, intentionally flee from I. SANTILI.ANES, hereafter styled the Complainant, a
    peace officer employed by PASADENA POLICE DEPARTMENT, lawfully attempting to DETAIN the Defendant, and the Defendant knew that
    the Complainant was a peace officer attempting to DETAIN the Defendant, and before the commission of the offense alleged herein, on AUGUST
    4, 2010, in Cause Number 1697669, in the COUNTY CRIMINAL COURT AT LAW NO. 13 of HARRIS County, Texas, the Defendant was
    finally convicted of the offense of evading DETENTION.




     AGAINST THE PEACE AND DIGI                  ,OF THE STATE.


                                            ASSISTANT DISTRICT ATTORNEY                                        BAR CARD NO.
                                            OF HARRIS COUNTY, TEXAS
                                                                                                              RECORDER'8 MEMORANDUM
                                                                                                              This Instrument Is of poor quality
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 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 100 of 479
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     CAUSE NO.          \                                                  CHARGE
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     THE STATE OF TEXAS                                                    335                     ' -O
                                                                                            DISTRICT COURT
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     VS .                                                                  OF HARRIS COUNTY, TEXAS


     Defendant
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     TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                   (name), the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire    >mey.

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                                                                 Defendant
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                                                                     (name), a WITNESS in the above styled and




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     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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     justice and would show the Court that he / she is financially unable to hire an attorney.




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                  Loren Jackson
                   District Clerk
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               SEP 0 8 2010                                      Deputy District Clerk
                                                                 Harris County , Texas
                                                                  B



Time:
                Harris County, Texas
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By
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                                          ORDER APPOINTING COUNSEL
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               On this, the
                                  ^         day of                                          . the Court determined that the
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     above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
                                                     eo




     represent the defendant / witness named above in this cause.
                                                ffic




     Attorney
                                           yO




     Address
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     City                               State           Zip                E-Mail Address
                              ial




                                                                                    R.P. SKIP CORNELIUS
                          ffic




     Bar Card/SPN Number
                                                                                        SBN 04831500
                                                                                      2028 Buffalo Terrace
                    o




                                                                                     Houston, Texas 77019
                 Un




     Phone Number                                                                     Phone 713237 8547
                                                                                        Fax 713 528 0153

     Fax Number
               The Court further ORDERS the cause set for :
                                        V 1 C\ N.)                                          ^^
     on the
     County, Texas.
              Signed this
                         day of


                               J2_         day of
                                                               , 20
                                                                   ^   CJht 9:00 a-m. at 1201 Franklin, Houston, Harris

                                                                               201



                                                                Judge Pi                                              y




                                                                                        RECORDER ’ S MEMORANDUM
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 101 of 479


THE STATE OF TEXAS                                           »2499350                    D. A. LOG NUMBER:1673462
VS.                                                                                      CJIS TRACKING NO.:9165797272 - A 001
JOHNNY DA WON HALL                               SPN:                                    BY : YT DA NO: 059197800
                                                 DOB                                     AGENCY : HPD
                                                 DATE PREPARED: 9/5/2010                 O/RNO: 126283710 B
                                                                                         ARREST DATE: 09/04/10

NC1C CODE: 1204 04                               RELATED CASES:
                                             -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO;                                                                                  BAIL : $30,000
HARRIS COUNTY DISTRICT COURT NO:                                       127695»             PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                                                       V
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                               *sr
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JOHNNY DAWON HALL, hereafter styled the Defendant, heretofore on or about SEPTEMBER 4, 2010, did then and there unlawfully, while
in the course of committing theft of property owned by CARLOS CANALES, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY threaten and place CARLOS CANALES in fear of imminent bodily injury and death, and the
Defendant did then and there use and exhibit a deadly weapon, namely, A FIREARM




                                            FILED Loren Jackson
                                                   District Cterk

                                                 SEP 1 12010
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                                            nr**        Deputy
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                             FOREMAN OF THE GRAND JURY

                                                                       INDICTMENT
                                                                                                                          0002493
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     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 102 of 479
      CAUSE NO.         \^v                     Nova
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        THE STATE OF TEXAS                                               33%            DISTRICT COURT
        VS.                                                              OF HARRIS COUNTY, TEXAS

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                                                    gj v c e .
        Defendant

        TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                        (name), the DEFENDANT in the above styled and
        numbered cause respectfully petitions the Court to appoint cpunsel to represent him / her in this cause and would
        show the Court that he / she is financially unable to hire ap'aUpmey .


                                                               Defendant
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                                                                        ( name), a WITNESS in the above styled and




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        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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        justice and would show the Court that he / she is financially unable to hire an attorney.




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                Loren Jackson
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                 District Clerk
                                                               Deputy District Clerk
               SEP 0 8 2010                                    Harris County, Texas
                                                               nB




Time:
                Harris County, Texas
                                           ORDER APPOINTING COUNSEL
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By
                      Deputy     .



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                  On this, the              day of                             , 20& Q . the Court determined that the
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        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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        financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
        represent the defendant / witness named above in this cause.
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        Attorney
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        Address
                                            o
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        City                            State           Zip              E- Mail Address
                                     ial
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        Bar Card/SPN Number                                                        R .P. SKIP CORNELIUS
                                                                                        SBN 04831500
                                                                                     2028 Buffalo Terrace
                       o




                                                                                    Houston, Texas 77019
                    Un




      Phone Number
                                                                                     Phone 713 237 8547
                                                                                      Fax 713 528 0153

      Fax Number
                  The Court further ORDERS the cause set for :
                                        OoV                         Cj at 9:00 a.m. at 1201 Franklin, Houston, Harris
      on the
      County, Texas.
                 Signed this
                            day of


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                                                                                      RECORDER ’S MEMORANDUM
                                                                                      This instrument is of poor quality
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                                                      DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 103 of 479




THE SI ATE OF TEXAS                                      01994582                       D A. LOG NUMBER:1673809
VS.                                                                                     CJIS TRACKING N0.:9165801032 A001   -
 LAWRENCE PRICE                                SPN:                                     BY: AA DA NO: 002126743
                                               DOB:|                                    AGENCY:HPD
                                               DATE PREPARED: 9/6/2010                  O/RNO: 126706510R
                                                                                        ARREST DATE: 9 5 10 --
NCIC CODE: 1314 21                            RELATED CASES:
FELONY CHARGE: AGGRAVATED ASSAULT Family Member
CAUSE NO:
                                                    -
                                                                                          BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                                          PRIORv CAUSE NO:
FIRST SETTING DATE:                                            1277012
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:              ^
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
LAWRENCE PRICE, hereafter styled the Defendant, heretofore on or about SEPTEMBER 5, 2010, did then and there unlawfully, intentionally
and knowingly threaten KAREN ROBERTS, a person with whom the Defendant had a dating relationship, hereafter styled the Complainant, with
imminent bodily injury by using and exhibiting a deadly weapon, namely, A KNIFE. > ' ^




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                        FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
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     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 104 of 479
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                                                CHARGE                      > >

        THE STATE OF TEXAS                                                                       DISTRICT COURT                               > V>
        VS.                                                                       OF HARRIS COUNTY, TEXAS
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        Defendant

        TO THE HONORABLE JUDGE OF SAID COURT: (check one )

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                                                                                  ( name), the DEFENDANT in the above styled and
        numbered cause respectfully petitions the Court to appoint               aflSN represent him / her in this cause and would
        show the Court that he / she is financially unable to hircaji             tmey.


                                                                        Defendant




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                                                                        (name), a WITNESS in the above styled and




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        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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        justice and would show the Court that he / she is financially unable to hire an attorney.




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           Loren Jackson        ^
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                  District Clerk
                                                                        Deputy District Clerk
               SEP 0 8 2010                                             Harris County, Texas
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Time:
                Hants County, Texas
                                               ORDER APPOINTING COUNSEL
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By
                      Deputy

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        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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        financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
        represent the defendant / witness named above in this cause.
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        Attorney                                                                                                                                         %
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        City                                 State              Zip               E-Mail Address
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        Bar Card/SPN Number                                                                     SBN 04831500
                                                                                              2028 Buffalo
                                                                                             Houston, TexasTerrace
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                                                                                                             77019
                                                                                              Phone 713 237 8547
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        Phone Number                                                                           Pax 713 528 0153

        Fax Number


        on the _
                  The Court further ORDERS the cause set for :
                               day of                                  , 20(
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                                                                             X Cjat 9:00 a.m. at 1201 Franklin, Houston, Harris
        County, Texas.
                  Signed this          %        day of .   5                           21



                                                                        Judge Presii                 .   -   -




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                                                                                                             the time of imaging

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                                                           DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 105 of 479



THE S'    TEXAS"                                              02516364                      D.A. LOG NUMBER:1674067
VS.                                                                                         CJ1S TRACKING N0.:9165804031-A 001
RAFAEL OCHOA FLORES                             SPN:                                        BY: JMB DA NO: 002294141
                                                 DOB:                                       AGENCY:HCSO
                                                 DATE PREPARED: 9/6/2010                    O/RNO: HC100124261
                                                                                            ARREST DATE: 9/6/2010

NCIC CODE: 1301 19                              RELATED CASES:
FELONY CHARGE: AGGRAVATED ASSAULT
CAUSE NO:                                                                                     BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                  1277059                     PRIOR CAUSE NO:
FIRST SETTING DATE:                                               338th                                %
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
EAFAEL OCHOA FLORES, hereafter styled the Defendant, heretofore on or about SEPTEMBER 6, 2010, did then and there unlawfully,
intentionally and knowingly cause bodily injury to FLORA HERNANDEZ by using a deadly weapon, namely, A CHAIR.




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                                                                                    Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT
                                                                                                                           0002497
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 106 of 479
         CAUSE NO.                                                       CHARGE

         THE STATE OF TEXAS                                                 /77 DISTRICT COURT
                                                                         OF HARRIS COUNTY, TEXAS




         TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                 1                                Z                      ( name) , the DEFENDANT in the above styled and
         nunjfSe/ed cause respectful petitions the Court to appoint counsel to represent him / her in this cause and would
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         showthe Court that he / sbe is financially unable to hire an audrney.




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                                                               Defendant




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                                                                       ( name), a WITNESS in the above styled and




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         numbered cause respectfully petitions the Court to appoint counsel to represent hi                ists of
         justice and would show the Court that he / she is                 re to hire an attorney.




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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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         financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
         represent the defendant / witness named above in this cause.
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         Attorney
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         Address
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         City                         State             Zip              E- Mail Address
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         Bar Card/SPN Number                                                          R - P. SKIP
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                                                                                           SBN 04831500
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                                                                                         2028 Buffalo Terrace
                       Un




         Phone Number                                                                   Houston, Texas 77019
                                                                                         Phone 713 237 8547
                                                                                          Fax 713 528 0153
         Fax Number
                   The Court further. ORDERS the cause set for :
         on the     Ll     day of    f )0zf )U&A    ^         ,i*d 0_ at 9:00 ainyat 1201 Franklin, Houston, Harris
         County , Texas.
                   Signed this    /1 day of
                                                                                          y

                                                               Judge Presiding




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                                                    DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 107 of 479




THE STATE OF TEXAS                                        02493881                         D.A. LOG NUMBERJ 674693
VS.                                                                                        CHS TRACKING N0.:9165808983 A001       -
ZEKE JERMAINE RAYFORD                           SPN:                                       BY: SP DA NO: 069051500
                                                DOB:                                       AGENCY.HPD
                                                DATE PREPARED: 9/8/2010                    O/RNO: 127947710B
                                                                                           ARREST DATE: 09-08-2010
NCIC CODE: 2202 05                             RELATED CASES:
FELONY CHARGE: BURGLARY OF A HABITATION
CAUSE NO:
                                                                 1277262                     BAIL: $10000
                                                                                                         &
HARRIS COUNTY DISTRICT COURT NO:                                                             PRIOR CAUSE NO:
FIRST SETTING DATE:                                              177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ZEKE JERMAINE RAYFORD, hereafter styled the Defendant, heretofore on or about SEPTEMBER 8, 2010, did then and there unlawfully,
with intent to commit theft, enter a habitation owned by CARLETTA LEE, a person having a greater right to possession of the habitation than the
Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
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            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 108 of 479
             CAUSE NO.                                                                CHARGE
                                                                                                                fDnJM &5
             THE STATE OF TEXAS                                                       m            . DISTRICT COURT



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                                                                                      OF HARRIS COUNTY, TEXAS

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             Defendant                 /7
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             TO THE HONORABLE JUDGE OF SAID COURT: (check one )
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                C                                                             ( name ) , the DEFENDANT in the above styled and


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             numbered cause regretfully petitions the Court t kppoint counsept'o represent him / her in this cause and would
             show the Court thaVne / she is financially unable to hire an attoprfey.




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                                                                           ( name) , a WITNESS in the above styled and




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             numbered cause respectfully petitions the Court to appoint counsel to represent him / h              Esol
             justice and would show the Court that he / she is financial             nre an attorney .




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                                                                           Harris County, Texas

                                                   ORDER APPOINTING COUNSEL
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             above named defendant / witness has executed an affidavit stating that he7 she is without counsel and is
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             financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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             represent the defendant / witness named above in this cause.
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             Attorney
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             Address
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             City                               State            Zip                 E- Mail Address
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             Bar Card/SPN Number                                                                       R.P. SKIP CORNELIUS
                                                                                                           SBN 04831500
                                                                                                         2028 Buffalo Terrace
                                 o




                                                                                                        Houston, Texas 77019
                              Un




             Phone Number                                                                                       Phone 713 237 8547
                                                                                                                 Fax 713 528 0153
             Fax Number
                            The Court further JORDERS the cause set for :
             on the <^  _             day of   UCh fS/\                              at 9:00                     01 Franklin, Houston, Harris
             County , Texas.
                         Signed this               day of

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                                                                           Judge Presiding




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                                                             DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 109 of 479
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THE STATE OF TEXAS                                        00984736                          D.A. LOG NUMBER:1675029
VS.                                                                                         CJIS TRACKING NO.:9165812646-A001
JOHNNY ONEAL ROSBOROUGH                         SPN:                                        BY: EG DA NO: 069051500
                                                DOB:|                                       AGENCY:HPD
                                                DATE PREPARED: 9/9/2010                     O/RNO: 129123310F
                                                                                             ARREST DATE: 09-09 2010 -
NCIC CODE: 5599 17                              RELATED CASES: DAVIS-FEL

                                                                                                             mIF
FELONY CHARGE: DELIVERY OF A CONTROLLED SUBSTANCE
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:
                                         1277381
                                         177
                                                                                                    _
                                                                                              BAIL: $15,000
                                                                                              PRIOR CAUSE NO:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JOHNNY ONEAL ROSBOROUGH, hereafter styled the Defendant, heretofore on or about SEPTEMBER 9, 2010, did then and there
unlawfully, knowingly deliver by actual transfer to S. BRYANT, a controlled substance, namely, COCAINE, weighing by aggregate weight,
including any adulterants and dilutants, less than 1 gram.                               1
                                                                                JF
   It is further presented that in Harris County, Texas, JOHNNY ONEAL ROSBOROUGH, hereafter styled the Defendant, heretofore on or about
SEPTEMBER 9, 2010, did then and there unlawfully, knowingly deliver by constructive transfer to S. BRYANT, a controlled substance, namely,
COCAINE, weighing by aggregate weight, including any adulterants and dilutants, less than 1 gram.

  It is further presented that in Harris County, Texas, JOHNNY ONEAL ROSBOROUGH, hereafter styled the Defendant, heretofore on or about
SEPTEMBER 9, 2010, did then and there unlawfully, knowingly deliver by offering to sell to S. BRYANT, a controlled substance, namely,
COCAINE, weighing by aggregate weight, including any adulterants and dilutants, less than 1 gram.

Before the commission of the offense alleged above (hereinafter styled the primary offense), on JANUARY 30, 2009, in Cause Number 1200985,
in the 174TH District Court of HARRIS County, Texas, the Defendant was convicted of the state jail felony offense of POSSESSION OF A
                                                            r
CONTROLLED SUBSTANCE.
                                                     #
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Before the commission of the primary offense, the Defendant committed the state jail felony offense of POSSESSION OF A CONTROLLED
SUBSTANCE and was convicted on JULY 7, 2009, in Cause Number 1220989 in the 183RD District Court of HARRIS County, Texas.



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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                            FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
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          CAUSE NO          .        mom
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 110 of 479
                                                                                  CHARGE           Bikdi
          THE STATE OF TEXAS                                                          dl           DISTRICT CO




                                                            —                     OF HARRIS COUNTY ,             :AS
            fcuJcdio Gflsifaa                                  ^                                                       1 HP
                                                                                                                       /
          Defendant

          TO THE HONORABLE JUDGE OF SAID COURT: (check one )


                 FPumlin ( laAr.LD-'-                                      ( name) , the DEFENDANT in the above styled and
          numbered cause    petitions the Court
                          respectfully                      to appoint counsel to represent him / her in this cause and would
          show the Court that he / she is financially unable to hire an attorney fl   ,
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          numbered cause respectfully petitions the Couj               counsel to represent him / her in the interests of




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          justice and would show the C<          fiiTshe is financially unable to hire an attorney.




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                                                 ORDER APPOINTING COUNSEL
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          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                                                                               ) at 9:00 a.m. at 1201 Franklin, Houston, Harris
          County, Texas         .
                    Signed this          l   ±
                                                                     Judge Presiding




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*                  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 111 of 479



    THE STATE OF TEXAS                                        0250S 108                         D A. LOG NUMBER:1676229
    VS.                                                                                         CJIS TRACKING NO.:9165825292-A001
           LLIQ .ALEJANDRO       GARCIA             SPN ;                                       BY: CS DA NO: 001641643
                                                    DOB:                                        AGENCY:PASADENA PD
                                                    DATE PREPARED: 9/13/2010                    O/RNO: 20100022600
                                                                                                ARREST DATE: 09/13/ 2010

    NCIC CODE: 4801 02                              RELATED CASES:
    FELONY CHARGE: Evading Arrest or Detention
    CAUSE NO:                                                                                    BAIL: S5,000
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                                                                     1277801
    HARRIS COUNTY DISTRICT COURT NO:
    FIRST SETTING DATE:                                              177                                   _
                                                                                                 PRIOR CAUSE NO:

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    IN T1IE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                              oj#    5



    Comes now the undersigned Assistant District Attorney of Harris County, Texas, m behalf of the State of Texas, and presents m and to the District
    Court of Harris County, Texas, that in Harris County, Texas, EULALIO ALEJANDRO GARCIA, hereafter styled the Defendant, heretofore on
    or about SEPTEMBER 13, 2010, did then and there unlawfully, intentionally flee from I. SANTILI.ANES, hereafter styled the Complainant, a
    peace officer employed by PASADENA POLICE DEPARTMENT, lawfully attempting to DETAIN the Defendant, and the Defendant knew that
    the Complainant was a peace officer attempting to DETAIN the Defendant, and before the commission of the offense alleged herein, on AUGUST
    4, 2010, in Cause Number 1697669, in the COUNTY CRIMINAL COURT AT LAW NO. 13 of HARRIS County, Texas, the Defendant was
    finally convicted of the offense of evading DETENTION.




     AGAINST THE PEACE AND DIGI                  ,OF THE STATE.

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                                            ASSISTANT DISTRICT ATTORNEY
                                            OF HARRIS COUNTY, TEXAS
                                                                                   —  r
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                                                                                                           RECORDER'8 MEMORANDUM
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 112 of 479
          CAUSE NO         .                                                    CHARGE                Pd^ /nAl
          THE STATE OF TEXAS                                                                       DISTRICT COURT
                                                                                        F HARRIS COUNTY, TEXAS


         Defendant

         TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                   m                                                      ( name), the DEFENDANT in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
         show the Court that he / she is financially unable to hire an attorney.
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                                                                      Defendant




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         numbered cause respectfully petitions the Court to appoint counsel               ilm 7 her in the interests of




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         justice and would show the Court that he / she is.          unable to hire an attorney.




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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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         financially unable to hire an attorney The Court ORDERS that the attorney listed below is appointed to
         represent the defendant / witness named above in this cause            .
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                                                                                                     SBN 04831500
         Phone Number                                                                              2028 Buffalo Terrace
                                                                                                  Houston, Texas 77019
                                                                                                  Phone 713 237 8547
                                                                                                   Fax 713 528 0153
         Fax Number
                   The.Court furthepORDERS the cause set for :
         on the                day of                                         at 9:00 ajnyat 1201 Franklin, Houston, Harris
         County, Texas.
                   Signed this                  day of       J/tti                      ,
                                                                                                            y

                                                                     Judge Presiding




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                Case 4:17-cv-03621 Document 89-8 Filed on
                                                       t 01/05/23 in TXSD Page 113 of 479




THE STATE OF TEXAS                                                                       D.A. LOG NUMBER:1676214
VS.                                                                                      CJIS TRACKING N0.:9165825160-A001
 DONALD WAYNE LEWIS                            SPN: 00228997                             BY: CM DA NO: 001641643
                                               DOB:|                                     AGENCY: HPD                              .
                                               DATE PREPARED: 10/13/2010                 O/RNO: 131003810M                        J
                                                                                         ARREST DATE: 09 13 10      1            '
NCIC CODE: 5599 04                             RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO: 1277810                                                                          BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO: 177                                                       PRIOR CAUSE NO:
FIRST SETTING DATE:
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DONALD WAYNE LEWIS, hereafter styled the Defendant, heretofore on or about SEPTEMBER 13, 2010, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing less than one gram by aggregate weight, including any
adulterants and dilutants.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on FEBRUARY 22, 1994, in Cause Number 9404326,
in the 185TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of POSSESSION OF A
CONTROLLED SUBSTANCE.

Before the commission of the primary offense, and after the conviction in Cause Number 9404326 was final, the Defendant committed the felony
of DELIVERY OF A CONTROLLED SUBSTANCE and was finally convicted of that offense on FEBRUARY 27, 1997, in Cause Number
743333, in the 177TH DISTRICT COURT of HARRIS County, Texas         .




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                                 0002505
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 114 of 479
 CAUSE NO.                                                           CHARGE

 THE STATE OF TEXAS                                                                 DISTRICT COURT
 VS.                                                                 OF HARRIS COUNTY, TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                            OJL                                   ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an ajtefney.


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 numbered cause respectfully petitions the Court to appoint counsel                 urn / her in the interests of




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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
 represent the defendant / witness named above in this cause.
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 Attorney
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                                                                                    2028 Buffalo Terrace
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                                                                                   Houston , Texas 77019
 Phone Number                                                                       Phone 713 237 8547
                                                                                     Fax 713 528 0153

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           TherCourt further O        IRS the cause set for :   _
 on the      T    day of   L/ &)                          40        at 9:00        at 1201 Franklin, Houston, Harris
 County, Texas.
           Signed this           day of



                                                         Judge Presiding




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                                            DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 115 of 479



THE STATE OF TEXAS                                       02497740                        D.A. LOG NUMBER:1676394
VS.                                                                                      CJIS TRACKING NO.:9165826922-A001
CHARLES STEVENS WOODS                             SPN:                                   BY: KL DA NO. 002268160
                                                  DOB:|                                  AGENCYrHPD
                                                  DATE PREPARED: 9/14/2010               O/RNO: 131223110V
                                                                                         ARREST DATE: 9/13/10

NCIC CODE: 3202 59                            RELATED CASES:
FELONY CHARGE: ENDANGERING CHILD
CAUSE NO:                                                                                 BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                1277903                   PRIOR CAUSE NO:
FIRST SETTING DATE:                                             177                              O.




IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                           "NN
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
CHARLES STEVENS WOODS, hereafter styled the Defendant, heretofore on or about SEPTEMBER 13, 2010, did then and there unlawfully,
RECKLESSLY engage in conduct that placed JADEN ALLEN, a child younger than fifteen years of age and hereafter called the Complainant, in
imminent danger of DEATH, BODILY INJURY, AND PHYSICAL IMPAIRMENT, namely, by DRIVING A MOTOR VEHICLE AT A HIGH
RATE OF SPEED IN THE DIRECTION OF THE COMPLAINANT, and the Defendant did not voluntarily deliver the Complainant to a
                                              -
designated emergency infant care provider undo Section 262.302, Texas Family Code.




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                                                                             Asst. Foreman                        208th
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY
                                                                                                           RECORDER'S MEMORANDUM
                                                              INDICTMENT                                   This instrument is of poor quality
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 116 of 479
         CAUSE NO.                                 CHARGE

         THE STATE OF TEXAS                                                       / TL DISTRICT COURT
                                                                                 OF HARRIS COUNTY.


         Defendant

         TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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         show the Court that he / she is financially unable to hire.             ^
         numbered cause respectfully petitions the Court to appoint coup el to represent him / her in this cause and would
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         numbered cause respectfully petitions the Court to appoint counsel to represent *”71 [ bet itHhe m




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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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         financially unable to hire an attorney The Court ORDERS that the attorney listed below is appointed to
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                   The Court further ORDERS the cause set for :
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        County, Texas       .
                   Signed this       Hi         day of




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 117 of 479



THE STATE OF TEXAS                                          01778778                            D.A. LOG NUMBER:1676676
VS.                                                                                             CJIS TRACKING NO.:9165829395 A001   -
DARLA JEAN WESTERFIELD                           SPN:                                           BY: SP DA NO: 06SS47415
                                                 DOB:                                           AGENCY:HPD
                                                 DATE PREPARED: 9/14/2010                       O/RNO: 131635410 K
                                                                                                ARREST DATE: 09-14-2010
NCIC CODE: 4004 05                              RELATED CASES:
FELONY CHARGE: PROSTITUTION                                                                                        :
CAUSE NO:                                                                                        BAIL: $15000
HARRIS COUNTY DISTRICT COURT NO:                                   1278015                       PRIOR CAUSE NO:
FIRST SETTING DATE:                                                177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, DARLA JEAN WESTERFIELD, hereafter styled the Defendant, heretofore on or
about SEPTEMBER 14, 2010, did then and there unlawfully, knowingly agree to engage in sexual conduct, namely, deviate sexual intercourse,
to-wit ORAL SEX, with D. SMITH, for a fee.
                                                                                     £
Before the commission of the offense alleged above, on JUNE 20, 2005, in Cause No. 1309605, in the COUNTY CRIMINAL COURT AT LAWJ
NO. 8 of HARRIS County, Texas, the Defendant was finally convicted of the offense of PROSTITUTION.

Before the commission of the offense alleged above, on JUNE 10, 2009, in Cause No. 1219503, in the 183RD DISTRICT COURT of HARRIS
County, Texas, the Defendant was finally convicted of the offense of PROSTITUTION.
                                                                         S'
Before the commission of the offense alleged above, on MARCH 7, 2008, in Cause No. 1156789, in the 248TH DISTRICT COURT of HARRIS
County, Texas, the Defendant was finally convicted of the offense of PROSTITUTION.
                                                                  y
Before the commission of the offense alleged above (hereinafter styled
the 230TH DISTRICT COURT of HARRIS County, Texas, the Ddthn               ^primary offense), ontheNOVEMBER
                                                                          it was convicted of
                                                                                                                  2, 2009, in Cause No. 1233778, in
                                                                                                  state jail felony offense of PROSTITUTION.

Before the commission of the primary offense, the Defendant copfmitted the state jail felony offense of POSSESSION OF A CONTROLLED
SUBSTANCE and was convicted on DECEMBER 5, 2008, ipCause No. P194165, in the 339TH DISTRICT COURT of HARRIS County, Texas.




AGAINST THE PEACE AND DIGNITY OF THE STATE.


                                          QLilian NpJtiKJ
                                        ASSISTANT DISTRICT ATTORNEY                    )
                                                                                                   ZJMMLSOBAR CARD NO.
                                        OF HARRIS COi»FPY, TEXAS


                                                                INFORMATION                           RECORDER’S MEMORANDUM
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         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 118 of 479
          CAUSE NO         .                        CHARGE

           THE STATE OF TEXAS                                                   i¥L              DISTRICT COURT
                                                                                OF HARRIS COUNTY, TEXAS


           Defendant
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           TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                            ( name), the DEFENDANT in the above styled and
           numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
           show the Court that he / she is financially unable to hire an attorney.


                                                                       Defendant




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                                                                         ( name), a WITNESS in the above styled and




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           numbered cause respectfully petitions the Court to appoint connirl rn rrpirnmnr him Mil l III llli m l i n I I




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                      On this, the           day of                                              the Court determined that the
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           above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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           financially unable to hire an attorney The Court ORDERS that the attorney listed below is appointed to
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                               [efendant / witness named above in this cause    .
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                                                                      Judge Presid




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 119 of 479



THE STATE OF T                                             02448316                         D A. LOG NUMBER:1676816
VS.                                                                                         CHS TRACKING N0.:9165830997 A001      -
STEVEN ANTHONY SCANLON                          SPN:                                        BY: CM DA NO: 051617700
                                                DOB:                                        AGENCY:SEABROOK
                                                DATE PREPARED: 9/15/2010                    O/RNO: 1000015756
                                                                                            ARREST DATE: 9 14 10- -
NCIC CODE: 2202 05                              RELATED CASES: HERRERA-F.
FELONY CHARGE: BURGLARY OF A HABITATION
CAUSE NO:                                                                                    BAIL: $10000
HARRIS COUNTY DISTRICT COURT NO:                                  1278042                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                               177
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
STEVEN ANTHONY SCANLON, hereafter styled the Defendant, heretofore on or about SEPTEMBER 14, 2010, did then and there
unlawfully, with intent to commit theft, enter a habitation owned by JESSE NOWINSKI, a person having a greater right to possession of the
habitation than the Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent
of any kind.




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                                                                               Asst. Foreman                          208th
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY
                                                                                                            RECORDER'S MEMORANDUM
                                                                INDICTMENT                                  This instrument is of poor quality
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 120 of 479
        CAUSE NO.                                CHARGE
                                                                                           (k ?
        THE STATE OF TEXAS                                                                 DISTRICT COURT

        VS. ,                                                               OF HARRIS COUNTY, TEXAS


        Defend!

        TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                                                                        ( name), the DEFENDANT in the above styled and
        numbered cads respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
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        show the Ccwn that he / she is financially unable to hine an attorney.           »           A »            / ,,

                                                                 Defendant                 LJ




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                                                                      ( name), a WITNESS in the ab<
        numbered cause respectfully petitions the Court to appoint cou]                  iim l her in the interests of




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        justice and would show the Court that he / sheifrfmai iallv unable to hire an attorney.
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           Loren Jackson                                         Harris County, Texas
            District Clerk
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          SEP 1 7 2010                  ORDER APPOINTING COUNSEL
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Time:       Harris County, Texas
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By                 Deputy
        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
        financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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        represent the defendant / witness named above in this cause.
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        Attorney
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                                                                                    R .P. SKIP CORNELIUS
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                                                                                      2028 Buffalo Terrace
        Phone Number                                                                 Houston, Texas 77019
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                                                                                          Fax 713 528 0153
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                  The Court further           >ERS the cause set for :
        on the (TU dav of
        County, Texas.
                  Signed this
                                                                    20 f )Q at 9:00 a.m. at 12
                                                                                                ^/Franklin, Houston, Harris



                                                                 Judge Presiding .




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                                                    DISTRICT CLERK
                 Case 4:17-cv-03621 Document 89-8 Filed
                                                  *     on 01/05/23 in TXSD Page 121 of 479


THE STATE OF TEXAS                                                                       D.A . LOG NUMBER:1676841
VS.                                                                                      CJ1S TRACKING NO.: 9165831276 A 001  -
 MARY K . BELTRAN                              SPN : 01335891                             BY: CM DA NO: 002197869
                                               DOB                                        AGENCY:HPD
                                               DATE PREPARED: 10/12/2010                  O/ R NO: 131921010G
                                                                                          ARRES T DATE: 09 15 10
NCIC CODE: 5599 04                             RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO ; 1278092                                                                         BAIL: $5,000
                                                                                                               &&
HARRIS COUNTY DISTRICT COURT NO: 177                                                       PRIOR CAUSE NO:
FIRST SETTING DATE :


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                 -
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
MARY K. BELTRAN , hereafter styled the Defendant, heretofore on or about SEPTEMBER 15, 2010, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing lesithan one gram by aggregate weight, including any
adulterants and dilutants.




AGAINST THE PEACE AND DIGNITY OF THE STATE                   .

                                                                         FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT

                                                                                                                          0002513
                                                            v/
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 122 of 479
      CAUSE NO.                                CHARGE

                                                                           5/
      THE STATE OF TEXAS




       Defendant
                                         im M
                                              ^   &
                                                                                        DISTRICT COURT
                                                                         OF HARRIS COUNTY, TEXAS




      TO THE HONORABLE JUDGE OF SAID COURT: (check one )


                                                                       (name), the DEFENDANT in the above styled and
      numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
      show the Court that he / she is financially unable to hire an attorney.


                                                               Defendant




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                                                                      (name), a WITNESS in the above styled and
      numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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      justice and would show the Court that he / she is financially unable to hire an attorney.




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                  On this, the                                                   ^
                                                                              , 20     the Court determined that the
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      above namedjiefendan        ) / witness has executed an affidavit stating that he / she is without counsel and is
      financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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      represent thegjefendanty witness named above in this cause.
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      Attorney

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                  The Court further ORDERS the cause set for :
      on the             day of                                20        at 9:00 a.m. at 1201 Franklin, Houston, Harris
      County, Texas.
                  Signed this           day of
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                                                               Judge Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 123 of 479



THE STATE OF TEXAS                                            02519090                       D.A. LOG NUMBER:1678617
VS.                                                                                          CJIS TRACKING N0.:9165850483-A001
DEANGELIS MARSHALL                               SPN:                                        BY: RZ DA NO: 062046510
                                                 DOB:                                        AGENCY:HPD
                                                 DATE PREPARED: 9/21/2010                    O/R NO: 134759010 U
                                                                                             ARREST DATE: 09 21-2010-
NCIC CODE: 1205 01                              RELATED CASES:           l /Ufrf ' F
FELONY CHARGE: ROBBERY
CAUSE NO:                                                                                      BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:                                   1278835                     PRIOR CAUSE NO:
FIRST SETTING DATE:                                                351

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                             o.   %
Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Hams County, Texas, DEANGELIS MARSHALL, hereafter styled the Defendant, heretofore on or about
SEPTEMBER 21, 2010, did then and there unlawfully, while in the course of committing theft of property owned by CODY HOOPER and with
intent to obtain and maintain control of the property, intentionally, knowingly and recklessly cause bodily injury to CODY HOOPER, by
STRIKING THE COMPLAINANT WITH HIS HANDS.



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 AGAINST THE PEACE AND DIGNITY OF THE STA



                                        ASSISTANT DISTRICT ATtOF                                           BAR CARD NO.
                                        OF HARRIS COUNTY, TEXAS
                                                                                                 RECORDER’S MEMORANDUM
                                                                 INFORMATION                     This Instrument is of poor quality
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             Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 124 of 479
              CAUSE NO.                                 CHARGE /
                                                                                                  ^
                 THE STATE OF TEXAS                                                  M             DISTRICT COURT
                                                                                     OF HARRIS COUNTY, TEXAS


                 Defendant

                 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                                 ( name), the DEFENDANT in the above styled and
                 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
                 show the Court that he / she is financially unable toiJiFraivatrorney.


                                                                           Defendant




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                                                                                 (name), a WITNESS in the above styled and
                 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                 justice and would show the Court that he / she is financially unable to hire an attorney.




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             Loren Jackson
              District Clerk
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          OCT % 6 2013                                                     Harris County , Texas

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           Harris County                        ORDER APPOINTING COUNSEL
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               above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
               financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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               renceseKftthe defendant / witness named above in this cause.
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              on the                                                               at 9:00 a.m. at 1201 Franklin, Houston, Harris
              County, Texas.
                           Signed this m       .day ofj
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                                                                          Judge Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 125 of 479
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THE STATE OF TEXAS                                                                      D A. LOG NUMBER:1684903
VS.                                                                                     CJIS TRACKING NO.: 916594674XA002
MATTHEW YOUNG                                  SPN: 2522369                             BY: DA NO: 2268150 AGENCY:HOUSTON
                                               DOB                                      POLICE DEPARTMENT
                                               DATE PREPARED: 12/20/2010                O/ RNO: 004886210S
                                                                                        ARREST DATE:
NCIC CODE: 111535                             RELATED CASES:
FELONY CHARGE: AGG SEX ASSLT CHILD UNDER 14
CAUSE NO: 1281146
                                                  -
                                                                                          BAIL: $30000
HARRIS COUNTY DISTRICT COURT NO: 184                                                      PRIOR CAUSE NO:
FIRST SETTING DATE: 12/20/2010


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
MATTHEW DEWAYNE YOUNG, hereafter styled the Defendant, heretofore on or about January 1, 2008, did then and there unlawfully, did
then and there unlawfully intentionally and knowingly cause the penetration of the mouth of BRE 1TE LEGGETT, a person younger than fourteen
years of age, with the sexual organ of the Defendant.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
                                                                                                                      0002517
           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 126 of 479
            CAUSE NO.                                CHARGE

            THE STATE OF TEXAS                                                                  DISTRICT COURT

            VS.                                                                   OF HARRIS COUNTY, TEXAS

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                                         .
            Defendant

            TO THE HONORABLE JUDGE OF SAID COURT: (check one)



                                         —CL—Cry/rifey_                     ( name), the DEFENDANT in the above styled and
            numbered cause respectfully petitions the Court to appoint ccounsel to represent him / her in this cause and would
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            show the Court that he / she is financially unable to hire an ttorney.


                                                                         Defendant




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                                                                          ( name), a WITNESS in the above styled and
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           MAY 26 2011                                                   Harris County, Texas

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            above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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            financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
            represent the defendant / witness named above in this cause.
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            Phone Number                                                                         2028 Buffalo Terrace
                                                                                                Houston, Texas 77019
                                                                                                 Phone 713 237 8547
                                                                                                  Fax 713 528 0153
            Fax Number
                      The Court further PRDERS the cause set for :
            on the              day of                               , 20
                                                                     .      ((   at 9:00 a.m. at 1201 Franklin, Houston, Harris
            County, Texas.
                     Signed this       u,       day of
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                                                                         Judge Presiding




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                                                              DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 127 of 479



THE STATE OF TEXAS                                        01084259                          DA. LOG NUMBER:1683939
VS.                                                                                         CJIS TRACKING NO.:916S90S695 A001    -
DESHON CHANTEZ G1LKEY                           SPN:                                        BY: CM DA NO: 002396618
                                                DOB:                                        AGENCY:HCSO
                                                DATE PREPARED: 10/8/2010                    O/RNO: HC100139681
                                                                                            ARREST DATE: 10-8-10

NCIC CODE: 130119                               RELATED CASES:
FELONY CHARGE: AGGRAVATED ASSAULT                                                                            ?S
CAUSE NO:                                                                                    BAIL: SNOBOND
HARRIS COUNTY DISTRICT COURT NO:                                 1280866                     PRIOR CAUSE NO:
FIRST SETTING DATE:                                              351

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                               §
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DESHON CHANTEZ GELKEY, hereafter styled the Defendant, heretofore on or about OCTOBER 8, 2010, did then and there unlawfully,
intentionally and knowingly cause bodily injury to JOSEPH LEE by using a deadly weapon, namely, A GLASS BOTTLE.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on MAY 4, 1997, in Cause Number 0746283, in the
337TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of DELIVERY OF A CONTROLLED
SUBSTANCE.

Before the commission of the primary offense, and after the conviction in Cause Number 0746283 was final, the Defendant committed the felony
of FELON IN POSSESSION OF A WEAPON and was finally convicted of that offense on FEBRUARY 26, 2007, in Cause Number 1105766, in
the 338TH DISTRICT COURT of HARRIS County, Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                          0002519
 CAUSE NO.         m04 l 4
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 128 of 479
                                           CHARGE

 THE STATE OF TEXAS                                                   221             DISTRICT COURT
                                                                       OF HARRIS COUNTY, TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one )


  facTT                                                        (name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint coun$ei" to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an


                                                            Defendant




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justly and would show the Court that he / she is financially unable                         irney.




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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
financially unable to hire anVttorney . The Court ORDERS that the attorney listed h?lnw is appointed
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               ^defendant / witness named above in this cause.
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 129 of 479



THE STATE OF TEXAS                                       02309158                        D.A. LOG NUMBER:1682830
VS.                                                                                      CJIS TRACKING NO.:9165894944 A001   -
BRIAN LYNN FAIRCHILD                           SPN:                                      BY: CS DA NO: 0717S940
                                               DOB:                                      AGENCY :HPD
                                               DATE PREPARED: 10/5/2010                  O/RNO: 141351310
                                                                                         ARREST DATE: 10/04 /201

NCIC CODE: 5599 04                            RELATED CASES. WUYTS-F, SOMMERFIELD-M
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO:                                                                                  BAIL: $5,000
HARRIS COUNTY DISTRICT COURT NO:                                1280414                    PRIOR CAUSE NO:       -


FIRST SETTING DATE:                                             228                                          v
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
BRIAN LYNN FAIRCHILD, hereafter styled the Defendant, heretofore on or about OCTOBER 4, 2010, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, METHAMPHET AMINE, weighing less than one gram by aggregate weight,
including any adulterants and dilutants.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.
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                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
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         CAUSE NO.
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 130 of 479
                                                   CHARGE

           THE STATE OF TEXAS                                                                                     DISTRICT COURT
                                                                                              OF HARRIS COUNTY, TEXAS


           Defendant                                                ^W\           .



           TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                                                                                           ^Jnafhe . )   the DEFENDANT in the above styled and
        'nambered causdrespectfully petitions the Court to appoint counsel to represent him / her in this cause and would
           show the Court that he / she is Financially unable to hire an attorney.


                                                                                Defendant




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                                                                         ( name), a WITNESS in the above styled and
           numbered cause respectfully petitions the Court to appoint counsel to rei               in the interests of




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              Loren Jackson
                  District , Clerk
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                                                                                Harris County, Texas

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           above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
           financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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           rep;         it the defei          nt / witness named above in this cause.

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        on the                       day of                                 »   200          at 9:00 a.m. at 1201 Franklin, Houston, Harris
        County, Texas.
                       Signed this                  day of     OCT 13 20f                       ., 2001       .
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                                                                                Judge Presiding




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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 131 of 479
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THE STATE OF TEXAS                                                                        D A. LOG NUMBER:1685007
VS.                                                                                       CJIS TRACKING NO.: 9163480 I 66A002
 RAYMOND RICHARDSON                             SPN: 00563410                             BY: DEC DA NO: 2278125
                                                DOB:                                      AGENCY:HARRIS COUNTY D. A.
                                                DATE PREPARED: 10/13/2010                 O/ RNO: HCSO08124201
                                                                                          ARREST DATE: 10/12/2010
NC1C CODE: 111522                              RELATED CASES:
FELONY CHARGE: SEXUAL ASSAULT
CAUSE NO: 1281238                                                                           BAIL: $ NO BOND
                                                                                                            IF
HARRIS COUNTY DISTRICT COURT NO: 228                                                        PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                          v
                                                                                                 &
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
RAYMOND TODD RICHARDSON, hereafter styled die Defendant, heretofore on or about October 4, 2008, did then and there unlawfully,
intentionally and knowingly cause the penetration of the ANUS of ADRIAN JACKSON, hereinafter called the Complainant, by placing HIS
SEXUAL ORGAN in the ANUS of the Complainant, without the consent of the Complainant, namely the Defendant compelled die Complainant
to submit and participate by threatening to use force and violence against the Complainant, and the Complainant believed that the Defendant had
the present ability to execute the threat.
                                                                            <sr
 Before the commission of the offense alleged above, (hereafter styled the primary offense), on NOVEMBER 15, 1989, in Cause Number
0545649, in die 232nd DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of THEFT.
                                                                     #
                                                                     •
 Before the commission of the primary offense and after the conviction jn Cause Number 0545649 was final, the Defendant committed the felony
of UNAUTHORIZED USE OF A MOTOR VECHILE and was finally convicted of that offense on AUGUST 25, 1992, in Cause Number
0634537, in the 180th DISTRICT COURT of HARRIS County, Texas.
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                                    Loren Jackson
                                     District Clerk


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AGAINST THE PEACE AND DIGNITY OF THE STATE.
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                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT

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         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 132 of 479
          CAUSE NO.                                 CHARGE                .                                                Qx
          THE STATE OF TEXAS
          VS.
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                                                                                        OF HARRIS COUNTY, TEXAS
                                                                                                                          COURT



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          Defendant

          TO THE HONORABLE JUDGE OF SAID COURT: (check one)



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                                                                                   counsel to repres/m him / jher in this cause and would
          show the Court            thayne / she is   financially unable to hire rTattSrney.
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          numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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          justice and would show the Court that he / she is financially unable to hire an attorney .




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          financially umibleto hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                        The Court further ORDERS the cause set for :
          on the         L          day of                                   20 j_O at 9:00 a.m. at 1201 Franklin, Houston, Harris
          County , Texas.
                        Signed this                   day of                       /         -,   20   jJD.

                                                                             Judge Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 133 of 479



THE STATE OF TEXAS                                                                                D.A. LOG NUMBER :1598807
VS.                                                                                                                           -
                                                                                                  CJIS TRACKING NO.:9165020782 A001
HENRY PRICE JR .                                     SPN: 00468244                                BY : rb DA NO: 068910750
                                                     DOB:                                         AGENCY: HPD
                                                     DATE PREPARED: 10-11 - 10                    O/ R NO: 170881909 E
                                                                                                  ARREST DATE:
NCIC CODE: 1199 02                               RELATED CASES:
FELONY CHARGE: AGGRAVATED SEXUAL ASSAULT
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO: 185
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                                                                                                   BAIL . SNO BOND
                                                                                                   PRIOR CAUSE NO
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
HENRY PRICE JR . hereafter styled the Defendant, heretofore on or about NOVEMBER 23, 2009 . did then and there unlawfully, intentionally
                     ,


and knowingly cause the penetration of the ANUS of HELENE REAT, hereinafter called
                                                                                              ^
                                                                                              ^
                                                                                          Complainant, a PERSON OF AT LEAST SIXTY
FIVE YEARS OF AGE, by placing HIS SEXUAL ORGAN in the ANUS of the Complainant, without the effective consent of the Complainant,
namely THE DEFENDANT COMPELLED THE COMPLAINANT TO SUBMIT AND PARTICIPATE BY THE USE OF PHYSICAL FORCE
AND VIOLENCE .
                                                                                                                                           -

                                                                                   m
  Before the commission of the offense alleged above, on APRIL I L 19 X 3, in Cause Number 0361621 , in the 177th District Court of Harris
County , Texas, the Defendant was finally convicted of the felony of INDECENCY WITH A CHILD.

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                                                                                              FLoren
                                                                                                 I LJackson
                                                                                                      ED
                                                                                                   District Clerk


                                                                                     Time:.
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                                                                                     By                       Deputy




                                                                                                                        209th
AGAINST THE PEACE AND DIGNITY OE THE STATE.


                RECORDER’S MEMORANDUM
                This instrument is of poor quality                               FOREMAN OF THE GRAND JURY
                      at the time of imaging
                                                                    INDICTMENT
                                                                                                                          0002525
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 134 of 479
         CAUSE NO.                                 CHARGE

          THE STATE OF TEXAS                                                   /21 DISTRICT COURT
                                                                              OF HARRIS COUNTY, TEXAS




          TO THE HONORABLE JUDGE OF SAID COURT: (check one)
                                                 A   n        A.
                                                                        ( name), the DEFENDANT in the above styled and
          numbei         respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
          show th/Court that he / she is financially unable to hi STTattorney.
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                                                                                      f
                                                                   ^Defendant




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                                                                          ( name), a WITNESS in the above stvled and
          numbered cause respectfully petitions the Court to appoint counsel to represent him           Interests of




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          justice and would show the Court that he / she is financially uni           in attorney.




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         Loren Jackson
          District Clerk                                            Deputy District Clerk
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                                                                    Harris County, Texas
        OCT 1 8 2010
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Time:    Harris County .
                                           ORDER APPOINTING COUNSEL
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By                Deputy
                       On this, the          day of
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                             efendant / witness named above in this cause.
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                       The Court further   ORDERS the rouse set for :
         on the      k        day of                               , 20 iO at 9:00 a.m.
                                                                                           ^tA   201 Franklin, Houston, Harris
         County, Texas.
                      Signed this           day of
                                                      OPSIQIQP/ X
                                                                    Judge Presiding




                                                                                                                      0002526
                                                             DISTRICT CLERK
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              Case 4:17-cv-03621 Document 89-8 *Filed on 01/05/23 in TXSD Page 135 of 479


THE STATE OF TEXAS                                                                       D.A. LOG NUMBER:1686072
VS.                                                       02497939                       CJIS TRACKING NO.:9165927532 A001   -
CLYDE EUGENE BRADFORD                          SFN:                                      BY: RZ DA NO: 051617700
                                               DOB:|                                     AGENCY:HPD
                                               DATE PREPARED: 10/14/2010                 O/RNO: 143564310
                                                                                                                - -
                                                                                         ARREST DATE: 10 014 2010
NQC CODE: 0903 20                             RELATED CASES:
FELONY CHARGE: MURDER
CAUSE NO:                                                                                  BAIL: S100,000   i
HARRIS COUNTY DISTRICT COURT NO:                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                1281569
                                                                177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Hams County, Texas, presents in die District Court of Harris County, Texas, that in Harris County, Texas,
CLYDE EUGENE BRADFORD, hereafter styled the Defendant, heretofore on or about OCTOBER 9, 2010, did then and there unlawfully,
intentionally and knowingly cause the death of JAMES CLACKS, hereinafter called the Complainant, by SHOOTING THE COMPLAINANT
WTTH A FIREARM.
                                                                                  Ob
  It is further presented that in Harris County, Texas, CLYDE EUGENE BRADFORD, hereinafter styled the Defendant, heretofore on or about
OCTOBER 9, 2010, did then and there unlawfully intend to cause serious bodily injury to JAMES CLACKS, hereinafter called die Complainant,
and did cause die death of die Complainant by intentionally and knowingly committing an act clearly dangerous to human life, namely BY
SHOOTING THE COMPLAINANT WITH A FIREARM.




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                                                                                                                  248th
                                                                              Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.                                                            t* fuM


                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                       0002527
             Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 136 of 479
               CAUSE NO           .                                                       CHARGE                      Pcs
                                                                                                                    DISTRICT COURT
              THE STATE OF TEXAS
                                                                                                  /
              VS.                                                                         OF HARRIS COUNTY, TEXAS


              Defendant

              TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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              numbered
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                                                                 ^             ( name) , the DEFENDANT in the above styled and
                              respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
              show the Court that he / she is financially unable to hire an attorney.


                                                                                Defendant




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                                                                              ( name) , a WITNESS in the above styled and
              numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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              justice and would show the Court that he / she is financially unable to hire an attorney.




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           District Clerk
           MAY 2 6 2011                                                         Deputy District Clerk
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                                                                                Harris County, Texas
Time:
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By                                                 ORDER APPOINTING COUNSEL
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                             On this, the            day of                                      , 20               , the Court determined that the
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              above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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              financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to



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              repposei                lefeiidant / witness named above in this cause.
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                            The Court further ORDERS the cause set for :
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             on the
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             County, Texas.
                         Signed this
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                                                                            ., 20   \(   at 9:00 a.m. at 1201 Franklin, Houston, Harris


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                                                                                Judge Presiding




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                                                                      DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 137 of 479
                s



THE STATE OF TEXAS                                                                       D.A. LOG NUMBER:1686226 /
VS.                                                                                      CJIS TRACKING NO.:916S929608-A001
 JOHN JOE VALENCIA                             SPN: 01713498                             BY: CM DA NO: 057703100
                                               DOB:                                      AGENCYrHPD
                                               DATE PREPARED: 12/7/2010                  O/ RNO: 14625081OS
                                                                                         ARREST DATE: 10 15 10
NCIC CODE: 5599 04                             RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO: 1281626                                                                                                O-
                                                                                                                      IF
                                                                                           BAIL: 55,000
HARRIS COUNTY DISTRICT COURT NO: 351                                                       PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                              #
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JOHN JOE VALENCIA , hereafter styled the Defendant, heretofore on or about OCTOBER 15, 2010, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing less than one gram by aggregate weight, including any
adulterants and dilutants.




                                                                                            FILED Lpren Jackson
                                                                                                   District Clerk
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                                                                                                        Deputy    $



AGAINST THE PEACE AND DIGNITY OF THE STATE.                                     foreman

                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                           0002529
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 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 138 of 479
                                                                                                               pr
    CAUSE NO.

    THE STATE OF TEXAS
                                                                       CHARGE

                                                                       t5 /                         ^
                                                                                         DISTRICT COURT
    VS.                                                                OF HARRIS COUNTY, TEXAS


    Defendant

    TO THE HONORABLE JUDGE OF SAID COURT: (check one)




^   numbered cause
                        ^
                    respectfully
                                  ^
                                  petitions the Court to appoint
                                                                     ( name), the DEFENDANT in the above styled and
                                                                  counsel to represent him / her in this cause and would
    show the Court that he / she is financially unable to hire qh attorney.

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                                                                        *  -                                       i.
                                                             Defendant




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                                                                    ( name), a WITNESS in the above styled and
    numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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    justice and would show the Court that he / she is financially unable to hire an attorney.



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              Sworn to and subscribed before me on this, the                    day of                             20      .
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                                                             Deputy District Clerk
                                                             Harris County , Texas
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                                  ORDER APPOINTING COUNSEL
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                                    day of                                     , 20      , the Court determined that the
    above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
    represent the defendant / witness named above in this cause.
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    Attorney
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                                                                                        2028 Buffalo Terrace
    Phone Number                                                                       Houston, Texas 77019
                                                                                         Phone 713 237 8547
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              The Court further ORDERS the cause set for :
    on the            day of                             , 20
                                                         .           at 9:00 a.m. at 1201 Franklin, Houston, Harris        '




    County , Texas.
              Signed this          day of        SFP 1 9 2012              , 20.
                                                                           .




                                                             Judge Presiding




                                                                                                                  0002530
                                              DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 139 of 479



THE STATE OF TEXAS                                                                         D.A. LOG NUMBER:1687287
VS.                                                         02523467                       CHS TRACKING NO.:
RAMIRO RUIZ                                         SPN:                                   BY: RZ DA NO: 069051500
                                                    DOB:|                                  AGENCY:HFAD
                                                    DATE PREPARED: 10/18/2010              O/RNO: 101009
                                                                                           ARREST DATE: TO BE
NCIC CODE: 2300 75                                  RELATED CASES:
FELONY CHARGE: THEFT
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:
                                                                 1281978
                                                                                             BAIL: $2,000
                                                                                             PRIOR CAUSE NO:
                                                                                                              r V,



FIRST SETTING DATE:
                                                                351

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                A" '
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
RAMIRO RUIZ, hereafter styled the Defendant, heretofore on or about OCTOBER 16, 2010, did then and there unlawfully, appropriate, by
acquiring and otherwise exercising control over property, namely, A COMPUTER, DJ MIXER, ONE AMPLIFIER AND FIFTY COMPACT
DISCS owned by RAUL RIVERA, hereafter styled the Complainant, of the value of over one thousand five hundred dollars and under twenty
thousand dollars, with the intent to deprive the Complainant of the property.




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                                                                                 Foreman                              232nr.
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                                INDICTMENT

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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 140 of 479
  CAUSE NO.
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                           l 2 2-          CHARGE  3                                          13o/ jJd(x24X
 THE STATE OF TEXAS
  YS.


  Defendant
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                                                                             ^            i ISTRICT COURT
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                                                                          OF HARRIS COUNTY, TEXAS




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 TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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 Vf                                                     p            I    ( name), the DEFENDANT in the above styled and
 Numbered cause respectfully petitions the Court to appoint counsel to reprcsentftiim / her in this cause and would
 show the Court that he / she is financially unable to hire an lttopnpy.     jJ           Xt             /

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                                                                 ( name), a WITNESS in the above styled and




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 numbered cause respectfully petitions the Court appoint
                                                  to          counsel to represent him / her in the interests of
 justice and would show the Court that he / she is financially unable to hire an attorney .




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        Loren Jackson
               District Clerk                                                         4Mj         .
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                                                                Deputy District Clerk
        OCT 2 9 2010                                            Harris County, Texas

                                         _ORDER APPOINTING COUNSEL
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to

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                                    named above in this cause.
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                 The Court furtherXmDERS the cause set for           _
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 County , Texas.
                Signed this                            Of:
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                                                                                           1201 Franklin, Houston, Harris




                                                                Judge Presiding




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                                                       DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 141 of 479



THE STATE OF TEXAS                                         00693276                        D A. LOG NUMBER:1687469
VS.                                                                                        CJIS TRACKING NO.:9165942256 A002    -
 LEONARD KEITH CAMPBELL                         SPN:                                       BY: SC DA NO: 002311840
                                                DOB:|                                      AGENCY: H PD
                                                DATE PREPARED: 10/19/2010                  O/RNO: 1479872100
                                                                                           ARREST DATE: 10/18/10
NCIC CODE: 2202 05                             RELATED CASES: SAME DEF. - FELONY
FELONY CHARGE: BURGLARY OF A HABITATION
                                                                                                         i:
CAUSE NO:                                                                                    BAIL. $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                  1282084                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                               2M

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
LEONARD KEITH CAMPBELL, hereafter styled the Defendant, heretofore on or about OCTOBER 18, 2010, did then and there unlawfully,
with intent to commit theft, enter a habitation owned by BRENT SZTRIK, a person having a greater right to possession of the habitation than the
Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.
                                                                                   s
                                                                                   >
                                                                              u.
Before the commission of the offense alleged above, (hereafter styled the primary offense), on JANUARY 5, 1990, in Cause Number 536571, in
the 209TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of BURGLARY OF A HABITATION.
                                                                     '   •




Before the commission of the primary offense, and after the conviction in Cause Number 536571 was final, the Defendant committed the felony of
BURGLARY OF A HABITATION and was finally convicted of that offense on SEPTEMBER 17, 1998, in Cause Number 777631, in the 184TH
DISTRICT COURT of HARRIS County, Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                             FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                          0002533
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 142 of 479
      CAUSE NO.                                 CHARGE

        THE STATE OF TEXAS                                                       /w             DISTRICT COURT
                                                                               OF HARRIS COUNTY, TEXAS


        Defendant                                            a

        TO THE HONORABLE JUDGE OF SAID COURT: (check one)
                                                         A
            f AiJrfZ/iAxs                                                ( name), the DEFENDANT in the above styled and
        numbered cause  respectfully  petitions the Ccwtto   appoint  counsel to represent him / her in this cause and would
        show the Court that he / she is financially unable to hire an attorney.

                                                                   £Defendant




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                                                                      (name), a WITNESS in the                   and
        numbered cause respectfully petitions the Court to appoint counsel to re]                in the interests of
                                                                               lire an attorney.




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        justice and would show the Court that he / she is fii




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                      Sworn to and subscribed before me on this, the                 day of
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                                                                    Deputy District Clerk
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                 Loren JacKson                                      Harris County , Texas
                  District Clark
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               QCT 2      1 2010          ORDER APPOINTING COUNSEL

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                        Deputy
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        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
        financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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        represenfthe defendant / witness named above in this cause.

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                  The Court further ORDERS the cause set for :
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        County, Texas.
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              Case 4:17-cv-03621 Document 489-8 Filed on 01/05/23 in TXSD Page 143 of 479



THE STATE OF TEXAS                                       Q2523742                       D A. LOG NUMBER :1687694
VS.
TREDRfC MARQUIS CULCLAGER
                                                                                        CJIS TRACKING NO.: 9165944194 A001   -
                                               SPN:                                     BY: AA DA NO: 00 I 6387 I 4 AGENCY:HCSO
                                               DOB:                                     O/RNO: HC10144954
                                               DATE PREPARED: 10/19/2010                ARREST DATE: 10-19-10
NCIC CODE: 0903 20                            RELATED CASES:
FELONY CHARGE: MURDER
CAUSE NO:                                                                                 BAIL: $100,000
HARRIS COUNTY DISTRICT COURT NO.                                                          PRIOR CAUSE NO:
FIRST SETTING DATE:
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                                                               177
                                                                                               o   0“
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                             iS
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TREDRIC MARQUIS CULCLAGER, hereafter styled the Defendant, heretofore on or about OCTOBER 18, 2010, did then and there
unlawfully, intentionally and knowingly cause the death of CARMELLA COLEMAN , hereinafter called the Complainant, by STABBING THE
COMPLAINANT WITH A DEADLY WEAPON, NAMELY A KNIFE.                                     ft#
                                                                                   m
 It is further presented that in Harris County, Texas, TREDRIC MARQUIS CULCLAGER, hereinafter styled the Defendant, heretofore on or
about OCTOBER 18, 2010, did then and there unlawfully intend to cause serious bodily injury to CARMELLA COLEMAN, hereinafter called the
Complainant, and did cause the death of the Complainant by intentionally and knowingly committing an act clearly dangerous to human life,
namely BY STABBING THE COMPLAINANT WITH A DEADLY WEAPON, NAMELY A KNIFE.




                                                                                    Foreman                             263rd
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT

                                                                                                                     0002535
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 144 of 479
      CAUSE NO.                                 CHARGE

      THE STATE OF TEXAS                                                                    DISTRICT COURT
      VS.                                                                   OF HARRAs COUNTYfTEXAS
          CL\\ cW                                     c   »   f   \rS
      Defendant

      TO THE HONORABLE JUDGE OF SAID COURT: (chedk one)


                                                                       ( name), the DEFENDANT in the above styled and
      numbered cause respectfully petitions the Court to appoint coytisel to represent him / her in this cause and would
      show the Court that he / she is financially unable to hire an/fttorney.


                                                                  Defendant




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                                                                      ( name), a WITNESS in the above styled and
      numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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      justice and would show the Court that he / she is financially unable to hire an attorney.




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              District Clerk                                      Deputy District Clerk
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                                                                  Harris County, Texas
              AUG 19 2011
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 ime:                                    JQRDER APPOINTING                     COUNSEL
               Harris County. Terras
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By
                      Deputy
               On this, the                day of                              ., 2o \\     . the Court determined that the
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      above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
      financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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      reptesedpthe defendant /'tyitnesgThamed above in this cause.
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              The Court further ORDERS the cause set for :
     on the               day of                              , 20
                                                              .          at 9:00 a.m. at 1201 Franklin, Houston, Harris
     County, Texas.
              Signed this
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                                                                     '   ---all,
                                                                  Judge Presiding




                                                                                                                    0002536
                                                    DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 145 of 479



THE STATE OF TEXAS                                         01492203                              D.A. LOG NUMBER:1690238
VS.                                                                                              CJIS TRACKING NO.:
 CHARLES CHILCUTT                                SPN:                                            BY: HR DA NO: 002334355
                                                 DOB:
                                                 DATE PREPARED: 10/27/2010
                                                                                                 AGENCY:HCSO
                                                                                                 O/RNO: 100141304
                                                                                                 ARREST DATE: TOBE
                                                                                                                         ^
NCIC CODE: 2300 75                              RELATED CASES:
FELONY CHARGE: THEFT                                                                                              £
CAUSE NO:                                                                                             BAIL: $5000
HARRIS COUNTY DISTRICT COURT NO:                                  1283183                             PRIOR CAUSE NO:
FIRST SETTING DATE:                                               338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
CHARLES CHILCUTT, hereafter styled the Defendant, heretofore on or about OCTOBER 11, 2010, did then and there unlawfully,
appropriate, by acquiring and otherwise exercising control over property, namely, THREE RINGS owned by STACY ALTHOUSE, hereafter
styled die Complainant, of the value of over one thousand five hundred dollars and under twenty thousand dollars, with the intent to deprive the
Complainant of the property.




                                                                               Loren Jackson
                                                                                District Clerk

                                                                              NOV 2 2 2010
                                                                  Time:                     .
                                                                                Harris County Texas      Al
                                                                  By                  Deputy




                                                                                                                       337th
AGAINST THE PEACE AND DIGNITY OF THE STATE.                                    Foreman


                                                                             FOREMAN OF THE GRAND JURY
                                                                                                               RECORDER'S MEMORANDUM
                                                                 INDICTMENT                                    This instrument is of poor quality
                                                                                                                    at the time of imaging
                                                                                                                               0002537
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 146 of 479
      CAUSE NO.                                 CHARGE

      THE STATE OF TEXAS                                                                    i J   -^DISTRICT COURT
                                                                                     OF HARRIS COUNTY.

        vn
      Defendant
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      TO THE HONORABLE JUDGE OF SAID COURT: (check one )



      H ~                              1                              ( name ), the DEFENDANT in the above styled and
      mimberSfcause resentfully petitions the Court to appoint counsel to represenrmm j her in this cause and would
      show the Court thatdfe / he is financially unable to hire an attorney.
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                                                                      ( name ), a WITNESS in the above styled and
      numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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      justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                           Deputy District Clerk
                                                                           Harris County , Texas
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                                             •RDER APPOINTING COUNSEL
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BY              On this. the_               day of      C y'ri   ’u                        , 20
                                                                                                  ^    . the Court determined that the
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                                    V witness has executed
      above nantfiTdefendd
                                ^]                                     affidavit stating                   he is without counsel and is
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      financially una]            [ire an   attorney . The Court ORDERS that the attorney listed below is appointed to
      represenLtjfe defendant / witness named above in this cause.
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      Attorney
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                                                                                                      SBN 04831500
                                                                                                       2028 Buffalo Terrace
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      Phone Number                                                                                    Houston. Texas 77019
                                                                                                       Phone 713 237 8547
                                                                                                        Fax 713 528 0153

      Fax Number
                The Court further ORDERS the cause set for :
      on the             day of                                       .,   20        at 9:00 a.m. at 1201 Franklin, Houston, Harm
      County , Texas.
                Signed this


                                                                           Judge Presiding




                                                                                                                               0002538
                                                         DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 147 of 479



THE STATE OF TEXAS                                      02526184                          D.A. LOG NUMBER:1692219
VS.                                                                                       CJIS TRACKING NO.:
CHALYN STEWART                                 SPN:                                       BY: HR DA NO: 002311840
                                               DOB:                                       AGENCY:HCSO
                                               DATE PREPARED: 11/3/2010                   O/RNO: HC100150675
                                                                                          ARREST DATE: TOBE
NCIC CODE: 1205 02                             RELATED CASES:
FELONY CHARGE: ROBBERY                                                                                      3?1
CAUSE NO:                                                                                  BAIL: $10000
HARRIS COUNTY DISTRICT COURT NO:                                 1284004                   PRIOR CAUSE NO:
FIRST SETTING DATE:                                              185
                                                                                              -
                                                                                              &
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
CHALYN STEWART, hereafter styled the Defendant, heretofore on or about OCTOBER 30, 2010, did then and there unlawfully, while in the
course of committing theft of property owned by TREVOR DAVID, hereafter styled the Complainant, and with intent to obtain and maintain
control of the property, intentionally and knowingly threaten and place the Complainant in fear of imminent bodily injury and death, by
THREATENING THE COMPLAINANT WITH AN UNKNOWN OBJECT.




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                                                                                                                 337th
AGAINST THE PEACE AND DIGNITY OF THE STATE                   .

                                                                         FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT
                                                                                                                       0002539
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 148 of 479
          CAUSE NO.                                                         CHARGE

          THE STATE OF TEXAS                                                   HI          DISTRICT COURT

          VS.                                                              OF HARRIS COUNTY, TEXAS

          Defendant

          TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                          'P &5                            ( name ) , the DEFENDANT in the above styled and
          numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
          show the Court that he / she is financially unable ta)riT2Tm attorney
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          numbered cause respectfully petitions the Court to appoint coj                    nm / her in the interests of




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                                                                 Harris County, Texas
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          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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          financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                             defendant / wj            above in this cause.
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         on the J    £L                                          20   / D al 9:00 a,    at 1201 Franklin, Houston, Harris


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         County, Texas.
                     Signed this                 rtf




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                                                                 Judge Presiding




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             Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 149 of 479

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THE STATE OF TEXAS                                     01882928                              D.A. LOG NUMBER:1695364
VS.                                                                                                                         -
                                                                                             CJIS TRACKING N0.:9166024587 A001
 CHARLES ELLIUM DEES                           SPN:                                          BY: YT DA NO: 056144050
                                               DOB:                                          AGENCY:HPD
                                               DATE PREPARED: 11/13/2010                     O/RNO: 159992510Z
                                                                                             ARREST DATE: 11/12/10

NCIC CODE: 5599 06                            RELATED CASES:
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:
                                         1285192
                                         177 I H                                                            _
                                                                                                BAIL: $30,000
                                                                                                PRIOR CAUSE NO:




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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in die District Court of Harris County, Texas, that in Harris County, Texas,
CHARLES ELLIUM DEES, hereafter styled the Defendant, heretofore on or about NOVEMBER 12, 2010, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, PHENCYCLIDINE, weighing more than 4 grams and less than 200 grams by
aggregate weight, including any adulterants and dilutants.                        C*
Before the commission of the offense alleged above, on APRIL 8, 2005 , in Cause No. 1010535, in the 338TH District Court of HARRIS County,
Texas, the Defendant was convicted of the felony offense of POSSESSION OF A CONTROLLED SUBSTANCE.




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                                                                                Foreman                           26390
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                            FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                     0002541
          CAUSE NO.             mmL
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 150 of 479
                                                                             CHARGE         005     <

          THE STATE OF TEXAS                                                               DISTRICT COURT


          %hl?4 IAIMML-
          Defendant
                                  s
                                                                             OF HARRIS COUNTY, TEXAS




          TO THE HONORABLE JUDGE OF SAID COURT: (check one)




                ^                                                     ( name), the DEFENDANT in the above styled and
          numbered cau nfepectfully petitions the Court to appoint counsel to represent him / her in this cause and would
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          show the Court mat he / she is financially unable to hi




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                                                                         ( name), a WITNESS in the above styled and
          numbered cause respectfully petitions the Court to appoint co< ' PSf 1                 her in interests of
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By                c"t3h this, the              day of                                      the Court determined that the
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          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
                             defendant / witness named above in this cause.

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                                                                          at 9::00 a.m.    11201 Franklin, Houston, Harris




                                                                   Judge Presiding




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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 151 of 479
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THE STATE OF TEXAS                                                                        D A. LOG NUMBER:1696995
VS.                                                                                       CJ1S TRACKING N0.:9166040833-A 001
ASHLEY TR1MONT                                 SPN :                                      BY: SC DA NO: 068910750
                                               DOB:|                                      AGENCY :HPD
                                               DATE PREPARED: 11/18/2010                  O/RNO: 162333810M
                                                                                          ARREST DATE: 11/18/10
NCIC CODE: 5599 05                                                    .
                                               RELATED CASES: D BUTLER FELONY     -
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:                                 1285814                                          BAIL: $5,000
HARRIS COUNTY DISTRICT COURT NO:          \                       n                        PRIOR CAUSE NO:
FIRST SETTING DATE:
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                          <

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ASHLEY TRIMONT, hereafter styled the Defendant, heretofore on or about NOVEMBER 18, 2010, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing more than 1 gram and less than 4 grams by aggregate
weight, including any adulterants and dilutants.




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                                                                                      Foreman                                338th
AGAINST THE PEACE AND DIGNITY OF THE STATE                   .                                                           /




                                                                          FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT
                                                                                                                         0002543
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 152 of 479
      CAUSE NO.          1Mis&P                                                  CHARGE

      THE STATE OF TEXAS                                                                     DISTRICT COURT
                                                                                 OF HARRIS COUNTY, TEXAS


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      TO THE HONORABLE JUDGE OF SAID COURT: (check one)




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                                                                       ^   v  . the DEFENDANT in the above styled and
                                                                                ( name)
                      respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
      show the Court that he / she is financially unable to hire an attorney.


                                                                      Defendant




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                                                                     ( name), a WITNESS in the above styled and
      numbered cause resp ctfuUy petitions the Court to\appo t counsel to represent hbn / haf in the interests of
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                                    District Clerk
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                                  DEC 2 0 2010                        Deputy District Clerk
                                                                      Harris County, Texas
                    Time:
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                                  Harris County, Texsr
                    By                         ORDER APPOINTING COUNSEL
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               On this, tl                       day of                          L »iQ         the Court determined that the
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     above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
     represent the defendant / witness named above in this cause.
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     Attorney
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                                                                                            2028 Buffalo Terrace
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                                                                                           Houston, Texas 77019
     Phone Number                                                                           Phone 713 237 8547
                                                                                             Fax 713 528 0153

     Fax Number
            . CThfc Court further ORDERS the cause set for
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     on the w? day of                                                           It 9:00 a.m. at 1201 Frai   in, Houston, Harris
     County, Texas.
               Signed




                                                                                                 RECORDER’S MEMORANDUM
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                                                       on 01/05/23 in TXSD Page 153 of 479



THE STATE OF TEXAS                                          02317794                      D.A. LOG NUMBER:1700391
VS.                                                                                       CJIS TRACKING N0.:9166076617 A001     -
 LE CHARLES BRYANT                                  SPN:                                  BY: RZ DA NO: 001978003
                                                    DOB|:                                 AGENCY:IIPD
                                                    DATE PREPARED: 11/30/2010             O/RNO: 167438710X
                                                                                                               -
                                                                                          ARREST DATE: 11 29-2010

NCIC CODE: 1204 04
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:
                                                -
                                                    RELATED CASES: EWING-F


                                               1287026
                                                                                            BAIL: $30,000
                                                                                                            r
                                                                                            PRIOR CAUSE NO:
FIRST SETTING DATE:                            174

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas, LE
CHARLES BRYANT, hereafter styled the Defendant, heretofore on or about NOVEMBER 29, 2010, did then and there unlawfully, while in the
course of committing theft of property owned by YADIRA RTVAS, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY threaten and place YADIRA RIVAS in fear of imminent bodily injury and death, and the Defendant did
then and there use and exhibit a deadly weapon, namely, A FIREARM.




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                                                                                     Foreman
                                                                                                                             338th
AGAINST THE PEACE AND DIGNITY OF THE STATE.                                                                         <*
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                       RECORDER’S MEMORANDUM                              FOREMAN OF THE GRAND JURY
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                                                               INDICTMENT
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 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 154 of 479
   CAUSE NO.

   THE STATE OF TEXAS
                                                                               CHARGE

                                                                                                 DISTRICT COURT
                                                                               OF HARRIS COUNTY, TEXAS

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                                                                 —  y
                                                                      ,r\                                                                O
   Defendant

   TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                    Coterm r                ,   \   ( name), the DEFENDANT in the above styled and
   numbered cause espectfullwpetitions the Court to appoint counsel to represent him / her in this cause and would
   show the Court that he / slje is financially unable to hire ar nto ey


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                                                                 Defendant                             ^


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                 *        Loren Jackson
                           District Clerk                        Deputy District Clerk
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                                                                 Harris County , Texas

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                            . »ER-APPOINTING COUNSEL
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            On this, the                     day of                                  , 20   / ^ . the Court determined that the
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   above named defendant / Witness has executed an affidavit stating that he / she is without counsel and is
   financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 155 of 479



THE STATEOFTE,                                                                           D.A. LOG NUMBER:1702353
VS.                                                                                      CJIS TRACKING N0.:9166097606-A001
 FLOYD EDWARD COLEMAN, JR.                      SPN: 02531693                            BY: LM DA NO: 050785416
                                                DOB:|                                    AGENCY:HCCO 5
                                                DATE PREPARED: 2/3/2011                  O/RNO: 100168064
                                                                                         ARREST DATE: 12 06 10

NCIC CODE: 1314 21                              RELATED CASES:
                                            -
FELONY CHARGE: Aggravated Assault Family Member                                                              Mr
CAUSE NO: 1287718                                                                          BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO: 228                                                       PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
FLOYD EDWARD COLEMAN, JR., hereafter styled the Defendant, heretofore on or about DECEMBER 5, 2010, did then and there
unlawfully, intentionally and knowingly threaten VIKJCI COLEMAN, a member of the Defendant’s family, hereafter styled the Complainant, with
imminent bodily injury by using and exhibiting a deadly weapon, namely, A KNIFE.




AGAINST THE PEACE AND DIGNITY OF THE STATE.



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                                                              INDICTMENT
                                                                                                                         0002547
       Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 156 of 479
         CAUSE NO. /         «37*53                                             CHARGE
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        THE STATE OF TEXAS                                                      / Xf ^
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                                                                                OF HARRIS COUNTY, TEXAS
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        TO THE HONORABLE JUDGE OF SAID COURT: (check one )

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                                                                        ( name), a WITNESS in the above styled and




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        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
        justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                      Deputy District Clerk
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                                                                      Harris County, Texas
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                                                                                                L / she is without counsel and is
W          ive nai       ’defendant / witness has executed        affidavit stating th f
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        financially udabjg tojiire an attorney . The Court ORDERS that the attorney listed below is appointed to
        represent ifie defendant / witness named above in this cause.
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        Attorney
                                            op




        Address
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        City                              State         Zip                     E-Mail Address
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        Bar Card/SPN Number                                                                    R.P. SKIP CORNELIUS
                             off




                                                                                                   SBN 04831500
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                                                                                                    2028 Buffalo Terrace
        Phone Number                                                                               Houston , Texas 77019
                                                                                                    Phone 713 237 8547
                                                                                                     Fax 713 528 0153
        Fax Number
                 The Court further ORDERS the cause set for :
        on the               day of                               j   20       at 9:00 ajn. at 1201 Franklin, Houston, Harris
        County, Texas.
                                           jd2yof                               _ J_L.
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                 Signed this         Jr                                        Z , 20


                                                                      Judge Presiding          \


                                                                                                     STATE JAIL DOCKET
                                                                                                       Project Court #2 , 20th Floor    •*
                                                                                                               713-755-5021
                                                                                                                               0002548
                                                        DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 157 of 479



THE STATE OF TEXAS                                                                           D.A. LOG NUMBER:1694506
VS.                                                                                          CJIS TRACKING NO.:
 KYLE BRYANT                                     SPN:                                        BY: CM DA NO: 002333887
                                                 DOB:                                        AGENCY: HPD
                                                 DATE PREPARED: 1/21/2011                    O/ RNO: 158569810U
                                                                                             ARREST DATE: TO BE

NC1C CODE: 3560 17                              RELATED CASES: SAME DEF-F F. CHEVIS-CRT. 185TH D. CLIFTON -CRT.
                                                               185TH
FELONY CHARGE: DELIVERY OF MARIHUANA
CAUSE NO: 1287853
HARRIS COUNTY DISTRICT COURT NO: 185
                                                                                               BAIL: 510,000
                                                                                               PRIOR CAUSE NO:
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FIRST SETTING DATE:                                                                                   oJU
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                               V
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
KYLE BRYANT, hereafter styled the Defendant, heretofore on or about NOVEMBER 9, 2010, did then and there unlawfully, intentionally and
                                                   -
knowingly deliver by actual transfer more than one fourth ounce and less than five pounds of marihuana to C. W. JONES.
                                                                                      v: -
   It is further presented that in Harris County, Texas, KYLE BRYANT, hereafter styled the Defendant, heretofore on or about NOVEMBER 9,
2010, did then and there unlawfully, intentionally and knowingly deliver by constructive transfer more than one-fourth ounce and less than five
pounds of marihuana to C. W. JONES.

   It is further presented that in Harris County, Texas, KYLE BRYANT, hereafter styled the Defendant, heretofore on or about NOVEMBER 9,
                                                                                                               -
2010, did then and there unlawfully, intentionally and knowingly deliver by offering to sell more than one fourth ounce and less than five pounds
of marihuana to C. W. JONES.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                            FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 158 of 479
  CAUSE NO.                                                             CHARGE
                                                                                           PCS
  THE STATE OF TEXAS                                                   d&zu                    nrc3
                                                                                         DISTRICT COURT


Tgd0A                                                                   OF HARRIS COUNTY, TEXAS



                            %lJU>tJ C&HP&S-
  Defendant
                        )
  TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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        12:       I VT )        VVT             LlJZ- -_        ( name) , the DEFENDANT in the above styled and
  numbered cause respectfully petitions the Court to appointcQunsel to represent him / her in this cause and would




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  show the Court that he / she is financially unable toJy*er3n torn y
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                                                               Defendant




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                                                                   mty District Clerk
                                                               Harris County, Texas
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                                                        POINTING COUNSEL
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 above named defendant /            witless has executed an affidavit stating that he / she is without counsel and is
                                                eo




 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
        esent/ffife defendant / witness named above in this cause.
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              TheFCourt furtbfiPoRDERS the cause set for :
 on the              day of     .                             20   I ) at *00   <1.111 . at 1201 Franklin, Houston, Harris
 County, Texas.
              Signed this



                                                              Judge!Presiding




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                                                     DISTRICT CLERK
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 159 of 479



THE STATE OF TEXAS                                        01860989                        D.A. LOG NUMBER:1704143
VS.                                                                                       CHS TRACKING NO.:9166114624 A001         -
TEVLON JOHN CAMPBELL                            SPN:                                      BY: VF DA NO: 002198468
                                                DOB:|                                     AGENCY:HCSO
                                                DATE PREPARED: 12/11/2010                 O/R NO: HC100170643
                                                                                          ARREST DATE: 12 11 10
NCIC CODE: 5599 06                             RELATED CASES:
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:                                                                                   BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:          1288400                                           PRIOR CAUSE NO:
FIRST SETTING DATE:                       228

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TEVLON JOHN CAMPBELL, hereafter styled the Defendant, heretofore on or about DECEMBER 11, 2010, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing more than 4 grams and less than 200 grams by
aggregate weight, including any adulterants and dilutants.




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                                                                                                           Chris
                                                                                                       ' District Clerk
                                                                                                         FEB 16 2011
                                                                                             Time:
                                                                                                         a30       mty , Te«as

                                                                                              By                Deputy




AGAINST THE PEACE AND DIGNITY OF THE STATE                   .                       Asst. Foreman                          176th

                                                                          FOREMANS THE GRAND JURY                          ^
                                                                 INDICTMENT
                                                                                                                                 0002551
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 160 of 479

CAUSE NO.                                                                      CHARGE        mT                      R
THE STATE OF TEXAS                                                         §
                                                                                                              'ISTRICT COURT
                                                                           §                 OF

 1                      ‘fin tire.                                         §                 HARRIS COUNTY, TEXAS
Defendant
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TO                       SAII COURT:
       HONORABLEJUDGE OF SAID

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                    respectfully petitions
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                                           the Court  to
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                                                           the DEFENDANT [      a WITNESS in the above styled
                                                         appoint counsel to represent him/her in this cause and
would show the Court that he/she is financially unable to hire an attorney.


                                                      Defendant /Witness




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          Sworn to and subscribed before me on this, the                                 day of.                               20




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                                                                               Deputy District Clerk
                                                                               Harris County, Texas




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                                           ORDER APPOINTING COUNSEL

          On this, the                 day of
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                                                                                      , 20        . the Court determined that the above
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named defendant /witness has executed an a                           stating that he/ she is without counsel and is financially
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unable to hire an attorney. The Court ORDERS that                    EE the ATTORNEY LISTED BELOW EHthe HARRIS
COUNTY PUBLIC DEFENDER'S OFFICE is appointed to represent the defendant/witness named above in this
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cause.

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Attorney/ Assistant Public Defender Assigned by HCPD                           E-Mail
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                                                                                        AddressSBN 048              5(K)
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                                                                                               2028 Buffalo Terrace
                                                                                              Houston, Texas-77019—
                                                                               Phone NumUShone 713 237
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Address
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City                           State            Zip                            Fax Number
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The Court further ORDERS the cause set for:
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On the                   day of           i                                      , 20
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Houston, Harris County, Texas.

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Signed                  day of
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                                                                                                       Judge Presiding
| | The State has offered or            | [The State and Defense agree as follows:
               Un




 Defense Attorney (Initials)             Prosecutor (Initials)

                                                      FOR COURT STAFF ONLY
 Reset by:   | | Court      | | Defense                   | | Operation of Law                        Prosecution
  Reason for Reset :
      ..
 | | D A to Contact Complainant /Witness              | | Defense to Contact Witness                      |   | Not Indicted
 | | D.A. to Evaluate Case                            |    1 Disposition of Misc./OOC Case                     Other

 | | D.A. to Reindict                                       File Unavailable                                   Refer to

 | [ D.A. to file MRP/MAJ                             | | MHMRA Evaluation                                | | Restitution Info
                                                                 21 Day            .Full
 | | Defendant On Call                                | |   No Tape / Lab         _                       | | To Hire Attorney
 | | Defendant to Consider Offer                      [    1 No Offense Report
                                                                                                                                     5 /2/12
                                                                                                                                    0002552
                                                              DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed
                                                  u   on 01/05/23 in TXSD Page 161 of 479
                                                                    •




THE STATE OF TEXAS                                       02532854                        D.A. LOG NUMBER:1704450
VS.                                                                                      CJIS TRACKING N0.:9166118050-A001
OSCAR DANIEL PONCE                             SPN:                                      BY: PW DA NO: 002215011
                                               DOB:                                      AGENCY:HPD
                                               DATE PREPARED: 12/12/2010                 O/RNO: 173213710B
                                                                                         ARREST DATE: 12/12/10
NCIC CODE: 4801 22                            RELATED CASES:

                                                                                                           &w
FELONY CHARGE: EVADING ARREST
CAUSE NO:                                                                                  BAIL: $2,000.00
HARRIS COUNTY DISTRICT COURT NO:                                 1288489

                                                                                                     —
                                                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:                                              174                                 &

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                         o
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
OSCAR DANIEL PONCE, hereafter styled the Defendant, heretofore on or about DECEMBER 12, 2010, did then and there unlawfully,
intentionally flee from M. ROCCHI , hereafter styled the Complainant, a peace officer employed by THE CITY OF HOUSTON POLICE
DEPARTMENT, lawfully attempting to ARREST the Defendant, and the Defendant knew that the Complainant was a peace officer attempting to
ARREST the Defendant, and the Defendant used a motor vehicle while he was in flight.




                                                                                Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE                  .

                                                                         FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                        0002553
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 162 of 479
 CAUSE NO.                                 CHARGI              Jc
 THE STATE OF TEXAS                                                      / S5&             ISTRICT COURT                       c?



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 Defendant
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                                                                        OF HARRIS COUNTY, TEXAS




 TO THE HONORABLE JUDGE OF SAID COURT: (check one )
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                                          the Court to appoint counsel to represenwiim After in




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                                                                 ( name), a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                                                              Deputy District Clerk
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             ^                                                                                  he is without counsel and is
 financially unable to lure an attorney. The Court ORDERS that the attorney listed below is appointed to
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 represent Jtfraefendam /Witness named above in this cause.
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 Attorney
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                                                                                      SBN 04831500
                                                                                    2028 Buffalo Terrace
            Un




 Phone Number                                                                     Houston, Texas 77019
                                                                                   Phone 713 237 8547
                                                                                    Fax 713 528 0153
 Fax Number
                        further Oj            the cause set for :               Ah
 on the                 of                                , 20 (   ]_ at 9:00 am. at 1201 Franklin, Houston, Harris
 County, Texas.
          Signed this



                                                           Judge Presiding




                                                                                                                     0002554
                                                   DISTRICT CLERK
                                            *
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 163 of 479



THE STATE OF TEXAS                                                                      D.A. LOG NUMBER:1704972
VS.                                                                                     CJIS TRACKING NO.:
 ESMAI KYET                                   SPN: 02533147                             BY. rb DA NO: 002197877
                                               DOB:                                     AGENCY:HPD
                                                                    --
                                               DATE PREPARED: 3 21 11                   O/RNO: 127944910Z
                                                                                        ARREST DATE:
NCIC CODE: 1115 34                            RELATED CASES:
FELONY CHARGE: AGGRAVATED SEXUAL ASAULT OF A CHILD 14 17 YEARS OF AGE          -
CAUSE NO: 1288687                                            BAIL: $20,000
HARRIS COUNTY DISTRICT COURT NO: 185                         PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                          c
                                                                                                 &
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ESMAI KYET, hereafter styled the Defendant, heretofore on or about SEPTEMBER 4, 2010, did then and there unlawfully, intentionally and
knowingly cause the sexual organ of BOAT SOUL, hereinafter called the Complainant, a person younger than seventeen years of age to contact
the SEXUAL ORGAN of THE DEFENDANT, and in the course of the same criminal episode, the Defendant used and exhibited a deadly
weapon, namely a KNIFE.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                 .

                                                                        FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                 RECORDER'S MEMORANDUM
                                                                                                 This instrument is of poor 0002555
                                                                                                                            quality
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   CAUSE NO.         Xlxsn ijr
  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 164 of 479
                                             CHARGE           <     >                            fe6 (             eb
    THE STATE OF TEXAS                                                                  DISTRICT COURT
    VS.                                                                OF HARRIS COUNTY, TEXAS

   QOL <Acptt3r? lOuQcMr
    Defendant              *


    TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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    numbered cause respectfully
                                       j                      .       ( name), the DEFENDANT in the above styled and
                                  petitions the Court to appoint counsel to represent him / her in this cause and would
    show the Court that he / she is financially unable to hire an atj
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                                                            Defendant




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                                                                    ( name), a WITNESS in the above styled and
    numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
    justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                            Harris County ,
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                                  ORDER APPOINTING COUNSEL
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             On               ^rday of                                    .
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      e timmeddefendant / witness has executed an affidavit stating that he / she is without counsel and is
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  represerfOhedefendant / witness named above in this cause.
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             The Court further ORDERS the cause set for :
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    County, Texas.
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                                                                      at 9:00 a.m. atl 201 Franklin, Houston, Harris


             Signed this          day of      DEC 1 fi 2010                   20.

                                                                          AS
                                                            Judge Presiding
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                                                                                             RECORDER’S MEMORANDUM
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                                                                                             This instrument imaging
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                                                 DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 165 of 479



THE STATE OF TEXAS                                                                       D.A. LOG NUMBER:1704871
                                                                                         CJIS TRACKING NO.:9166122481- A001
                           WILKINS               SPN : 02433617                          BY: CM DA NO: 002261480
                                                 DOB:                                    AGENCY:HPD
                                                 DATE PREPARED: 2/3/2011                 O/RNO: 17393431OF
                                                                                         ARREST DATE: 12 13 10

NC1C CODE: 1204 04                               RELATED CASES:
                                             -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO: 1288718                                                                         BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO: 351                                                      PRIOR CAUSE NO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
CHRISTOPHER CASH WILKINS, hereafter styled the Defendant, heretofore on or about DECEMBER 13, 2010, did then and there
unlawfully, while in the course of committing theft of property owned by CHAZ ESPENSHEID, and with intent to obtain and maintain control of
the property, INTENTIONALLY AND KNOWINGLY threaten and place CHAZ ESPENSHEID in fear of imminent bodily injury and death, and
the Defendant did then and there use and exhibit a deadly weapon, namely, A FIREARM.




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                                                                                                     District Clark
                                                                                                   FEB 11 2011




AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OFJHE GRAND JURY
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                                                              INDICTMENT
                                                                                                                        0002557
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 166 of 479
 CAUSE NO.
                                                                                                                                   o
 THE STATE OF TEXAS


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                                                                    Se
                                                                              ^        DISTRICT COURT
                                                                    OF HARRIS COUNTY, TEXAS
                                                                                                                               /
 Defendant
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 TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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 rfc3iT cadse respectfully                       \                ( name), the DEFENDANT in the above styled and
                               petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an attorney. j\                             /

                                                          Defendant




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                                                         Deputy District Clerk
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                                                         Harris County, Texas
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                                        ER APPOINTING COUNSEL
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to



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 represent /the defendant /   witness named above in this cause.
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 City                         State              Zip                E-Mail Address
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 Bar Card/SPN Number                                              D.A. Recommendation:
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                                                                    Defendant's Initials:
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       Thd Court furthePORDERS the cause set for :
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 County, Texas.
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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 167 of 479



THE STATE OF TEXAS                                                                         D.A. LOG NUMBER:!705679
VS.                                                                                        CJIS TRACKING N0.:9166130700- A001
 GREGORY SCOTT JF.LKS                           SPN: 01196079                              BY: LM DA NO: 002197869
                                                DOB:                                       AGENCY:HPD
                                                DATE PREPARED: 2/1/2011                    O/RNO: 174893910H
                                                                                           ARREST DATE: 12 15 10
NCIC CODE: 5599 48                             RELATED CASES: CO DEFS: LINK, WILLIAMS, WALKER ( FELS)
FELONY CHARGE: POSSESSION WITH INTENT TO DELIVER A CONTROLLED SUBSTANCE
CAUSE NO: 1288977                                           BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO: 228                        PRI0R CAUSE NO -
FIRST SETTING DATE:                                                  X

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Ham’s County, Texas, that in Harris County, Texas,
GREGORY SCOTT JELKS, hereafter styled the Defendant, heretofore on or about DECEMBER 15, 2010, did then and there unlawfully,
knowingly possess with intent to deliver a controlled substance, namely, COCAINE, weighing more than 4 grams and less than 200 grams by
aggregate weight, including any adulterants and dilutants.

It is further presented that, at the time that the Defendant committed the felony offense of POSSESSION WITH INTENT TO DELIVER A
CONTROLLED SUBSTANCE on or about DECEMBER 15, 2010, as hereinabove alleged, he used and exhibited a deadly weapon, namely, a
FIREARM, during the commission of said offense and during the immediate flight from said offense.

Before the commission of the offense alleged above, on APRIL 1 , 1999, in Cause No. 0785574 , in the 174TH District Court of HARRIS County,
Texas, the Defendant was convicted of the felony offense of POSSESSION OF A CONTROLLED SUBSTANCE.




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                                                                                  foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.                                                                            338th


                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                              0002559
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 168 of 479
CAUSE NO.

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TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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                                                                                         —
                                                                 ( name), the DEFENDANT in the above styled and

                                          ^
numbered cause respectfully petition the Court to appoint counsel to represent him / her in this cause and would
show the Court that he / she is financially unable to hire an attorney.
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                                                                 '  Tn-*
                                                                 Defendant




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                                                                ( name) , a WITNESS in the abov«f styled and

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numbered cause resJectfull / petitions the Court to appoint counsel to represent him / er in tharinterests of




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                   Time:                                         Deputy District Clerk
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                               ORDER APPOINTING COUNSEL
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          On this, t             day of
                                                                                ~ IC\    he Court determined that the
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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
represent the defendant / witness named above in this cause.
                                          ffic
                                  yO




Attorney
                              op




Address
                           lC




City                         State                     Zip                 E-Mail Address
                       icia




Bar Card/SPN Number                                                                R.P. SKIP
                  off




                                                                                               CORNELIUS
                                                                                        SBN 04831500
             Un




                                                                                       2028 Buffalo Terrace
Phone Number                                                                          Houston, Texas 77019
                                                                                      Phone 713 237 8547
                                                                                        Fax 713 528 0153
Fax Number

          The Court further QRD                the cause set for :
on the           day of                                                 at 9:00 a.m. at 1201 Franklin, Houston, Harris
County, Texas.
         Signed this




                                                                                                                0002560
                                                           DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 169 of 479



THE STATE OF TEXAS                                       02535227                        D.A. LOG NUMBER:1705816
VS.                                                                                      CJIS TRACKING NO.:9166131863-A001
TYLER FRANK                                    SPN:                                      BY: SP DA NO: 002268733
                                               DOB:                                      AGENCY.HUMBLE PD
                                               DATE PREPARED: 12/16/2010                 O/RNO: 10006864
                                                                                                               -
                                                                                         ARREST DATE: 12 16-2010
NCIC CODE: 2202 05                            RELATED CASES:
FELONY CHARGE: BURGLARY OF A HABITATION
CAUSE NO:                                                                                  BAIL: $10000
HARRIS COUNTY DISTRICT COURT NO:                                1289045                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                             174

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                           jp
                                                                                             =#r
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TYLER FRANK, hereafter styled the Defendant, heretofore on or about DECEMBER 16, 2010, did then and there unlawfully, with intent to
commit theft, enter a habitation owned by LUCY LOZANO, a person having a greater right to possession of the habitation than the Defendant and
hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.




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                                                                               Foreman
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                         0002561
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 170 of 479
CAUSE NO.

THESTA




TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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                                                                 ( name), the DEFENDANT in the above styled and

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numbered cause respectfully petition the Court to appoint counsel to represent him / her in this cause and would
show the Court that he / she is financially unable to hire an attorney.
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                                                                 Defendant




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                                                                ( name) , a WITNESS in the abov«f styled and

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numbered cause resJectfull / petitions the Court to appoint counsel to represent him / er in tharinterests of




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                               DEC 2 0 2010
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                   Time:                                         Deputy District Clerk
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                  By
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                               ORDER APPOINTING COUNSEL
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          On this, t             day of
                                                                                ~ IC\    he Court determined that the
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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
represent the defendant / witness named above in this cause.
                                          ffic
                                  yO




Attorney
                              op




Address
                           lC




City                         State                     Zip                 E-Mail Address
                       icia




Bar Card/SPN Number                                                                R.P. SKIP
                  off




                                                                                               CORNELIUS
                                                                                        SBN 04831500
             Un




                                                                                       2028 Buffalo Terrace
Phone Number                                                                          Houston, Texas 77019
                                                                                      Phone 713 237 8547
                                                                                        Fax 713 528 0153
Fax Number

          The Court further QRD                the cause set for :
on the           day of                                                 at 9:00 a.m. at 1201 Franklin, Houston, Harris
County, Texas.
         Signed this




                                                                                                                0002562
                                                           DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 171 of 479



THE STATE OF TEXAS                                       02535227                        D.A. LOG NUMBER:170S975
VS .                                                                                     CJIS TRACKING NO.:
TYLER FRANK                                    SPN:                                      BY: CS DA NO: 002158528
                                               DOB:                                      AGENCY:HCSO
                                               DATE PREPARED. 12/17/2010                 O/RNO: 10173604
                                                                                         ARREST DATE: 12/17/2010
NCIC CODE: 1313 18                            RELATED CASES:
FELONY CHARGE: ASSAULT
CAUSE NO:                                                                                  BAIL: $5,000
HARRIS COUNTY DISTRICT COURT NO:                                1289088                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                             174

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                            #
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TYLER FRANK, hereafter styled the Defendant, heretofore on or about DECEMBER 17, 2010, did then and there unlawfully,
INTENTIONALLY and KNOWINGLY cause bodily injury to C. GORE, hereinafter called die Complainant, a person the Defendant knew was a
public servant while the Complainant was lawfully discharging an official duty, to-wit: ESCORTING THE DEFENDANT IN AI ATT by         ,



STRIKING THE COMPLAINANT WITH HIS HAND.




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                                                                                Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                        0002563
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 172 of 479
CAUSE NO.

THE STATE OF TEXAS                                                                          DISTRICT COURT
                                                                               OF HARRIS COUNTY, TEXAS




TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                ( name), the DEFENDANT in the above styled and
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show the Court that he / sheTs financially unable lo hire an attorney.


                                                                  Defendant




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numbered cause respectfull/ petitions the Court to Appoint counsel to represent him Mer in thi interests of




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                                                                  Deputy District Clerk
                     DEC 2 0 2010                                 Harris County, Texas
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         By

          On this, th
                     ^^    /              day of                                   .         he Court determined that the
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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
represent the defendant / witness named above in this cause.
                                              ffic
                                           yO




Attorney
                                      op




Address
                               lC




City                                State              Zip                     E-Mail Address
                     icia




Bar Card/SPN Number
                  off




                                                                                        2028 Buffalo
              Un




Phone Number                                                                           Houston, TexasTerrace
                                                                                                       77019
                                                                                        Phone 713 237 8547
                                                                                         Pax 713 528 0153
Fax Number

          The Court further ORDERS the cause set for :
on the            day of                                     .,   20   / /at 9:00 a.m. at 120: Franklin, Houston, Harris
County , Texas.
         Signed
                   go                     day ol     n Wile-f C.               /




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                                                       DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 173 of 479
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THE STATE OF TEXAS                                      02480523                         D.A. LOG NUMBER:1706119
VS.                                                                                      CJIS TRACKING NO :9166135044-A001
TROY BENNINGS                                  SPN :                                     BY: SP DA NO: 002268733
                                               DOB:                                      AGENCY:HPD
                                               DATE PREPARED: 12/17/2010                 O/RNO: 17S546010C
                                                                                         ARREST DATE: 12-17-2010

NCIC CODE: 2202 05                            RELATED CASES: NIXON IF        -                                       at
FELONY CHARGE: BURGLARY OF HABITATION                                                                                £
CAUSE NO:                                                                                  BAIL: $10000
HARRIS COUNTY DISTRICT COURT NO:                                 1289199                   PRIOR CAUSE NO:
FIRST SETTING DATE:                                              174                                  O
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                             #
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TROY BENNINGS, hereafter styled the Defendant, heretofore on or about DECEMBER 17, 2010, did then and there unlawfully, without the
effective consent of the owner, namely, without any consent of any kind, intentionally enter a habitation owned by MARGARITA MENDOZA, a
person having a greater right to possession of the habitation than the Defendant, and commit theft of ONE TELEVISION.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                                  Foreman


                                                                         FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT
                                                                                                                          0002565
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 174 of 479
 CAUSE NO.

 THE STATE OF TEXAS                                                                    DISTRICT COURT
  ;s.                                                                    OF HARRIS COUNTY, TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                ( npe), the DEFENDANT in the above styled and
 numbered cause respectfully Petitions the Court to appoint coprfsel to represent him / her in this cause and would
 show the Court that heVshe'is financially unable to hire anaftqmey.


                                                                 Defendant




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 numbered   cause                        the       to
 justice and would show thafcourt that he / she is financially kmable to hire an attorney.




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               DEC 2 o 2010
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                                                                 Deputy District Clerk
   Time:            .
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   By
                                                ORDER APPOINTING COUNSEL
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           On this, t                           day of                        ,
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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
represent the defendant / witness named above in this cause.
                                                   ffic
                                                yO




Attorney
                                         op




Address
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City                                    State             Zip           E-Mail Address
                            icia




                                                                                    R .P. SKIP CORNELIUS
Bar Card/SPN Number                                                                      SBN 04831500
                  off




                                                                                       2028 Buffalo Terrace
                                                                                      Houston , Texas 77019
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Phone Number                                                                           Phone 713 2378547
                                                                                        Fax 713 528 0153

Fax Number
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on the                                                                  at 9:00 a.m.               ranklin, Houston, Harris
County, Texas.
           Signed th




                                                                                               RECORDER’S MEMORANDUM
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 175 of 479



THE STATE OF TEXAS                                        02150667                         D.A. LOGNUMBEIU7062I 0
VS.                                                                                        CHS TRACKING NO.:9166136245-A001
 PAUL ANTHONY ARCHER                            SPN:                                       BY: TD DA NO: 001863827
                                                DOB:                                       AGENCY:HPD
                                                DATE PREPARED: 12/17/2010                  O/RNO: 175268010
                                                                                           ARREST DATE: 12/17/2010
NCIC CODE: 2300 75                             RELATED CASES: SAME DEF: 1M IF TOTAL
FELONY CHARGE. THEFT
CAUSE NO:                                                                                   BAIL: $15000
                                                                                                             jr
HARRIS COUNTY DISTRICT COURT NO:                                  1289228                   PRIOR CAUSE NO:
FIRST SETTING DATE:                                               174“
                                                                                                     -
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PAUL ANTHONY ARCHER, hereafter styled the Defendant, heretofore on or about DECEMBER 17, 2010, did then and there unlawfully,
appropriate, by acquiring and otherwise exercising control over property, namely, ELEVEN MOTORS owned by JESSICA MKESELL, hereafter
styled the Complainant, of the value of over one thousand five hundred dollars and under twenty thousand dollars, with the intent to deprive the
Complainant of the property.
                                                                                  $
Before the commission of the offense alleged above (hereinafter styled tbe primary offense), on JULY 2, 2007, in Cause Number 1123123, in the
248TII District Court of HARRIS County, Texas, the Defendant was convicted of the state jail felony offense of UNAUTHORIZED USE OF A
MOTOR VEHICLE.
                                                                          4
Before the commission of the primary offense, the Defendant committed the state jaD felony offense of POSSESSION OF A CONTROLLED
SUBSTANCE and was convicted on JULY 26, 2006, in Cause Number 1072958 in the 180TH District Court of HARRIS County, Texas.


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                                                                                Foreman                             263rd
AGAINST THE PEACE AND DIGNITY OF THE STATE                   .

                                                                          FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT

                                                                                                                          0002567
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 176 of 479
 CAUSE NO.    12                                                        CHARG 1            i   m fni£yi
 THE STATE OF TEXAS                                                                   DISTRICT COURT
  rS.                                                                   OF HARRIS COUNTY, TEXAS

                                                        LO
 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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  ^     AXKV)1                                                    ( name), the DEFENDANT in the above styled and
 numbered cause respectfimly/ petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / 'she is financially unable to hire amdttorney.


                                                              Defendant




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                                                                 lame ), a WITNESS in theyabove styled and
numbered cause respectfully petitions the Court to Appoint counsel to represent him / her /n the interests of




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justice and would show theyCourt that he / she is financially unable to hire an attoPttey. /




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          Sworn to a                                 e on this, th           day of
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                            DEC 2 0 2010
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                                                             Deputy District Clerk
              Time :                                         Harris County, Texas
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          On this, th                                                                    e Court determined that the
                                                     fM




above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
represent the defendant / witness named above in this cause.
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Attorney
                              op




Address
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City                         State                   Zip                E-Mail Address
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Bar Card/SPN Number                                                               R-P. SKIP
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                                                                                      SBN 04831500
                                                                                    2028 Buffalo Terrace
             Un




Phone Number                                                                       Houston, Texas 77019
                                                                                    Pnone 713 237 8547
                                                                                      Pax 713 528 0153
Fax Number
         The Court further ORDERS the cause set for :
on the             day of                                            at 9:00 a.             Franklin, Houston, Harris
County, Texas.
         Signed                   day of




                                                                                                              0002568
                                                     DISTRICT CLERK
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 177 of 479



THE STATE OF TEXAS                                        02090692                          D A. LOG NUMBER:1706458
VS.                                                                                         CJIS TRACKING N0.:9166139082-A001
 MARVIN EARL RUMLEY. II                          SPN:                                       BY: AA DA NO: 002197675
                                                 DOB:|                                      AGENCYHCSO
                                                 DATE PREPARED: 12/18/2010                  O/RNO: HC10174400
                                                                                            ARREST DATE: 12-18-10
NCIC CODE: 2901 23                              RELATED CASES:
FELONY CHARGE: CRIMINAL MISCHIEF
CAUSE NO:                                                                                    BAIL: $5,000
HARRIS COUNTY DISTRICT COURT NO:                                 1289316                     PRIOR CAUSE NO:
FIRST SETTING DATE:                                              174

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
MARVIN EARL RUMLEY, H, hereafter styled the Defendant, heretofore on or about DECEMBER 18, 2010, did then and there unlawfully,
intentionally and knowingly DAMAGE tangible property, namely A MOTOR VEHICLE, owned by HEATHER MOSCO, a person having a
greater right to possession of the property than the defendant and hereafter styled the Complainant, without the effective consent of the
Complainant, namely, without any consent of any kind, and the value of the pecuniary loss so inflicted was over one thousand flve hundred dollars
and under twenty thousand dollars, by STRIKING THE MOTOR VEHICLE WITH AN UNKNOWN OBJECT.

   It is further presented that in Harris County, Texas, MARVIN EARL RUMLEY, II, hereafter styled the Defendant, heretofore on or about
DECEMBER 18, 2010, did then and there unlawfully, intentionally and knowingly DAMAGE tangible property, namely A MOTOR VEHICLE,
owned by HEATHER MOSCO, a person having a greater right to possession of the property than the defendant and hereafter styled the
Complainant, without the effective consent of the Complainant, namely, without any consent of any kind, and the value of the pecuniary loss so
inflicted was over one thousand five hundred dollars and under twenty thousand dollars, by STRIKING THE MOTOR VEHICLE WITH A
CLUB.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                                  ^teman                              338th


                                                                           FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                           0002569
VS.
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 178 of 479


THE STATE OF TEXAS

MICHAEL RAY MORRIS                              SPN:
                                                          02536563.
                                                                                         *D A LOG NUMBER:1708764
                                                                                          CJIS TRACKING NO. 9166163471-A001
                                                                                          BY: EG DA NO: 001642011
                                                DOB:                                      AGENCY:PPD
                                                DATE PREPARED: 12/27/2010                 O/R NO. 201031886
                                                                                          ARREST DATE: 12-27-2010
NCIC CODE: 0907 10                             RELATED CASES: STINER-FEL
FELONY CHARGE: CAPITAL MURDER
CAUSE NO:                                                                                   BAIL SNO BOND
HARRIS COUNTY DISTRICT COURT NO:                                 1290077                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                              177
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                            &                        ®
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, TeajSs, that in Harris County , Texas,
MICHAEL RAY MORRIS, hereafter styled the Defendant, heretofore on or about DECEMBER 25, 2040, did then and there unlawfully, while
                                                                                                     /
in the course of committing and attempting to commit the ROBBERY of JAYCHANDRIA ELAPROLl intentionally cause the death of
JAYCHANDRIA ELAPROLU by SHOOTING THE COMPLAINANT WITH A DEADLY WEAPON, NAMELY A FIREARM.




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AGALNST THE PEACE AND DIGNITY OF THE STATE.
                                                                                 u.                                 176th


                                                                          FOREMAN OF THE GRAND JURY

                                                              INDICTMENT                           RECORDER' S MEMORANDUM
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 179 of 479
 CAUSE NO.                                                                                                            ITtb
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 THE STATE OF TEXAS



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                                                                                  OF HARRIS COUNTY, TEXAS
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 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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              ^                                                ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire  ttomey.



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                                                                       Defendant




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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 180 of 479



THE STATE OF TEXAS                                      02537129                         D.A. LOG NUMBER:1709440
VS.                                                                                      CJ1S TRACKING NO.:
MICHAEL WALKER                                 SPN:                                      BY: HR DA NO: 002129278
                                               DOB:                                      AGENCY:HCSO
                                               DATE PREPARED: 12/30/2010                 O/RNO: HC10167011
                                                                                         ARREST DATE: TOBE
NCIC CODE: 2202 05                            RELATED CASES: CODEFS: COOPER & ROLLOCKS (FELS)
FELONY CHARGE: BURGLARY OF A HABITATION
CAUSE NO:                                                                                  BAIL: $10000
HARRIS COUNTY DISTRICT COURT NO:                               1290357                     PRIOR CAUSE NO:
FIRST SETTING DATE:                                            228

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                             v:
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
MICHAEL WALKER , hereafter styled the Defendant, heretofore on or about DECEMBER 3, 2010, did then and there unlawfully, with intent
to commit theft, enter a habitation owned by CHRISTOPHER SHEM, a person having a greater right to possession of the habitation than the
Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.


                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 181 of 479
 CAUSE NO.                                                                                                            ITtb
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 THE STATE OF TEXAS



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                                                                                  OF HARRIS COUNTY, TEXAS
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 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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              ^                                                ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
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                                                                   Deputy District Clerk
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                                                                   Harris County, Texas
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                                                                       NTING COUNSEL
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
 financially unable to hire an Attorney . The Court ORDERS that the attorney listed below is appointed to
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 182 of 479



THE STATE OF TEXAS                                       02537129                        D.A. LOG NUMBER:1709455
VS.                                                                                      CJIS TRACKING NO.:
 MICHAEL WALKER                                SPN:                                      BY: HR DA NO: 002215011
                                               DOB:                                      AGENCY:HCSO
                                               DATE PREPARED: 12/30/2010                 O/RNO: HC10166879
                                                                                         ARREST DATE: TOBE
NCIC CODE: 2202 05                            RELATED CASES: CODEF: COOPER (F)
FELONY CHARGE BURGLARY OF A HABITATION
CAUSE NO:                                                                                  BAIL: $10000
HARRIS COUNTY DISTRICT COURT NO:                                 1290358                   PRIOR CAUSE NO:
FIRST SETTING DATE:                                              228

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                       4#
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
MICHAEL WALKER, hereafter styled the Defendant, heretofore on or about DECEMBER 3, 2010, did then and there unlawfully, with intent
to commit theft, enter a habitation owned by ROLAND CORONEL, a person having a greater right to possession of the habitation than the
Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                   .               Foreman                              174th

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                                                                         FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT                              RECORDER’S MEMORANDUM
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 183 of 479
  CAUSE NO.

  THE STATE OF TEXAS
                                           CHARGE

                                                                                     DISTRICT COURT
                                                                    OF HARRIS COUNTY, TEXAS

 'Defendant


  TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                   ( name), the DEFENDANT in the above styled and
  numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
  show the Court that he / she is financially unable to hire an attorney.          ,



                                                          Defendant




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                                                                 ( name), a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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 justice and would show the Court that he / she is financially unable to hire an attorney.




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            Chris Daniel
            District Clerk                                Deputy District Clerk
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            MAR 1 6 2011                                  Harris County, Texas
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 Tima:                            ORDER APPOINTING COUNSEL
  By                Deputy
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          On this, the       /5    day of                               , 2( /Z, the Court determined that the
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
 financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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              he defendant / witness named above in this cause.
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          The.     rt further                 i cause set for :
 on the    l CJ                                                    at 9:00 a.m. at 1201 Franklin , Houston, Harris
 County, Texas.
          Signed this



                                                         Judge Presiding




                                                                                                         0002575
                                                 DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 184 of 479
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                 \                                                      i-


THE STATE OF TEXAS
VS .                                                                                     CJIS TRACKING NO.: 9165290593 A001     -
STEVEN HANKS                                  SPN:                                       BY: JS DA NO: 1489582 AGENCY:HPD
                                              DOB|:                                      O/RNO: 025455289X
                                              DATE PREPARED: 1/12/2011                   ARREST DATE: 4/7/2010




                                                                                                                                    —
NCIC CODE: 1115 35                            RELATED CASES:
FELONY CHARGE: AGG SEX ASSLT CHILD- UNDER 14
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO: 208  '
                                         C\1           11^                                BAIL: $ NO BOND
                                                                                          PRIOR CAUSE NO: |'           JJ   _ /QS— -
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FIRST SETTING DATE JPUaiMM


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
STEVEN ANTHONY HANKS, hereafter styled the Defendant, heretofore on or about MARCH 24, 1989, did then and there unlawfully,
intentionally and knowingly cause the penetration of the ANUS of ROBERT CHAVIRA hereinafter called the Complainant, a person younger
than fourteen years of age and not the spouse of the Defendant, by placing HIS SEXUAL ORGAN in the ANUS of the Complainant.

Before the commission of the offense alleged above, on MARCH 22, 1990, in Cause No. 89CR 1358, in the 10TH JUDICIAL COURT of
GALVESTON County, Texas, the Defendant was convicted of the FELONY OFFENSE of AGGRAVATED SEXUAL ASSAULT OF A
CHILD.                                                                   )
                                                                             VJ
Before the commission of the offense alleged above, on OCTOBER 4, 1979, in Cause No. 35,789, in the 122nd DISTRICT COURT of
GALVESTON County, Texas, the Defendant was convicted of the FELONY OFFENSE of MURDER.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT

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             CAUSE NO.             v& lgn
            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 185 of 479
                                                       CHARGE

              THE STATE OF TEXAS                                                   35 j               DISTRICT COURT
               VS.                                                                OF HARRIS COUNTY, TEXAS


              Defendant                                                                           LA- JT/ -      So

              TO             HONORABLE JUDGE OF SAID COURT: (check one)


              vf      &           ( A <M AAJ f i r                             ( name), the DEFENDANT in the'djove styled and
              numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cahse and would
              show the Court that he / she is financially unable to hire an attorney.                              \

                                                                       Defendant                                          7




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                                                                              ( name) , a WITNESS in the above styled and
              numbered cause respectfully petifiWis the Court to appoint counsel to represent him / her in the interests of




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              justice and would show the Court that he / she is financially unable to hire an attorney .




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         Chris Daniel
         District Clerk
                                                                       Deputy District Clerk
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         SEP 21 2012                                                   Harris County, Texas
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By
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              above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
              financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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              represent the defendant / witness named above in this cause.
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              Attorney
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                                                                                                2028 Buffalo Terrace
              Phone Number                                                                     Houston, Texas 77019
                                                                                                Phone 713 237 8547
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                           The Court further ORDERS the cause set for :
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             on thi       2r±^day of ‘StAlSL .          .             . 20   ( 7-af9:00 a.m. at 120l Franklin, Houston, Harris
             County, Texas.
                          Signed this         day of    SEP 212012

                                                                       Judge Presiding

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              Case 4:17-cv-03621 Document 89-8
                                            f * Filed on 01/05/23 in TXSD Page 186 of 479




THE STATE OF TEXAS                                      02326893                         D.A. LOG NUMBER:1713129
VS.                                                                                      CJIS TRACKING N0.:9166209390- A001
PEDRO E!          TO UMANA                       SPN:                                    BY: TD DA NO: 050788045
                                                 DOB:                                    AGENCY:HPD
                                                 DATE PREPARED: 1/12/2011                O/RNO: 004428111
                                                                                         ARREST DATE: 01/11/2011
NCIC CODE: 1204 04                                                                                   -
                                                 RELATED CASES: SAME DEF: 2 F & SMITHERS 1F, E. UMANA 1F              -
                                             -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO:                                                                                 BAIL: $100000
HARRIS COUNTY DISTRICT COURT NO:               1291817                                    PRIOR CAUSENO:
FIRST SETTING DATE:                                                                                  ,C Z
                                                                                                      ’
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PEDRO ERNESTO UMANA, hereafter styled the Defendant, heretofore on or about JANUARY 11, 2011, did then and there unlawfully, while
in the course of committing theft of property owned by MARIELLA MOSELEY, and withintent to obtain and maintain control of the property,
INTENTIONALLY THREATEN AND PLACE MARIELLA MOSELEY IN FEAR OF IMMINENT BODILY AND DEATH, and the
Defendant did then and there use and exhibit a deadly weapon, namely, ONE FIREARM.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                                                    iwth

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                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
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            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD
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                                                                                                                              Page 187 of 479
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               CAUSE NO           .                                                          CHARGE                                                   Cs
               THE STATE OF TEXAS                                                                               DISTRICT COURT
                                                                                                                                                  CFO
                                                                                             OF HARRIS COUNTY, TEXAS


               Defendant
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               TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                 7T                             ( name), the DEFENDANT in the above styled and
               Of .
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               nurhbered cause pectfully pe/ftijbns the Court to appoint counsel to represent him / her in this cause and would
               show the Court that he / she is financially unable to hire an attorney.        \                   .
                                                                                Defendant




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                                                                                            ( name) , a WITNESS in the above styled and
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              justice and would show the Court                             financially    unable to hire an attorney.




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                            On this, the               day of                                    .»   20 l(     . the Court determined that the
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              above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
              financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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             .represent the defendant,                      named above in this cause.
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                                      lourt further CUE)        the cause set for :
             on the                    day of                                 , 20   (j    at          MR    . at 1201 Franklin, Houston, Harris
             County, Texas.
                            Signed this               day of    QA.
                                                                               Judge Presiding


                                                                                                      RECORDER’S MEMORANDUM
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 188 of 479



THE STATE OF TEXAS                                        01895630                          D.A. LOG NUMBER:1719803
VS.                                                                                         CJIS TRACKING NO.:916627947X-A001
LORENZO ROGERS                                  SPN:                                        BY: EG DA NO: 002328033
                                                DOB:                                        AGENCY:SHF
                                                DATE PREPARED: 2/2/2011                     O/RNO: HC1100015480
                                                                                            ARREST DATE: 02-02-2011

NCIC CODE: 3599 23                             RELATED CASES:
FELONY CHARGE: POSSESSION WITH INTENT TO DELIVER A CONTROLLED SUBSTANCE
CAUSE NO:                                                   BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:           1294397          PRIOR CAUSE NO:
FIRST SETTING DATE:                        262

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, LORENZO ROGERS, hereafter styled the Defendant,
heretofore on or about FEBRUARY 2, 2011, did then and there unlawfully knowingly possess with intent to deliver a controlled substance,
namely, COCAINE, weighing more than 1 gram and less than 4 grams by aggregate weight, including any adulterants and dilutants.




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                                                                                                ^'District Clark

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AGAINST THE PEACE AND DIGNITY OF THE STATE.

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AFFIANT
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                                                                          ASSISJA TpisfRICT ATTORNEY
                                                                              HARRJSCOUNTY, TEXAS.
                                                                                                                               BAR NO .



                                                                   COMPLAINT
                                                                                                                                0002580
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 189 of 479
 CAUSE NO.                                                             CHARGE

 THE STATE OF TEXAS                                                                    -DISTRICT COURT
 VS   .                     r       /1         J             H         OF HARRIS COUNTY, TEXAS
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 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
 justice and would show the Court that he / she is financially unable to hire an attorney .




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                                                             Deputy District Clerk
                                                             Harris County , Texas
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 represent them efendant / witness named above in this cause.
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Attorney
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City                            State           Zip                    E-Mail Address
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                                                                                        2028 Buffalo Terrace
Phone Number                                                                                    .
                                                                                       Houston Texas 77019
                                                                                        Phone 713 237 8547
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           Signed this
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                                                            Judge Presiding




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THE STATE OF TEXAS                                      2552917                         D.A. LOG NUMBER.1738236
VS.                                                                                     CJIS TRACKING NO.:9166477891 A001       -
 MIGUEL ANGEL MATA                             SPN:                                     BY: JL DA NO: 002126743
                                               DOB:                                     AGENCY:PASADENA PD
                                               DATE PREPARED: 4/3/2011                  O/RNO: 20117824
                                                                                        ARREST DATE: 4/03/2011
NCIC CODE: 1314 08                            RELATED CASES:
FELONY CHARGE: Assault of Family Member -Impeding Breathing
CAUSE NO:                                                                                 BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                  1301372
                                                                                          PRIOR CAUSE NO:
FIRST SETTING DATE:                               185                                           v



IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                        #
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
MIGUEL ANGEL MATA, hereafter styled the Defendant, heretofore on or about APRIL 3, 2011, did then and there unlawfully, intentionally
and knowingly cause bodily injury to ARIANA MARISOL SOSA-CASTANEDA, hereafter styled the Complainant, a member of the Defendant’s
family, by impeding the normal breathing and circulation of the blood of the Complainant by applying pressure to the Complainant’s neck.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                  .                Foreman                           179th


                                                                         FOREMAN OF THE GFKND JURY

                                                                INDICTMENT
                                                                                                                       0002582
CAUSE NO.       Efim
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 191 of 479
                                                                   CHARGE

THILSTATE OF TEXAS                                                                     DISTRICT COURT
VS.
             y\r\ Noojh                                            OF HARRIS COUNTY, TEXAS


Defendant

TO THE HONORABLE JUDGE OF SAID COURT: (check one)



  tRS
numbered cause
                   'H
                respectfully  petitions the Court to appoint
                                                                 ( name ), the DEFENDANT in the above styled and
                                                              counsel
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show the Court that he / she is financially unable to hirejju attomey
                                                                      to represent him / her in this cause and would



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                                                         Defendant




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                                                                ( name ) , a WITNESS in the i» hr> v<» « yipH and




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numberi                [ully petitions the CoujIXJi i appomrPPunsel to represent him / her in the interests of
justice and would show the.                    js financially unable to hire an attorney .




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                                                         Witness
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           Sworn to and subscribed before me on this, the                   day of                              , 20      .
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                     District Clark                      Deputy District Clerk
                                                         Harris County , Texas
                     MAY 04 2011
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                              .QRBERAEPOINTING                          COUNSEL
                               t , Texas
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           On this, the          day of                   y             , 20           . the Court determined that the
above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire amattorney . The Court ORDERS that the attorney listed below is appointed to
FepMsenCthe defendant / witness named above in this cause.
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on the                                                                                    101 Franklin, Houston, Harris
County, Texas.
           Signed this


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                                                DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 192 of 479
    >       *

THE STATE OF TEXAS                                                                         D.A. LOG NUMBER:1737143
VS.                                                                                        CJ1S TRACKING NO :       .
JUSTIN ABELS                                  SPN: 2480328                                 BY: DEC DA NO: 002359851
                                              DOB:                                         AGENCY:HARRIS COUNTY DA’S OFFICE
                                              DATE PREPARED: 4/1 /2011                     O/RNO: 1000506
                                                                                           ARREST DATE: 2/23/2010

NCIC CODE: 5002 02                            RELATED CASES:
FELONY CHARGE: BAIL JUMPING AND FAILURE TO APPEAR
CAUSE NO: l TO|lT         7                                                                 BAIL: $
HARRIS COUNTY DISTRJCT COURT NO: 228                                                        PRIOR CAUSE NO:
FIRST SETTING DATE: 5/4/2011
                                                                                                   VO'

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JUSTIN CHASE ABELS, hereafter styled the Defendant, heretofore on or about OCTOBER 20, 2010, did then and there unlawfully, after
having been lawfully released from custody with bail, on the condition that he would subsequently appear in District Court Number 228th of
Harris County, Texas, on the 20th day of OCTOBER 2010, where he was charged in Cause No. 12528616 with the felony offense of
POSSESSION OF A CONTROLLED SUBSTANCE intentionally and knowingly fail to appear in the aforesaid court on the aforesaid date in
accordance with the terms of his release.




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                                                                                                     01 2011
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AGAINST THE PEACE AND DIGNITY OF THE STATE.                          foreman

                                                                                           4*
                                                              INDICTMENT          ^
                                                                        FOREMAN OF THE GRAND JURY

                                                                                               RECORDER'S MEMORANDUM
                                                                                               This instrument is of poor quality
                                                                                                     at the time of imaging0002584
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 193 of 479
 CAUSE NO-                                                          CHARGE

 THE STATE OF TEXAS                                                                    DISTRICT COURT
                                                                                                                    /     *
                                                                    OF HARRIS COUNTY , TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one )

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     H.
       _ h/uJC PflA/xP                                           ( name ), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an a yney.



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                                                         Defendant




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                                                                ( name ) , a WITNESS in the above styled and




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 numbered cause respectfully petitiolns hejgggrno appoint counsel to represent him / her in the interests of
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 justice and would show the CoitfMfllathe / sheTTfinaniJiully uuublutb hire an attorney.




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                                    ORDER APPOINTING COUNSEL
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            On this, the            day of                              ,   20         . the Court determined that the
 above named defendant / witness has executed an affidavit stating that he / sp is without counsel and is
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 financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
 rej         the defendant / witness named above in this cause.                  /
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            The Court     further ORDERS the cause set for_:
 on the     |3L day of                                   20   Li                      at 1201 Franklin, Houston, Harris
 County , Texas.
            Signed this     H ^vofU/MA -
                                                                                                a
                                                         Judge Presiding




                                                                                                                0002585
                                                DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 194 of 479



THE STATE OF TEXAS                                                                          D.A. LOG NUMBER:1730755
VS.                                                                                         CJIS TRACKING NO.:916639824X A001           -
FRANK G GARCIA                                  SPN : 01927003                               BY: LM DA NO: 001896241
                                                 DOB:|                                      AGENCY:HPD
                                                 DATE PREPARED: 4/27/2011                   O/RNO: 03036821 ID
                                                                                            ARREST DATE: 03 10 2011

NCIC CODE: 5599 48                              RELATED CASES: GARCIA 2 FEL / MARTINEZ - FEL / GARCIA - FEL
FELONY CHARGE: POSSESSION WITH INTENT TO DELIVER A CONTROLLED SUBSTANCE
CAUSE NO: 1298482                                           BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO: 262                        PRIOR CAUSE NO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
FRANK G. GARCIA, hereafter styled the Defendant, heretofore on or about MARCH 10, 2011 , did then and there unlawfully, knowingly
possess with intent to deliver a controlled substance, namely, COCAINE, weighing more than 4 grams and less than 200 grams by aggregate

                                                                                       J§
weight, including any adulterants and dilutants.

It is further presented that, at the time that the Defendant committed the felony offense of POSSESSION WITH INTENT TO DELIVER A
CONTROLLED SUBSTANCE on or about MARCH 10, 2011, as hereinabove alleged, he used and exhibited a deadly weapon, namely, a
FIREARM, during the commission of said offense and during the immediate flight from said offense.

Before the commission of the offense alleged above, on FEBRUARY 17, 2005, in Cause No. 1010829, in the 230TH District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of ROBBERY .


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                                                                                                         APR 28 2011
                                                                                            Time :
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                                                                                              Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                            FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                                   0002586
       Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 195 of 479


CAUSE NO.                                                                             CHARGE         [  Ml
THE STATE OF TEXAS                                                                §                                  DISTRICT COURT

                                                                                  §                OF
                                                                                                                                            tsrrU
                                                                                 §                 HARRIS COUNTY, TEX ,
'
Defendant
TO TWE HONORABLE JUDGE OF SAID COURT:

                                                                            JJjthe                          Q]
           L                                                     (name),
                                                               DEFENDANT      a WITNESS in the above styled
and numbered cause respectfully petitions the Court to appoint counsel to represent him/her in this cause and
would show the Court that he/she is financially unable to hire an attorney
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                                                            Kwfendant/Witness
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               Sworn to and subscribed before me on this, the                         ll       day of.                                  Hr
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                                                                                      Deputy District Clerk
                                                                                      Harris County, Texas




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                                                  ORDER APPOINTING COUNSEL

               On this, the                day of      A
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named defendant / witness has executed an affidavit statin
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                                                              at he/she is without counsel and is financially
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unable to hire an attorney. The Court ORDERS that                           LMthe ATTORNEY LISTED BELOW EUthe HARRIS
    COUNTY PUBLIC DEFENDER'S OFFICE is appointed to represent the defendant /witness named above in this
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    cause.
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    Attorney/ Assistant Public Defender Assigned by HCPD                              E-Mail Address
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    Address                                                                           Phone Number
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    City                           State              Zip                             Fax Number
                                                                                                                     Phone 713 237 8547
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                                                                                                                      Pax 713 528 0153
    SPN Number                                                                        Bar Number
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    The Court further ORDERS the catise set for:

                                                                                         Ml(3 * 9: tin a.m. at 1201 Franklin,
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    On the                    day of
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    Houston, HarrisXounty, TexasT]

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    Signed this             day of

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                                                                                                              Judge Presiding
    | |                                     |     |The State and Defense agree as follows:
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           The State has offered or




    Defense Attorney ( Initials)                Prosecutor (Initials)


                                                            FOR COURT STAFF ONLY
     Reset by: | | Court              | | Defense                |     | Operation of Law                    Prosecution
     Reason for Reset:
    | | D.A. to Contact Complainant / Witness                | | Defense to Contact Witness                      |    | Not Indicted    »                —
    | | D.A. to Evaluate Case                                | | Disposition of Misc./OOC Case                                {vDoLsiyQ—-
    | | D.A. to Reindict                                     |       | File Unavilable                           | | Refer to
    | | D.A . to file MRP/MAJ                                | | MHMRA Evaluation                                |    | Restitution Info
                                                                            21 Day          Full
    | | Defendant On Call                                    | | No Tape /Lab                                    | | To Hire Attorney
           Defendant to Consider Offer                       | | No Offense Report

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                                                                                                                                            0002587
                                                                     DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 196 of 479
                                                                       /



THE STATE ORTEXAS                                                                          D.A. LOG NUMBER:1731222
VS.                                                       02439509                         CJIS TRACKING N0.:9166403731-A001
GEL MOISES ESCOTO                               SPN:                                       BY: BJE DA NO: 050795683
                                                DOB:                                       AGENCY:HPD
                                                DATE PREPARED: 3/12/2011                   O/RNO: 931129211 F
                                                                                           ARREST DATE: 3-12-11

NCIC CODE: 1205 01                             RELATED CASES:

                                                                                                                 3
                                                                                                                   ^
FELONY CHARGE: ROBBERY
CAUSE NO:                                                                                    BAIL: $10,000.00
HARRIS COUNTY DISTRICT COURT NO:                                                             PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                 1298678
                                                                 185

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas, GIL
MOISES ESCOTO, hereafter styled the Defendant, heretofore on or about MARCH 12, 2011, did then and there unlawfully, while in the course
of committing theft of property owned by ELIAS LARA and with intent to obtain and maintain control of the property, intentionally, knowingly
and recklessly cause bodily injury to ELIAS LARA, by STRIKING ELIAS LARA WITH HIS HAND.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

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                                                                           FOREMAN OF T]                  JURY

                                                               INDICTMENT

                                                                                                                           0002588
          Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 197 of 479
           CAUSE NO.                                                         CHARGE
                                                                                          ~tOrV
           THE STATE OF TEXAS                                                                DISTRICT COURT
           VS  .                                                             OF HARRIS COUNTY, TEXAS

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           Defendant
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           TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                                                lyTffi,
                                                               ^            ( name), the DEFENDANT in the above styled and
           numbered cause respectfully petitions the Court to appoint counsel to represent hilfi) / her inihis cauffi and would
           show the Court that he / she is financially unable to hire anattomafy. j

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                                                               '   Defendant




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                                                                          ( name), a WITNESS in the above styled and
           numbered cause respectfully petitions the Court                msel 10 represent him / her in the interests of




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           justice and would show the Court              is financially unable to hire an attorney.




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                                                                   Harris County, Texas
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By
                                           ORDER APPOINTING COUNSEL
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                     On this, the           day of
                                                      JAN 2 7       2012          20             Court determined that the
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           above named defendant AwitiitiiSTias executed an affidavit stating that he / she is without counsel and is
           financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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           represent the defendant / vifnr’ff'named above in this cause.
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           Attorney
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                                                                                        2028 Buffalo Terrace
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           Phone Number                                                                Houston, Texas 77019
                                                                                        Phone 713 237 8547
                                                                                         Fax 713 528 0153
          Fax Number
                   The Court further ORDERS the cause set for :                              V
          bn the   2V
          County, Texas.
                           day of                               , 20       aHH)fra.m. at 1201 Franklin, Houston, Harris


                   Signed thi, 01          day of .
                                       JAN 2 7 2012
                                                                   Judge
                                                                    JAN 2 7 2012




                                                      DISTRICT CLERK
                                                                                                                     0002589
I                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 198 of 479
    THE STATE OF TEXAS                                                             D.A. LOG NUMBER: 1732031
    VS.                                                                            CJIS TRACKING NO.:
    LATOSHA CRAWFORD                                SPN :                                BY : BW DA NO: 002127726
                                                    DOB:                                 AGENCY: THHSC
                                                    DATE PREPARED: 3-18-11               O/ RNO: WF1094068-A1-10
                                                                                         ARREST DATE:
    NCIC CODE: 230075                               RELATED CASES:
                                        -
    FELONY CHARGE: THEFT$L5Q0 $20,00O (FOOD STAMPS/SNAP)
    CAUSE NO:         ]  OAT                                                        BAIL: $2,000
    HARRIS COUNTY DISTRICT COURT NO:                                                PRIOR CAUSE NO:
    FIRST SETTING DATE:

    IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                              a
    The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris
    County, Texas, LATOSHA CRAWFORD, hereafter styled the Defendant, did then and there unlawfully, pursuant to one scheme
    and continuing course of conduct beginning on or about MAY 1, 2008 and continuing through AUGUST 31, 2008 and
    NOVEMBER 1, 2009 and continuing through FEBRUARY 28, 2010 appropriate, by acquiring and otherwise exercising
    control over property, namely, FOOD STAMPS A/K/A SUPPLEMENTAL NUTRITION ASSISTANCE PROGRAM
    BENEFITS, owned by the State of Texas, hereafter styled the Complainant, with the intent to deprive the Complainant of the
    property and the total value of the property appropriated was over $1,500.00 dollars and under $20,000.00 dollars.




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                                                    J
                                   District Clark
                                 MAR 2 3 2011




                                                                                                     Foreman


    AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                     FOREMAN OF THE GRAND JURY

                                                            INDICTMENT
                                                                                                              0002590
      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 199 of 479
        CAUSE NO.

        THE STATE OF TEXAS
                                    [9
                                        ^     9                                      CHARGE



                                                                                          ^^
                                                                                          j    5          PISTRICT COURT




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        J IAYVLAJLO                                                                  OF HARRIS COUNTY, TEXAS

                   '
        defendant

        TO THE HONORABLE JUDGE OF SAID COURT: (check one)




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                                                                           ame). the DEJ ENSANT in the above styled and
        numbered cause respectfully petitions the Court to appoint counsel to repre M him / Jher in this cause and would
        show the Court that /e / she is financially unable to hire an attorney.        \              ^
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                                                                        ( name), a WITNESS in the above styled and




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        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
        justice and would show the Court that he / she is financially unable to hire an attorney.




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  £                                                                       Deputy District Clerk
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        above namedTdefendapt / witness has executed an affidavit stating tha

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        financially uryiEjifcfciTiire an attorney . The Court ORDERS that the attorney listed below is appointed to
        represent             defendant / witneS n jned above in this cause.
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        Attorney
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        Address
                                             lC




        City                                  State              Zip                 E-Mail Address
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        Bar Card/SPN Number
                                                                                                   R.P. SKIP CORNELIUS
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                                                                                                     2028 Buffalo Terrace
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                                                                                                    Houston, Texas 77019
        Phone Number                                                                                 Phone 713 237 8547
                                                                                                          Fax 713 528 0153

        Fax Number
                                        further ORDJ        the cause set for :
        on the                          of                              , 20   fl   at 9:00 a.m.s5rrl 201 Franklin, Houston, Harris

                                        (afeurof
        County, Texas.
                       Signed this



                                                                         Judge Presiding




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                                                                 DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 200 of 479



THE STATE OF TEXAS                                        01869146                         D. A. LOG NUMBER.1734197
VS.                                                                                        CJIS TRACKING NO.:
 LEONARDO BUENTELLO                             SPN:                                       BY: RZ DA NO: 002129278
                                                DOB:                                        AGENCY:HPD
                                                DATE PREPARED: 3/23/2011                    O/R NO: 29742911
                                                                                            ARREST DATE: TO BE

NCIC CODE: 2300 76                              RELATED CASES:
FELONY CHARGE: THEFT
CAUSE NO:                                                                                    BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:                                  1299908                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                               183

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                               -   M
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
LEONARDO BUENTELLO, hereafter styled the Defendant, heretofore on or about MARCH 4, 2011, did then and there unlawfully,
appropriate by acquiring and exercising control over property, namely, A WHEEL CHAIR, owned by LAURA MOREY, hereinafter called the
Complainant, of the value of over twenty thousand dollars and under one hundred thousand dollars, with the intent to deprive the Complainant of
the property.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                    .           Foreman                           tm

                                                                           FOREMAN OF THE GRAND JURY

                                                                  INDICTMENT
                                                                                                                            0002592
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                    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 201 of 479


       CAUSE NO.                                                                                    CHARGE

       THE STATE OF TEXAS                       UJ2-3.557                                      §


       VS.                                                                                      §               OF



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       ’
           SlToblfe;
       Defendant
                                                                                                §               HARRIS COUNTY, TEXAS

       TO THE HONORABLE JUDGE OF SAID COURT:
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                                                             ^ItheDEFENDANT [ | a WITNESS in the above styled
                                                                             (name),       [
       and numbered cause respectfully petitions the Court to appoint counsel represent him/her in this cause and     to
       would show the Court that he/ she is financially u/fable to hire an attorney.




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                                                                          Defendant/Witness




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                                   tpand subscribed before .me on this, the                                 day of .                            20




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                              \ IW                                                                  Deputy District Clerk
                                                                                                    Harris County, Texas




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                                                                ORDER APPOINTING COUNSEL
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       named defendant/witness has executed an affidavit stating that he/she is without counsel and is financially
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       unable to hire an attorney. The Court ORDERS that                               Othe ATTORNEY LISTED BELOW EUthe HARRIS
           COUNTY PUBLIC DEFENDER'S OFFICE is appointed to represent the defendant/witness named above in this
                                                                                                Bu




           cause.     ..
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           Attorney/ Assistajht Public Defender Assigned by HCPD                                    E-Mail Address
                                                                                       ari
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           Address                                                                                  Phone Number


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           City       VStatezip                                                                     Fax Number


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           SPN Number                                                                               Bar Number
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           The Court further ORDERS the cause set for:                                         (M l
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           On the
                              IS                day of                                                                                .m. at 1201 Franklin,
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           Hou               Harris County, Tex

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           Signed this                         day of
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                                                                                                                            Judge Presiding
                                                                |The State and Defense agre/ as folli
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           | |      The State has offered or               |


            Defense Attorney (Initials)i
                                       -                       Prosecutor (Initials)


                                                                          FOR COURT STAFF ONLY
            Reset by:     Court                         | | Defense          | | Operation of Law                 |        Prosecution
            Reason for Reset:
                 ..
           | | D A to Contact Complainant/Witness
                ,                                                          | | Defense to Contact Witness                       | | Not Indicted
            | | D.A. to Evaluate Case                                      | | Disposition of Misc./OOC Case                    | | Other
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                      ..
                     D A to Reindict                                       | | File Unavilable                                  | | Refer to
            | | D.A. to file MRP /MAJ                                      | | MHMRA Evaluation                                 | | Restitution Info
                                                                                       21 Day            Full
            | | Defendant On Call                                          | |    No Tape /Lab                                  | | To Hire Attorney
            I       | Defendant to Consider Offer                          | | No Offense Report

                                                                                                                                                       5 / 2 /12
                                                                                                                                                       0002593
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 202 of 479



THE STATE OF TEXAS                                                                        D.A. LOG NUMBER:1734840
VS.
                                                         02064213                         CHS TRACKING NO.:
EDWIN BROOKS                                   SPN:                                       BY: HR DA NO: 002129278
                                               DOB:                                       AGENCY:HPD
                                               DATE PREPARED: 3/24/2011                   O/RNO: 36322211N
                                                                                          ARREST DATE: TOBE
NCIC CODE: 2202 05                             RELATED CASES: CODEF: REFILE: 180TH
FELONY CHARGE: BURGLARY OF HABITATION
CAUSE NO:                                                                                   BAIL: $NO BOND
                                                                                                             -
HARRIS COUNTY DISTRICT COURT NO:                                1300048                     PRIOR CAUSE NO: 1300035
FIRST SETTING DATE:
                                                                ist
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                          •Jti
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
EDWIN BROOKS, hereafter styled the Defendant, heretofore on or about MARCH 23, 2011, did then and there unlawfully, without the
effective consent of the owner, namely, without any consent of any kind, intentionally enter a habitation owned by RENEE RUSSELL, a person
having a greater right to possession of the habitation than the Defendant, and commit theft of ONE TELEVISION.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on DECEMBER 19, 2007, in Cause Number 1124463,
in the 228TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of BURGLARY OF A HABITATION.

Before the commission of the primary offense, and after the conviction in Cause Number 0986024 was final, the Defendant committed the felony
of BURGLARY OF A HABITATION and was finally convicted of that offense on SEPTEMBER 29, 2004, in Cause Number 0986024, in the
177TH DISTRICT COURT of HARRIS County, Texas




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                                                                                                     Chris          ,
                                                                                                 'fHetrlct Clerk
                                                                                                     APR 2 8 2011




AGAINST THE PEACE AND DIGNITY OF THE STATE.                              Foreman

                                                                          FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
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    CAUSE NO.                      3%
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 203 of 479
                                    -                                         CHARGE


    Tip STATE OF TEXAS                                                                        DISTRICT COURT
    VS                                                                        OF HARRIS COUNTY, TEXAS

U
    Defendant

    TO THE HONORABLE JUDGE OF SAID COURT: (check one )

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                                                         j       ( name ) , the DEFENDANT in the above styled and
    numbered cause respectfully petitions the Coun to appoint counsel to represent him / her in this cause and would
    show the Court that he / she is financially unable to bi
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    numbered cause respectfully petitions the Court to appoj  JIISU 16 ) L present him / her in the interests of
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                                                                    Deputy District Clekk
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             On this, the              day of                                                 , the       determined that the
    above named defendant / witness has executed an aRidavit stating that be / she is without counsel and is
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    financially unable to hire an ttornev. The Court ORDERS that the attorney listed below is appointed to
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    County, Texas.
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            Signed                    day of



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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 204 of 479



THE STATE OF TEXAS                                                                        D.A. LOG NUMBER:1735246
VS.                                                       02436701                        CJIS TRACKING N0.:9166445450 A001     -
 JESUS FEDIBLAGIM                               SPN:                                      BY: TD DA NO: 002129278
                                                                                          AGENCY:HPD
                                                DATE PREPARED: 3/25/2011                  O/RNO: 037170711W
                                                                                          ARREST DATE: 03/25/2011

NCIC CODE: 1007 10                                                                 -
                                               RELATED CASES: ARELLANO F , VASQUEZrF



                                                                                                       _
FELONY CHARGE: AGGRAVATED KIDNAPPING
CAUSE NO:                                                                                   BAIL: $30000
HARRIS COUNTY DISTRICT COURT NO:                                                            PRIOR CAUSE NO:
FIRST SETTING DATE:                                              1300296
                                                                 778                                MM




IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, JESUS FEDIBIAGINI, hereafter styled the Defendant,
heretofore on or about MARCH 25, 2011, did then and there unlawfully intentionally and knowingly abduct CHARLOTTE MALONE,
hereafter styled the Complainant, without his consent, with intent to prevent his liberation by SECRETING AND HOLDING THE
COMPLAINANT IN A PLACE WHERE THE COMPLAINANT WAS NOT LIKELY TO BE FOUND and with intent to HOLD THE
COMPLAINANT FOR RANSOM.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.
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          Sworn to and subscribed before me on March 25, 2011




AFFIANT                                                                   ASSISTANT DISTRICT ATTORNEY                    BAR NO.
                                                                          OF HARRIS COUNTY, TEXAS.


                                                               COMPLAINT

                                                                                                                              0002596
           CAUSE NO.         k    oam
          Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 205 of 479

                                 ^                   CHARGE

           THE STATE OF TEXAS                                                               DISTRICT COURT

           VS                                                                 OF HARRIS COUNTY, TEXAS


           Defendant

           TO THE HONORABLE JUDGE OF SAID COURT: (check one)



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                                                            ^              ( name), the DEFENDANT in the above styled and
           numbered cause respectfully petitions the Codn to appoint counsel to represent )*un / her in tfiis cause and would
           show the Court that he / she is financially unable to hire an ttgrney. •“> / )
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                                                                   Defendant




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           numbered cause respectfully petitions the Court to appoint counsel to re]                [er inthe interests of




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           justice and would show the Court that he / she is fi]             le to hire an attorney.




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                    Sworn to and subscribed before me on this, the                 day of
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           aboveuaiifed defendant / witness has executed an affidavit stating that he / she is without counsel and is
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           financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to


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           represent thSTJefendant / wflnessmamed above in this cause.
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                Case 4:17-cv-03621 Document 89-8 Filed
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THE STATE OF TEXAS                                         02325303                         DA LOG NUMBER:1735599
vs.                                                                                         CJIS TRACKING NO.:
DESARIAN ONEAL CARTWRIGHT                        SPN:                                       BY: BJE DA NO: 001901698
                                                 DOB:                                       AGENCYiBAYTOWN
                                                 DATE PREPARED: 3/26/2011                   O/R NO: 201111256              \
                                                                                            ARREST DATE: TO BE              \
NCIC CODE: 2202 09                              RELATED CASES:
FELONY CHARGE: BURGLARY - HABITATION
CAUSE NO:                                                                                     BAIL:
HARRIS COUNTY DISTRICT COURT NO:                                       1300376                PRIOR CAUSE
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                       177

                                                                                                   w
The duly organized Grand lury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DESARIAN ONEAL CARTWRIGHT, hereafter styled the Defendant, heretofore on or about MARCH 26, 2011, did then and there
unlawfully, without the effective consent of the owner, namely, without any consent of any kind, intentionally and knowingly enter a habitation
owned by MONICA YBARRA, a person having a greater right to possession of the habitation than the Defendant, and commit and attempt to
commit the felony of SEXUAL ASSAULT.




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                                                                                   Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE                    .

                                                                             FOREMAN OF THE GRAND JURY

                                                                  INDICTMENT
                                                                                                                               0002598
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 207 of 479
  CAUSE NO.                                                         CHARGE

 THE STATE OF TEXAS                                                C/ O 0          DISTRICT COURT
                                                                    OF HARRIS COUNTY, TEXAS


 Defendant
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 TO THE HONORABLE JUDGE OF SAID COURT: (check one)



                                                                   ( name), the DEFENDANT in the above styled and
   inhered cause resDectfullv Detitions
 numbered        respectfully  petitions the Codrt
                                             Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire atf attorney.


                                                         Defendant




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 justice and would show the Court that he / she is financially urfal           an attorney.




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 above named defendant / withess has executed an affidavit stating that he / she is without counsel and is
 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                                     named above in this cause.
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 County, Texas.
          Signed this



                                                        Judge Presiding
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                                                        STATE JAIL DOCKET
                                                            Project Court #2, 20th Floor
                                                                   713-755-5021

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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 208 of 479



THE STATE OF TEXAS                                          01146692                         D.A. LOG NUMBER:1736314          1
VS.                                                                                          CJIS TRACKING NO.:9166456800-A001
LELAND DAZEY                                     SPN:                                        BY: CM DA NO: 002126743
                                                 DOB:                                        AGENCY:HPD
                                                 DATE PREPARED: 3/29/2011                    O/RNO: 03888941 IX
                                                                                             ARREST DATE: 3 28 11       - -
NCIC CODE: 5599 04                              RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO:                                                                                      BAIL: $15000
HARRIS COUNTY DISTRICT COURT NO:                                    1300619                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                                 228                                     o
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, LELAND DAZEY, hereafter styled the Defendant, heretofore on or about MARCH
28, 2011, did then and there unlawfully, intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing less than one
gram by aggregate weight, including any adulterants and dilutants.

Before the commission of the offense allegedaJ)o^er(hw Her styled the primary
                                                                                     $                  1991, in Cause Number 0592648, in the
                                                                                 .


337TH DISTRICT qOURT of HARRIS Gednty, Texas,           Defendant was convi              the felony offense of ROBBERY.

Before the commissfcn of the primal offense, and after the conviction in CajireN umber 0592648 was firNLthe Defendant committed the felony
offense of
COURT of
          FORGERY    and wa fmally convicted of that off nse on SEPp»tfffiER 26, 2000, in Cause NumberD855654, in the 182ND DISTRICT
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AGAINST THE PEACE AND DIGNITY OF THE STATE                      .

                                       ASSISTANT DISTRICT ATTORNEY                                            BAR CARD NO.
                                       OF HARRIS COUNTY, TEXAS

                                                                                                            RECORDER’S MEMORANDUM
                                                                  INFORMATION                                 This instrument is of poor quality
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Case 4:17-cv-03621
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 THE STATE OF TEXAS
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 VS.                                                                       OF HARRIS COUNTY, TEXAS
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 Defendant
                                                J>£Z-
 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


 pS                                                               ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would'
 show the Court that he / she is financially unable to hire an attorney.              *            .           ]£
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                                                                 Defendant
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                                                                 ( name) , a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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 justice and would show the Court that he / she is financially unable to hire an attorney.



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 above named defendant / witness has executed'an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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                                                                  Li at 9:00 a.m. at 1201 Franklin, Houston, Harris
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 County, Texas.
          Signed this _             day of                   JUL 212011, 20 .
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                                                                 Judge       iiding




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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 210 of 479



THE STATE OF TEXAS                                                                      D.A. LOG NUMBER:1721854
                                                                                        CJIS TRACKING NO.: 9166301572A001
                       DEZ                    SPN: 01924757                             BY: AA-SP/CD DA NO: 068910750
                                              DOB:|                                      AGENCYHPD
                                              DATE PREPARED: 4/26/2011                   O/R NO: 010166011
                                                                                         ARREST DATE: 2/9/2011
NCIC CODE: 1204 04                            RELATED CASES:
FELONY CHARGE: Aggravated Robbery - Deadly Weapon                                                            o
CAUSE NO: 1295162                                                                         BAIL: SNO BOND
HARRIS COUNTY DISTRICT COURT NO: 351                                                      PRIOR CAUSE NO:
FIRST SETTING DATE:                                                                                      :
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
WILLIAM HERNANDEZ, hereafter styled the Defendant, heretofore on or about January 24, 2011, did then and there unlawfully, while in the
course of committing theft of property owned by BARBARA ARNOLD, and with intent to obtain and maintain control of the property,
intentionally and knowingly threaten and place BARBARA ARNOLD in fear of imminent bodily injury and death, and the Defendant did then and
there use and exhibit a deadly weapon, namely, A FIREARM.

Before the commission of the offense alleged above, on MARCH 17, 2003, in Cause Number 927718 in the 248TH District Court of Harris
County, Texas, the Defendant was convicted of the felony offense of AGGRAVATED ROBBERY.




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AGAINST THE PEACE AND DIGNITY OF THE STATE,



                                                                        FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
                                                                                                                       0002602
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 211 of 479
  CAUSE NO.                                                            CHARGE

  THE STATE O F                                                          /77 DISTRICT COURT
                        $/Ar
  VS.                                                                  OF HARRIS COUNTY , TEXAS
    tS )/iP,                           )
  Defendant

  TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                  ( name), the DEFENDANT in the above styled and
  numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
  show the Court that he / she is financially unable to hire anjigomey.

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 above named defendant / witness has executed an affidavit stating that be / she is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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          * Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 212 of 479


THE STATE OF TEXAS                                          01403258                         DA LOG NUMBER 1722006      -
VS.                                                                                          CJIS TRACKING NO :916630346X A001         -
IONE LASHAY ALLEN                                  SPN:                                      BY: HR DA NO: 002274973
                                                   DOB:|                                      AGENCYHPD
                                                   DATE PREPARED: 2/11/2011                   O/RNO: 017756811Z
                                                                                              ARREST DATE: 2/10/11
NCIC CODE: 2300 79                                 RELATED CASES:
FELONY CHARGE: THEFT - THIRD OFFENDER
CAUSE NO:                                                                                      BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                   1295252                     PRIOR CAUSE NO:
FIRST SETTING DATE:                                                177                                      I?*
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                        -   '




Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, IONE LASHAY ALLEN, hereafter styled the Defendant, heretofore on or about
FEBRUARY 10, 2011, did then and there unlawfully, commit an offense hereafter styled the primary offense in that he did appropriate by
acquiring and otherwise exercising control over property, namely, ONE PACK OF DRINK MIX, ONE HOODIE SET, ONE PACKAGE OF
CHEESE, ONE CANDLE, TWO PACKS OF STRAWBERRIES, ONE SKILLET, ONE DIGITAL VIDEO DISC PLAYER, ONE FROZEN
DINNER, ONE BOTTLE OF HAIR SHINE, ONE CARRYALL AND ONE LOCKER TIN, owned by ERIN CHERRY, hereafter styled the
Complainant, of the value of under one thousand five hundred dollars, with the intent to deprive the Complainant of the property.

  Before the Commission of the primary offense, on MAY 1, 2008, in Cause Number 1490808, in the COUNTY CRIMINAL COURT AT LAW
NO. 10, of HARRIS, County, Texas, the Defendant was convicted of the MISDEMEANOR OF THEFT.

  Before the commission of the primary offense, on JULY 17, 2007, in Cause Number 0902115, in the 185TH DISTRICT COURT, of HARRIS
County, Texas, the Defendant was convicted of the FELONY OF THEFT.
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AGAINST THE PEACE AND DIGNITY OF THE STATE.


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                                         ASSISTANT DISTRICT ATTOF
                                         OF HARRIS COUNTY, TEXAS
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 213 of 479
 CAUSE NO.         M(M 3                                         CHARGE

 THE STATE OF TEXAS                                               /70 «                   CT COURT
                                                                 OF HARRIS COUNTY, TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                ( name), the DEFENDANT in the above styled and
 number          respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Cburt that he / she is financially unable to hire




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                                                               ( name), a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in




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 justice and would show the Court that he / she is financial!:                    Srney.



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                                                       Deputy District
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                               ORDER APPOINTING COUNSEL
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           On this, the         day ofc,                              2o
                                                                            ^    Tthe Court determined that the
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
 represent the defendant / witness named above in this cause.
                                                                            F Chris
                                                                              I LDaniel
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 Attorney
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                                                                                 SBN 04831500
 Phone Number                                                                    202S Buffalo Terrace
                                                                                Houston. Texas 77019
                                                                                 Phone 713 237 8547

 Fax Number


                                                                                at 1201 Franklin, Houston, Harris
 County, Texas.
         Signed this           day of



                                                    /Judge Presiding




                                                                                                        0002605
                                        DISTRICT CLERK
                  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 214 of 479



    THE STATE OF TEXAS                                      01344066                        D.A. LOG NUMBER:1724879
    VS.                                                                                     CJIS TRACKING NO.:9I 66335183-A001
    REGINALD TYRONE HOLLINS                         SPN:                                    BY: MM DA NO: 002275069
                                                    DOB:                                    AGENCY:HPD
                                                    DATE PREPARED: 2/20/2011                O/R NO: 02183301 IT
                                                                                            ARREST DATE: 02/19/11
    NCIC CODE: 1204 04                                                                 .
                                      RELATED CASES: TWO CO. DEF CEDRIC HOPES (F); DERRICK HOPES (F)
                                                -
    FELONY CHARGE: Aggravated Robbery Deadly Weapon                               <                          0
    CAUSE NO:                                                       BAIL: $50,000
    HARRIS COUNTY DISTRICT COURT NO:                1296263         PRIOR CAUSE NO:
    FIRST SETTING DATE:                             177

    IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                             c?
    The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
    REGINALD TYRONE HOLLINS, hereafter styled the Defendant, heretofore on or about FEBRUARY 19, 2011, did then and there unlawfully,
    while in the course of committing theft of property owned by GEORGE BLAIR, and with intent to obtain and maintain control of the property,
    INTENTIONALLY AND KNOWINGLY threaten and place GEORGE BLAIR in fear of imminent bodily injury and death , and the Defendant
    did then and there use and exhibit a deadly weapon, namely, A FIREARM.
                                                                              4 #
    Before the commission of the offense alleged above, on AUGUST 3, 1994, in Cause Number 9411011 in the 351ST District Court of HARRIS
    County, Texas, the Defendant was convicted of the felony offense of AGGRAVATED ASSAULT.




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    AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                            FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT
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      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 215 of 479
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       CAUSE NO.

       THE STATE OF TEXAS
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                                                                                  OF HARRIS COUNTY, TEXAS
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                                                                                                _ DISTRICT COURT
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       Defendant

       TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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       numbered cause respectfully petitions the Court to appoint
                                                                              (   napag), the DEFENDANT in the above styled and
                                                                                            represent          •   in this cause and would
       show the Court that he / she is financially unable to hire arf              tty .


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                                     _        the Court to at UJ III eennset Lu represent  him / her in the interests of




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                                                                   Harris County, Texas
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       above named defendant / witness has executed ah affidavit stating that he / she is without counsel and is
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       financially unable to hire an ttorney. The Court ORDERS that the attorney listed
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                          lefendant /              named above in this cause.                                —^    i                    J
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      County, Texas.
                   Signed this



                                                                   Judge Presiding




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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 216 of 479



THE STATE OF TEXAS                                                                        D.A. LOG NUMBER:1726040
VS.                                                                                       CJIS TRACKING NO.:
JAMES BENTON THOMAS                             SPN : 00766555                            BY : LM DA NO. 002328033
                                                            ~
                                                DOB:|                                     AGENCY: HPD
                                                DATE PREPARED: 5/11/2011                  O/RNO: 021608111G
                                                                                          ARREST DATE: TO BE

NCIC CODE: 1314 21                              RELATED CASES:
                                            -
FELONY CHARGE: Aggravated Assault Family Member
                                                                                                             *
CAUSE NO: 1296660                                                                           BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO: 228                                                        PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                                                   c   Or
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                             if "
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JAMES BENTON THOMAS, hereafter styled the Defendant, heretofore on or about FEBRUARY 19, 2011, did then and there unlawfully,
intentionally and knowingly threaten CORA DARRINGTON, a person with whom the Defendant had a dating relationship, hereafter styled the
Complainant, with imminent bodily injury by using and exhibiting a deadly weapon, namely, A KNIFE.
                                                                                  £
Before the commission of the offense alleged above, (hereafter styled the primary offense), on DECEMBER 3, 1987, in Cause Number 0486560,
in the 176TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of POSSESSION OF A
CONTROLLED SUBSTANCE.

Before the commission of the primary offense, and after the conviction in Cause Number 0486569 was final, the Defendant committed the felony
of AGGRAVATED ASSAULT and was finally convicted of that offense on NOVEMBER 11, 2002, in Cause Number 0909475, in the 338TH
DISTRICT COURT of HARRIS County, Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                   .

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                                                                 INDICTMENT
                                                                                                                           0002608
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 217 of 479
                                                                         CHARGE

    THE STATE OF TEXAS                                                                      DISTRICT COtfRT
                                                                         OF HARRIS COUNTY, TEXAS


    Defendant

    TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                     ( name), the DEFENDANT in the above styled and
    numbered cause respectfully petitions the Court to appo /nt counsel to represent him / her in this cause and would
    show the Court that he / she is financially unable to hire anattomey.


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                      Chris Daniel
                      District Clerk
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                                                               Deputy District Clerk
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                        Hants County   rORDEK APPOINTING COUNSEL
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above named defendant / witiiess has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
represent thCTIefendant / witAeffi named above in this cause.
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  ~-          Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 218 of 479



THE STATE OF TEXAS                                                                          D.A. LOG NUMBER:1726574
VS.                                                      01710048                           CJIS TRACKING NO.:916635319X-A001
 BRODERICK KEON ANSLEY                         SPN:                                         BY: BJE DA NO: 002128209
                                               DOB:|                                        AGENCY:HPD
                                               DATE PREPARED: 2/25/2011                     O/RNO: 024149211 P
                                                                                            ARREST DATE: 2 25 11     --
NCIC CODE: 5599 48                            RELATED CASES: DEF - ONE OTHER FEL.
FELONY CHARGE: POSSESSION WITH INTENT TO DELIVER A CONTROLLED SUBSTANCE
                                                                                                                    r'S
CAUSE NO:
                                                                          n
                                                            BAIL: $30,000.00
HARRIS COUNTY DISTRICT COURT NO:           1296921          PRIOR CAUSE NO:
FIRST SETTING DATE:                                                if * c
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
BRODERICK KEON ANSLEY, hereafter styled the Defendant, heretofore on or about FEBRUARY 25, 2011, did then and there unlawfully,
knowingly possess with intent to deliver a controlled substance, namely, COCAINE, weighing more than 4 grams and less than 200 grams by
aggregate weight, including any adulterants and dilutants.




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                                                                                                     ED
                                                                                                District Clerk

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                                                                                    By                     Deputy




                                                                                              Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                              0002610
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 219 of 479
                                                                         CHARGE

    THE STATE OF TEXAS                                                                      DISTRICT COtfRT
                                                                         OF HARRIS COUNTY, TEXAS


    Defendant

    TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                     ( name), the DEFENDANT in the above styled and
    numbered cause respectfully petitions the Court to appo /nt counsel to represent him / her in this cause and would
    show the Court that he / she is financially unable to hire anattomey.


                                                               Defendant
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                                                                   ( name) , a WITNESSjn             ' & styled and
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    justice and would show tin, Cuuit llnilTrr          incially unable to hire an attorney.




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                      Chris Daniel
                      District Clerk
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                                                               Deputy District Clerk
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above named defendant / witiiess has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
represent thCTIefendant / witAeffi named above in this cause.
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 220 of 479



THE STATE OF TEXAS                                                                      D.A. LOG NUMBER:1726S74
vs.                                                     01710048                        CJIS TRACKING NO.:916635319X-A002
BRODERICK KEON ANSLEY                          SPN:                                     BY: BJE DA NO: 002128209
                                               DOB:|                                    AGENCY:HPD
                                               DATE PREPARED: 2/25/2011                 O/RNO: 02414921IP
                                                                                        ARREST DATE: 2 25 11    - -
NCIC CODE: 3562 18                            RELATED CASES: DEF - ONE OTHER FEL.
FELONY CHARGE: POSSESSION OF MARIHUANA
CAUSE NO:                                                                                  BAIL: $15,000.00
                                                                                                            m
HARRIS COUNTY DISTRICT COURT NO:                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                               1296922
                                                               228                                ,:   V
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Hams County, Texas,
BRODERICK KEON ANSLEY, hereafter styled the Defendant, heretofore on or about FEBRUARY 25, 2011, did then and there unlawfully,
intentionally and knowingly possess marihuana in a useable quantity of more than four ounces and less than five pounds.

Before the commission of the offense alleged above (hereinafter styled the primary offense), on OCTOBER 25, 2006, in Cause Number 0990391,
in the 184TH District Court of HARRIS County, Texas, the Defendant was convicted of the state jail felony offense of
MANUFACTURE/DELIVERY OF A CONTROLLED SUBSTANCE.

Before the commission of the primary offense, the Defendant committed the state jail felony offense of POSSESSION OF MARIHUANA and
was convicted on OCTOBER 14, 2009, in Cause Number 1221305 in the 178TH District Court of HARRIS County, Texas.




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                                                                                      By                   Deputy




                                                                                    Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                        FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
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 CAUSE NO          .   XHzes?-
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 221 of 479
                                           CHARGEI
 THE STAT)             MS&73-
 VS .                                                                OF HARRIS COUNTY, TEXAS

 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)



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                            y petitions the Court to appoint counsel to represent him /Jifer in this cause and would
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 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                                                          Harris County, Texas
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is”'
 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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 represent the defendant / witness named above in this cause.
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on the                                                            at 9:00 a.m.        »1             Houston, Harris
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            Signed this            day of         APfr 1 201
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 222 of 479
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THE STATE OF TEXAS                                                        02500105                         D.A. LOG NUMBER:1727896
VS.                                                                                                                                         -
                                                                                                           CJIS TRACKING NO.:9166367247 A 001
 BOBBY JONES                                              SPN:                                             BY: CM DA NO: 002275023
                                                          DOB:|                                            AGENCY:HUMBLE PD
                                                          DATE PREPARED: 3/2/2011                          O/R NO: 11001259
                                                                                                           ARREST DATE: 3 1 11      --
NCIC CODE: 1301 19                                        RELATED PASpS; -
                                                                                                                             :
FELONY CHARGE: . Aggravated - Assault
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:
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IN THE NAME AND BY AUTHORITY OF THE S ATE Of TEXAS:                   £                               -C
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
BOBBY JONES, hereafter styled the Defendant, heretofore on or about MARCH 1, 2011, did then and there unlawfully, intentionally and
knowingly threaten DAVID TUNNELL with imminent bodily injury by using and exhibiting a deadly weapon, namely, A KNIFE,




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                 RECORDER’S MEMORANDUM                                               FOREMAN OF THE GRAND JURY
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                                                                              INDICTMENT
                                                                                                                                         0002614
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 223 of 479
 CAUSE NO.         m&f                                                   CHARGE                                        h 7)>J
 THE STATE OF TEXAS
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                                                                         OF HARRIS COUNTY , TEXAS
                                                                                                 DISTRICT COURT


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 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one )
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            cause respectfully petitions the Court
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                                                           Defendant




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 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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 justice and would show the Court that he / she is financially unable to hire an attorney.




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                                   ORDER APPOINTING COUNSEL
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                liable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                                                                                                 Houston Texas 77019
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                                                                                                   Fax 713 528 0153


 Fax Number


 on the                                                                 at 9:00 a.m.                  iOl Franklin, Houston, Harris
 County, Texas.




                                                           Judge Presiding


                                                                                                       RECORDER’S MEMORANDUM
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                                                     DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 224 of 479



THE STATE OF TEXAS                                        02547932                      D A. LOG NUMBER:1728289
VS.                                                                                     CJ1S TRACKING N0.:9166371708-A001
AMANDA MICHELLE THORNTON                       SPN:                                     BY: CS DA NO: 002261480
                                               DOB:                                     AGENCY:JERSEY VILLAGE PD
                                               DATE PREPARED: 3/3/2011                  O/RNO: 1100002384
                                                                                        ARREST DATE: 03/03/2011

NCIC CODE: 5599 48                            RELATED CASES:
FELONY CHARGE: POSSESSION WITH INTENT TO DELIVER A CONTROLLED SUBSTANCE
CAUSE NO:                                                   BAIL: $20,000
HARRIS COUNTY DISTRICT COURT NO:            1297534         PRIOR CAUSE NO:
FIRST SETTING DATE:                         185

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand lury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
AMANDA MICHELLE THORNTON, hereafter styled the Defendant, heretofore on or about MARCH 3, 2011, did then and there unlawfully,
knowingly possess with intent to deliver a controlled substance, namely, METHAMPHETAMINE, weighing more than 4 grams and less than 200
grams by aggregate weight, including any adulterants and dilutants.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND IURY

                                                              INDICTMENT
                                                                                                                        0002616
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 225 of 479
 CAUSE NO.                                 CHARGE

 THE STATE OF TEXAS
 Vjs.
                                                                                    m            . DISTRICT COURT
                                                                                    OF HARRIS COUNTY, TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)



                                                                  . ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Courtjto t         -
 show the Court that he / she is financially unable to/lftre an ajl ffiey.
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 numbered cause respectfully petitions the Court to appoint counsel to                    ler in the interests of




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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
 represent t)fgTlefemkmt / witness named above in this cause.
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County , Texas.
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                   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 226 of 479




    THE STATBOF TEXAS                                        02466514                         D.A. LOG NUMBER:1728315
    VS.                                                                                       CHS TRACKING NO.:
     DESMON WAYNE PRESTON                          SPN:                                       BY: EV DA NO: 001892568
                                                   DOB:|                                      AGENCY:HPD
                                                   DATE PREPARED: 3/3/2011                    O/RNO: 022966511
                                                                                              ARREST DATE: TO BE
    NCIC CODE: 1205 01                             RELATED CASES:
    FELONY CHARGE: ROBBERY
    CAUSE NO:                                                                                   BAIL: $10,000
    HARRIS COUNTY DISTRICT COURT NO:                                1297587                     PRIOR CAUSE NO:
    FIRST SETTING DATE:                                             177

    IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

    The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
    DESMON WAYNE PRESTON, hereafter styled the Defendant, heretofore on or about FEBRUARY 17, 2011, did then and there unlawfully,
    while in the course of committing theft of property owned by HAROLD KEITH PALMER and with intent to obtain and maintain control of the
    property, intentionally, knowingly and recklessly cause bodily injury to HAROLD KEITH PRESTON, by STRIKING THE COMPLAINANT
    Wri'H HIS HAND.




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    AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                              FOREMAN OF THE GRAND JURY

                                                                   INDICTMENT
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      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 227 of 479
       CAUSE NO.                              ~                         CHARGE
                    jW5W
       THESTATE OF TEXAS                                                                   DISTRICT CO
                                                                        OF HARRIS COUNTY, TEXAS


       Defendant

       TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                           StfuHy petitions the Court to appoint counsel to represi
       show the Court thy he / she is financially unable to hire an attorney. .
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                                                                       ( name), a WITNESS in the above styled and




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       numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
       justice and would show the Court that he / she is financially unable to hire an attorney.




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       al             left         witness has executed .   affidavit stating th      rfip/ she is without counsel and is
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       financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
       renresent'th&defendant Awitness named above in this cause.
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                                                                                                          Houston, Harris




                                                      l ^    Judge Presiding



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              Case
              *•   4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 228 of 479


THE STATE OF TEXAS                                                                           D.A. LOG NUMBER:1728352
VS.                                                         01478600                         CJIS TRACKING NO.:
 MICHAEL ANTHONY REESCANO                        SPN:                                        BY: HR DA NO: 001892568
                                                 DOB:|                                       AGENCY:HCSO
                                                 DATE PREPARED: 3/3/2011                     O/RNO: HC1124648
                                                                                             ARREST DATE: TOBE

NCIC CODE: 2300 75                               RELATED CASES:
FELONY CHARGE: THEFT
CAUSE NO:                                                                                      BAIL: $15000
HARRIS COUNTY DISTRICT COURT NO:                                                               PRIOR CAUSE NO:
FIRST SETTING DATE:                                                1297594
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                     IS
The duly organized Grand Jury of Hams County, Texas, presents in the District Court of Hams County, Texas, that in Harris County, Texas,
MICHAEL ANTHONY REESCANO, hereafter styled the Defendant, heretofore on or about FEBRUARY 23, 2011, did then and there
unlawfully, appropriate, by acquiring and otherwise exercising control over property, namely, ONE RING owned by JAMES THORMAN,
hereafter styled the Complainant, of the value of over one thousand five hundred dollars and under twenty thousand dollars, with the intent to
deprive the Complainant of the property.
                                                                                      '

Before the commission of the offense alleged above, (hereafter styled the primary offense, on MAY 7, 1998, in Cause Number 0779382, in the
248TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony offense of BURGLARY OF A
HABITATION.
                                                                           .
Before the commission of the primary offense, and after the conviction in Cause Number 0779382 was final, the Defendant committed the felony
offense of BURGLARY OF A HABITATION and was finally convicted of that offense on OCTOBER 17, 2005, in Cause Number 1027234, in
the 230TH DISTRICT COURT of HARRIS County, Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                            FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT

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  CAUSE NO.     isSJm
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 229 of 479


  THE STATE OF TEXAS
                                            CHARGE

                                                                                                DISTRICT COURT
                                                                               OF HARRIS COUNTY, TEXAS


  Defendant
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  TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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                                                                              (name), the DEFENDANT in the above styled and
  numbered cause respectfully petitions the Court to appoint coupseHro represent him / hes in this cause and would
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                                                                Defendant




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                                                               Harris County, Texas
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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              e Court furth                      the cause set for :
 on the ^ \        day of                                     120             at 9:00 a.m. at 1201 Franklin, Houston     [arris
 County, Texas.
           Signed thl




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 230 of 479
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THE STATE OF TEXAS                                                                      D.A. LOG NUMBERS 729917
VS.                                                                                     CJIS TRACKING NO.: 9164072S09 A003
TEDDR1CK BATISTE                               SPN :
                                               DOB:
                                                        It73oSC>                        BY: DA NO: 1962962 AGENCY:SHERIFF’S
                                                                                        DEPARTMENT HARRIS COUNTY
                                               DATE PREPARED: 3/14/2011                 O/RNO: 0941608
                                                                                        ARREST DATE: 3/8/2011

NC1C CODE: 120404                RELATED CASES. Capital Murder
FELONY CHARGE: AGG ROBBERY- DEADLY WPN
CAUSE NO: 1298168                                                                         BAIL: SNO BOND
HARRIS COUNTY DISTRICT COURT NO: 174                                                      PRIOR CAUSE NO:
FIRST SETTING DATE: 4/4/2011


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TEDDRJCK R BATISTE, hereafter styled the Defendant, heretofore on or about March 23, 2009, did then and there unlawftilly, while in the
course of committing theft of property owned by WALTER JONES, and with intent to obtain and maintain control of the property, intentionally
and knowingly threaten and place WALTER JONES in fear of imminent bodily injury and death, and the defendant did then and there use and
exhibit a deadly weapon, namely, A FIREARM.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                  .

                                                                        FOREMAN OF THE GRAND JURY

                                                                INDICTMENT

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            CAUSE NO     .
            THE STATE OF TEXAS
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 231 of 479
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                                                                                               DISTRICT COURT
                                                                                OF HARRIS COUNTY, TEXAS
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            Defendant

            TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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            numbered cause respectfully petitions the Court to appointcounsel to represent him / her in this cause and would
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            show the Court that he / she is financially unable to frife at Nomey.


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            numbered cause respectfully petitions the Court to appoint counsel to r;prnrnt him i' li i in ill inn f t of
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                                                                  Deputy District Clerk
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         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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         represent the defendant / witnessfamed above in this cause.
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         Attorney
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         City                          State              Zip                   E-Mail Address
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                                                                                                2028 Buffalo Terrace
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         Phone Number                                                                          Houston, Texas 77019
                                                                                                Phone 713237 8547
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                    The Court further ORDERS the cause set for :
         on the *
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         County, Texas.
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 232 of 479



THE STATE OF TEXAS                                                                       D.A. LOG NUMBER:1730209
VS.                                                                                      CJIS TRACKING NO.:9166392357-A001
 LEROY D. TAYLOR                               SPN:                                      BY: RZ DA NO: 002261087
                                               DOB:                                      AGENCY : HPD
                                               DATE PREPARED: 3/9/2011                   O/RNO: 29721511U
                                                                                         ARREST DATE: 03-09-2011
NCIC CODE: 5599 05                            RELATED CASES: D. TAYLOR-F
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:          1                                                                       BAIL: $5000
HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:                             ni                                         PRIOR CAUSE NO:

                                                                                                      N>

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                             JP
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
LEROY D. TAYLOR, hereafter styled the Defendant, heretofore on or about MARCH 9, 2011, did then and there unlawfully, intentionally and
knowingly possess a controlled substance, namely, COCAINE , weighing more than 1 gram and less than 4 grams by aggregate weight, including
any adulterants and dilutants.




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                                                                                                  District Clerk

                                                                                                 APR 2 9 2011
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                                                                            Foreman                               174th
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                          0002624
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 233 of 479
 CAUSE NO.           \ SP5s?Q
                            >              CHARGE

 THE STATE OF TEXAS                                                                    DISTRICT COURT
 VS.                                                                   OF HARRIS COUNTY, TEXAS
   \
 Defendant
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 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                  ( najrie) , the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an attorne;


                                                           Defendant




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                                                                 ( name), a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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 justice and would show the Court that he / she is financially unable to hire an attorney.




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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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County, Texas.
            Signed this                day of             o                                            «

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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 234 of 479
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THE STATE                                                  02111172                        D.A. LOG NUMBER:1730245
                                                                                           CJ1S TRACKING NO.:916639273X A001    -
                                                SPN:                                       BY: SP DA NO: 001638714
                                                DOB:                                       AGENCY:TDCJ
                                                DATE PREPARED: 3/9/2011                    O/RNO: COC100093
                                                                                           ARREST DATE: 03-09 2011 -
NCIC CODE: 5599 21                             RELATED CASES: IBARRA, C. 2F        -
FELONY CHARGE: Possession with Intent to Deliver a Controlled Substance
CAUSE NO:                                                                                   BAIL: $124,800
HARRIS COUNTY DISTRICT COURT NO:                       1298312                              PRIOR CAUSE NO:
FIRST SETTING DATE:                                    338
                                                                                                   v/

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                          0
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ETHEL IBARRA, hereafter styled the Defendant, heretofore on or about MARCH 9, 2011, did then and there unlawfully, knowingly possess
with intent to deliver a controlled substance, namely, COCAINE, weighing at least 400 grams by aggregate weight, including any adulterants and
dilutants.

Before the commission of the offense alleged above, on JANUARY 11, 2008, in Cause No. 1116138, in the 338TH DISTRICT COURT of
HARRIS County, Texas, the Defendant was convicted of the felony offense of POSSESSION WITH INTENT TO DELIVER A CONTROLLED
SUBSTANCE.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                                Foreman                     16 0
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                                                                           FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23
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 THE STATE OPTEXAS                                                                                                                              IT CFZ )
                                                                                            OF HARRIS COUNTY , TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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show the Court that he / she is financially unable to hire an attorney
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 numbered cause respectfully petitions the Court appoint counsel represent him / her in this cause and would
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numbered cause respectfully petition        ourt to appoint counsel to represent him / her in the interests of
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financially unable to hire an attorney . The Court ORDERS tmt the attorney listed hgfow is appointed to
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         The Court further ORDERS the cause set for :
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                                                                            Judge Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 236 of 479                                                       .
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THE STATE OF TEXAS                                          01676973                       D.A. LOG NUMBER:1730604
VS.                                                                                        CJIS TRACKING NO.:9166396468-A001
WILSON ENNIS BARKER III                              SPN:                                  BY: HR DA NO. 001638714
                                                     DOB:|                                 AGENCY:HPD
                                                     DATE PREPARED: 3/10/2011              O/RNO: 029997911C
                                                                                           ARREST DATE: 3/09/11
NCIC CODE: 5599 23
FELONY CHARGE: DELIVERY OF A CONTROLLED SUBSTANCE
                                                 RELATED CASES: ONE OTHER F
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CAUSE NO:                                                                                   BAIL: $10000
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HARRIS COUNTY DISTRICT COURT NO:         1298422                                            PRIOR CAUSE NO:
FIRST SETTING DATE:                      262

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                               # Texas
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Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of  , and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, WILSON ENNIS BARKER III, hereafter styled the Defendant, heretofore on or
about MARCH 9, 2011, did then and there unlawfully, knowingly deliver by actual transfer to R. MEDEL, a controlled substance, namely, 3, 4
METHYLENEDIOXY METHAMPHETAMINE, weighing by aggregate weight, including any adulterants and dilutants, more than 1 gram and
less than 4 grams.

    It is further presented that in Harris County, Texas, WILSON ENNIS BARKER HI, hereafter styled the Defendant, heretofore on or about
MARCH 9, 2011, did then and there unlawfully, knowingly deliver by constructive transfer to R. MEDEL, a controlled substance, namely, 3, 4
METHYLENEDIOXY METHAMPHETAMINE, weighing by aggregate weight, including any adulterants and dilutants, more than 1 gram and
less than 4 grams.

   It is further presented that in Harris County, Texas, WILSON ENNIS BARKER HI, hereafter styled the Defendant, heretofore on or about
MARCH 9, 2011, did then and there unlawfully, knowingly deliver by offering to sell to R. MEDEL, a controlled substance, namely, 3, 4
METHYLENEDIOXY METHAMPHETAMINE, weighing by aggregate weight, including any adulterants and dilutants, more than 1 gram and
less than 4 grams.




 AGAINST THE PEACE AND DIGNITY OF THE STATE                    .

                                       ASSISTANT DISTRICT ATTORNEY                                       BAR CARD NO.
                                       OF HARRIS COUNTY, TEXAS
                                                                                                         RECORDER'S MEMORANDUM
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                   I                          2 in TXSD (Page 237 of 479
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23
 CAUSE NO.
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 THE STATE OPTEXAS                                                                                                                              IT CFZ )
                                                                                            OF HARRIS COUNTY , TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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show the Court that he / she is financially unable to hire an attorney
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                                                                            Defendant
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 numbered cause respectfully petitions the Court appoint counsel represent him / her in this cause and would
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numbered cause respectfully petition        ourt to appoint counsel to represent him / her in the interests of
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above named defendant / witness has executed on affidavit statina4hnt he / she is nithout /ounsel and is
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financially unable to hire an attorney . The Court ORDERS tmt the attorney listed hgfow is appointed to
representthedefendant / witness named above in this caused                                                      /         /
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         The Court further ORDERS the cause set for :
on the                 day of                                       j       20             at yjtwJ a .m. at 1201 Franklin, Houston, Harris
County , Texas.                                                                                 tilo
         Signed this              IT       day of
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                                                                            Judge Presiding




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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page                              6 t74 m

THE STATE OF TEXAS                                       01676973                         D. A. LOG NUMBERS 730604
VS.                                                                                       CJ1S TRACKING NO.:9166396468-A002
WILSON ENNIS BARKER HI                         SPN:                                       BY. HR DA NO: 001638714
                                               DOB:                                       AGENCYrHPD
                                               DATE PREPARED: 3/10/2011                   O/R NO: 029997911C
                                                                                          ARREST DATE: 3/09/11
NCIC CODE: 5599 09                             RELATED CASES: ONE OTHER F
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:                                                                                  BAIL: $5000
HARRIS COUNTY DISTRICT COURT NO:          1298423
                                                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:                       262

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and docs believe that in Harris County, Texas, WILSON ENNIS BARKER HI, hereafter styled the
Defendant, heretofore on or about MARCH 9, 2011, did then and there unlawfully intentionally and knowingly possess a controlled substance,
namely, 3,4 METHYLENEDIOXY METHAMPHETAMINE, weighing more than 1 gram and less than 4 grams by aggregate weight, including
any adulterants and dilutants.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

           Sworn to and subscribed before me on March 10, 2011




AFFIANT
        \MUAAAAA                                                          ASSISTANT DISTRICT ATTORNEY                   BAR NO.
                                                                          OF HARRIS COUNTY, TEXAS.


                                                               COMPLAINT
                                                                                                                            0002630
                   I                          2 in TXSD (Page 239 of 479
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23
 CAUSE NO.
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 THE STATE OPTEXAS                                                                                                                              IT CFZ )
                                                                                            OF HARRIS COUNTY , TEXAS


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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show the Court that he / she is financially unable to hire an attorney
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 numbered cause respectfully petitions the Court appoint counsel represent him / her in this cause and would
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numbered cause respectfully petition        ourt to appoint counsel to represent him / her in the interests of
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above named defendant / witness has executed on affidavit statina4hnt he / she is nithout /ounsel and is
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financially unable to hire an attorney . The Court ORDERS tmt the attorney listed hgfow is appointed to
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         The Court further ORDERS the cause set for :
on the                 day of                                       j       20             at yjtwJ a .m. at 1201 Franklin, Houston, Harris
County , Texas.                                                                                 tilo
         Signed this              IT       day of
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                                                                            Judge Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 240 of 479           i


THE STATE OF TEXAS                                         01676973                         D.A. LOG NUMBER:1730595
VS.                                                                                         CJIS TRACKING NO.:9166396425 A001       -
WILSON ENNIS BARKER IH                           SPN:                                       BY: HR DA NO: 001638714
                                                                                            AGENCY:HPD
                                                 DATE PREPARED: 3/10/2011                   O/RNO: 01776051IK
                                                                                            ARREST DATE: 3/09/11
NCIC CODE: 5599 23                              RELATED CASES:
FELONY CHARGE: DELIVERY OF A CONTROLLED SUBSTANCE                                                                                       fit
CAUSE NO:                                                                                     BAIL: $10000
HARRIS COUNTY DISTRICT COURT NO:         1298424
                                                                                              PRIOR CAUSE NO:
FIRST SETTING DATE:                      262

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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Comes now the undersigned Assistant District Attorney of Hanis County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Hanis County, Texas, WILSON ENNIS BARKER Hi, hereafter styled the Defendant, heretofore on or
about FEBRUARY 10, 2011, did then and there unlawfully, knowingly deliver by actual transfer to R. MEDEL, a controlled substance, namely,
3, 4 METHYLENEDIOXY METHAMPHETAMINE, weighing by aggregate weight, including any adulterants and dilutants, more than 1 gram
and less than 4 grams.
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   It is further presented that in Harris County, Texas, WILSON ENNIS BARKER III, hereafter styled the Defendant heretofore on or about
                                                                                                                      ,
FEBRUARY 10, 2011, did then and there unlawfully, knowingly deliver by constructive transfer to R. MEDEL, a controlled substance, namely, 3,
4 METHYLENEDIOXY METHAMPHETAMINE, weighing by aggregate weight, including any adulterants and dilutants, more than 1 gram and
less than 4 grams.
                                                                     ,   #
   It is further presented that in Harris County, Texas, WILSON ENNIS BARKER HI, hereafter styled the Defendant, heretofore on or about
FEBRUARY 10, 2011, did then and there unlawfully, knowingly deliver by offering to sell to R. MEDEL, a controlled substance, namely, 3, 4
METHYLENEDIOXY METHAMPHETAMINE, weighing by aggregate weight, including any adulterants and dilutants, more than 1 gram and
less than 4 grams.




 AGAINST THE PEACE AND DIGNITY OF THE STATE                    .

                                        ASSISTANT DISTRICT ATTORNEY                                      BAR CARD NO.
                                        OF HARRIS COUNTY, TEXAS

                                                                                                         RECORDER'S MEMORANDUM
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                   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 241 of 479
                       CAUSE NO.       lM3ZL                                                 CHARGE
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                       THE STATE OF TEXAS                                                                           ICT COURT

                                                                                             OF HARRIS COUNTY, TEXAS
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                       TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                            i&zr                            ( name) , the DEFENDANT in the above styled and
                       humbe/ d cause respectfully petitions the Court to appoint counsel to representjffm / her in this cause and would
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                       show the Court th ne i she is financially unable to hire an attorney.


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                       financially unabl     Ire an attorney . The Court ORDERS that the attorney listed below is appointed to
                       represent t    efendant / witness named above in this cause.
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                       Attorney
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                                                                                                           2028 Buffalo Terrace
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                                                                                                          Houston, Texas 77019
                       Phone Number                                                                        Phone 7t3 237 8547
                                                                                                              Fax 713 528 0153

                       Fax Number
                                 The Court further ORDERS the cause set for :
                       on the            day of                             , 20            at 9:00 a.m. at 1201 Franklin, Houston, Harris
                       County , Texas.
                                 Signed this



                                                                             Judge Presiding




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ID A'-                                                               DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 242 of 479



THE STATE OF TEXAS                                          02396037                         D. A. LOG NUMBER:1738053
VS.                                                                                          CJ1S TRACKING NO.:9166475988-A002
JUSTIN LOTT                                      SPN:                                        BY: ZAG DA NO: 002333841
                                                 DOB:                                        AGENCY:HPD
                                                 DATE PREPARED: 4/3/2011                     O/RNO: 041419311Y
                                                                                             ARREST DATE: 04/02/2011

NCIC CODE: 1313 18                              RELATED CASES: ONE OTHER FEL
                                                                                                                                         P2
FELONY CHARGE: ASSAULT
CAUSE NO:                                                                                      BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, JUSTIN LOTT, hereafter styled the Defendant, heretofore on or about APRIL 2,
2011, did then and there unlawfully, INTENTIONALLY AND KNOWINGLY cause bodily injury to D. GREY, hereinafter called the
Complainant, a person the Defendant knew was a public servant while the Complainant was lawfully discharging an official duty, to wit: A -
PEACE OFFICER, by PUSHING THE COMPLAINANT WITH HIS HAND.


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 AGAINST THE PEACE AND DIGNITY OF>                       iTATi



                                        ASSISTANT DISTRICT ATTORNEY                                       BAR CARD NO.
                                        OF         IS COUNTY, TEXAS

                                                                                                      RECORDER’S MEMORANDUM
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                   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 243 of 479
                       CAUSE NO.       lM3ZL                                                 CHARGE
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                       THE STATE OF TEXAS                                                                           ICT COURT

                                                                                             OF HARRIS COUNTY, TEXAS
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                       TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                            i&zr                            ( name) , the DEFENDANT in the above styled and
                       humbe/ d cause respectfully petitions the Court to appoint counsel to representjffm / her in this cause and would
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                       show the Court th ne i she is financially unable to hire an attorney.


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                       numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                       represent t    efendant / witness named above in this cause.
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                       City                         State           Zip                     E-Mail Address
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                                                                                                           2028 Buffalo Terrace
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                                                                                                          Houston, Texas 77019
                       Phone Number                                                                        Phone 7t3 237 8547
                                                                                                              Fax 713 528 0153

                       Fax Number
                                 The Court further ORDERS the cause set for :
                       on the            day of                             , 20            at 9:00 a.m. at 1201 Franklin, Houston, Harris
                       County , Texas.
                                 Signed this



                                                                             Judge Presiding




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ID A'-                                                               DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 244 of 479



THE STATE OF TEXAS                                        02396037                        D.A. LOG NUMBER:1738053
VS.                                                                                       CJIS TRACKING NO.:9166475988-A002
JUSTIN LOTT                                     SPN :                                     BY: ZAG DA NO: 002333841
                                                DOB:                                      AGENCY:HPD
                                                DATE PREPARED: 4/3/2011                   O/R NO: 041419311Y
                                                                                          ARREST DATE: 04/02/2011

NCIC CODE: 1313 18                             RELATED CASES: ONE OTHER FEL
FELONY CHARGE ASSAULT
CAUSE NO:    I ©   3 l 33
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HARRIS COUNTY DISTRICT COURT NO:                                                              PRIOR CAUSE NO:
FIRST SETTING DATE:                                               M5-                             O.    r
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                              - M’
Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, JUSTIN LOTT, hereafter styled the Defendant, heretofore on
or about APRIL 2, 2011, did then and there unlawfully INTENTIONALLY AND KNOWINGLY cause bodily injury to D. GREY, hereinafter
called the Complainant, a person the Defendant knew was a public servant while the Complainant was lawfully discharging an official duty, to-
wit A PEACE OFFICER, by PUSHING THE COMPLAINANT WITH HIS HAND.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

           Sworn to and subscribed before me on April 3, 2011




AFFIANT                                                                   -ASSISTANT DISTRICT ATTORNEY                  BAR NO.
                                                                          OF HARRIS COUNTY, TEXAS.


                                                                  COMPLAINT
                                                                                                                          0002636
      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 245 of 479
          CAUSE NO.         [3                 I                              CHARGE

          THE STATE OF TEXAS                                                   pSp             DISTRICT COURT
                                                                              OF HARRIS COUNTY , TEXAS

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          TO THE HONORABLE JUDGE OF SAID COURT: (check one )
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          numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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          justice and would show the Court that he / she is financially unable to hire an attorney .




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          above nametKlefendapt'f witness has executed an Affidavit stating that ne / she is without counsel and is
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          financially     affleTo hive an attorney. The Court ORDERS that the attorney listed below is appointed to
          represent       defendant// witness named above in this cause.
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          Attorney
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          City                         State            Zip                  E-Mail Address
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          Bar Card/SPN Number                                                             R.P. SKIP CORNELIUS
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                                                                                                  SBN 04831500
                                                                                                2028 Buffalo Terrace
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          Phone Number                                                                         Houston, Texas 77019
                                                                                                Phone 713 237 8547
                                                                                                 Fax 713 528 0153
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                                                                 , 20   11   at 9:00 a.m, at 1201 Franklin, Houston, Harris


                   Signed this



                                                                  Judge Presiding



                                                                                                STATE JAIL#2DOCKET
                                                                                                            , 20th Floor
                                                                                                   Project
                                                                                                      1    Court
                                                                                                           713-755-5021
                                                                                                                        0002637
                                                         DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 246 of 479
                                                                 *-      %




THE STATE OF TEXAS                                       01655763                       D.A. LOG NUMBER:1738320
VS.                                                                                     CJIS TRACKING NO.:9166478715 A001   -
 JASON RYAN LAFEUR                             SPN:                                     BY: CS DA NO: 001707093
                                               DOB:                                     AGENCY:HPD
                                               DATE PREPARED: 4/4/2011                  O/RNO: 041698511
                                                                                        ARREST DATE: 04/03/2011
NCIC CODE: 5599 04                            RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO:                                                                                    BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO:                                1301461                      PRIOR CAUSE NO:
FIRST SETTING DATE:                                             185                                 J
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                         .
                                                                                             XJF
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JASON RYAN LAFEUR, hereafter styled the Defendant, heretofore on or about APRIL 3, 2011, did then and there unlawfully, intentionally and
knowingly possess a controlled substance, namely, COCAINE, weighing less than one gram by aggregate weight, including any adulterants and
dilutants.

Before the commission of the offense alleged above, (hereafter styled the primary offense, on OCTOBER 2, 2000, in Cause Number 0844506, in
the 228TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony offense of POSSESSION OF A
CONTROLLED SUBSTANCE.

Before the commission of the primary offense, and after the conviction in Cause Number 0844506 was final, the Defendant committed the felony
offense of FELON IN POSSESSION OF A WEAPON and was finally convicted of that offense on JULY 24, 2009, in Cause Number 1183257, in
the 351ST DISTRICT COURT of HARRIS County, Texas.

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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                        FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
                                                                                                                        0002638
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 247 of 479
                                                                              CHARGE

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      THE STATE OF TEXAS                                                       /
                                                                              OF HARRIS COUNTY, TEXAS


      Defendants *

      TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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               u                Z4&                                     ( name), the DEFEJ   .NT in the above styled and
      nurybered caus(e respectfully petitions the Court to appoint counsel to represei Iim / her in this cause and would
      show the Court thajjine n she is financially unable to hire an attorney.


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      numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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      justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                Deputy District Clerk
                                                                Harris County, Texas
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      financially ur         to hire an attorney. The Court ORDERS that the aROrney listed below is appointed to
      represent the


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                        yfendant )witness named above in this cause.
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      Attorney
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      Address
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      City                           State             Zip                    E-Mail Address
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                       off




                                                                                                   SBN 04831500
                                                                                                 2028 Buffalo Terrace
                                                                                                  Houston, Texas 77019
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      Phone Number                                                                                 Phone 713 237 8547
                                                                                                    Fax 713 5280153

      Fax Number


      on the
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                          rt further ORDERS the cause set for :
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                                                                             at 9:00 a.m. at 1201 Frankljp, Houston, Harris
      County, Texas.
                  Signed this            day of                                    , 20      jl -

                                                               Judge Presiding                 \




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DA                                                     DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 248 of 479



THE STATE OF TEXAS                                                                         D.A. LOG NUMBER:1738381
VS.                                                                                        CJIS TRACKING N0.:9166479401 A001    -
 PERCY LEE FREEMAN                              SPN: 01836180                              BY: CM DA NO: 002268150
                                                DOB:                                       AGENCY:HPD
                                                DATE PREPARED: 6/28/2011                   O/RNO: 041769911 U
                                                                                           ARREST DATE: 04 03 11
NC1C CODE: 1314 21                             RELATED CASES: SAME DEF. - 2 FELONIES
FELONY CHARGE: Aggravated Assault - Family Member
CAUSE NO: 1301482                                                                           BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO: 185                                                        PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PERCY LEE FREEMAN, hereafter styled the Defendant, heretofore on or about APRIL 3, 2011 , did then and there unlawfully, intentionally
and knowingly threaten ORTENCIA VERGARA, a PERSON WITH WHOM THE DEFENDANT HAD A DATING RELATIONSHIP,
hereafter styled the Complainant, with imminent bodily injury by using and exhibiting a deadly weapon, namely, A FIREARM .

Before the commission of the offense alleged above, on DECEMBER 28, 2001, in Cause No. 0886959, in the 248TH District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of POSSESSION OF A CONTROLLED SUBSTANCE.




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                                                                                                               District Clerk
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                           0002640
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 249 of 479
                                                                              CHARGE

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      THE STATE OF TEXAS                                                       /
                                                                              OF HARRIS COUNTY, TEXAS


      Defendants *

      TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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      nurybered caus(e respectfully petitions the Court to appoint counsel to represei Iim / her in this cause and would
      show the Court thajjine n she is financially unable to hire an attorney.


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      numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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      justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                Deputy District Clerk
                                                                Harris County, Texas
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      financially ur         to hire an attorney. The Court ORDERS that the aROrney listed below is appointed to
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                        yfendant )witness named above in this cause.
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      Attorney
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      Address
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      City                           State             Zip                    E-Mail Address
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      Bar Card/SPN Number
                                                                                              R .p. SKIP CORNELIUS
                       off




                                                                                                   SBN 04831500
                                                                                                 2028 Buffalo Terrace
                                                                                                  Houston, Texas 77019
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      Phone Number                                                                                 Phone 713 237 8547
                                                                                                    Fax 713 5280153

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                          rt further ORDERS the cause set for :
                                                              , 20 [   (
                                                                                               Ck          ASX
                                                                             at 9:00 a.m. at 1201 Frankljp, Houston, Harris
      County, Texas.
                  Signed this            day of                                    , 20      jl -

                                                               Judge Presiding                 \




                                                                                                                            0002641
DA                                                     DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 250 of 479



THE STATE OF TEXAS                                                                      D A. LOG NUMBER;1738381
VS.                                                                                     CJIS TRACKING N0.:9166479401-A002
 PERCY LEE FREEMAN                             SPN: 01836180                            BY: CM DA NO: 002268150
                                               DOB:                                     AGENCY:HPD
                                               DATE PREPARED: 6/28/2011                 O/R NO: 041769911 U
                                                                                        ARREST DATE: 04 03 11

NCIC CODE: 5203 03                            RELATED CASES: SAME DEF 2 FELONIES.-
FELONY CHARGE: FELON IN POSSESSION OF FIREARM
CAUSE NO: 1301483                                                                         BAIL: $2,000
HARRIS COUNTY DISTRICT COURT NO: 185                                                      PRIOR CAUSE >IO:
FIRST SETTING DATE:


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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                              W
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PERCY LEE FREEMAN, hereafter styled the Defendant, heretofore on or about APRIL 3, 2011, did then and there unlawfully, intentionally
and knowingly possess a firearm after having been convicted of the felony offense of DELIVERY OF A CONTROLLED SUBSTANCE, in the
District Court for the I 83RD Judicial District, HARRIS County, Texas, in Cause Number 1221564 on AUGUST 12, 2009, and said possession of
the firearm occurred before the fifth anniversary of the Defendant's release from CONFINEMENT RESULTING FROM SAID CONVICTION on
DECEMBER 19, 2009.

Before the commission of the offense alleged above, on DECEMBER 28, 2001, in Cause No. 0886959, in the 248TH District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of POSSESSION OF A CONTROLLED SUBSTANCE.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                        FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                               0002642
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 251 of 479
                                                                              CHARGE

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      THE STATE OF TEXAS                                                       /
                                                                              OF HARRIS COUNTY, TEXAS


      Defendants *

      TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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      nurybered caus(e respectfully petitions the Court to appoint counsel to represei Iim / her in this cause and would
      show the Court thajjine n she is financially unable to hire an attorney.


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                                                                      ( name) , a WITNESS in the above styled and
      numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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      justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                Deputy District Clerk
                                                                Harris County, Texas
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      financially ur         to hire an attorney. The Court ORDERS that the aROrney listed below is appointed to
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      Attorney
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      Address
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      City                           State             Zip                    E-Mail Address
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                       off




                                                                                                   SBN 04831500
                                                                                                 2028 Buffalo Terrace
                                                                                                  Houston, Texas 77019
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      Phone Number                                                                                 Phone 713 237 8547
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                          rt further ORDERS the cause set for :
                                                              , 20 [   (
                                                                                               Ck          ASX
                                                                             at 9:00 a.m. at 1201 Frankljp, Houston, Harris
      County, Texas.
                  Signed this            day of                                    , 20      jl -

                                                               Judge Presiding                 \




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DA                                                     DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 252 of 479

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THE STATE OF TEXAS                                                                        D A. LOG NUMBER:1738381
VS .                                                                                      CJIS TRACKING NO.:9166479401 A003       -
                FREEMAN                         SPN: 01836180                             BY: CM DA NO: 002268150
                                                DOB:|                                     AGENCY:HPD
                                                DATE PREPARED: 6/28/2011                  O/R NO: 041769911U
                                                                                          ARREST DATE: 04 03 11

NCIC CODE: 5599 04                             RELATED CASES: SAME DEF 2 FELONIES.-
FELONY CHARGE: Possession of a Controlled Substance                                                           .gJs-.
CAUSE NO: 1301484                                                                           BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO: 185                                                        PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PERCY LEE FREEMAN, hereafter styled the Defendant, heretofore on or about APRIL 2, 2011, did then and there unlawfully, intentionally
and knowingly possess a controlled substance, namely, COCAINE, weighing less than one gram by aggregate weight, including any adulterants
and dilutants.

Before the commission of the offense alleged above (hereinafter styled the primary offense), on APRIL 27, 2009, in Cause Number 1213296, in
the 209TH District Court of HARRIS County, Texas, the Defendant was convicted of the state jail felony offense of
MANUFACTURE/DELIVERY OF A CONTROLLED SUBSTANCE.

Before the commission of the primary offense, the Defendant committed the state jail felony offense of MANUFACTURE/DELIVERY OF A
CONTROLLED SUBSTANCE and was convicted on AUGUST 12, 2009, in Cause Number 1221564 in the 183RD District Court of HARRIS
County, Texas.




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                                                                                                                District Clerk
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                                 0002644
      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 253 of 479
       CAUSE NO.                              ~                         CHARGE
                    jW5W
       THESTATE OF TEXAS                                                                   DISTRICT CO
                                                                        OF HARRIS COUNTY, TEXAS


       Defendant

       TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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       show the Court thy he / she is financially unable to hire an attorney. .
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                                                                       ( name), a WITNESS in the above styled and




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       numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
       justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                             Deputy District Clerk
                                                             Harris County , Texas
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                                     ORDER APPOINTING COUNSEL
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       al             left         witness has executed .   affidavit stating th      rfip/ she is without counsel and is
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       financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                                                      l ^    Judge Presiding



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                                                                                            Project Court #2, 20th Floor
                                                                                                   713-755-5021 0002645
DA                                                   DISTRICT CLERK
               Case 4:17-cv-03621 V Document 89-8 Filed on 01/05/23 in TXSD Page 254 of 479



THE STATE OF TEXAS                                                                                                D.A. LOG NUMBER:1738595
                                                                01478600
VS.
MICHAEL REESCANO                                 SPN:
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                                                                                                        >
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                                                                                                            4 -   CJIS TRACKING NO.:916648183X-A001
                                                                                                                  BY: EG DA NO: 001827326
                                                 DOB:                                                             AGENCY:SHF
                                                 DATE PREPARED: 4/4/2011                                          O/RNO: HC1143736
                                                                                                                  ARREST DATE: 04-04-2011

NCIC CODE: 2300 79                              RELATED CASES:
FELONY CHARGE: THEFT - THIRD OFFENDER
CAUSE NO:                           :-
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                                                                                                                    BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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                                                                            1301545
                                                                            185.
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                                                                                                            *       PRIOR CAUSE NO:




Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, MICHAEL REESCANQ) hereafter styled the Defendant, heretofore on or about
APRIL 4, 2011, did then and there unlawfully, commit an ,offense hereafter styled the primary offense in that he did appropriate by acquiring and
otherwise exercising control over property, namely, TWO DftiLS, owned by CARLOS OVIDIO, hereafter styled the Complainant, of the value of
under one thousand five hundred dollars, with the intent to     derive
                                                                :
                                                                 the Complainant;of the property.

  Before the Commission of the primary offense, on SEPTEMBER 19, 2008, in Cause Number 1543956, in the COUNTY CRIMINAL COURT
AT LAW NO. 12, of HARRIS, County, Texas, the Defendant was convicted of the Misdemeanor of Theft                                                                     J
                                                                                                                                                                     *
  Before the commission of the primary offense, on JUNE 14, 2005, in Cause Number 1300570, in the COUNTY CRIMINAL COURT AT j
LAWNO. 11, ofHARRIS County, Texas, the Defendant was convicted of the Misdemeanor of Theft.                               V

                                                                                                                                       J , 2005, iqjCause Number 1027234,
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                                                                                                                                          Defendant committed the
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                                                                                                            MAY 4 2011
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 AGAINST THE PEACE AND DIGNITY OF THE ST,



                                        ASSISTANT DistTFjiCT
                                        OF HARRIS COWNTY, TEXAS
                                                                            ATTORNEY                                              BAR CARD NO.

                                                                                                                            RECORDER'S MEMORANDUM
                                                                                                                            This Instrument is of poor quality
                                                                            INFORMATION                                           at the time of imaging

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   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 255 of 479
         CAUSE NO      .                                                        CHARGE             ]te
         THE STATE OF TEXAS                                                                       DISTRICT COURT
                                                                                OF HARRIS COUNTY, TEXAS




         TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                        ( name) , the DEFENDANT in the above styled and

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          show the Court th he she is financially unable to hire an attorney*
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                                                                         ( name) , a WITNESS in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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         justice and would show the Court that he / she is financially unable to hire an attorney.




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             ks*-&                                                   Deputy District Clerk
                                                                     Harris County, Texas

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                                                    RDER APPOINTING COUNSEL
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                                    :       witness has executed an affidavit stating that         / she is without counsel and is
         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                           tefendaiji)/ witness named above in this cause.
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         Attorney
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         Phone Number                                                                             Phone 713 237 8547
                                                                                                   Fax 713 528 0153

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                   The Court further ORDERS the cause set for :
         on the                day of                               , 20                     ..
                                                                               at 9:00 a m at 1201 Franklin, Houston, Harris
         County, Texas     .                                               /
                  Signed this                                                  s . 20    lL.
                                                                     Judge Presiding




                                                                                                                          0002647
                                                             DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 256 of 479




THE STATE OF TEXAS                                         01658176                          D.A. LOG NUMBER:1738809
VS.                                                                                          CJIS TRACKING NO.:916648393X-A001
RAFAEL HORAZEO GONZALES                          SPN:                                        BY: KL DA NO: 068910750
                                                 DOB:                                        AGENCY:HCSO
                                                 DATE PREPARED: 4/5/2011                     O/RNO: HC1144051
                                                                                             ARREST DATE: 4/5/11
NCIC CODE: 5599 05                              RELATED CASES:
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
                                                                                                                                   P *
CAUSE NO:                                                                                     BAIL: $10000
                                                                  1301618
HARRIS COUNTY DISTRICT COURT NO:                                                              PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                  185


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, RAFAEL HORAZEO GONZALES, hereafter styled the Defendant, heretofore on
or about APRIL 5, 2011, did then and there unlawfully, intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing
more than 1 gram and less than 4 grams by aggregate weight, including any adulterants
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                                                                                      and dilutants.
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AGAINST THE PEACE AND DIGNITY OF THE STATE.




                                       ASSISTANT DISTRlCmTTOI                                           BAR CARD NO.
                                       OF HARRIS COUNTYTTEXAS

                                                                                                     RECORDER’S MEMORANDUM
                                                               INFORMATION                            Ttlla Instrument Is of poor quality
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          Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 257 of 479
           CAUSE NO       .       / yi /Mf           CHARGE

                                                                                                    SjftllSTRICT COURT
           THE STATE OF TEXAS
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                                                                                            OF HARRIS COUNTY, TEXAS


           Defendant!


           TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                cause respectfully petitions
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                                                        the Court to appoint counsel to
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           show the Court              /
                                    le / she is financially unable to hire an attorney.        !

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                                                                           ( name), a WITNESS in the above styled and




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           numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
           justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                           Deputy District Clerk
                                                                           Harris County, Texas
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                                                 ORDER APPOINTING COUNSEL
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                        ^     tfefendapr/ witness has executed            affidavit stating tha

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          financially   unal                   an attorney. The Court ORDERS that the attorney listed below is appointed to
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          represenytfie defendant witness named above in this cause
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                                                                          Judge Presiding


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DOr                                                               DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 258 of 479


                                                                                                                                          IX
THE STATE OF TEXAS                                          00424682                           D.A. LOG NUMBER:1738874      \l
VS.                                                                                            CJIS TRACKING NO.:9166484545-A001
MORRIS BANKS                                      SPN:                                         BY: EV DA NO: 068910750
                                                  DOB:                                         AGENCY.HPD
                                                  DATE PREPARED: 4/5/2011                      O/R NO: 042496411
                                                                                               ARREST DATE: 04/05/2011
NCIC CODE: 2300 75                               RELATED CASES: CO-DEF DOBELMANN, R.-FEL                                                   0 &
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FELONY CHARGE: THEFT
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:                                   1301661
                                                                                                BAIL: $15,000
                                                                                                PRIOR CAUSE NO:
                                                                                                                                7
FIRST SETTING DATE:                                                185

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                          o -XT
Comes now the undersigned Assistant District Attorney    of Hams County Texas in behalf of the State of Texas and
                                                                           ,     ,                               ,    presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, MORRIS BANKS, hereafter styled the Defendant, heretofore on or about APRIL 5,
2011, did then and there unlawftilly, appropriate, by acquiring and otherwise exercising control over property, namely, EIGHTY NINE SHEETS
OF HARDEE PLANK SIDING owned by DARA CHILDS, hereafter styled the Complainant , of the value of over one thousand five hundred
dollars and under twenty thousand dollars, with the intent to deprive the Complainant of the property.
                                                                                s/
Before the commissian of the offense alleged above, (hereafter
                                                      ~
                                                               styled the primary offense, on FEBRUARY 24, 1999, in Cause Number 0797889,
in the 182ND DISTRICT COURT of HARIU e6unty, Texa5;4he Defendant was convicted of the felo
ASSAULT.             I                       >                                                                    GGRAVATED

Before the commission of the pri         ense, and after the conviction in Cause Number 029*7889 was final, the Defendant committed the felony
offense of ASSAULT-FAMILY              BER and was finally convicted e that offense
179TH DISTRICT COURT oft               S County, Texas.                 ^                   RUARY 25, 2003, in Cause Number 0920737, in the




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                                                                                                             District Clerk
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                                                                                                             MAY 5 2011
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                                                                                                              Hants County, Texas
                                                                                                 By                 Deputy
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                        ASSISTANT DISTRICT ATTORNEY                                       BAR CARD NO.
                                        OF HARRIS COUNTY, TEXAS
                                                                                                            ftfSORDER'S MEMORANDUM
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               CAUSE NO.                         n>oi ^oo
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 259 of 479
                                                         CHARGE          *                                         ov> V ^-
                                                                                          3 2)
                THE STATE OF TEXAS


                                                                   \J&S
                                                                                                           ^       DISTRICT COURT
                                                                                              OF HARRIS COUNTY, TEXAS

                    Yvkr l£                      \   V\ Kc |
                Defendant
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                TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                                      le), the DEFENDANT in the above styled and
                nuftlbered cause respectfully petitionsi e ourt to ap           >ui       represent him / her in this cause and would
                show the Court that he / she is financially unable to hire an attSfney.


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                numbered causef £spectfully petitions the Courtt5Ttppajjitcounsel to represent him / her in the interests of




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                justice and would show the Court that he / she is financially "ilnable to hire an attorney.




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                                  Sworn to and subscribed before me on this, the                          day of                                21
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        F Chris
          I LDaniel
                E D                                                                Deputy District Clerk
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         District Clerk                                                            Harris County, Texas
         APR 1 1 2011
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                                                             ORDER APPOINTING COUNSEL
Time:
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          Hams County. 7©* 25

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                above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                                  The Court further OR£> ERS the cause set for :
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                on the
                County, Texas
                                              day of
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                                  Signed this                 day of                                      200 /7 .


                                                                                   Judge Presidii



                                                                                                                              RECORDER’S MEMORANDUM
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                                                                           DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 260 of 479




THE STATE OF TEXAS                                                                        D.A LOG NUMBER:1739499
VS.                                                                                       CHS TRACKING NO.:
      HAYWARD MCKINNEY                         SPN:     Omj'UeO                           BY: HR DA NO: 069051500
                                               DOB:|                                      AGENCY:HPD
                                    Cf         DATE PREPARED: 4/7/2011                    O/R NO: 0396399110
                                                                                          ARREST DATE: TOBE

NCIC CODE: 3500 52                             RELATED CASES: CODEF: DAVIS JR (F)
FELONY CHARGE: CONTROLLED SUBSTANCE FRAUD PRESCRIPTION             -                                         m
                  ^ ^^
CAUSE NO:                                                                                   BAIL: $NO BOND
HARRIS COUNT D T CTCOURT NO:                   33q
FIRST SETTING DATE:
                                                                                            PRIOR CAUSE NO:
                                                                                                             _
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Hams County, Texas, presents in the District Court of Harris County, Texas, that in Hams County, Texas,
VERN HAYWARD MCKINNEY, hereafter styled the Defendant, heretofore on or about MARCH 30, 2011, did then and there unlawfully,
                                                             -
knowingly ATTEMPT TO POSSESS a controlled substance, to wit: HYDROCODONE by acquiring from DANIELLE GRAVES BRADLEY               -
through the use of a fraudulent prescription form attached hereto as Exhibit A, made without the authority and falsely purporting to be the
prescription of a doctor THEODORE OTEY.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on APRIL 23, 1982, in Cause Number 0349673, in the
176TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony ofTHEFT.

Before the commission of the primary offense, and after the conviction in Cause Number 0349673 was final, the Defendant committed the felony
of ATTEMPTED AGGRAVATED PERJURY and was finally convicted of that offense on JUNE 29, 1983, in Cause Number 380759, in the
248TH DISTRICT COURT of HARRIS County, Texas.
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                                                                                         APR 1 3 2011
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AGAINST THE PEACE AND DIGNITY OF THE STATE                   .

                                                                          FOREMAN OF THE GRAND JURY
                                                                 INDICTMENT                                  ISECORDER’S MEMORANDUM
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    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 261 of 479
     CAUSE NO.                                                                  CHARGE
                    |                         I
     THE STATE OF TEXAS
                                                                                OF HARRIS COUNTY, TEXAS


     Defendant


     TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                   ( name), the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint cpynsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire an


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               On this, the               day of                                    , 20
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     above named defendant / witness has executed an affidavit stating that he/ she is                     wiuuuft  counsel and is
     financially unable to hire an attorney . The Court ORDERS that the attorney lifted below is appointed to
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     repf semAhe defendant'# witness named above in this cause.
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                                          RDERS the cause set for :
                                                                                             at 1201 Franklin, Houston, Harris
     County, Texas
             Signed this



                                                                    Judge Presiding

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                                                            DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8
                                             0  Filed on 01/05/23 in TXSD Page 262 of 479



THE STATE OF TEXAS                                        02553883                          D.A. LOG NUMBER:1739285
VS.                                                                                         CJIS TRACKING NO.:
BRANDON WEST                                    SPN:                                        BY: EG DA NO: 001922011
                                                DOB:|                                       AGENCY:HPD
                                                DATE PREPARED: 4/7/2011                     O/R NO: 038825211F
                                                                                            ARREST DATE: TO BE

NCIC CODE: 5203 03                              RELATED CASES: SAME DEF-FEL / RODRIGUEZ FEL / LOPEZ FEL   -                -
FELONY CHARGE: FELON IN POSSESSION OF FIREARM
CAUSE NO:                                                                                    BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:           1301953
                                                                                             PRIOR CAUSE NO:
FIRST SETTING DATE:                        262

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                 T
The duly organized Grand Jury of Hams County, Texas, presents in the District Court of Hams County, Texas, that in Harris County, Texas,
BRANDON WEST, hereafter styled the Defendant, heretofore on or about MARCH 28, 2011, did then and there unlawfully, intentionally and
knowingly possess a firearm at a location other than the premises at which the Defendant lived, after being convicted of the felony offense of
TAMPERING WITH EVIDENCE in the District Court of the 51ST Judicial District, HENDERSON County, KENTUCKY, in Cause Number
270827-5560, on MARCH 7, 2005.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                           0002654
    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 263 of 479
     CAUSE NO.                                                                  CHARGE
                    |                         I
     THE STATE OF TEXAS
                                                                                OF HARRIS COUNTY, TEXAS


     Defendant


     TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                   ( name), the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint cpynsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire an


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     numbered cause respectfuliy titioi            Re Court to appoint counsel to represent him / her in the interests of
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     justice and would show the Cojirfln           le   / she is financially unable to hire an attorney.        /




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               On this, the               day of                                    , 20
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     above named defendant / witness has executed an affidavit stating that he/ she is                     wiuuuft  counsel and is
     financially unable to hire an attorney . The Court ORDERS that the attorney lifted below is appointed to
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     repf semAhe defendant'# witness named above in this cause.
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                                          RDERS the cause set for :
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     County, Texas
             Signed this



                                                                    Judge Presiding

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                                                            DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 264 of 479



THE STATE OF TEXAS                                             02553883                     D.A. LOG NUMBER:1739285
VS.                                                                                         CHS TRACKING NO.:                Q    -
BRANDON WEST                                     SPN:                                       BY: EG DA NO: 001922011         «!I         §         S




NCIC CODE: 3562 19
                                                 DOB:
                                                 DATE PREPARED: 4/7/2011
                                                                                            AGENCY:HPD
                                                                                            O/RNO: 038825211F
                                                                                            ARREST DATE: TO BE

                                                 RELATED CASES: SAME DEF-FEL / RODRIGUEZ-FEL / LOPEZ- fcfy *
                                                                                                                            ~ -  5|
                                                                                                                                  Z
FELONY CHARGE: POSSESSION OF MARIHUANA
CAUSE NO:                                                                                    BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:                                   1301954                                                                    P       £
                                                                                             PRIOR CAUSE NO:
FIRST SETTING DATE:                                                262
                                                                                                         u
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                 &
Before me, the undersigned Assistant District Attorney of Hams County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, BRANDON WEST hereafter styled the Defendant, heretofore
on or about MARCH 28, 2011, did then and there unlawfully intentionally and knowingly possess marihuana in a useable quantity of more than
five pounds and less than fifty pounds.
                                                                                        fx
PROBABLE CAUSE:
                                                                                /
The affiant, Arthur Phillips, is a police officer with the Houston Police Department The affiant has reason to believe and does believe that on
March 28, 2011, the defendant, Brandon West, committed the felony offense of Possession of Marijuana in Hams County, Texas. The affiant's
belief is based on the following facts:
                                                                          £
On March 28, 2011, Affiant was dispatched to a shooting call at 10438 Tolman in Harris County, Texas. When Affiant arrived at the scene, he
makes contact with Brenda Banks, hereafter witness. The witness stated that her son in law had been shot outside of the residence located at
10438 Tolman. Additionally, Affiant spoke to Brenda Campos, hereafter witness Campos, whom Affiant believed to be credible and reliable.
Witness Campos stated that she observed individuals outside of the residence at 10438 Tolman and believed that they had thrown objects into the
Chevy Suburban that was sitting outside of the residence on Tolman. Witness Banks gave officers consent to search the Chevy Suburban, inside
of the suburban affiant found 38.65 pounds of marijuana

While Affiant was investigating the shooting and the marijuana found at the Tolman scene, he learned that Witness, Dagaberto Rodriguez,
contacted HPD to discuss what occurred on March 28,“2011. Witness Rodriguez stated that on March 28, 2011 he had made a deal with an
individual that he knew by name and sight as Brandon West, defemdant, to sell the defendant 38.65 pounds of marijuana at the 10438 Tolman
address. Witness Rodriguez stated that he went tothe residence on Tolman residence on March 28, 2011 with another male by the name of
Alfredo Lopez. Witness Rodriguez stated that Lopez took the marijuana and placed it in the Suburban that was outside of the Tolman residence.
 The defendant was outside of the residence arid next to the Suburban when the marijuana was placed in the car. Witness Rodriguez stated that
he remained in his vehicle but participated in the delivery of the marijuana to the defendant
                                         -

Affiant spoke with the defendant. The defendant stated that on March 28, 2011 he was at his residence on Tolman when he observed individuals
approach his car and just throw a garbage bag inside of his truck.
                              4P
The amount of the marijuana was an amount greater than 5 pounds and less than 50 pounds.


AGAINST THE PEACE AND DIGNITY OF THE STATE.

           Sworn to and subscribed before me on April 7, 2011




AFFIANT                                                                    ASSISTANT DISTRICT ATTORNEY                   BAR NO.
                          RECORDER’S MEMORANDUM                            OF HARRIS COUNTY, TEXAS.
                          This Instrument Is of poor quality
                                at the time of imaging
                                                                   COMPLAINT
                                                                                                                           0002656
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 265 of 479
          CAUSE NO.
                              ,0   1
                                         ^ ^02     CHARGE                 . »-

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                                                                                                                  C S
           THE STATE OF TEXAS
                                                                                         ^        DISTRICT COURT
                                                                                OF HARRIS COUNTY, TEXAS
            ~
              3            V\ws ° ^/
           Defendant^                ,




           TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                    To IrOfVS                       j          ^   I     ( name), the DEFENDANT in the above styled and
           numbered cause respectfully petitions the Court to appoipfccgpn el to represent him her in this cause and would
           show the Court that he / she is financially unable to hi         ^ .
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                                                                          (name), a WITNESS in the above styled and
           numbered cause respectfuTI 'psijtions the Court to ai
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           justice and would show the Coi              EeTs financially unable to hire an attorney.



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                                                                      Deputy District Clerk
                                                                      Harris County, Texas
        Chris Daniel
        District Clerk
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        APR 11 2011                             ORDER APPOINTING COUNSEL

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Time:
         Harris County   . 0flsthiSj the   //    day of                              , 20   __1 L1, the Court determined that the
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          abcft£Hftamed defendant / witness has executed an affidavit stating that he / she is without counsel and is
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          financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
          repiiei           he defendant witness named above in this cause.
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                         The Court further ORD&RS the cause set for :
          on the
          County , Texas
                          M. ,    day of         / jyrj i         , 20   JL   at 9:00 a.m. at 1201 Franklin, Houston, Harris


                         Signed this            day of      APR 112811

                                                                   Judge Presii




                                                                                                                         0002657
                                                            DISTRICT CLERK
              Case 4:17-cv-03621 Documentr 89-8
                                            «
                                                Filed on 01/05/23 in TXSD Page 266 of 479



THE STATE OF TEXAS                                      01488537                        D A. LOG NUMBER:1739629
VS.                                                                                     CJ1S TRACKING NO.:9166492211 A001     -
JANICE RENEE JOHNSON                           SPN:                                     BY: CM DA NO: 001827326
                                               DOB:                                     AGENCY:HPD
                                               DATE PREPARED: 4/8/2011                  O/RNO: 04364121 IN
                                                                                        ARREST DATE: 4-7 11    -
NCIC CODE: 5599 04                            RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
                                                                                                               £
CAUSE NO:                                                                                 BAIL: $15000
HARRIS COUNTY DISTRICT COURT NO:                    1302038                               PRIOR CAUSE NO:
FIRST SETTING DATE:                                 339

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                         o     '



                                                                    District Court of Harris County, Texas, that in Harris County, Texas,
The duly organized Grand Jury of Harris County, Texas, presents in the
JANICE RENEE JOHNSON, hereafter styled the Defendant, heretofore on or about APRIL 7, 2011, did then and there unlawfiilly,
intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing less than one gram by aggregate weight, including any
adulterants and dilutants.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                         0002658
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 267 of 479
   CAUSE NO.                                                                         CHARGE

  THE STATE OF TEXAS                                                                                  DISTRICT COURT
   VS.                                                                               OF HARRIS COUNTY, TEXAS

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  Defendant
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  TO THE HONORABLE JUDGE OF SAID COURT: (check one )


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  numbered cause respectfully petitions the Court to appo int couradfto represent/ttufi / her in this catlS& and would
  show the Court that he / she is financially unable to hire«an attorney.         / \               (       ^i

                                                                          Defendant




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                                                                                            WITNESS in the above styled and
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  numbered cause respectfully petitions thi                                     iunsel to represent him / her in the interests of




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                  Chris Daniel
                  District Clerk
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                                                                          Deputy District Clerk
                  APR 11 20             "                                 Harris County , Texas
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 Time :               Harris County . Texas       TJKDER APPOINTING COUNSEL
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                 On this, the                      day of                                 , 20    /   the Court determined that the
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  above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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  financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
  repri                                                 tamed above in this cause.
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  County , Texas.
                 Signed this                      day of
                                                                     APR 11    •
                                                                         Judge Prasii




                                                                                                                           0002659
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 268 of 479




THE STATE OF TEXAS                                     02553969                        D.A. LOG NUMBER:1739803 V           >
                                                                                       CJIS TRACKING NO.:916649396X cflf(5l
VS.
                                              SPN:                                     BY: CS DA NO: 002094982
                                                                                                                           ^
VERNIS ELBERT BOYD
                                              DOB:                                     AGENCY:MTA
                                              DATE PREPARED: 4/8/2011                  O/R NO: 043838211
                                                                                       ARREST DATE: 04/07/2011

NCIC CODE: 7099 63                           RELATED CASES:
FELONY CHARGE: HARASSMENT OF PUBLIC SERVANT
CAUSE NO:
                                         1302079                                        BAIL: $5,000
HARRIS COUNTY DISTRICT COURT NO:                                                        PRIOR CAUSE NO:
FIRST SETTING DATE:                      339

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Hams County, Texas, that in Harris County, Texas,
VERNIS ELBERT BOYD, hereafter styled the Defendant, heretofore on or about APRIL % 2011, did then and there unlawfully, with the intent
to HARASS, cause G. NOVAK, hereafter styled the Complainant, whom the Defendant knew to be a public servant, to contact the SALIVA of the
DEFENDANT, while the Complainant was lawfully discharging an official duty.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                                    Asst. Foreman


                                                                       FOREMAN OF THE GRAND JURY

                                                            INDICTMENT
                                                                                                                     0002660
             V& cru  w- 89-8               '                                                   pw&                rr
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Case 4:17-cv-03621 Document                                       Filed on 01/05/23 in TXSD Page 269 of 479
 CAUSE NO.              Yb                                                      CHARGE                  5
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 THE STATE OF TEXAS                                                         3
                                                                                   ^ 7        DISTRICT COURT
                                                                                OF HARRIS COUNTY, TEXAS

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 Defendant                            ^'
 TO THE HONORABLE JUDGE OF SAID COURT: (check one )




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                               petitions
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                                                                 ( name), the DEFENDANT in the above styled and
                                         the Court to appoint counsel to represent him / her in this cause and would




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                                                                 ( name), a WITNESS in the above styled and
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               District Clerk                                         Deputy District Clerk
                                                                      Harris County, Texas
               APR 11 2011
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  Time :
                   Harris County , Texas
                                           jQKQER APPOINTING COUNSEL
  By
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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 ri           te   defendant /.witnt                    ted above in this cause.
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           The Court further ORDERS the cause set for :


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                                                 AA &P              , 20//         4
                                                                             at 9:00 a.m. at 1201 Franklin, Houston, Harris


           Signed this                     day of
                                                               APR 11 2011, 201

                                                                     Judge Presiding




                                                                                                                    0002661
                                                         DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 270 of 479



THE STATE OF TEXAS                                                                        D.A. LOG NUMBER:1739905
VS.                                                                                       CJIS TRACKING NO.:9 I 6649493!-AOOI
 JARVIS EUGENE FAULTRY                          SPN: 01857155                             BY: CM DA NO: 002327938
                                                DOB:                                      AGENCY:HPD
                                                DATE PREPARED: 5/9/2011                   O/RNO: 0440239IIS
                                                                                          ARREST DATE: 04 08 11
NCIC CODE: 1301 19                             RELATED CASES: TWO OTHER FEL                                   '
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FELONY CHARGE: Aggravated Assault
CAUSE NO: 1302122                                                                           BAIL: $ NO BOND
                                                                                                             m
HARRIS COUNTY DISTRICT COURT NO: 339                                                        PRIOR CAUSE NO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                           *   Jf
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JARVIS EUGENE FAULTRY, hereafter styled the Defendant, heretofore on or about APRIL 8, 2011 , did then and there unlawfully,
intentionally and knowingly threaten CALEB BOYD with imminent bodily injury by using and exhibiting a deadly weapon, namely, A KNIFE.
                                                                                   ,



Before the commission of the offense alleged above, (hereafter styled the primary offense), on JANUARY 2, 2003, in Cause Number 925046, in
the 263RD DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of AGGRAVATED ASSAULT WITH A
DEADLY WEAPON.                                                                  .
                                                                          i
Before the commission of the primary offense, and after the conviction in Cause Number 925046 was final, the Defendant committed the felony of
AGGRAVATED ASSAULT WITH A DEADLY WEAPON and was finally convicted of that offense on AUGUST 11, 2009, in Cause Number
1193243, in the 185TH DISTRICT COURT of HARRIS County, Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                           0002662
             V& cru  w- 89-8               '                                                   pw&                rr
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Case 4:17-cv-03621 Document                                       Filed on 01/05/23 in TXSD Page 271 of 479
 CAUSE NO.              Yb                                                      CHARGE                  5
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 THE STATE OF TEXAS                                                         3
                                                                                   ^ 7        DISTRICT COURT
                                                                                OF HARRIS COUNTY, TEXAS

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 Defendant                            ^'
 TO THE HONORABLE JUDGE OF SAID COURT: (check one )




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                               petitions
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                                                                 ( name), the DEFENDANT in the above styled and
                                         the Court to appoint counsel to represent him / her in this cause and would




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               District Clerk                                         Deputy District Clerk
                                                                      Harris County, Texas
               APR 11 2011
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  Time :
                   Harris County , Texas
                                           jQKQER APPOINTING COUNSEL
  By
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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           The Court further ORDERS the cause set for :


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                                                                             at 9:00 a.m. at 1201 Franklin, Houston, Harris


           Signed this                     day of
                                                               APR 11 2011, 201

                                                                     Judge Presiding




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                  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 272 of 479
              *


THE STATE OF TEXAS                                                                                       . 739905
                                                                                          D A. LOG NUMBER!
VS.                                                                                       CJ1S TRACKING NO.:9166494931 A003   -
 JARVIS EUGENE FAULTRY                         SPN: 01857155                              BY: CM DA NO: 002327938
                                               DOB:                                       AGENCY:HPD                              j
                                               DATE PREPARED: 5/9/2011                    O/RNO: 04402391 IS                      l
                                                                                          ARREST DATE: 04 08 11                   l
NCIC CODE: 5599 04                             RELATED CASES: TWO OTHER FEL
FELONY CHARGE: Possession of a Controlled Substance                                                           '

CAUSE NO: 1302124
HARRIS COUNTY DISTRICT COURT NO: 339
                                                                                           BAIL: $15,000                /
                                                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                 §5?                :




The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JARVIS EUGENE FAULTRY, hereafter styled the Defendant, heretofore on or about APRIL 8, 2011, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing less than one gram by aggregate weight, including any
adulterants and dilutants.

Before die commission of the offense alleged above, (hereafter styled the primary offense), on JANUARY 2, 2003, in Cause Number 925046, in
the 263RD DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of AGGRAVATED ASSAULT WITH A
DEADLY WEAPON.

Before the commission of the primary offense, and after the conviction in Cause Number 925046 was final, the Defendant committed the felony of
AGGRAVATED ASSAULT WITH A DEADLY WEAPON and was finally convicted of that offense on AUGUST 11, 2009, in Cause Number
1193243, in the 185TH DISTRICT COURT of HARRIS County, Texas.
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                            0002664
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 273 of 479
          CAUSE NO.                                 CHARGE

          THE STATE OF TEXAS


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          Defendant
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                                                                              OF HARRIS COUNTY, TEXAS




          TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                        ( name ), the DEFENDANT in the above styled and
          nwlbered came respectfully petitions the Court to qppoint counsel to represent him / her in this cause and would
          show the Court that he / she is financially unable to hire ai    ic



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                                                                         ( name), a WITNESS in the above styled and
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                   Daniel
          District Clerk
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          APR 11 2011                                            Harris County , Texas
Time:
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                     On this, the            day of                              .,   200.   II   the Court determined that the
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          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
          financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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                     The Court further ORDERS the cause set for :
          on the U—             day of    /hVJr-y /            , iw /    f   at 9:00 a.m. at 1201 Franklin, Houston, Harris
          County , Texas.
                    Signed this             day of
                                                      MR 11 mr
                                                                 Judge Presiding


                                                                                                             RECORDER’S MEMORANDUM
                                                                                                             This instrument is of poor quality
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 274 of 479                                      oltdAW
THE STATE OF TEXAS                                        01664939                           D.A LOG NUMBER:1740129
VS.                                                                                          CJIS TRACKING N0.:9166497760 A001  -
 RICKY LEE VALLEJO                              SPN:                                         BY: DB DA NO: 001759187
                                                DOB:                                         AGENCY:HPD
                                                DATE PREPARED: 4/9/2011                      O/RNO: 044384611L
                                                                                             ARREST DATE: 4 8 11--
NCIC CODE: 130119                                                     .
                                               RELATED CASES: J MCGEE FEL        -
FELONY CHARGE: Aggravated Assault
CAUSE NO:                                                                                      BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO:                                 1302237                       PRIOR CAUSE NO:
FIRST SETTING DATE:                                              339                               o    >

                                                                                                        v



IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, RICKY LEE VALLEJO hereafter styled the Defendant,
heretofore on or about APRIL 8, 2011, did then and there unlawfully intentionally and knowingly threaten PEDRO ZAMBRANA with
imminent bodily injury by using and exhibiting a deadly weapon, namely, A KNIFE      .




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

           Sworn to and subscribed before me on April 9, 2011

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                                                                                MLLUI
                                                                          ASSISTANT DISTRICT AlTqg                      BAR NO.
                                                                          OF HARRIS COUNTY, TEXAS.


                                                                COMPLAINT
                                                                                                                          0002666
    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 275 of 479
     CAUSE NO.                                 CHARGE                                    MdltL
     THE STATE OF TEXAS                                                               DISTRICT COURT
                                                                      OF HARRIS COUNTY, TEXAS
    Tttttu* Mk 6W
     Defendant
                / z,
;

     TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                      ( name), the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire an attorney.       f   1

                                                            Defendant




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                                                                     (name), a WITNESS in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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     justice and would show the Court that he / she is financially unable to hire an attorney.




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                                     ORDER APPOINTING COUNSEL

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     above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
     represent the defendant / witness named above in this cause.
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              Signed



                                                           Judge Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in
THE STATE OF TEXAS
VS.
                                                                   .
                                                                     TXSD Page 276 of 479
                                                                                           D A. LOG NUMBER:1740332
                                                                                           CHS TRACKING NO.:
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                                                                                                                                     ^
CHARLES DOUGLAS GRABOW JR.                            SPN:
                                                      DOB:|    ^
                                                             OO COOLPO
                                                      DATE PFQ090Q9804/9/2011
                                                                                           BY: TS DA NO: 062521650
                                                                                           AGENCY:HCSO
                                                                                           O/RNO: 1145683
                                                                                           ARREST DATE: TO BE
NCIC CODE: 1301 19                                    RELATED CASES:
FELONY CHARGE: Aggravated Assault
CAUSE NO:                                                    / 3crz&tip                      BAIL: $80,000
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HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:                                                   ^                      PRIOR CAUSE NO:


IN THE NAME AND BY AUTHORITY OF THE STATE O

Before me, the undersigned Assistant District Attorney of Harris    ^JSSrty
                                                                       , Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Hams County, Texas, CHARLES DOUGLAS GRABOW JR. hereafter styled the
Defendant, heretofore on or about APRIL 8, 2011, did then and there unlawfully intentionally and knowingly cause bodily injury to TIMOTHY
COMEAUX SR by using a deadly weapon, namely, A KNIFE.
                                                                                                       m
   It is further presented that in Harris County, Texas, CHARLES DOUGLAS GRABOW JR , hereafter styled the Defendant, heretofore on or
about APRIL 8, 2011, did then and there unlawfully intentionally and knowingly cause bodily injury to TIMOTHY COMEAUX SR by using a
deadly weapon, namely, A METAL PIPE.
                                                                                                  =>
 Before the commission of the offense alleged above, on AUGUST 12, 2003, in Cause Number 935599 in the 178TH District Court of
HARRIS County, Texas, the Defendant was convicted of the felony offense of DEADLY CONDUCT.

 PROBABLE CAUSE
 Affiant, SGT Henry Palacios is employed as a certified peace officer with the Harris County Sheriffs Department Affiant believes that on or
 about April 8, 2011 at 1010 Lakeside in Harris County, Texas CHARLES DOUGLAS GRABOW , hereafter the Defendant, committed the
 offense of Aggravated Assault with a Deadly Weapon, namely a knife or namely a metal pipe against Timothy Comeaux, Sr., hereafter the
 Complainant Affiant bases his belief on the following:
 On Friday, April 8, 2011 Affiant went to 1010 Lakeside in Harris County, Texas to investigate a disturbance.
 Affiant met with witness IOHN CLARK, whom Affiant found credible. Clark told Affiant he was foe owner of the property. CLARK informed
affiant that he along with his girlfriend, TIFFANY RENAE HUMPHREY, where inside his trailer when they heard a knock on his door.
CLARK told Affiant, HUMPHREY answered the door to find the Defendant, whom he knows by name and sight as CHARLES DOUGLAS
GRABOW. DEFENDANT asked to speak to "Stretch" also known as Jerry Morris. CLARK told the DEFENDANT that "Stretch" was not at
home and to leave his property.
CLARK told Affiant, he closed his door and went to his bedroom . Shortly thereafter he heard two males fighting. He heard two male voices,
one being the DEFENDANT'S screaming and cussing. CLARK returned to the front door to his trailer and observed the defendant had not left
his property as instructed to do so. He also saw a white vehicle in the driveway. CLARK said he then observed the DEFENDANT with a knife
in his hand stabbing an unknown white male, later identified as Timothy Comeaux, Sr.
CLARK told Affiant he then observed the DEFENDANT grab a metal pipe and began striking the Complainant about his head. CLARK said he
closed his door and went back to his bedroom.
CLARK told Affiant he then heard the trunk to a vehicle close and a vehicle pull out of his driveway. He looked out his bedroom window and
did not see the DEFENDANT or the Complainant any longer, and the white vehicle he had just seen was also gone.
Affiant observed what appeared to be blood, biological matter, along with what appeared to be a piece of human skull on the ground near the
area where Clark said the assault occurred.
Affiant then spoke with TIMOTHY AARON COMEAUX, Jr., the Complainant’s biological son and whom Affiant found credible. COMEAUX
said he and the Complainant met the defendant at a night club, and they were drinking together. Upon leaving the club, Witness COMEAUX
said he observed only the DEFENDANT and the Complainant enter the Witness Comeaux's vehicle, a white Cadillac, and drive away to an
unknown location.
Affiant created a photo array with a picture of the Defendant and 5 like-featured males and showed it to Witness Comeaux. Witness Comeaux
identified the Defendant as being the person that left the club with the Complainant in Complainant's car.
Affiant was informed that the white Cadillac in question was found at 10402 Gulf Freeway on April 9, 2011. Affiant was informed by CS1
                                            i ,

 investigators that the trunk area of the Complainant's vehicle contain a large amount of blood and what appeared to be brain matter . The
 Complainant was nowhere to be found.
 Defendant was the last person seen with Complainant on April 8th, 2011 leaving the nightclub at 1:45 a.m. Witness John Clark said he saw the
 Defendant stabbing and hitting the white male on his property at approximately 2:20 a.m.
 COMEAUX, Jr. informed Affiant he has not heard nor seen the Complainant since he left the night club with the Defendant. Witness Comeaux
 stated that Complainant is a white male was driving a white vehicle, much like witness John Clark described he saw on his property on April 8th,
 2011. CSI has recovered biological material from the white Cadillac for purposes of DNA comparison with a known sample of the
 Complainant's DNA.
 Affiant also spoke with Witness Taber Heath Francis, whom he found credible. Francis told Affiant that he was with the Defendant, whom he
                                                                                       .
 knows by name and sight, in a white Cadillac on April 9th, 2011 and that, while driving Defendant admitted to him that he had killed someone.
 Taber also saw blood in the white Cadillac. Taber directed officers to the white Cadillac that Defendant was drj®g.jAfltent fomcWtiit the
                                                                                                               1
 white Cadillac driven by the Defendant is registered to Witness Timothy Comeaux Jr.,
                                                                                                                     Chris Dattl I ;
 AGAINST THE        PEACE     AND   DIGNITY   OF  THE    STATE  .                                                ^  District  Clerk

            Sworn to and subscribed before me on April 9, 2011
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 AFFIANT                                                                      ASSISTANT DISTRICl/ATTOR                   BAR NO.
                 RECORDER'S MEMORANDUM
                                                                              OF HARRIS COUNTY, TEXAS.
                 This instrument is of poor quality
                      at Retime of imaging                                                                                 0002668
                                                                    COMPLAINT
    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 277 of 479
     CAUSE NO.                                                                  CHARGE
                    |                         I
     THE STATE OF TEXAS
                                                                                OF HARRIS COUNTY, TEXAS


     Defendant


     TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                   ( name), the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint cpynsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire an


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     above named defendant / witness has executed an affidavit stating that he/ she is                     wiuuuft  counsel and is
     financially unable to hire an attorney . The Court ORDERS that the attorney lifted below is appointed to
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     repf semAhe defendant'# witness named above in this cause.
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                                          RDERS the cause set for :
                                                                                             at 1201 Franklin, Houston, Harris
     County, Texas
             Signed this



                                                                    Judge Presiding

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                                                            DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 278 of 479


THE STATE OF TEXAS                                                                         D.A. LOG NUMBER1738694
VS.                                                      02553883                          CJIS TRACKING N0.:9166505402-A001
BRANDON LEE WEST                               SPN:                                        BY: TD DA NO: 002126743
                                               DOB:|                                       AGENCY:HPD
                                               DATE PREPARED: 4/11/2011                    O/RNO: 038939711G
                                                                                           ARREST DATE: 04/01/2011
NCIC CODE: 5599 48                            RELATED CASES:
FELONY CHARGE: POSSESSION WITH INTENT TO DELIVER A CONTROLLED SUBSTANCE
CAUSE NO:                                                   BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                            PRIOR CAUSE NO:
FIRST SETTING DATE:                        1302501
                                                               46»
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                m-
The duly organized Grand Jury of Hams County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
BRANDON LEE WEST, hereafter styled the Defendant, heretofore on or about MARCH 28, 2011, did then and there unlawfully, knowingly
possess with intent to deliver a controlled substance, namely, COCAINE, weighing more than 4 grams and less than 200 grams by aggregate
weight, including any adulterants and dilutants.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT

                                                                                                                        0002670
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 279 of 479
 CAUSE NO.                                CHARGE

THE STATE OF TEXAS
                                                    WO                                          DISTRICT COURT

                                                                               OF HARRIS COUNTY, TEXAS


Defendant             7
TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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             n                         L            4&           ( name), the DEFENDANT in the above styled and
numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
show the Court that he / she is financially unable to hire an attorney.
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                                                                    Deputy District Clerk
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                                         ORDER APPOINTING COUNSEL
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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
         -witness-named above in this cause.
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             Signed this                   day of          1
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                    Chris Daniel                                   Judge Presiding
                    District Clerk
                    ApR    1 3 2011
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                           (Deputy

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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 280 of 479




VS.
            -
THE STATE OF TEXAS
                                                        Q2554574
                                                                                         D.A. LOG NUMBER:1740737
                                                                                         CJ1S TRACKING N0..9166504341 A001   -
 CHRISTOPHER JAMES FRANKS                        SPN:                                    BY: CP DA NO: 051779050
                                                 DOB:                                    AGENCY:HPD
                                                 DATE PREPARED: 4/11/2011                O/RNO: 045403611J
                                                                                         ARREST DATE: 4/11/2011
NCIC CODE: 1204 04                               RELATED CASES: ONE OTHER CHARGE (F)
                                                                                     .
                                                                                                        #^
                                                                CO DEF: BM-W FOWLER (2F)
                                             -
FELONY CHARGE: Aggravated Robbery Deadly Weapon                                                       j
CAUSE NO:                                                                                 BAIL: $30,000
                                                               1302509
HARRIS COUNTY DISTRICT COURT NO:                                                          PRIOR CAUSE NO:
FIRST SETTING DATE:                                            177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
CHRISTOPHER JAMES FRANKS, hereafter styled the Defendant, heretofore on or about APRIL 11, 2011, did then and there unlawfully,
while in the course of committing theft of property owned by ANA SOBREVILLA, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY THREATEN AND PLACE ANA SOBREVILLA IN FEAR OF IMMINENT BODILY INJURY
AND DEATH, and the Defendant did then and there use and exhibit a deadly weapon, namely, A FIREARM.
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                        FOREMAN OF THE GRAND JURY

                                                             INDICTMENT

                                                                                                                        0002672
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 281 of 479
 CAUSE NO.                                CHARGE

THE STATE OF TEXAS
                                                    WO                                          DISTRICT COURT

                                                                               OF HARRIS COUNTY, TEXAS


Defendant             7
TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
show the Court that he / she is financially unable to hire an attorney.
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numbered cause respectfully petitions the Court to appot     »iscl tu l'cpresent nim / her in the interests of




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                                                                    Deputy District Clerk
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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
         -witness-named above in this cause.
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                    Chris Daniel                                   Judge Presiding
                    District Clerk
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 282 of 479

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THE STATE OF TEXAS                                                                         D A. LOG NUMBER:1740737
VS.                                                       02554574                         CJIS TRACKING N0.:9166504341 A002      -
 CHRISTOPHER JAMES FRANKS                       SPN:                                       BY: CP DA NO: 051779050
                                                DOB:                                       AGENCY:HPD
                                                DATE PREPARED: 4/11/2011                   O/RNO: 045403611J
                                                                                           ARREST DATE: 4/11/2011

NCIC CODE: 1301 19                             RELATED CASES: ONE OTHER CHARGE (F)
                                                                                     -
                                                              CO DEF: BM W.FOWLER (2F)
FELONY CHARGE: Aggravated Assault
CAUSE NO:                                                                                    BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO:
                                                                     1302510
                                                                                             PRIOR CAUSE NO:
FIRST SETTING DATE:                                                  177

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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
CHRISTOPHER JAMES FRANKS, hereafter styled the Defendant, heretofore on or about APRIL 11, 2011, did then and there unlawfully,
intentionally and knowingly threaten ANA SOBREVILLA with imminent bodily injury by using and exhibiting a deadly weapon, namely, A
FIREARM.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                       .

                                                                               FOREMAN OF THE GRAND JURY

                                                                     INDICTMENT

                                                                                                                            0002674
CAUSE NO.
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 283 of 479
                                                                          CHARGE

THE STATE OF TEXAS                                                                      DISTRICT COURT

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                                                   \                      OF HARRIS COUNTY, TEXAS
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Defendant
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TOvrJlE HONORABLE JUDGE OF SAID COURT: (check one)
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                  M                                    {/        me), the DEFENDANT in the above styled and
numbered cause respectfully petitions the Court to appoint counjeJ'to represent pim / her in this cause and would
show the Court that he / she is financially unable to hire an a


                                                                Defendant
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above named defendant / wifiless has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an Attorney . The Court ORDERS that the attorney listed below is appointed to
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                                                               Judge Presiding

                                                                 Marc Carter

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                                                       DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 284 of 479



THE STATE OF TEXAS                                      00461889                           D.A. LOG NUMBER:1741085
VS.                                                                                        CJIS TRACKING NO.:
 JOHN HENRY ADDISON                            SPN:                                        BY: EV DA NO: 001922011
                                               DOB:|                                       AGENCY:HPD
                                               DATE PREPARED: 4/13/2011                    O/RNO: 045928411F
                                                                                           ARREST DATE: TO BE

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NCIC CODE: 1314 21                             RELATED CASES:
                                           -
FELONY CHARGE: Aggravated Assault Family Member
CAUSE NO:                                                                                   BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                1302700                                     PRIOR CAUSE NO:
FIRST SETTING DATE:                             228                                                 O
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JOHN HENRY ADDISON, hereafter styled the Defendant, heretofore on or about APRIL 12, 2011, did then and there unlawfully, intentionally
and knowingly threaten CASSANDRA MAYFIELD, a MEMBER OF THE DEFENDANTS FAMILY, hereafter styled the Complainant, with
imminent bodily injury by using and exhibiting a deadly weapon, namely, A PIECE OF GLASS.

   It is further presented that in Harris County, Texas, JOHN HENRY ADDISON, hereafter styled the Defendant, heretofore on or about APRIL
12, 2011, did then and there unlawfully intentionally and knowingly threaten CASSANDRA MAYFIELD, a MEMBER OF THE DEFENDANT'S
HOUSEHOLD, hereafter styled the Complainant, with imminent bodily injury by using and exhibiting a deadly weapon, namely, A PIECE OF
GLASS.

Before the commission of the offense alleged above, on JULY 13, 1988, in Cause Number 502005 in the 228TH District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of DELIVERY OF A CONTROLLED SUBSTANCE.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                  .

                                                                         FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                        0002676
                CAUSE NO.              I 302$ ID1
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 285 of 479
                                                          CHARGE

                THE STATE OF TEXAS          13(72.131 (82n                                                         DISTRICT COURT



                Hilda RomWidd
                                                                                                 OF HARRIS COUNTY, TEXAS


                Defendant                 |
                TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                                                  ‘       *                      ( name), the DEFENDANT in the above styled and

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                numbered cause respectfully petitions the Court to appoint courjg l to represent him / her in this cause and would
                show the Court that he / she is financially unable to hire an attorney.


                                                                                       Defendant




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                                                                                ( name), a WITNESS in the above styled and
                numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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By                            Deputy                          ORDER APPOINTING COUNSEL
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               above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
               financially unable to hire an attorney . The Court ORDERS that the attorney listed belo
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               represent thtf'Sefendant / witness namedabove in this cause.

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                              The Court further ORDERS the cause set for :
                              22       day of         June              .          , 20
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                                                                                          11 at 9:00 a.m. at 1201 Franklin, Houston, Harris
               County, Texas.
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 286 of 479
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THE STATE OF TEXAS                                       01044494
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                                                                                         D.A. LOG NUMBER:1741119
VS.                                                                                      CJIS TRACKING NO.:916650838X-A001
 JUDY LUCILLE HAMBR1CK                         SPN:                                      BY: EG DA NO: 068910750
                                               DOB                                       AGENCY:HPD
                                               DATE PREPARED: 4/13/2011                  O/RNO: 45896111U
                                                                                         ARREST DATE: 04-12-2011

NCIC CODE: 2300 86                            RELATED CASES:
FELONY CHARGE: THEFT OF FIREARM
CAUSE NO:                                                                                  BAIL: $500,000
HARRIS COUNTY DISTRICT COURT NO:                                1302731                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                             339
                                                                                                   NJW

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Hams County, Texas, JUDY LUCILLE HAMBRICK, hereafter styled the
Defendant, heretofore on or about APRIL 12, 2011, did then and there unlawfully appropriate by acquiring and otherwise exercising control
over property, namely a firearm owned by MARY BREWER, hereafter styled the Complainant, with the intent to deprive the Complainant of the
firearm.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

          Sworn to and subscribed before me on April 13, 2011




                                                                         ASSISTANT DISTRICT ATTORNEY                     BAR NO.
                                                                         OF HARRIS COUNTY, TEXAS.


                                                                COMPLAINT
                                                                                                                          0002678
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 287 of 479
 CAUSE NO.

 THE STATE OF TEXAS
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                                                                                         DISTRICT COURT
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 JlfftUcu LLA-
 Defendant
                          *
                                                                            OF HARRIS COUNTY, TEXAS




 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                           (name), the DEFENDANT in the above styled and
 nuihbered cause respectfully petitions the Court to appoint counsdto represent him / her in this cause and would
 show the Court that he / she is financially ,onh ° tr>
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                                                              Defendant




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                                                               ( name), a WITNESS in the above styled and

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 numbered cause respectfully temions thpCguFHtfappoint counsel to represent him / her in the interests of
 justice and would show the Couryh rttS / she is financially unable to hire an attorney.
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          Sworn to and subscribed before me on this, the                        day of                            , 20
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                                                              Deputy District Clerk
                                                              Harris County, Texas
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                                             ;R APPOINTING COUNSEL
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           in'                     day of                                      ,2        , the Court determined that the
 above           defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                            med above in this cause.
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        The Court further ORDERS the cause set for :


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on the         day of                        , 20    «f 9 L                         mL at 1201 Franklin, Houston, Harris

County, Texas.
         Signed this
                                                                                    II

                                                                    WLMAJS
                                                              Judge Presiding




                                                                                                                  0002679
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 288 of 479



THE STATE OF TEXAS                                          02209388                         D A. LOG NUMBER:1743430
VS.                                                                                          CJIS TRACKING NO.:9166533236-A002
  ATTHEAUS REED                                  SPN:                                        BY: KL DA NO: 002156159
                                                  DOB:                                       AGENCY HCCP6
                                                  DATE PREPARED: 4/ 20 /2011                 O/RNO: HCI 151362
                                                                                             ARREST DATE: 4/19/11

NCIC CODE: 5599 09                                                            -
                                                 RELATED CASES: SAME M ; EADEN-M ; SAMUEL M                 -      3%
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE                                                                                  PZ
CAUSE NO:                                                                                      BAIL: S5000
HARRIS COUNTY DISTRICT COURT NO:          1303461                                              PRIOR CAUSE NO:
FIRST SETTING DATE:                       262

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, MATHEAUS REED, hereafter styled the Defendant, heretofore on or about APRIL
19, 2011, did then and there unlawfully, intentionally and knowingly possess a controlled substance, namely, 3, 4 - METHYLENEDIOXY
METHAMPHETAMINE, weighing more than 1 gram and less than 4 grams by aggregate weight, including any adulterants and dilutants.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                      .

                                        ASSISTANT DISTRICT ATTORNEY                                     BAR CARD NO.
                                        OF HARRIS COUNTY, TEXAS
                                                                                                RECORDER'S MEMORANDUM
                                                                                                This Instrument is of poor quality
                                                                INFORMATION                           at the time of imaging
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     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 289 of 479
      CAUSE NO

     THE STATE OF TEXAS
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                                                CHARGE




     ^fVk/jLrV r TLj                                                         OF HARRIS       COUNTY, TEXAS
      Defendant                 ^^             fig   Do \
      TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                    ( name), the DEFENDANT in the above styled and
      numbered cause respectfully petitions the Court to appoint odunsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire an attorney.


                                                                   Defendant




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                                                                    ( name), a WITNESS in the above styled and
     numbered cause respectfully petitiohstije CcjurticTappoint counsel to represent him / her in the interests of




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              Chris Daniel
              District Clark
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              SEP - » 2011                                         Harris County, Texas
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Time:
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                                                                                 -
               Harris County Texas
By                         Deputy

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                On this, the                     *                                   if      the Court determined that the
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     above named defendant / witness has executed an affidavit stating that he / she is without .counsel and is
     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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     repri                  deft      / witness named above in this cause.
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               The Court further           RDEgS the cause set for :
     on the     2^5 day of             :                       j   20   ff at 9:00 a.m. at 1201 Franklin, Houston, Harris
     County, Texas.
               Signed this                 dav of    SFP   - 9 2QH
                                                                               ^QSHJLSJOU
                                                                   Judge Presiding




                                                                                                                    0002681
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               Case 4:17-cv-03621 Document 89-8
                                            J   Filed on 01/05/23 in TXSD Page 290 of 479



THE STATE OF TEXAS                                           02433976                           D.A. LOG NUMBERS 746057
VS.                                                                                             CJIS TRACKING NO.:9166559952-AOOI
 ADOLFO MARTINEZ                                  SPN :                                         BY: SP DA NO: 001827326
                                                  DOB:|                                         AGENCY:HPD
                                                  DATE PREPARED: 4/28/2011                      O/R NO: 053574611
                                                                                                ARREST DATE: 04-28-2011
NCIC CODE: 2399 41                                RELATED CASES:
FELONY CHARGE: THEFT
CAUSE NO:                                                                                        BAIL: $2000
HARRIS COUNTY DISTRICT COURT NO:                                    1304487                      PRIOR C AUSE NO:
FIRST SETTING DATE:                                                 177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ADOLFO MARTINEZ, hereafter styled the Defendant, heretofore on or about APRIL 28, 2011, did then and there unlawfully, appropriate, by
acquiring and otherwise exercising control over property, coils consisting of at least fifty percent copper, of the value of less than twenty thousand
dollars, owned by MICHAEL MEADOW, hereafter styled the Complainant, without the effective consent of the Complainant and with the intent
to deprive the Complainant of that property.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                               FOREMAN OF THE GRAND JURY

                                                                   INDICTMENT                                  RECORDER'S MEMORANDUM
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 CAUSE NO.       15041®
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 291 of 479
                                           CHARGE

 THE STATE OF TEXAS                                                                 O        DISTRICT COURT
                                                                         OF HARRIS COUNTY, TEXAS
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 Defendant

 TO THE HONORABLE                         E OF SAID COURT: (check one)
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 numbered cause respectfully petitions tnerCourt to appoint coun
                                                                  ( name) j,the DEFENDANT in the above styled and
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                                                               Deputy District Clerk                      District Clerk
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                                                               Harris County, Texas
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 above named defendant / Witness has executed an affidavit stating that he / she is without counsel and is




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         The Court further ORDERS the cause set for :
on the                day of                               , 20
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County, Texas.                                                                            2
         Signed this     95            day of                                  J   20.


                                                               JudgJPraiding




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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 292 of 479



THE STATE OF TEXAS                                         02532810                         D.A. LOG NUMBER:1746968
                                                                                            CJ1S TRACKING NO.:
                                                 SPN:                                       BY: VF DA NO: 002328322
                                                 DOB:                                       AGENCY:HPD
                                                 DATE PREPARED: 5/1/2011                    O/R NO: 05492691 IE
                                                                                            ARREST DATE: TO BE
NCIC CODE: 1314 21                              RELATED CASES:
FELONY CHARGE: Aggravated Assault - Family Member
CAUSE NO:                                                                                     BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                  1304788
                                                                                              PRIOR CAUSE NO:
FIRST SETTING DATE:                               228
                                                                                                     A
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, m behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, CURTIS PUGH, hereafter styled die Defendant, heretofore on or about APRIL 30,
2011, did then and there unlawfully, intentionally and knowingly cause serious bodily injury to BRIANA SANDEL , a PERSON WITH WHOM
THE DEFENDANT HAD A DATING RELATIONSHIP, hereafter styled the Complainant by STRIKING THE COMPLAINANT WITH HIS
HAND.




AGAINST THE PEACE AND DIG 1                 OF THE STATE.




                                         ;si     DISTRICT ATTORNEY                                      BAR CARD NO.
                                       OF HARRIS COUNTY, TEXAS                                                   \


                                                               INFORMATION
                                                                                              at the time of imaging        0002684
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 293 of 479
                                                                         CHARGE

    THE STATE OF TEXAS                                                                      DISTRICT COtfRT
                                                                         OF HARRIS COUNTY, TEXAS


    Defendant

    TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                     ( name), the DEFENDANT in the above styled and
    numbered cause respectfully petitions the Court to appo /nt counsel to represent him / her in this cause and would
    show the Court that he / she is financially unable to hire anattomey.


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    justice and would show tin, Cuuit llnilTrr          incially unable to hire an attorney.




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                      Chris Daniel
                      District Clerk
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                                                               Deputy District Clerk
                      MAY 0 9 20H                              Harris County, Texas
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financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23
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                                                                 in TXSD Page 294 of 479                          onioo'f ?

THE STATE OF TEXAS                                       01710048                         D.A. LOG NUMBER:1748236
VS.                                                                                       CJ1S TRACKING NO..9166583942 A001           -
 BRODERICK KEON ANSLEY                          SPN:                                      BY: KL/HR DA NO 002126743
                                                DOB:                                      AGENCY:HPD
                                                DATE PREPARED: 5/6/2011                   O/R NO: 57417811
                                                                                          ARREST DATE: 5/6/11

NCIC CODE: 4802 21                             RELATED CASES:
                                                                                                                  at
                                                                                                                  &
FELONY CHARGE: TAMPERING/FABRICATING PHYSICAL EVIDENCE
CAUSE NO:                                                                                   BAIL: $NO BOND
                                                                                                              N#
HARRIS COUNTY DISTRICT COURT NO:         1305352                                            PRIOR CAUSE NO:
FIRST SETTING DATE:                      228

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                         IF
Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, BRODERICK KEON ANSLEY, hereafter styled the
Defendant, heretofore on or about MAY 6, 2011, did then and there unlawfully knowing that an offense has been committed, to-wit:
POSSESSION OF MARIHUANA, DESTROY AND CONCEAL A THING, NAMELY, MARIHUANA with intent to impair its
AVAILABILITY as evidence in any subsequent investigation of and official proceeding related to the aforesaid offense.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

           Sworn to and subscribed before me on May 6, 2011



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AFFIANT
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                                                                          ASSISTANT DISTRICT ATTORNEY                         BAR NO.
                                                                          OF HARRIS COUNTY, TEXAS.

                                                                                                  RECORDER'S MEMORANDUM
                                                               COMPLAINT                          This instrument is of poor quality
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     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 295 of 479
      CAUSE NO

     THE STATE OF TEXAS
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                                                CHARGE




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      Defendant                 ^^             fig   Do \
      TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                    ( name), the DEFENDANT in the above styled and
      numbered cause respectfully petitions the Court to appoint odunsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire an attorney.


                                                                   Defendant




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                                                                    ( name), a WITNESS in the above styled and
     numbered cause respectfully petitiohstije CcjurticTappoint counsel to represent him / her in the interests of




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     justice and would show the Court thatj
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              Chris Daniel
              District Clark
                                                                   Deputy District Clerk
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              SEP - » 2011                                         Harris County, Texas
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Time:
                                .          TJKDER APPOINTING COUNSEL


                                                                                 -
               Harris County Texas
By                         Deputy

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                On this, the                     *                                   if      the Court determined that the
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     above named defendant / witness has executed an affidavit stating that he / she is without .counsel and is
     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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               The Court further           RDEgS the cause set for :
     on the     2^5 day of             :                       j   20   ff at 9:00 a.m. at 1201 Franklin, Houston, Harris
     County, Texas.
               Signed this                 dav of    SFP   - 9 2QH
                                                                               ^QSHJLSJOU
                                                                   Judge Presiding




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                                                     DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 296 of 479




THE STATE OF TEXAS                                        02433976                         D.A. LOG NUMBER1748689
VS.                                                                                        CHS TRACKING NO.:9166588987-A001
ADOLFO MARTINEZ                                 SPN:                                       BY: EMG DA NO: 050795243
                                                DOB:|                                      AGENCY.HPD
                                                DATE PREPARED: 5/7/2011                    O/RNO: 58028811F
                                                                                           ARREST DATE: 5-7 2011 -
NCIC CODE: 2200 96                             RELATED CASES:
FELONY CHARGE: BURGLARY WITH INTENT TO COMMIT THEFT
CAUSE NO:                                                                                    BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO:
                                         1305537
                                                                                             PRIOR CAUSE NO:
FIRST SETTING DATE:                      177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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                                                                                             —
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ADOLFO MARTINEZ, hereafter styled the Defendant, heretofore on or about MAY 7, 2011, did then and there unlawfully, with intent to
commit theft, enter a building not then open to the public, owned by BILL MCLEMORE, a person having a greater right to possession of the
building than the Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent
of any kind.




                                                                                   Foreman                             180th
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                                INDICTMENT                                                0002688
  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 297 of 479
                                                s s                                                                      it
      CAUSE NO.        \
      THE STATE OF TEXAS
                                                                       CHARGE

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                                                                                          DISTRICT COURT
                                                                       OF HARRIS COUNTY, TEXAS
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   Defendant

   TO THE HONORABLE JUDGE OF SAID COURT: (check one )



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                                                                  ( name), the DEFENDANT in the above styled and
         red cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
   show the Court that he / she is financially unable to hire      rn


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                                                             Defendant




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   numbered cause respectfully petitions the Cojprfo appoint counsel to represent him / her in the interests of
   justice and would show the Court that he / ne is financially unable to hire an attorney .
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                           Chris Oaiud
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                                                             Deputy District Clerk

CM)                                                          Harris County , Texas
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                                                   APPOINTING COUNSEL
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   above named defendant / witness has executed an afTidavit stating that he / she is without counsel and is
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   financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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               e Court forth
  on           U    day of                                          at                      201 Franklin, Houston, Harris
  County, Texas.
            Signed this             day of                               J   21


                                                             Judge-Presiding




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        i .    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 298-
                                                                                  of 479
                                                                                                                       S       J
THE STATE OF TEXAS                                          02459733                         D.A. LOG NUMBER;1749583
VS.                                                                                          CJIS TRACKING NO.:9166598311-A001
JIMMY CALVIN PARKER                              SPN:                                        BY: RZ DA NO: 002268931
                                                 DOB:                                        AGENCY:HPD
                                                 DATE PREPARED: 5/11/2011                    O/RNO: 059716111E
                                                                                                                   - -
                                                                                             ARREST DATE: 05 10 2011
NCIC CODE: 1314 21                               RELATED CASES:
                                             -
FELONY CHARGE: Aggravated Assault Family Member
CAUSE NO:                                                                                      BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                1305885                                        PRIOR CAUSENO:
FIRST SETTING DATE:                             228

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, JIMMY CALVIN PARKER, hereafter styled the Defendant, heretofore on or about
MAY 10, 2011, did then and there unlawfully, intentionally and knowingly cause bodily iryury to JESSICA MCCARTY, a member of the
Defendant's family, hereafter styled the Complainant, by using a deadly weapon, namely, BASEBALL BAT.


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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                       ASSISTANT DISTRICT ATTORNEY
                                       OF HARRIS COUNTY, TEXAS
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 299 of 479
 CAUSE NO

 THE STATE OF TEXAS
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 Defendant
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                    .1                                                       CHARGE

                                                                                  [2h DISTRICT COURT
                                                                             OF HARRIS COUNTY, TEXAS

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 TO THE HONORABLE JUDGE OF SAID COURT: (check one)



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                                                                        l DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
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                                                                 ( name), a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                        Chris Daniel
                        District Clerk
                        MAY 23 20 «
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                                                                  Deputy District Clerk
                                                                  Harris County, Texas*
        Time:
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                         ^county T fameii APPOINTING COUNSEL
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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             The Court further ORDERS the cause set for :
 on the      0<j        day of                                    20   lf
                                                                       /    at 9:1   a.m. at 12JH Franklin, Houston, Harris
                    .
 County, Texas
             Signed this                    day of          mi'i '     M //
                                                                  Judge Presiding            L7




                                                                                                                     0002691
                                                            DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 300 of 479



THE STATE OF           S                                                                 D A. LOG NUMBER.1752279
VS.                                                                                      CJIS TRACKING N0.:9166628210-A001
 PATRICK BERNARD JACKSON                       SPN: 02560080                             BY: CM DA NO: 001922011
                                               DOB:                                       AGENCY:HPD
                                               DATE PREPARED: 7/5/2011                    O/RNO: 60423711
                                                                                          ARREST DATE: 0518 11
NCIC CODE: 1204 04                             RELATED CASES:
FELONY CHARGE: Aggravated Robbery - Deadly Weapon
CAUSE NO: 1306894                                                                          BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO: 183                                                       PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                                                 </.


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PATRICK BERNARD JACKSON, hereafter styled the Defendant, heretofore on or about MAY 18, 2011, did then and there unlawfully, while
in the course of committing theft of property owned by JUAN HERNANDEZ, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY threaten and place JUAN HERNANDEZ in fear of imminent bodily injury and death, and the
Defendant did then and there use and exhibit a deadly weapon, namely, A KNIFE. ? x ^




AGAINST THE PEACE AND DIGNITY OF THE STATE.




                                                              INDICTMENT
                                                                                    Forema*


                                                                         FOREMAN OF THE GRAND JURY                   — 182nd
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 301 of 479
                CAUSE NO.                                 CHARGE                                   pu, fear
                  THE STATE OF TEXAS                                                3S7           DISTRICT COURT

                  VS.                                                               OF HARRIS COUNTY, TEXAS


                  Defendant
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                  TO THE HONORABLE JUDGE OF SAID COURT: (check one )                                                       ^
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                  show the Court that he / she is financially unable tn hjrr
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                                                                          Defendant




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                  numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                  justice and would show the Court that he / she is financially unable to hire an attorney.




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           ggtna                                                          Deputy District Clerk
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              *                                                           Harris County , Texas
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Tima:                                           ORDER APPOINTING COUNSEL
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                           On this, the           day of                                          the Court determined that the
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                  above named defendant / witness has executed ad affidavit stating that he / she is without counsel and is
               financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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                  represent the defendant / witness named above in this cause.
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                                                 yO




               Attorney
                                             op




               Address
                                           C




               City                          State              Zip                 E-Mail Address
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               Bar Card/SPN Number                                                            R.P. SKIP CORNELIUS
                                 off




                                                                                                  SBN 04831500
                                                                                                2028 Buffalo Terrace
                              Un




               Phone Number                                                                    Houston, Texas 77019
                                                                                                Phone 7132378547
                                                                                                 Fax 713 528 0153
               Fax Number
                          The Court further ORDERS the cause set for :
               on the             day of
               County, Texas.
                          Signed this            day of
                                                                 HAY 2 4 2011         , 20.


                                                                         Judge Pres/ding




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                                                                DISTRICT CLERK
                Case 4:17-cv-03621 Document
                                          V 89-8 Filed on 01/05/23 in TXSD Page 302 of 479




THE STATE OF TEXAS                                          02560188                     D A. LOG NUMBER:1752604
VS.                                                                                      CJIS TRACKING NO.:9166631815 A 001   -
 KEN                         LTERS              SPN:                                     BY : CS DA NO: 002197877
                                                DOB:                                     AGENCY:HPD
                                                DATE PREPARED: 5/20/2011                 O/RNO: 064494711
                                                                                         ARREST DATE: 05/20/2011
NCIC CODE: 1314 21                              RELATED CASES:
                                            -
FELONY CHARGE: Aggravated Assault Family Member
CAUSE NO:                                                                                  BAIL: SNO BOND
HARRIS COUNTY DISTRICT COURT NO:                                   1307028                 PRIOR CAUSE NO:
FIRST SETTING DATE:                                                351                           «, Cr
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
KENNETH ROBERT WELTERS, hereafter styled the Defendant, heretofore on or about MAY 20, 2011, did then and there unlawiully,
intentionally and knowingly threaten PATRICIA BUNDRANT, a person with whom the Defendant had a dating relationship, hereafter styled the
Complainant, with imminent bodily injury by using and exhibiting a deadly weapon, namely, A KNIFE.
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                           0002694
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 303 of 479
 CAUSE NO.                                CHARGE                              &&                      Cfd
 THE STATE OF TEXAS                                                               DISTRICT COURT
                                                                  OF HARRIS COUNTY, TEXAS



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 TOTHE HONORABLE JUDGE OF SAID COURT: (check one )


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 numbered cause respectfully petitions the Court
                                                                   ( name), the DEFENDANT in the above styled and
                                                   to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire aij attorney. t
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                                                        Defendant                    ^




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                                                                 (name), a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
 justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                       Deputy District Clerk                                           -A
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                               ORDER APPOINTING COUNSEL
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          On this, the           day of     MAX 2 3 2011             ., 20.       the Court determined that the
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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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represent the defendant / witness named above in this cause.
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Attorney
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Address
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City                        State             Zip                 E-Mail Address
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Bar Card/SPN Number
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                                                                           R.P. SKIP CORNELIUS
                                                                               SBN 04831500
             Un




Phone Number                                                                   2028 Buffalo Terrace
                                                                              Houston, Texas 77019
                                                                               Phone 713237 8547
                                                                                Fax 713 528 0153
Fax Number
         T'he Court further ORDERS the cause set for :
on the£7*& day of                u i                   20   C Cat 9:00 a.m. at 1201 Franklin, Houston, Harris
County, Texas.
         Signed this           day of              MAY 2 3 2011

                                                       Judge Presidi




                                                                                                          0002695
                                               DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 304 of 479



THE STATE OF TEXAS                                                                       D.A . LOG NUMBER:1751969
VS .                                                                                     CJIS TRACKING NO. : 9166633176 A001
CALVIN LAVERGNE                                SPN : 2560307                             BY : AB DA NO: 22681 SO AGENCY:HARRIS
                                               DOB:  P
                                               DATE PREPARED: 5/23/2011
                                                                                         COUNTY D. A.
                                                                                         O/ RNO: 012187611 Z
                                                                                         ARREST DATE:
NCIC CODE: 120404                             RELATED CASES:
FELONY CHARGE: AGG ROBBERY - DEADLY WPN
CAUSE NO: 1307048                                                                         BAIL: $0
HARRIS COUNTY DISTRICT COURT NO: 351                                                      PRIOR CAUSE NO:
FIRST SETTING DATE: 5/23/2011                                                                           '
                                                                                                            V         V


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County , Texas, that in Harris County, Texas,
CALVIN LAVERGNE, hereafter styled the Defendant, heretofore on or about January 28, 2011 , did then and there unlawfiilly, while in the
course of committing theft of property owned by MARCHELL STEWART, and with intent to obtain and maintain control of the property ,
intentionally and knowingly threaten and place MARCHELL STEWART in fear of imminent bodily injury and death , and the Defendant did then
and there use and exhibit and deadly weapon, namely, a FIREARM .

Before the commission of the offense alleged above, on December 3, 2008 , in Cause Number 2008-07861 J in the 314th District Court of
Harris County, Texas, the Defendant was convicted of the felony offense of Aggravated Robbery .




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT

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                                     lift 71 5Z                                    ) of 479
                 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 305
                  CAUSE NO.                                 CHARGE                                                    / fe
                   THE STATE OF TEXAS                                                                     DISTRICT COURT
                                                                                       OF HARRIS COUNTY, TEXAS


                   Defendant                                                                                          b
                   TO THE HONORABLE JUDGE OF SAID COURT: (check one)



                                         eM                                     (name), the DEFENDANT in the above styled and
                ‘ numbered cause respectfully petitions the Court to appoint coun eTto represent him / her in this cause and would
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                   show the Court that he / she is financially unable to hire an atjdrpfey.


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                                                                                   ( name), a WITNESS in the above styled and
                   numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                   justice and would show the Court that he / she is financially unable to hire an attorney.




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             District Clerk
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             MAY 2 4 2011
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    Time:                                         ORDER APPOINTING COUNSEL
              Hgnte County, Texas


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    By
                    Deputy
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                   above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                   financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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                   represent the defendant / witness named above in this cause.
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                   Attorney
                                                op




                   Address
                                               lC




                   City                         State             Zip                 E-Mail Address
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                   Bar Card/SPN Number                                                            R.P. SKIP CORNELIUS
                                     off




                                                                                                      SBN 04831500
                                                                                                    2028 Buffalo Terrace
                                    Un




                   Phone Number                                                                    Houston, Texas 77019
                                                                                                    Phone 713 237 8547
                                                                                                     Fax 713 528 0153
                   Fax Number
                               The Court further.ORDERS the cause set for :
                                               VJTZUAJ                           I(
                   on the
                   County, Texas.
                                      day of


                               Signed this         day of
                                                         ^                , 20


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                                                                                      at 9:00 a.nr at


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                                                                                                   a 1201 Franklin, Houston, Harris

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                                                                           Judge Presiding        —
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                                                                  DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 306 of 479
                                                             *




THE STATE OF TEXAS                                        01017739                        D.A. LOG NUMBER:1752809
VS.                                                                                       CJIS TRACKING N0..9166634083 A001     -
 TORRANCE KEITH COLEMAN                        SPN:                                       BY: PW DA NO: 050795683
                                               DOB:                                       AGENCY:UPD
                                               DATE PREPARED: 5/21/2011                   O/RNO: 064841211J
                                                                                          ARREST DATE: 05/20/11

NCIC CODE: 5599 05                            RELATED CASES:
                                                                                                              A-
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:
                                                                                                        n
                                                                                           BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:           1307152                                         PRIOR CAUSE NO:
FIRST SETTING DATE:                        351

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                              &S-
The duly organized Grand lury of Hams County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TORRANCE KEITH COLEMAN , hereafter styled the Defendant, heretofore on or about MAY 20, 2011, did then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, PHENCYCLIDINE, weighing more than 1 gram and less than 4 grams by
aggregate weight, including any adulterants and dilutants.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on APRIL 24, 1989, in Cause Number 528711, in the
209TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of POSSESSION OF A CONTROLLED
SUBSTANCE.

Before die commission of the primary offense, and after the conviction in Cause Number 528711 was final, the Defendant committed the felony
of POSSESSION OF A CONTROLLED SUBSTANCE and was finally convicted of that offense on FEBRUARY 6, 1997, in Cause Number
9416873, in the 177TH DISTRICT COURT of HARRIS County, Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND IURY

                                                              INDICTMENT
                                                                                                                          0002698
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 307 of 479
         CAUSE NO.                                CHARGE                                A< c-r ( f &
             THE STATE OF TEXAS                                                             DISTRICT COURT
             VS.                                                              OF HARRIS COUNTY, TEXAS


             Defendant

             TO THE HONORABLE JUDGE OF SAID COURT: (check one)


             urfu        <   ( j/itoft                                         ( name), the DEFENDANT in the above styled and
         '   numbered cause respectfully petitions the Court to appoint counsel to  t represent him Ik9c imthis cause and would
             show the Court that he / she is financially unable to hire an fltyyrey.


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             numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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             justice and would show the Court that he / she is financially unable to hire an attorney.




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              mnim                                                  Deputy District Clerk                                         -3
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                                                                    Harris County, Texas
Time:               i   co***.   '
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By                                              ORDER APPOINTING COUNSEL
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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         represent the defendant / witness named above in this cause.
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         Attorney
                                                  yO
                                               op




         Address
                                             lC




         City                                 State          Zip              E-Mail Address
                                       icia




         Bar Card/SPN Number                                                           R.P. SKIP CORNELIUS
                                     off




                                                                                           SBN 04831500
                                                                                         2028 Buffalo Terrace
                             Un




         Phone Number                                                                    Houston, Texas 77019
                                                                                          Phone 713 237 8547
                                                                                            Fax 713 528 0153
         Fax Number


         on the
                        The Court further ORDERS the cause set for :
                                     day   ofdl/iLl
                                                                              AW
                                                                    20_G_ at 9:00 a.n« at 1201 Franklin, Houston, Harris
         County, Texas.
                        Signed this              day of     HAY 23 OT1

                                                                    Judge Presiding                                   ’




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                                                             DISTRICT CLERK
                 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 308 of 479
                 0+




THE STATE OF TEXAS                                                                                D A. LOG NUMBER:1752987
VS.                                                                                                                              -
                                                                                                  CJIS TRACKING NO.:9166636043 A 001
 MANUEL L. LUNA                                  SPN : 00949642                                   BY: CM DA NO: 059278650
                                                 DOB:                                             AGENCY:HPD
                                                 DATE PREPARED: 5/25/2011                         O/ RNO: 06506861 IV
                                                                                                  ARREST DATE: 05 21 11
NCIC CODE: 1314 08

CAUSE NO: 1307176
                                                RELATED CASES:
                                                     -
FELONY CHARGE: Assault of Family Member Impeding Breathing                                                        r
                                                                                                      BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO: 351                                                                  PRIOR CAUSE NO:
FIRST SETTING DATE:                                                                                           0*
                                                                                                           *

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
             .
MANUEL L LUNA, hereafter styled the Defendant, heretofore on or about MAY 21, 2011, did then and there unlawfully, intentionally and
knowingly cause bodily injury to CYNTHIA MEDINA, hereafter styled the Complainant, a MEMBER OF THE DEFENDANT'S
HOUSEHOLD, by impeding the normal breathing and circulation of the blood of the Complainant by APPLYING PRESSURE TO THE
COMPLAINANTS THROAT AND BY APPLYING PRESSURE TO THE COMPLAINANTS NECK.

Before the commission of the offense alleged above, on JULY 18, 1988, in Cause No. 0502710, in the 184TH District Court of HARRIS County,
Texas, the Defendant was convicted of the felony offense of ROBBERY.

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                                                                           'DISTRICT Clef*
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                                                                     By




AGAINST THE PEACE AND DIGNITY OF THE STATE                       .

                                                                               FOREMAN OF THE GRAND JURY

                                                                     INDICTMENT
                                                                                                                             0002700
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 309 of 479
        .- CAUSE NO.
          '
          '
                                                    CHARGE

              THE STATE OF TEXAS                                                                   DISTRICT COURT
                                                                                  OF HARRIS COUNTY. TEXAS
              Ufagjfr TftyUy?-
              Defendant

              TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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          ,
           ^          1                                                        ( name), the DEFENDANT in the above styled and
              numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
              show the Court that he / she is financially unable to hire an/dttorney.


                                                                     Defendant




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                                                                              ( name), a WITNESS in the above styled and
              numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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              justice and would show the Court that he / she is financially unable to hire an attorney.




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              ^                                                                        day of                           , 20
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                  Daniel
              District Clerk
              MAY 25 2011
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                                                                    Deputy District Clerk
                                                                    Harris County, Texas
Time:                       .
                                                                   lyn




                Harris County Texas

By                    Deputy
                                            ORDER APPOINTING COUNSEL
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                         On this, the          day   of                               , 20   C/.the Court determined that the
                                                           fM




          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                                                         eo




          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
          represent the defendant / witness named above in this cause.
                                                     ffic
                                               yO




          Attorney
                                          op




          Address
                                        C




          City                           State             Zip                   E-Mail Address
                                           l
                                      icia




          Bar Card/SPN Number                                                                R.P. SKIP CORNELIUS
                                  off




                                                                                                 SBN 04831500
                                                                                               2028 Buffalo Terrace
                                Un




                                                                                              Houston, Texas 77019
          Phone Number                                                                             Phone 713 237 8547
                                                                                                    Fax 713 528 0153

          Fax Number


          on the       day of
          County, Texas.
                        Signed this
                                            —
                 The Cpurt further ORDERS thecause set for :
                                       v vJlC  J
                                            day of
                                                       20 -
                                                          HAY 25 air :
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                                                                                 at 9:00 a.m. at 1201 Franklin, Houston, Harris


                                                                                    , 20       .


                                                                    Judge Presiding




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                                                           DISTRICT CLERK
                 Case
                 I    4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 310 of 479
      r

THE STATE OF T                                                                              D.A. LOG NUMBER:1753547
                                                                                            CJIS TRACKING N0.:9166642000 A001     -
                                                 SPN : 01579397                             BY: CM DA NO: 001638615
                                                 DOB:                                       AGENCY:HPD
                                                 DATE PREPARED: 6/20/2011                   O/RNO: 06596011 IS
                                                                                            ARREST DATE: 05 2311

NCIC CODE: 5311 15
FELONY CHARGE: DEADLY CONDUCT
CAUSE NO: 1307331
                                                RELATED CASES:


                                                                                              BAIL: $NO
                                                                                                             m
                                                                                                           BOND
                                                                                                                r
HARRIS COUNTY DISTRICT COURT NO: 351                                                          PRIOR CAUSE NO.
FIRST SETTING DATE:                                                                                    wv



IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
LAURA KIM TAYLOR, hereafter styled the Defendant, heretofore on or about MAY 23, 2011, did then and there unlawfully, knowingly
discharge a firearm at and in the direction of ALEX LANGLEY.




AGAINST THE PEACE AND DIGNITY OF THE STATE                    .                    Foreman
                                                                                                                      179th

                                                                           FOREMAN OF THE GRAWD JU

                                                                  INDICTMENT
                                                                                                                              0002702
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 311 of 479                                                                       -p
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     CAUSE NO.
                       Qonw                                                    CHARGE
                                                                                                                                                *
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     THE STATE OF TEXAS                                                   11/                     DISTRICT COURT
     VS.                                                                       OF HARRIS COUNTY , TEXAS


     Defendant                                      Y
     TO THE HONORABLE JUDGE OF SAID COURT: (check one )


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 Jnumbered      v\                                              ( name) , the DEFENDANT in the above styled and
 ’         cause respectfully peti /ons the Court to appoint counsel to represent him / her in this cause and wguld
     show the Court that he / she is financially unable to hire      ai        n<
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                                                                     ( name) , a WITNESS in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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     justice and would show the Court that he / she is financially unable to hire an attorney.




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               Sworn to and subscribed before me on this, the                            day of                                , 20         .

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                                                                   Deputy District Clerk
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                                                                   Harris County , Texas
                m 2 5 2011
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                                                    ER APPOINTING COUNSEL
                 Harris County .
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Time:
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By                       Deputy
               On this, the                    day of       HAY P 5 7 n||           .   , 20      , the Court determined that the
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     above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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     represent the defendant / witness named above in this cause.
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                                              yO




     Attorney
                                           op




     Address
                                        lC




     City                                  State          Zip                  E- Mail Address
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     Bar Card/SPN Number                                                                          R.p. SKIP CORNELIUS
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                                                                                                     SBN 04831500
                                                                                                    2028 Buffalo Terrace
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     Phone Number                                                                                  Houston, Texas 77019
                                                                                                    Phone 713 237 8547
                                                                                                     Fax 713 528 0153
     Fax Number
               The Court further
                              :rOO£DERS the cause set for :
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     on the
     County , Texas.
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                                                                HAY 2 5 1Off
                                                                            at 9:00 a.m. at 1201 Franklin, Houston, Harris


              Signed this



                                                                  Judge Presiding



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                                                                                                                       RECORDER' S MEMORANDUM
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                                                          DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 312 of 479



THE STATE OF TEXAS                                                                        D.A. LOG NUMBER:1753533
VS.                                                                                       CJIS TRACKING NO.:9166641837-A001
JULIUS MURRAY                                   SPN: 02560770                             BY: CM DA NO: 001638615
                                                                                          AGENCY.HPD
                                                DATE PREPARED: 6/10/2011                  O/RNO: 0659565111
                                                                                          ARREST DATE: 05 2311
NCIC CODE: 1399 03                             RELATED CASES:
FELONY CHARGE: Assault of Family Member Second Offender and Impeding Breathing
CAUSE NO: 1307363                                                         BAIL ; SNO BOND
HARRIS COUNTY DISTRICT COURT NO: 351                                     PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                           o   ©5'
                                                                                            o
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JULrUS MURRAY , hereafter styled the Defendant, heretofore on or about MAY 23, 2011 , did then and there unlawfully, intentionally and
knowingly cause bodily injury to KRISTIN HULL, hereafter styled the Complainant, A PERSON WITH WHOM THE DEFENDANT HAD A
DATING RELATIONSHIP, by impeding the normal breathing or circulation of the blood of the Complainant by APPLYING PRESSURE TO
THE COMPLAINANTS NECK.

It is further presented that, before the commission alleged above, the Defendant, on APRIL 25, 2011, in the COUNTY CRIMINAL COURT AT
LAW NO. 4 of TRAVIS County, Texas, in Cause Number 10-211354, was convicted of ASSAULT, which was committed against a MEMBER
OF THE DEFENDANTS FAMILY.


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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                          0002704
 CAUSE NO.           136-74 M
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 313 of 479
                      (                    CHARGE
                                                           >                                P£4              (fzy
    THE STATE OF TEXAS                                                 SS /                 DISTRICT COURT
                                                                       OF HARRIS COUNTY, TEXAS

V2M (£Q vdMlfos
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    Defendant

    TO THE HONORABLE JUDGE OF SAID COURT: (check one)



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      ^(        (                                                      ( nameVriie DEFENDANT in the above styled and
Numbered cause respectfully petitions the Court to appoint counsel *o p present him / her in this cause and would
    show the Court that he / she is financially unable to hire an attori
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                                                                    ( name), a WITNESS in the above styled and
    numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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    justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                             Deputy District Clerk
                                                             Harris County, Texas
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             F Chris E BORDER APPOINTING COUNSEL
               I LDaniel
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                District   Clerk
              „                                          MAY 2 5 2011
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    above named defendant / witness has *executed an affidavit stating that he / she is without counsel and is
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    r ieseul the deleUtitfMt / witness named above in this cause.
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    Attorney
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    Address
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    City                        State              Zip                 E-Mail Address
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    Bar Card/SPN Number                                                             R.p. SKIP CORNELIUS
                     off




                                                                                        SBN 04831500
                                                                                      2028 Buffalo Terrace
                    Un




    Phone Number                                                                     Houston, Texas 77019
                                                                                      Phone 713 237 8547
                                                                                        Fax 713 528 0153
    Fax Number
              The Court further ORDjSRS the cause set for :
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    on the           day of                                , loAf at 9:00 a .m. at 1201 Franfclin, Houston, Harris
    County, Texas.
                                                    MAY 2 5 2011
             Signed this            day of                                 ,20          .

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                                                            Judge Presiding




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                                                   DISTRICT CLERK
                 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 314 of 479



THE STATE OF TEXAS                                          02560801                         D.A. LOG NUMBER;1753664
VS.                                                                                          CJIS TRACKING N0.:9166643120 A001      -
TRAMELL A. WALLER                                SPN:                                        BY: EG DA NO: 062046510
                                                 DOB                                         AGENCY:HPD
                                                 DATE PREPARED: 5/23/2011                    O/RNO: 066111011T
                                                                                             ARREST DATE: 05-23 2011   -
NCIC CODE: 5599 10                              RELATED CASES: WALLACE FEL          -
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:                                                                                      BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:           1307404                                             PRIOR CAUSE NO:
FIRST SETTING DATE:                        351

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                                IP —
Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
                                                                            -
Court of Harris County, Texas, that in Harris County, Texas, TRAMELL A WALLER, hereafter styled the Defendant, heretofore on or about
                                                                                                                           -
MAY 23, 2011, did then and there unlawfully, intentionally and knowingly possess a controlled substance, namely, 3, 4 METHYLENEDIOXY
METHAMPHETAMINE, weighing more than 4 grams and less than 400 grams by aggregate weight, including any adulterants and dilutants.




AGAINST THE PEACE AND DIGNITY                           STATE.



                                        ASSISTANT DISTRICT ATTORNEY                                       BAR CARD NO.
                                        OF HARRIS COUNTY, TEXAS
                                                                                                            RECORDER'S MEMORANDUM
                                                                                                            This instrument is of poor quality
                                                                                                                  at the time of imaging
                                                                 INFORMATION
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 315 of 479
         CAUSE NO.                                 CHARG

            THE STATE OF TEXAS                                                                    DISTRICT COURT
                                                                             " OF HARRIS COUNTY, TEXAS




            TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                          ( name), the DEFENDANT in the above styled and
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            numbered cause respectfully petitions the Court to appoint counstff to represent him / her in this cause and would
            show the Court that he / she is financially unable to hire ai


                                                                       Defendant
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                                                                            ( name), a WITNESS in the above styled and
            numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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            justice and would show the Court that he / she is financially unable to hire an attorney.




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                      Sworn to and subscribed before me on this, the                   day of .                          J   20   .
        F Chris
          I LDaniel
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             District Clerk                                            Deputy District Clerk
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              JUN 1    ^ 2011                                          Harris County, Texas
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Time:                    .                  ORDER APPOINTING COUNSEL
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                      On this, the                                                     »J-   L    the Court determined that the
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            above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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            financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
                                          witness named above in this cause.
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        *            The Court further O               the cause set for :
                                                                            { j at 9:00 a.m. at 1201 Franklin, Houston, Harris
            on the
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            County, Ti
                                day of                             j   20


                     Signed                 day of .

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                                                            DISTRICT CLERK
                                          #   * ^Filed on 01/05/23 in TXSD Page 316 of 479
               Case 4:17-cv-03621 Document 89-8



THE STATE OF TEXAS                                        01713498                        D.A. LOG NUMBER:1751939
VS.                                                                                       CJIS TRACKING NO.:
JOHN JOE VALENCIA                               SPN:                                       BY: EV DA NO: 002268160
                                                DOB:                                       AGENCY:HCDAO
                                                DATE PREPARED: 5/26/2011                   O/RNO: 1281626
                                                                                           ARREST DATE: 05/18/2011

NCIC CODE: 5002 02                             RELATED CASES:
FELONY CHARGE: BAIL JUMPING AND FAILURE TO APPEAR
CAUSE NO:                                                                                   BAIL: SNOBOND
HARRIS COUNTY DISTRICT COURT NO:           1307784                                          PRIOR CAUSE NO:
FIRST SETTING DATE:                        351
                                                                                                   2*0
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                           5M
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JOHN JOE VALENCIA, hereafter styled the Defendant, heretofore on or about MAY 16, 2011, did then and there unlawfully, after having been
lawfully released from custody WITH bail, on die condition that he would subsequently appear in District Court Number 351ST of Harris County,
Texas, on the 16TH day of MAY, where he was charged in Cause No. 1281626 with the felony offense of POSSESSION OF A CONTROLLED
SUBSTANCE, intentionally and knowingly fail to appear in the aforesaid court on the aforesaid date in accordance with the terms of his release.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.
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                                                                          FOREMAN OF THE GRAND

                                                               INDICTMENT                                ^^    RDER,S MEMQRA
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           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 317 of 479
            CAUSE NO. \ g \ naaC
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             THE STATE OF TEXAS VM \\o
                                      .               CHARGE
                                                                                                     V* g
             VS.                                      ^                                             DISTRICTCOURTX
                                                                                      OF HARRIS COUNTY, TEXAS            ^ ^V^e^
                                                                                                                             QT


             Defendant
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             TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                    A        ( name), the DEFENDANT in the above styled and
             numberedcause respectfully petitions the CSurt to appoint coun l to represent him / her in this cause and would
             show the Court that he / she is financially unable to hire an a          ^
                                                                    I   Defendant
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                                                                           (name), a WITNESS in the above styled and
             numbered cause respectfully petitions the Court to appoint counsel to                    :r in the interests of




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             justice and would show the Court that he / she is                le to hire an attorney.



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         JAN 2 4 2012
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Time:

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                                            ORDER APPOINTING COUNSEL



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                        On this, the          day of      cr                              20 V
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             above named defendant A witness has executed an affidavit stating that he / she is without counsel and is
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             financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
             represent the defendant / witnesff’named above in this cause.
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             Attorney
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            Address
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            City                          State               Zip                 E-Mail Address
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            Bar Card/SPN Number                                                           R .P. SKIP CORNELIUS
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                                                                                               SBN 04831500
                                                                                             2028 Buffalo Terrace
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                                                                                           Houston, Texas 77019
            Phone Number                                                                     Phone 713 237 8547
                                                                                              Fax 713 528 0153

            Fax Number
                        The Court further ORDERS the cause set for :           \\rr. %-\ \
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            on the             day of                                   20.    at         0 a m ai t 1201 Franklin, Houston, Harris
            County, Texas.
                        Signed this          day of   ,




                                                                        Judge Presiding




                                                                                                                          0002709
                                                          DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 318 of 479



THE STATE OF TEXAS                                         02032068                         D.A. LOG NUMBER:1756151
VS.                                                                                         CJIS TRACKING NO.:9166669839-A001
 BRANDON JOSEPH BRIDGES                         SPN:                                        BY: RZ DA NO: 002126910
                                                DOB:                                        AGENCY:SPRING VALLEY PD
                                                DATE PREPARED: 6/1/2011                     O/RNO: 1108514
                                                                                            ARREST DATE: 05-31 2011  -
NCIC CODE: 2411 11                              RELATED CASES:
FELONY CHARGE: UNAUTHORIZED USE OF A VEHICLE
CAUSE NO:                                                                                     BAIL: $15,000
                                                                                                             #
HARRIS COUNTY DISTRICT COURT NO:          1308369                                             PRIOR CAUSE NO:
FIRST SETTING DATE:                       178

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
BRANDON JOSEPH BRIDGES, hereafter styled the Defendant, heretofore on or about MAY 31, 2011, did then and there unlawfully,
intentionally and knowingly operate a motor-propelled vehicle, namely, an automobile, owned by JOSE LARA, hereafter styled the Complainant,
without the effective consent of the Complainant.

Before the commission of the offense alleged above (hereinafter styled the primary offense), on APRIL 21, 2010, in Cause Number 1240671, in
the 337TH District Court of HARRIS County, Texas, the Defendant was convicted of the state jail felony offense of THEFT.

Before the commission of the primary offense, the Defendant committed the state jail felony offense of FORGERY and was convicted on
AUGUST 28, 2008, in Cause Number 0962509, in the 230TH District Court of HARRIS County, Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                            Foreman                              208th
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                                                                            FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                           0002710
    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 319 of 479
     CAUSE NO.                                CHARGE

     THE STATE OF TEXAS
     VS.                                                                 OF HARRIS COUNTY, TEXAS


     Defendant                 /

     TO THE HONORABLE JUDGE OF SAID COURT: (check one )


     UTtheDEFENDANT in the above styled and
     numbered cause respectfullfpetitions the Court to appoint counsel to Represent him / her in this cause and would
     show the Court that he / she is financially unable to     attorne’

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                                                                     ( name) , a WITNESS in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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     justice and would show the Court that he / she is financially unable to hire an attorney.



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    financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
    represent the defendant / witness ndmed above in this cause.
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    Attorney          ^
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    County, Texas.
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                                                                     -at 9:00 a.m. at 1201 Franklin, Houston, Harris
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             Signed this                                                                                      ^


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               Case 4:17-cv-03621 Document 89-8   J
                                                    ’ on 01/05/23 in TXSD Page 320 of 479


THE STATE OF TEXAS                                       02243259                       D.A. LOG NUMBER:1756920
VS.                                                                                     CJIS TRACKING NO.:
 COLTON LAVOIRE HARRIS                        SFN:                                      BY: EG DA NO: 002333948
                                              DOB:                                      AGENCY:HPD
                                               DATE PREPARED: 6/3/2011                  O/RNO: 069877211
                                                                                        ARREST DATE: TO BE

NCIC CODE: 2202 05                            RELATED CASES:
FELONY CHARGE: BURGLARY OF HABITATION                                                                       Ik
CAUSE NO:                                                                                 BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO:                               1308710                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                            339                                  '




                                                                                              iff
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                           #
The duly organized Grand lury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
COLTON LAVOIRE HARRIS, hereafter styled the Defendant, heretofore on or about MAY 30, 2011, did then and there unlawfully, with intent
to commit an assault, enter a habitation owned by TAMEKA NUNN, a person having a greater right to possession of the habitation than the
Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.


Before the commission of the offense alleged above, on JULY 9, 2008, in Cause Number 1168842 in the 351ST District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of POSSESSION OF A CONTROLLED SUBSTANCE.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                        FOREMAN OF THE GRAND JURY

                                                              INDICTMENT

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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 321 of 479
                 CAUSE NO.             / 30 X 7/ 0         CHARGE

                    THE STATE OF TEXAS                                                                             ISTRICT COURT
                    VS.                                                                           OF HARRIS COUNTY, TEXAS



                                   CocJd / j y- p/ zm
                    Defendant

                    TO THE HONORABLE JUDGE OF SAID COURT: (check one)




                  i                                                                  (name), the DEFENDANT in the above styled and
                        bered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
                    show the Court that he / she is financially unable to hire analtqrney.


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                                                                                    (name), a WITNESS in the above styled and
                    numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                    justice and would show the Court that he / she is financially unable to hire an attorney.




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      Chris Daniel
      District Clerk
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                                                                                        Deputy District Clerk
      SEP 1 2011
             "                                                                          Harris County, Texas
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me:    Harris County, ie* as                              ORDER APPOINTING COUNSEL
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              Deputy

                               On this, the       /        day of                                     .   nit / , the Court determined that the
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                   above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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                   financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                    defendant / witness named above in this cause.

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                                                                       SEP 1 2011
                                                                                        Judge Presfminj




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         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 322 of 479
          CAUSE NO.                                 CHARGE
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            THE STATE OF TEXAS                                                                    DISTRICT COURT
            VS.                                                                OF HARRIS COUNTY, TEXAS

            G   > \ O< VQ
            Defendant
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            TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                             (name), the DEFENDANT in the above styled and
            numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
            show the Court that he / she is financially unable to hire ai/attorney.


                                                                     Defendant




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                                                                            ( name) , a WITNESS in the above styled and
            numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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            justice and would show the Court that he / she is financially unable to hire an attorney.




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                   Chris Daniel
                   District Clerk
                                                                     Deputy District Clerk
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                                                                     Harris County , Texas
    Time:
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                    Harris County, Texas
    By
                                               ORDER APPOINTING COUNSEL
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                     On this, the    X
                                           *    day of                               , 2Q   \A . the Court determined that the
                                                          fM




          above named defendant / witness has executed an affidavit stating that he I she is without counsel and is
          financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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          represent the defendant / witness named above in this cause.
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          Attorney
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                                                                                                  2028 Buffalo Terrace
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         Phone Number                                                                          Houston, Texas 77019
                                                                                                Phone 713237 8547
                                                                                                 Fax 713 528 0153
         Fax Number
                     The Court further ORDERS the cause set for :
         on the                day of .                              20     at 9:00 a.m. at 1201 Franklin, Houston, Harris
         County, Texas.
                    Signed this                day of .         vj
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                                                                                                      RECORDER’S


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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 323 of 479




THE STATE OF TEXAS
                                                         00465546                               M
                                                                                         D.A. LOG NUMBER;1759179
vs .                                                                                     CJ1S TRACKING N0.:9166701171-AQ01
GLORIA TORRES                                  SPN:                                      BY: JN DA NO: 002198468
                                               DOB:                                      AGENCY:HPD
                                               DATE PREPARED: 6/11/2011                  O/RNO: 075557011VO
                                                                                         ARREST DATE: 06/11/11

NCIC CODE: 130119
FELONY CHARGE: Aggravated Assault
                                              RELATED CASES:
                                                                                                           J?
CAUSE NO:                                                       1309558                    BAIL: $20,000
HARRIS COUNTY DISTRICT COURT NO:                                338                        PRIOR CAUSE NO:
FIRST SETTING DATE:

                                                                                           m
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                          0
Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, GLORIA TORRES, hereafter styled the Defendant, heretofore
on or about JUNE 11, 2011, did then and there unlawfully intentionally and knowingly cause bodily injury to HERVE BUSTAMANTE by
using a deadly weapon, namely, A KNIFE.




                                                                                        F Chris
                                                                                          I LDaniel
                                                                                                ED
                                                                                            District Clerk




AGAINST THE PEACE AND DIGNITY OF THE STATE.

          Sworn to and subscribed before me on June 11, 2011



          JLL                                                            ASSISTANT DISTRICT ATTORNEY                  BAR NO.
                                                                         OF HARRIS COUNTY, TEXAS.


                                                              COMPLAINT                                                   0002715
 CAUSE NO.
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 324 of 479
                  '                  >     CHARGE
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 THE STATE OF TEXAS



 Defendant
                                                                             ^   DISTRICT COURT
                                                                  OF HARRIS COUNTY, TEXAS




 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                  ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an attorney.


                                                        Defendant




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                                                                ( name), a WITNESS in the above styled and
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            Sworn to and subscribed before me on this, the             day of                                 , 20   .
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                    S5585S&                             Deputy District Clerk
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                     M)G 04       ^                     Harris County, Texas
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            On this, the          day of                              , 20       . the Court determined that the
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above named defendant / witness has.executea an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
rejfrbsejlt tfte defendant /^witness named above in this cause.

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on the            day of                                                         11201 Franklin, Houston, Harris
County, Texas.
         Signed this



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                                              DISTRICT CLERK
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     *        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 325 of 479




THE STATE OF          .S                               01345382                         D.A. LOG NUMBER:1759536
VS.                                                                                     CHS TRACKING NO.:
DONOVAN CHARLES ANDERSON                      SPN:                                      BY: BAS DA NO: 002397161
                                              DOB:                                      AGENCY:HCSO
                                              DATE PREPARED: 6/12/2011                  O/RNO: 110074606
                                                                                        ARREST DATE: TO BE

NCIC CODE: 1314 14                            RELATED CASES:
                                                                                                         &
FELONY CHARGE: Assault - Family Violence - 2 nd Offender
CAUSE NO:                                            1309645
                                                                                                  #  3
                                                                                         BAIL: SNOBOND
HARRIS COUNTY DISTRICT COURT NO:                                                         PRIOR CAUSE NO:
                                                     228
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Hanis County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DONOVAN CHARLES ANDERSON, hereafter styled the Defendant, heretofore on or about JUNE 6, 2011, did then and there unlawfully,
intentionally and knowingly cause bodily injury to MELVINETTE GIPSON, hereafter styled the Complainant, a person with whom the Defendant
had a dating relationship, by striking the Complainant with his hand.

It is further presented that before the commission alleged above, the Defendant, on JANUARY 25, 2007, in the COUNTY CRIMINAL COURT
AT LAW NO. 7 of HARRIS County, Texas, in Cause No. 1382963, was convicted of ASSAULT which was committed against a member of the
Defendant's family.

Before the commission of the offense alleged above, on JANUARY 13, 2000, in Cause Number 0794117 in the 180th District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of FORGERY.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                    Asst Foreman                     179th


                                                                        FOREMAN OF THE GRAND JURY
                                                                                                   RECORDER’S MEMORANDUM
                                                             INDICTMENT                            This Instrument is of poor quality
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            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 326 of 479
             CAUSE NO. I
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               THE STATE OF TEXAS                 ^                                     OF HARRIS COUNTY, TEXAS




               TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                  i                                               ( name), the DEFENDANT in the above styled and
               numb          :ause           lly petitions the Court to appoint Counsel to represent him / her in this cause and would
               show               that hiI ihc is financially unable tphire am attornay>                           . /)


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               justice and would show theCgucUhet        -          is fins              ible to hire an attorney.



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           District Clerk
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           Hanis County, Texas
By
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              above named defendant / witness has executed an affidavit stating th
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              financially unable to hire an attorney The Court ORDERS that the'attorney luted below isafipointed to
                                       endant / witness named above in this cause       .      /             /              /
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              on the                  day of                                                              1201 Franklin, Houston, Harris
              County, Texas       .
                          Signed this




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                                                                 DISTRICT CLERK
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 327 of 479



THE STATE OF TEXAS                                             01689180                      D.A. LOG NUMBER.1752665
VS.                                                                                          CJIS TRACKING NO.:
JEREMY WAYNE WILLIAMS                           SPN:   _                                     BY: RZ DA NO: 001922011
                                                DOB:                                         AGENCY:HPD
                                                DATE PREPARED: 6/14/2011                     O/R NO: 635666111)
                                                                                             ARREST DATE: TO BE    :
NCIC CODE: 2901 23
FELONY CHARGE: CRIMINAL MISCHIEF
                                               RELATED CASES:
                                                                                                             .   vgr
CAUSE NO:                                                                                      BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO:                                      1309773                  PRIOR CAUSENO:
FIRST SETTING DATE:
                                                                      262

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                     s
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JEREMY WAYNE WILLIAMS, hereafter styled the Defendant, heretofore on or about MAY 18, 2011, did then and there unlawfully,
intentionally and knowingly DAMAGE tangible property, namely A MOTOR VEHICLE, owned by JACQUELINE DAVIS, a person having a
greater right to possession of the property than the defendant and hereafter styled the Complainant, without the effective consent of the
Complainant, namely, without any consent of any kind, and the value of the pecuniary loss so inflicted was over one thousand five hundred dollars
and under twenty thousand dollars, by STRIKING THE MOTOR VEHICLE WITH AN UNKNOWN OBJECT.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                            FOREMAN OF THE GRAND JURY

                                                                INDICTMENT                   RECORDER’S MEMORANDUM
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 328 of 479
         CAUSE NO. \

         THE STATE OF TEXAS
         VS.
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                                                                                                 DISTRICT COURT
                                                                                  OF HARRIS COUNTY, TEXAS
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         Defendant

         TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                         ( name), the DEFENDANT in the above styled and
         numbered cause respectfully petitions the Court to appoint cotmsel to represent him / her in this cause and would
         show the Court that he / she is financially unable to hire amdttorney.

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                                                                        Defendant




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                                                                         ( name), a WITNESS in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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         justice and would show the Court that he / she is financially unable to hire an attorney.




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        F Chris
          I LDaniel
                ED                                                      Deputy District Clerk
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            District Clerk                                              Harris County , Texas

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                                                    ORDER APPOINTING COUNSEL
Time:
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
         represent the defendant / witness named above in this cause.
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         Attorney
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         Address
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         Phone Number                                                                                           77019
                                                                                                 Phone 713 237 8547
                                                                                                 Fax 713 528 0153
         Fax Number
                     The Court further ORDERS the cause set for :
         on the                                                         20   \ V at 9:00 a.m. at 1201 Franklin, Houston, Harris
         County, Texas.
                     Signed this




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                                                                  DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 329 of 479



THE STATE OF TEXAS                                                                        D A. LOG NUMBER:1760104
                                                          01740174
VS.                                                                                       CJ1S TRACKING N0.:9166710561 A001   -
 JOHNATHAN MATTHEW ADAMS                       SPN:                                       BY: TD DA NO: 001542496
                                               DOB                                        AGENCY:UPD
                                               DATE PREPARED: 6/14/2011                   O/RNO: 077098911W
                                                                                          ARREST DATE: 06/14/2011

NCIC CODE: 5599 05                             RELATED CASES: SD:2F , COLLINS- 2F, SOULARIE-M
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:
                                                                                                           i;r
                                                                                           BAIL: SNOBOND
HARRIS COUNTY DISTRICT COURT NO:           1309846                                         PRIOR CAUSE NO:
FIRST SETTING DATE:                        338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Hams County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JOHNATHAN MATTHEW ADAMS, hereafter styled the Defendant, heretofore on or about JUNE 14, 2011 , dtd then and there unlawfully,
intentionally and knowingly possess a controlled substance, namely, OXYCODONE, weighing more than 1 gram and less than 4 grams by
aggregate weight, including any adulterants and dilutants.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on MARCH 19, 2001, in Cause Number 871207, in the
176TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of ROBBERY.

Before the commission of the primary offense, and after the conviction in Cause Number 871207 was final, the Defendant committed the felony of
POSSESSION OF A CONTROLLED SUBSTANCE and was finally convicted of that offense on SEPTEMBER 22, 2008, in Cause Number
1165205, in the 178TH DISTRICT COURT of HARRIS County, Texas,




                            F Chris
                              I LDaniel
                                    ED
                                Dlstrlpt Clerk
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                               JUL 18
                   Time

                   By _              Deputy




AGAINST THE PEACE AND DIGNITY OF THE STATE.                                                                                man
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                                                                          FOREMAN OF THE GRAND7UrT

                                                              INDICTMENT
                                                                                                                       0002721
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 330 of 479


CAUSE NO       ..   ISIOIU                                                        CHARGE

THE STATE OF TEXAS                                                                                           DISTRICT COURT




                                                                                              HARRIS COUNTY, TEXAS

                                                SAID COURT:

                                                lal             DEFENDANTOthe                       Q
                                                                              a WITNESS in the above styled
and numbered cause respectfully petitions the Court to appoint counsel to represent him/her in this cause and
would show the Court that he/ she is financially unable to hire an attorney.

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                                                                                  Deputy District Clerk




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                                                                                  Harris County, Texas




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                                                 ORDER APPOINTING COUNSEL
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            On this, the                  day of                                          D        the Court determined that the above
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named defendant / witness has executed an affidavit stating that he /she is without counsel and is financially
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unable to hire an attorney. The Court ORDERS that                       EH the ATTORNEY LISTED BELOW EHthe HARRIS
COUNTY PUBLIC DEFENDER'S OFFICE is appointed to represent the defendant/witness named above in this
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cause.
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Attorney / Assistant Public Defender Assigned by HCPD                             E-Mail Address
                                                                                                n   - p- SKIP CORNELIUS
                                                                    ari




                                                                                                      SBN 04831500
                                                                                  Phone Number      2028 Buffalo Terrace
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Address
                                                                                                   Houston, Texas 77019
                                                                                                    Phone 713 237 8547
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City                              State              Zip                          Fax Number         Fax / 13 528 0153
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On the                                                                                                          a.m at 1201 Franklin,

Houston, Harris County, Texas.
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Signed this                  day of
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                                                                                                      Judge Presiding
| |    The State has offered or            |     [ The State and Defense agree as foljows:
                    Un




 Defense Attorney ( Initials)                  Prosecutor (Initials)


                                                           FOR COURT STAFF ONLY
  Reset by: | | Court        | | Defense                      | | Operation of Law                   Prosecution
  Reason for Reset:
 | | D.A. to Contact Complainant / Witness                 | | Defense to Contact Witness                |    | Not Indicted
 |     | D. A. to Evaluate Case                            | | Disposition of Misc./ OOC Case                 | Other
       | D.A . to Reindict                                         File Unavilable                             Refer to

 | | D.A . to file MRP/MAJ                                     | MHMRA Evaluation                             | Restitution Info
                                                                        21 Day         Full
       | Defendant On Call                                     |   No Tape /Lab                               | To Hire Attorney
       | Defendant to Consider Offer                       | | No Offense Report

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                                                              DISTRICTCLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 331 of 479



THE STATE OF TEXAS                                          01597955                         DA. LOG NUMBER:1760678
VS.                                                                                          CJIS TRACKING NO.:9166716225 A001      -
DEBBIE RAE SHERMAN                               SPN:                                        BY: TD DA NO: 00239716S
                                                 DOB |                                       AGENCY:HPD
                                                 DATE PREPARED: 6/16/2011                         -
                                                                                             O/R NO: 078159611V
                                                                                             ARREST DATE: 06/16/2011
NCIC CODE: 5599 04                              RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:                                   1310116
                                                                                               BAIL: $5000
                                                                                                             5?»
                                                                                               PRIOR CAUSE NO:
                                                                                                                 m
FIRST SETTING DATE:                                                339

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, DEBBIE RAE SHERMAN, hereafter styled the Defendant, heretofore on or about
JUNE 16, 2011, did then and there unlawfully, intentionally and knowingly possess a controlled substance, namely, COCAINE, weighing less
than one gram by aggregate weight, including any adulterants and dilutants.




AGAINST THE PEACE AND DIGNITY OF THE STATE.


                                         C                                                              Z L/ oSg&/ f
                                        ASSISTANT DISTRICT ATTORNEY                                      BAR CARD NO.
                                        OF HARRIS COUNTY, TEXAS

                                                                                                             RECORDER'S MEMORANDUM
                                                                INFORMATION                                  This instrument is of poor quality
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           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 332 of 479
            CAUSE NO. \ g \ naaC
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             THE STATE OF TEXAS VM \\o
                                      .               CHARGE
                                                                                                     V* g
             VS.                                      ^                                             DISTRICTCOURTX
                                                                                      OF HARRIS COUNTY, TEXAS            ^ ^V^e^
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             Defendant
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             TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                    A        ( name), the DEFENDANT in the above styled and
             numberedcause respectfully petitions the CSurt to appoint coun l to represent him / her in this cause and would
             show the Court that he / she is financially unable to hire an a          ^
                                                                    I   Defendant
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                                                                           (name), a WITNESS in the above styled and
             numbered cause respectfully petitions the Court to appoint counsel to                    :r in the interests of




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Time:

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                                                                        Harris County, Texas
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                                            ORDER APPOINTING COUNSEL



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             above named defendant A witness has executed an affidavit stating that he / she is without counsel and is
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             financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
             represent the defendant / witnesff’named above in this cause.
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             Attorney
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                                                                                             2028 Buffalo Terrace
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                                                                                           Houston, Texas 77019
            Phone Number                                                                     Phone 713 237 8547
                                                                                              Fax 713 528 0153

            Fax Number
                        The Court further ORDERS the cause set for :           \\rr. %-\ \
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                                                                                      ^^
            on the             day of                                   20.    at         0 a m ai t 1201 Franklin, Houston, Harris
            County, Texas.
                        Signed this          day of   ,




                                                                        Judge Presiding




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                                                          DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 333 of 479



THE STATE OF TEXAS                                         02032068                        D.AXOG NUMBER:1760998
VS.                                                                                        CJ1S TRACKING NO.:
BRANDON JOSEPH BRIDGES                            SPN:                                     BY: EG DA NO: 001896241
                                                  DOB:|                                    AGENCY:HPD
                                                  DATE PREPARED: 6/17/2011                 O/RNO: 055647811L
                                                                                           ARREST DATE: TO BE
NCIC CODE: 1204 04
                                              -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
                                                  RELATED CASES:
                                                                                                             ir
CAUSE NO:                                                                                   BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:
                                                1310225
                                                178                                         PRIOR CAUSE NO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
BRANDON JOSEPH BRIDGES, hereafter styled the Defendant, heretofore on or about MAY 2 2011, did then and there unlawfully, while in
the course of committing theft of property owned by MARIE DANG, and with intent to obtain and^ maintain control of the property, intentionally
and knowingly threaten and place MARIE DANG in fear of imminent bodily injury and death, and the Defendant did then and there use and
exhibit a deadly weapon, namely, A KNIFE.

Before the commission of the offense alleged above, on AUGUST 28, 2008, in Cause Number 1167278 in the 230TH District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of ROBBERY BY THREATS.




                                                                                    Foreman                                   208th
AGAINST THE PEACE AND DIGNITY OF THE STATE                   .

                                                                          FOREMAN OF THE GRAND JURY
                                                                                                            RECORDER’S MEMORANDUM
                                                                 INDICTMENT                                 This instrument is of poor quality
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           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 334 of 479
            CAUSE NO. \ g \ naaC
                        l S lOH'Jg
             THE STATE OF TEXAS VM \\o
                                      .               CHARGE
                                                                                                     V* g
             VS.                                      ^                                             DISTRICTCOURTX
                                                                                      OF HARRIS COUNTY, TEXAS            ^ ^V^e^
                                                                                                                             QT


             Defendant
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             TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                    A        ( name), the DEFENDANT in the above styled and
             numberedcause respectfully petitions the CSurt to appoint coun l to represent him / her in this cause and would
             show the Court that he / she is financially unable to hire an a          ^
                                                                    I   Defendant
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                                                                           (name), a WITNESS in the above styled and
             numbered cause respectfully petitions the Court to appoint counsel to                    :r in the interests of




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             justice and would show the Court that he / she is                le to hire an attorney.



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Time:

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                                            ORDER APPOINTING COUNSEL



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                        On this, the          day of      cr                              20 V
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             above named defendant A witness has executed an affidavit stating that he / she is without counsel and is
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             financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
             represent the defendant / witnesff’named above in this cause.
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             Attorney
                                            op




            Address
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            Phone Number                                                                     Phone 713 237 8547
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                        The Court further ORDERS the cause set for :           \\rr. %-\ \
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            on the             day of                                   20.    at         0 a m ai t 1201 Franklin, Houston, Harris
            County, Texas.
                        Signed this          day of   ,




                                                                        Judge Presiding




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                                                          DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 335 of 479



THE STATE OF TEXAS                                                                      D A. LOG NUMBER:1760983
VS.                                                                                     CJIS TRACKING NO.: 9166725011A002
 BRANDON BRIDGES                   \          SPN:                                      BY: DA NO: 2156159 AGENCY:SHERIFF'S
                                              DOB                                        DEPARTMENT HARRIS COUNTY
                                              DATE PREPARED: 8/18/2011                   O/RNO: 1171661
                                                                                         ARREST DATE: 6/20/2011

NCIC CODE: 120404                             RELATED CASES:
FELONY CHARGE: AGG ROBBERY DEADLY WPN
CAUSE NO. 1310478
                                        -
                                                                                          BAIL: $0
HARRIS COUNTY DISTRICT COURT NO: 178                                                      PRIOR CAUSE NO:
FIRST SETTING DATE: 8/31/2011


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
BRANDON JOSEPH BRIDGES, hereafter styled the Defendant, heretofore on or about May 31, 2011, did then and there unlawfully, while in
the course of committing theft of property, INTENTIONALLY AND KNOWINGLY threaten and place MAR1SELA ABREGO, in fear of
imminent bodily injury and death, and the Defendant did then and there use and exhibit a deadly weapon, namely A FIREARM.

Before the commission of the offense alleged above, on AUGUST 28, 2008, in Cause Number 1167278 in the 230th District Court of HARRIS
County, Texas the Defendant was convicted of the felony offense of ROBBERY.




                                                                                Foreman                                     208th
AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                                               £
                                                                        FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
                                                                                                  RECORDER     'S   MEMORANDUM
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 CAUSE NO.
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 336 of 479
                                           CHARGE

 THE STATE OF TEXAS

 fog- LCjU                                                           OF HARRIS COUNTY, TEXAS


 Defendant
                                               ^
 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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 numbered cause respectfully petitions thQCourt to appoint counsel to represent him / her in this cause and would
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                                                           Defendant
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           District Clerk
           JUL 1 3 2011                                    Deputy District Clerk
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                                                           Harris County, Texas
           Harris County, Texas
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                  Deputy            TJKDER APPOINTING COUNSEL
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          On this, the     13.        day of                                , 20
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 above named defendant / witness has executed arf affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
 repj               fendant / witness named above in this cause.
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          Signed this                                           A
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 337 of 479



THE STATE OF TEXAS                                        01599693                              D.A. LOG NUMBER:1762398
VS.                                                                                             CJIS TRACKING NO.:
 KERRI LASHUN LIVINGS                            SPN :                                          BY: HR DA NO: 002197675
                                                 DOB:                                           AGENCY:HCSO
                                                 DATE PREPARED: 6/22/2011                       O/RNO: HC10125317
                                                                                                ARREST DATE: TOBE
NCIC CODE: 1204 04                               RELATED CASES: CODEF: HARRIS (F)
                                                                                                                     A
                                             -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO:                                                                                        BAIL: SNOBOND
HARRIS COUNTY DISTRICT COURT NO:                1310708                                          PRIOR CAUSE NO:
FIRST SETTING DATE:                             228
                                                                                                      *
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
KERRI LASHUN LIVINGS, hereafter styled die Defendant, heretofore on or about SEPTEMBER 8, 2010, did then and there unlawfully, while
in the course of committing theft of property owned by JOEL JASSO, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY threaten and place JOEL JASSO in fear of imminent bodily injury and death, and the Defendant did
then and there use and exhibit a deadly weapon, namely, A FIREARM.
                                                                               5»  '




Before the commission of the offense alleged above, (hereafter styled the primary offense), on NOVEMBER 25, 2003, in Cause Number 0957416,
in the 174TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of POSSESSION OF A
CONTROLLED SUBSTANCE.

Before the commission of the primary offense, and after the conviction in Cause Number 0957416 was final, the Defendant committed the felony
of POSSESSION OF A CONTROLLED SUBSTANCE WITH INTENT TO DELIVER and was finally convicted of that offense on
SEPTEMBER 28, 2006, in Cause Number 1014042, in the 339TH DISTRICT COURT of HARRIS County, Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                        Foreman                                         209th

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                                                                         FOREMAN OF THE GRAND JURY
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                                                              INDICTMENT
                                                                                                                                    0002729
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 338 of 479
         CAUSE NO.                                 CHARGE

            THE STATE OF TEXAS
             ys

            6kikm                             nh^                                  OF HARRIS COUNTY, TEXAS


            Defendant
                                    ^
            TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                          ( name), the DEFENDANT in the above styled and
            numbered cause respectfully petitions the Court to apgeinr ounsel to represent him / her in this cause and would
            show the Court that he / she is financially unable toiftre an  ^
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                                                                          ( name), a WITNESS in the above styled and
            numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of
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            justice and would show the Court that he / she is fmancij          to ter        jrney.




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                                            ORDER APPOINTING COUNSEL
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                                                                                          , 20      the Court determined that the
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            above named defendant / witness has executed
                                                             ^    affidavit stating that he / she is without counsel and is
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            financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
            rep                 idant /           named above in this cause.
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 339 of 479


THE STATE OF TEXAS                                                                          D.A. LOG NUMBER:1762474
VS.                                                        02448316                         CHS TRACKING NO.:9166734681 A001      -
 STEVEN ANTHONY SCANLON                         SPN:                                        BY: TD DA NO: 002333948
                                                DOB:                                        AGENCY:LAKEVIEW
                                                DATE PREPARED: 6/22/2011                    O/RNO: 20111098
                                                                                            ARREST DATE: 06/22/2011

NCIC CODE: 3562 18                              RELATED CASES:
FELONY CHARGE: POSSESSION OF MARIHUANA
CAUSE NO:                                                                                     BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                                              PRIOR CAUSE NO:
                                                                  1310753
FIRST SETTING DATE:
                                                                  177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                               sP
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
STEVEN ANTHONY SCANLON, hereafter styled the Defendant, heretofore on or about JUNE 22, 2011, did then and there unlawfully,
intentionally and knowingly possess marihuana in a useable quantity of more than four ounces and less than five pounds.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                    .                       Foreman                              22801

                                                                            FOREMAN OF THE GRAND JURY

                                                                  INDICTMENT                                 RECORDER'S MEMORANDUM
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                    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 340 of 479


       CAUSE NO.                                                                                    CHARGE

       THE STATE OF TEXAS                       UJ2-3.557                                      §


       VS.                                                                                      §               OF



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       ’
           SlToblfe;
       Defendant
                                                                                                §               HARRIS COUNTY, TEXAS

       TO THE HONORABLE JUDGE OF SAID COURT:
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                                                             ^ItheDEFENDANT [ | a WITNESS in the above styled
                                                                             (name),       [
       and numbered cause respectfully petitions the Court to appoint counsel represent him/her in this cause and     to
       would show the Court that he/ she is financially u/fable to hire an attorney.




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                                                                          Defendant/Witness




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                                                                ORDER APPOINTING COUNSEL
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       named defendant/witness has executed an affidavit stating that he/she is without counsel and is financially
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       unable to hire an attorney. The Court ORDERS that                               Othe ATTORNEY LISTED BELOW EUthe HARRIS
           COUNTY PUBLIC DEFENDER'S OFFICE is appointed to represent the defendant/witness named above in this
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           cause.     ..
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           Attorney/ Assistajht Public Defender Assigned by HCPD                                    E-Mail Address
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           Address                                                                                  Phone Number


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           The Court further ORDERS the cause set for:                                         (M l
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           Hou               Harris County, Tex

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           Signed this                         day of
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                                                                                                                            Judge Presiding
                                                                |The State and Defense agre/ as folli
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           | |      The State has offered or               |


            Defense Attorney (Initials)i
                                       -                       Prosecutor (Initials)


                                                                          FOR COURT STAFF ONLY
            Reset by:     Court                         | | Defense          | | Operation of Law                 |        Prosecution
            Reason for Reset:
                 ..
           | | D A to Contact Complainant/Witness
                ,                                                          | | Defense to Contact Witness                       | | Not Indicted
            | | D.A. to Evaluate Case                                      | | Disposition of Misc./OOC Case                    | | Other
   '
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                     D A to Reindict                                       | | File Unavilable                                  | | Refer to
            | | D.A. to file MRP /MAJ                                      | | MHMRA Evaluation                                 | | Restitution Info
                                                                                       21 Day            Full
            | | Defendant On Call                                          | |    No Tape /Lab                                  | | To Hire Attorney
            I       | Defendant to Consider Offer                          | | No Offense Report

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                                                                              DISTRICTCLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 341 of 479

                                                                         V


THE STATE OF TEXAS                                                                       D A. LOG NUMBER !762786
VS.                                                                                      CJIS TRACKING NO.:
EDWIN BROOKS                                   SPN: 02064213                             BY: AA DA NO: 050788045 AGENCY:HCSO
                                               DOB:|                                     O/RNO: HC1135637
                                               DATE PREPARED: 6/28/2011                  ARREST DATE: TO BE
NCIC CODE: 2202 05                            RELATED CASES:
FELONY CHARGE: BURGLARY OF A HABITATION
CAUSE NO:                                                                                  BAIL
HARRIS COUNTY DISTRICT COURT NO:                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:                                             1311351

                                                                                                 W
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
EDWIN BROOKS, hereafter styled the Defendant, heretofore on or about MARCH 18, 20 U , did then and there unlawfully, with intent to
commit theft, enter a habitation owned by ASHLEY SUELL, a person having a greater right to possession of the habitation than the Defendant and
hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.

 Before the commission of the offense alleged above, (hereafter styled the primary offense), on SEPTEMBER 29, 2004, in Cause Number 986024,
in the 177TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of BURGLARY OF A HABITATION.

 Before the commission of the primary offense, and after the conviction in Cause Number 986024 was final, the Defendant committed the felony
of BURGLARY OF A HABITATION and was finally convicted of that offense on DECEMBER 19, 2007, in Cause Number 1124463, in the
228TH DISTRICT COURT of HARRIS County, Texas.
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                                                       QCT 18     2011




                                                                                  Foreman                             208th
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                     FOREMAN OF THE GRAND JURY
                                                                                  RECORDER ’S MEMORANDUM
                                                              INDICTMENT          This instrument is of poor quality
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 CAUSE NO.
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 342 of 479
                  '                  >     CHARGE
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 THE STATE OF TEXAS



 Defendant
                                                                             ^   DISTRICT COURT
                                                                  OF HARRIS COUNTY, TEXAS




 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                  ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an attorney.


                                                        Defendant




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                                                                ( name), a WITNESS in the above styled and
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            On this, the          day of                              , 20       . the Court determined that the
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above named defendant / witness has.executea an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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on the            day of                                                         11201 Franklin, Houston, Harris
County, Texas.
         Signed this



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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 343 of 479




THE STATE OF TEXAS                                       01345382                         D.A*. LOG NUMBER:1764575
VS.                                                                                       CJIS TRACKING NO.:9166757142-A001
 DONOVAN CHARLES ANDERSON                       SPN:                                      BY: RZ DA NO: 001901698
                                                DOB:                                      AGENCY:HPD
                                                DATE PREPARED: 6/29/2011                  O/RNO: 084254811
                                                                                                                - -
                                                                                          ARREST DATE: 06 15 2011
NCIC CODE: 2605 44                             RELATED CASES: SAME DEF F          -
FELONY CHARGE: CREDIT/DEBIT CARD ABUSE
CAUSE NO:                                                                                   BAIL: $5000
HARRIS COUNTY DISTRICT COURT NO:                                1311512
                                                                228                         PRIOR CAUSE NO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                            -   Jr
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DONOVAN CHARLES ANDERSON, hereafter styled the Defendant, heretofore on or about JUNE 15, 2011, did then and there unlawfully,
possess with the intent to use a DEBIT card without the effective consent of the cardholder, MELVINETTE GIPSON, a person other than the
Defendant




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT                          RECORDER'S MEMORANDUM
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                    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 344 of 479


       CAUSE NO.                                                                                    CHARGE

       THE STATE OF TEXAS                       UJ2-3.557                                      §


       VS.                                                                                      §               OF



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           SlToblfe;
       Defendant
                                                                                                §               HARRIS COUNTY, TEXAS

       TO THE HONORABLE JUDGE OF SAID COURT:
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                                                             ^ItheDEFENDANT [ | a WITNESS in the above styled
                                                                             (name),       [
       and numbered cause respectfully petitions the Court to appoint counsel represent him/her in this cause and     to
       would show the Court that he/ she is financially u/fable to hire an attorney.




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                                                                          Defendant/Witness




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       named defendant/witness has executed an affidavit stating that he/she is without counsel and is financially
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       unable to hire an attorney. The Court ORDERS that                               Othe ATTORNEY LISTED BELOW EUthe HARRIS
           COUNTY PUBLIC DEFENDER'S OFFICE is appointed to represent the defendant/witness named above in this
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           cause.     ..
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           Attorney/ Assistajht Public Defender Assigned by HCPD                                    E-Mail Address
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           Address                                                                                  Phone Number


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           The Court further ORDERS the cause set for:                                         (M l
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           On the
                              IS                day of                                                                                .m. at 1201 Franklin,
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           Hou               Harris County, Tex

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           Signed this                         day of
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                                                                                                                            Judge Presiding
                                                                |The State and Defense agre/ as folli
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           | |      The State has offered or               |


            Defense Attorney (Initials)i
                                       -                       Prosecutor (Initials)


                                                                          FOR COURT STAFF ONLY
            Reset by:     Court                         | | Defense          | | Operation of Law                 |        Prosecution
            Reason for Reset:
                 ..
           | | D A to Contact Complainant/Witness
                ,                                                          | | Defense to Contact Witness                       | | Not Indicted
            | | D.A. to Evaluate Case                                      | | Disposition of Misc./OOC Case                    | | Other
   '
                      ..
                     D A to Reindict                                       | | File Unavilable                                  | | Refer to
            | | D.A. to file MRP /MAJ                                      | | MHMRA Evaluation                                 | | Restitution Info
                                                                                       21 Day            Full
            | | Defendant On Call                                          | |    No Tape /Lab                                  | | To Hire Attorney
            I       | Defendant to Consider Offer                          | | No Offense Report

                                                                                                                                                       5 / 2 /12
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                                                                              DISTRICTCLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 345 of 479
                                                                                   ft




THE STATE OF TEXAS                                                                          D.A. LOG NUMBER:1764936
                                                            02064213                        CJ1S TRACKING NO.:
VS.
EDWIN JAMES BROOKS                              SPN:                                        BY: HR DA NO: 002333840
                                                DOB -K
                                                       ^^K*!1
                                                DATE PREPARED: 7/1/2011
                                                                                            AGENCY.HCSO
                                                                                            O/RNO: 1099399
                                                                                            ARREST DATE: TOBE

NCIC CODE: 2300 75                              RELATED CASES:
FELONY CHARGE: THEFT
CAUSE NO:                                                                                    BAIL:
HARRIS COUNTY DISTRICT COURT NO:                                       1311799               PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                    «8 ! X4
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                               #
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
EDWIN JAMES BROOKS, hereafter styled the Defendant, heretofore on or about JULY 19, 2010, did then and there unlawfully, appropriate,
by acquiring and otherwise exercising control over property, namely, ONE MOTOR VEHICLE owned by FELIX PERAZA, hereafter styled the
Complainant, of the value of over one thousand five hundred dollars and under twenty thousand dollars, with the intent to deprive the Complainant
of the property.




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                                                                                        Foreman                         208th
AGAINST THE PEACE AND DIGNITY OF THE STATE.
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                                                                                FOREMAN OF THE GRAND JURY
                                                                                           RECORDER’S MEMORANDUM
                                                                   INDICTMENT              This instrument is of poor quality
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  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 346 of 479
   CAUSE NO.        IMML                                                CHARGE

   THE STATE OF TEXAS                                                        /M         DISTRICT COURT
                                                                        OF HARRIS COUNTY, TEXAS




   TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                     ( name), the DEFENDANT m the above styled and
                                                              int counsel to represent him / her in this cause and would
                                                              >«j attorney                  .
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                                                                       ( name), a WITNESS in the above styled and
   numbered cause respectfully peunons the Coun to       appoint counsel    to      ci> nt hti
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                                                             Deputy District Clerk
          *                                                  Harris County, Texas
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     -9                           ORDER APPOINTING COUNSEL
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                                   day of S        fek                       , 20   Ik?),   the Court determined that the
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   above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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   financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
   represent the defendant / witness named above in thfc cause.
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   Attorney
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   Address
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   City                       State                Zip                   -
                                                                       E Mail Address
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                                                                        R .P. SKIP CORNELIUS
                  off




   Bar Card/SPN Number
                                                                             SBN 04831500
                                                                           2028 Buffalo Terrace
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   Phone Number
                                                                          Houston, Texas 77019
                                                                           Phone 713 237 8547
                                                                            Fax 713 528 0153

   Fax Number


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            The Court further ORDERS the cause set for :
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                                                                                      at 1201 Franklin, Houston, Harris
   County, Texas.
            Signed this




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               Case 4:17-cv-03621 Document 89-8 rFiled
                                                 *     on 01/05/23 in TXSD Page 347 of 479



THE STATE OF TEXAS                                        02045118                          D A. LOG NUMBER:1765303
VS.                                                                                         CJIS TRACKING N0.:9166764041 A001   -
                   '
 CARRINGTON TAYLOR                               SPN:                                       BY : EG DA NO: 050789901
                                                 DOB:                                       AGENCYHPD
                                                 DATE PREPARED: 7/1/2011                    O/RNO: 0855013110
                                                                                            ARREST DATE: 07-01-2011
NC1C CODE: 2200 96                               RELATED CASES: HENDERSON FEL         -
FELONY CHARGE: BURGLARY WITH INTENT TO COMMIT THEFT
CAUSE NO:                                                                                    BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO:         1311807                                             PRIOR CAUSE NO:
FIRST SETTING DATE:                      209

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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                                                                                                 ^
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
CARRINGTON TAYLOR, hereafter styled the Defendant, heretofore on or about JULY 1, 2011, did then and there unlawfully, with intent to
commit theft, enter a building not then open to the public, owned by FERMIN TREVINO, a person having a greater right to possession of the
building than the Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent
of any kind.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                              FOREMAN OF THE GRAND JURY

                                                                INDICTMENT                           RECORDER'S MEMORANDUM
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            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 348 of 479
             CAUSE NO.       \
             THE STATE OF TEXAS
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                                    ^                  CHARGE           o     ^oC>
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                                                                                               DISTRICT COURT
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             VS.                                                                OF HARRIS COUNTY, TEXAS
             *
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i            Defendant

             TO THE HONORABLE JUDGE OF SAID COURT: (check onb)
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                                                                              ( name), the DEFENDANT in the above styled and

             show the Court that he / she is financially unable to hire an attorney, f                      //    —
             numbered cause respectfully petitions the Court to appoint counsel to represent him / her i i flyIs cause and would
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                                                                      Defendant




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                                                                             ( name), a WITNESS in the above styled and
             numbered   cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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             justice and would show the Court that he / she is financially unable to hire an attorney.




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                         Sworn to and                                                 day of                               , 20.
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              I LDaniel
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              District Clerk                                          Deputy District Clerk
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              AUG 18 20«                                              Harris County, Texas
                                                                  lyn




    Time:
                 Harris County, Texas          ORDER APPOINTING COUNSEL
    By
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                       Deputy

                         On this, the            day of                               20   V\ . the Court determined that the
                                                          fM




             above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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             financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
             represent the defendant / witness named above in this cause.
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             Attorney
                                             op




             Address
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             City                            State         Zip                  E- Mail Address
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             Bar Card/SPN Number                                                      R .P. SKIP CORNELIUS
                                  off




                                                                                           SBN 04831500
                                                                                           2028 Buffalo Terrace
                             Un




             Phone Number                                                              Houston, Texas 77019
                                                                                        Phone 713 237 8547
                                                                                         Fax 713 528 0153

             Fax Number
                         The Court further ORDERS the cause set for :
             on the                day of     Q                   .,2  oW at 9:00 a.m. at 1201 Franklin, Houston, Harris
             County, Texas.
                         Signed this

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                                                                      Judge>Presidi




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               Case 4:17-cv-03621 Document 89-8 Filed
                                                    ® on 01/05/23 in TXSD Page 349 of 479
                                                      "V                 -


THE STATE OF TEXAS                                      02568555                       D.A. LOG NUMBER:1766798
VS.                                                                                    CJIS TRACKING NO.:
ZACKERY LEE HAYES                               SPN:                                   BY: HR DA NO: 001638714
                                                DOB:                                   AGENCY:PASADENA PD
                                                DATE PREPARED: 7/6/2011                O/RNO: 201114439
                                                                                       ARREST DATE: TOBE

NCIC CODE: 1204 04

CAUSE NO:
                                            -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
                                                RELATED CASES: CODEF: HARRIS 338TH


                                                                                         BAIL: $30000
                                                                                                         *
HARRIS COUNTY DISTRICT COURT NO:                1312234                                  PRIOR CAUSE NO:
FIRST SETTING DATE:                             338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Hams County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ZACKERY LEE HAYES, hereafter styled the Defendant, heretofore on or about JUNE 14, 2011, did then and there unlawfully, while in the
course of committing theft of property owned by HEATHER PIGOTT, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY threaten and place HEATHER PIGOTT in fear of imminent bodily injury and death, and the Defendant
did then and there use and exhibit a deadly weapon, namely, A FIREARM.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                        FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
                                                                                                                      0002741
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 350 of 479
                CAUSE NO.                                                                      CHARGE                 VL
                THE STATE OF TEXAS
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                                                                                                / v) '      DISTRICT COUR1

                                                                                               OF HARRIS COUNTY, TEXAS


                Defendant
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                TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                                respectfully petitions—the Court to appoint
                                                                               ( name), the
                                                                            counsel
                show the Court thafhe/ she is financially unable to hire an attorney.
                                                                                            DEFENDANT in the above styled and
                                                                                    to represejfrmm|her in this cause and would


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                                                                                     Defendant




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                                                                                ( name), a WITNESS in the above styled and
                numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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                justice and would show the Court that he / she is financially unable to hire an attorney.




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                financially unafileto hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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               represent ttf&ldefendantXwitness named above in this cause.
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               County , Texas.
                          Signed this

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                                                                                     Judge Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 351 of 479



THE STATE OF TEXAS                                                                           D.A. LOG NUMBER:1767860
VS.
                                                            02533147                         CJIS TRACKING N0.:9166790492-A001
ESMAI KYET                                        SPN:                                       BY: PW DA NO: 002397278
                                                  DOB:                                       AGENCY:HPD
                                                  DATE PREPARED: 7/10/2011                   O/RNO: 089500211P
                                                                                             ARREST DATE: 07/09/11
NCIC CODE: 1205 02                                                         -
                                                  RELATED CASES: CO DEF: R. PEE (FELONY)
FELONY CHARGE: ROBBERY
CAUSE NO:                                                                                      BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                   1312658                     PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                   185                                     t?




IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                                   4T
Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, ESMAI KYET, hereafter styled the Defendant, heretofore on or about JULY 9,
2011, did then and there unlawfully, while in the course of committing theft of property owned by EDWIN PEREZ-GOMEZ , hereafter styled the
Complainant, and with intent to obtain and maintain control of the property, intentionally and knowingly threaten and place the Complainant in
fear of imminent bodily injury and death, by STRIKING THE COMPLAINANT WITH AN UNKNOWN OBJECT.




 AGAINST THE PEACE AND DIGNBIY/OF



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                                        OF
                                                     f DISTRICT ATTORNEY
                                                      COUNTY, TEXAS
                                                                                                     nmucBAR CARD NO.

                                                                                                     RECORDER’S MEMORANDUM
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                                                                 INFORMATION                               at the time of imaging

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    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 352 of 479
     CAUSE NO.                                                                   CHARGE            Wifrl                                     &
     THE STATE OF TEXAS                                                         aai                DISTRICT CO
                                                                                 OF HARRIS COUNTY, TEXAS

                                   lA -g (DWJQHJQ
     Defendant

     TO THE HONORABLE JUDGE OF SAID COURT: (check one)



                                     - O ylC/ l / yfname the DEFENDANT in the above
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     numbered cause respectfully petitions the Court to appoint counsel to
     show the Court that he / she is financially unable to hire ag ttoutey.
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                                                                           him / her in this cause and would
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     justice and would show the Court that             re rs ririancian
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               Sworn to and s                                                           day of
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                                      Chris Daniel
                                      District Clerk
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                                                                    Deputy District Clerk
                                      JUL 1 8 2011                  Harris County, Texas
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                                             Deputy

               On this, the               day of                                      ., 20   /! . the Court determined that the
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    iTbove named defendant / witness has executetf an affidavit stating that he / she is without counsel and is
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     financially unable to hire an /attorney. The Court ORDERS that the attorney listed below is appointed to


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             I The\Court further ORDERS the cause set fora:
    on the 3          day of                                                                          Q1 Franklin, Houston, Harris
    County, Texas.
               Signed this



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                                                       DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 353 of 479



THE STATE OF TEXAS                                                                        D.A. LOG NUMBER;1767397
VS.                                                                                       CJIS TRACKING NO.;
TREMAYNE GIVENS                                 SPN: C1 U &IIG0                            BY; EG DA NO: 002156159
                                               DOB:                                        AGENCY:HPD
                                               DATE PREPARED: 7/13/2011                    O/R NO. 07637291IQ
                                                                                           ARREST DATE: TO BE

NCIC CODE: 3899 01                             RELATED CASES.
FELONY CHARGE: VIOLATION OF PROTECTIVE ORDER - FAMILY VIOLENCE                                                  &
CAUSE NO:                                                   BAIL: S20,000
HARRIS COUNTY DISTRICT COURT NO:                            PRIOR CAUSE NO:
FIRST SETTING DATE:                                                 ju                             °r
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
TREMAYNE GIVENS, hereafter styled the Defendant, heretofore on or about JUNE 12, 2011, did then and there unlawfully, with knowledge of
the issuance of a family violence protective order, a copy of which is attached as Exhibit A, violate said order by intentionally and knowingly
communicating with a protected individual, namely, JOY DAVIS, hereafter called the Complainant, in a threatening and harassing manner, by
CALLING THE COMPLAINANT ON THE TELEPHONE AND/OR BY TEXTING THE COMPLAINANT AND THREATENING TO
INFLICT BODILY INJURY UPON THE COMPLAINANT.
                                                                             «6
Before the commission of the offense alleged above, on JANUARY 14, 2011, in Cause No. 1730431, in the COUNTY CRIMINAL COURT AT
LAW NO. 11 of HARRIS County, Texas, the Defendant was convicted of the MISDEMEANOR OFFENSE OF VIOLATION OF A
PROTECTIVE ORDER.

Before the commission of the offense alleged above, on MARCH 16, 2011, in Cause No. 1740886, in the COUNTY CRIMINAL COURT AT
LAW NO. 11 of HARRIS County, Texas, the Defendant was convicted of the MISDEMEANOR OFFENSE OF VIOLATION OF A
PROTECTIVE ORDER.
                                                          M
Before the commission of the offense alleged above, on FEBRUARY 14, 2005, in Cause Number 1016470 in the 178TH District Court of
HARRIS County, Texas, the Defendant was convicted of the felony offense of POSSESSION OF A CONTROLLED SUBSTANCE.
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY
                                                                                                    RECORDER’S MEMORANDUM
                                                            ’   INDICTMENT                          This instrument is of poor quality
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 CAUSE NO.        I515aj55
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 354 of 479
                                                                                         CHARGE

 THE STATE OF TEXAS                                                                                         DISTRICT COURT

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   Of \ ftAoo SoJhM3
 Defendant
                                                                                         OF HARRIS COUNTY, TEXAS




 TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                  ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire ay attorney.       *    // *

                                                                               Defendant
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                            Chris
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                                                                               Deputy District Clerk
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                                 ^       RDERAPPOINTING COUNSEL
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          On this, the                 day of                                                 , 20
above named defendant / witness has executed ap affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
represenjt'the defendant // witness'fihmed                  above in this cause.
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                                                             DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 355 of 479



THE STATE OF TEXAS                                       01780669                        D.A. LOG NUMBER:1769447
VS.                                                                                      CJIS TRACKING N0.:9166806224 A001    -
ORLANDO SALINAS                                SPN:                                      BY: MB DA NO: 001901698
                                               DOB:                                      AGENCY: HPD
                                               DATE PREPARED: 7/16/2011                  O/RNO: 92101311
                                                                                         ARREST DATE: 7-15 2011 -
NCIC CODE: 3802 57                            RELATED CASES:
FELONY CHARGE: INJURY TO ELDERLY INDIVIDUAL
CAUSE NO:
                                                                                                          m
                                                                                           BAIL: SNOBOND
HARRIS COUNTY DISTRICT COURT NO:          1313253                                          PRIOR CAUSE NO:
FIRST SETTING DATE:                       228

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                         cr
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ORLANDO SALINAS, hereafter styled the Defendant, heretofore on or about JULY 15, 2011, did then and there unlawfully, intentionally and
                                                                                                                                  -
knowingly cause bodily injury to SALVADOR SALINAS SR, hereinafter styled the Complainant, an individual who was at least sixty five years
of age, by BITING THE COMPLAINANT WITH HIS TEETH.

  It is further presented that in Harris County, Texas, ORLANDO SALINAS, hereafter styled the Defendant, heretofore on or about JULY 15,
2011, did then and there unlawfully intentionally and knowingly cause bodily injury to SALVADOR SALINAS SR, hereinafter styled the
                                               -
Complainant, an individual who was at least sixty five years of age, by STRIKING THE COMPLAINANT WITH HIS HAND.




AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                                     OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                       0002747
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 356 of 479
 CAUSE NO.                                 CHARGE                                     9 ryr s                      -
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 THE STATE OF TEXAS                                               538                 DISTRICT COURT
 VS.                                                              OF HARRIS COUNTY, TEXAS
                -g \Cvc\ CX/              CLA
 Defendant
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 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                               ( name), the DEFENDANT in the a) jove styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this ause and would
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                                                        Defendant                           ' '




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                                                                 ( name), a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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 justice and would show the Court that he / she is financially unable to hire an attorney.




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                                             APPOINTING COUNSEL
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above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
represent the defendant / witness named above in this cause.
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           The Court further ORDERS the cause set for :              MGJTXHf
on the            day of                                        8t           a in" 3t        Franklin, Houston, Harris
County, Texas.
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 357 of 479


THESTA"                                                                                  D.A. LOG NUMBER:1768910
VS.                                                       01803560                       CJIS TRACKING N0.:9166801249-A001
 ALEJANDRO CASTILLO                            SPN:                                       BY: CS DA NO: 001542496
                                               DOB:                                       AGENCY:HPD
                                               DATE PREPARED: 7/14/2011                   O/RNO: 091325511
                                                                                          ARREST DATE: 07/14/2011

NC1C CODE: 5599 05                            RELATED CASES:
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:                                                                                  BAIL: $20,000
HARRIS COUNTY DISTRICT COURT NO:                                                           PRIOR CAUSE NO:
                                           1313015
FIRST SETTING DATE:
                                                                 338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ALEJANDRO CASTILLO, hereafter styled the Defendant, heretofore on or about JULY 14, 2011, did then and there unlawfully, intentionally
and knowingly possess a controlled substance, namely, PHENCYCLIDINE, weighing more than 1 gram and less than 4 grams by aggregate
weight, including any adulterants and dilutants.
                                                                                  em
Before the commission of the offense alleged above, on APRIL 30, 2010, in Cause Number 1250411 in the 208TII District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of DRIVING WHILE
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AGAINST THE PEACE AND DIGNITY OF THE STATE.
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                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT

                                                                                                                        0002749
         CAUSE NO.               0/3906
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 358 of 479
                                                   CHARGE

          THE STATE OF TEXAS                                                                  DISTRICT COURT
                                                                                OF HARRIS COUNTY, TEXAS


          Defendant

          TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                           ( name), the DEFENDANT in the above styled and
          numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
          show the Court that he / she is financially unable to hire an attorney.     A

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                                                                         ( name), a WITNESS in the above styled and
          numbered cause respectfully petitions the Court to appoint counsel to n                    te interests of




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          justice and would show the Court that he / she jj            triable to hire an attorney.



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                                                                    Harris County, Texas
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By            Deputy
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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         represent the defendant / witness named above in this cause.

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                                                                   , 20   //   at 9:00 a.m. at 1201 Franklin, Houston, Harris


                       Signed this             day of



                                                                    Judge PrdsMip

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                                                           DISTRICT CLERK
                 Case 4:17-cv-03621 Document 89-8
                                                s Filed on 01/05/23 in TXSD Page 359 of 479


THE STATE OF TEXAS                                                                        D.A. LOG NUMBER:1771119
VS.                                                                                       CJIS TRACKING NO.: 9166823498A001
PETE RAMOS                                      SPN: 2571113                              BY: DA NO: 2156159 AGENCY:HOUSTON
                                                DOB:|                                     POLICE DEPARTMENT
                                                DATE PREPARED: 8/10/2011                  O/R NO: 0829735111
                                                                                          ARREST DATE: 7/21/2011
NCIC CODE: 120404                              RELATED CASES:
FELONY CHARGE: AGG ROBBERY DEADLY WPN
CAUSE NO: 1313906
                                         -
                                                                                            BAIL: S30000
HARRIS COUNTY DISTRICT COURT NO: 230                                                        PRIOR CAUSE NO:
FIRST SETTING DATE: 9/6/2011


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PETE RAMOS, hereafter styled the Defendant, heretofore on or about June 26, 2011, did then and there unlawfully, while in the course of
committing theft of property owned by Gladis Melendez, and with intent to obtain and maintain control of the property, intentionally and
knowingly threaten and place Gladis Melendez in fear of imminent bodily injury and death, and the Defendant did then and there use and exhibit a
deadly weapon, namely, a knife.
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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OE HE GRAND JURY
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                                                               INDICTMENT
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            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 360 of 479
             CAUSE NO. I
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               THE STATE OF TEXAS                 ^                                     OF HARRIS COUNTY, TEXAS




               TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                  i                                               ( name), the DEFENDANT in the above styled and
               numb          :ause           lly petitions the Court to appoint Counsel to represent him / her in this cause and would
               show               that hiI ihc is financially unable tphire am attornay>                           . /)


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               numbered cause respectfully petitions                                     TS61 to represent him / her in the interests of




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               justice and would show theCgucUhet        -          is fins              ible to hire an attorney.



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                                                  ORDER APPOINTING COUNSEL
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              above named defendant / witness has executed an affidavit stating th
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              financially unable to hire an attorney The Court ORDERS that the'attorney luted below isafipointed to
                                       endant / witness named above in this cause       .      /             /              /
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              on the                  day of                                                              1201 Franklin, Houston, Harris
              County, Texas       .
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 361 of 479



THE STATE OF TEXAS
VS.                                                       01689180
                                                                                                .
                                                                                           DA LOG NUMBER.1771084
                                                                                           CJIS TRACKING NO.:
                                                                                                                     -
 JEREMY WAYNE WILLIAMS                          SPN:                                       BY: HR DA NO: 002156159
                                                DOB:|                                      AGENCYiHPD
                                                DATE PREPARED: 7/22/2011                   O/R NO: 92141811P
                                                                                           ARREST DATE: TOBE

NCIC CODE: 2202 05
FELONY CHARGE: BURGLARY OF HABITATION
CAUSE NO.
HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:
                                               RELATED CASES:



                                                                  1314000
                                                                                            BAIL: $NO BOND
                                                                                            PRIOR CAUSE NO:
                                                                                                                    m     -
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                                                                                                         '
IN THE NAME AND BY AUTHORITY
                         - OF THE STATE OF TEXAS:
                                                                                                 #
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JEREMY WAYNE WILLIAMS, hereafter styled the Defendant, heretofore on or about JULY 14, 2011, did then and there unlawfully, with
intent to commit an assault, enter a habitation owned by DANNA BRATTON, a person having a greater right to possession of the habitation than
the Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.

                                                                                  #
Before the commission of the offense alleged above, (hereafter styled the primary offense), on AUGUST 13, 2002, in Cause Number 0917803, in
the 262ND DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of TAMPERING WITH EVIDENCE.
                                                                            &
Before the commission of the primary offense, and after the conviction in Cause Number 0917803 was final, the Defendant committed the felony
of AGGRAVATED ASSAULT and was finally convicted of that offense on JANUARY 10, 2006, in Cause Number 1001226, in the 209TH
DISTRICT COURT of HARRIS County, Texas




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AGAINST THE PEACE AND DIGNITY OF THE STATE                   .                           —^ 7




                                                                          FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT                 RECORDER 'S MEMORANDUM
                                                                                            Inti instrument is of poor quality
                                                                                                    at the tint # of Imaging    0002753
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 362 of 479                                                PS
         CAUSE NO              /J                  CHARGE

         THE STATE OF TEXAS                                                            7            ISTRICT COURT
                                                                                    OF HARRIS COUNTY, TEXAS,



                                                      McC£i/tty
         TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                                                                         . ( name), the DEFENDANT in the above styled and
         numbered cause respectfully petitions the Court to appoiptcounsel to represent him / her in this cause and would
         show the Court that he / she is financially unable to hire' an attorney.


                                                                           Defendant




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                                                                         ( name), a WITNESS in the above styled and
         numbered causer&spectfully petitions the Court to appoint counsel to represent him / her in the interests of




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         justice and would show tn5*6eujttliat he / she is financially unable to hire an attorney.




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           Chris Daniel
           District Cleric
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                                                                          Deputy District Clerk
           AUG 02 2011                                                    Harris County, Texas
Time:
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               Harris County, T SAHO
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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         financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
         re]                le defendantXwitpcss          named above in this cause.
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                      The Court further ORDERS the cause set for :
        on the                     day of                                , 20     at 9i00 a.m. at 1201 Franklin, Houston, Harris
        County, Texas.
                      Signed this                day of
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 363 of 479




THE STATE OF TEXAS                                         02389259                          D.A. LOG NUMBER:1773476
VS.                                                                                          CJIS TRACKING NO.:9166847753-AOOl
JAMES BYRON MCCAULEY                             SPN:                                        BY: RZ DA NO: 002260744
                                                 DOB:                                        AGENCY:HPD
                                                 DATE PREPARED: 7/29/2011                    O/RNO: 098047411 Z
                                                                                             ARREST DATE: 07-29 2011         -
NCIC CODE: 2200 96                              RELATED CASES: JONES F         -                                         y
FELONY CHARGE: BURGLARY WITH INTENT TO COMMIT THEFT                                                                                   P2
CAUSE NO:                                                                                       BAIL: $2000
HARRIS COUNTY DISTRICT COURT NO:         1314871
                                                                                                PRIOR CAUSE NO:
FIRST SETTING DATE:                      228
                                                                                                        f ’.

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, JAMES BYRON MCCAULEY, hereafter styled the Defendant, heretofore on or
about JULY 29, 2011, did then and there unlawfully, with intent to commit theft, enter a building not then open to the public, owned by
ELIZABETH WISDOM, a person having a greater right to possession of die building than the Defendant and hereafter styled the Complainant,
without the effective consent of the Complainant, namely, without any consent of any kind.




                                                                                      F Chris E©
                                                                                        I LDaniel
                                                                                          District Clerk
                                                                                          AUG 01 2011
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 AGAINST THE PEACE AND DIGNITY OF THE STATE                     .
                                                TXcr
                                        ASSISTANT DIJ           T ATTORNEY                                     BAR CARD NO.
                                        OF HARRIS COl           , TEXAS
                                                                '


                                                                                                           RECORDER'S MEMORANDUM
                                                                                                           This instrument is of poor quality
                                                                    INFORMATION                                  at the time of imaging
                                                                                                                                     0002755
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 364 of 479
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         CAUSE NO.
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             THE STATE OF TEXAS                                                        o?9?y DISTRICT COURT
                                                                                       OF HARRIS COUNTY, TEXAS




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        "    Defendant
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                   THE HONORABLE JUDGE OF SAID COURT: (check one )


                                                                            ( name), the DEFENDANT in the above styled and
             numbered cause respectfully petitions the Court to appoint counsel to represent him / her irUhis cause and would
             show the Court that he / she is financially unable toiui ln attorney.         / /
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                                                                            Defendant




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                                                                             ( name), a WITNESS in the above styled and
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             numbered cause respecffffly pgtitions the Court to appoint counsel to represent him / her in the interests of
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        Chris Daniel
        District Clerk                                                      Deputy District Clerk
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                                                                            Harris County, Texas
        AUG 01 2011
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Time:                                                  ORDER APPOINTING COUNSEL
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By
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                            On this, the   1            day of                             , 20   IL   the Court determined that the
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             above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
             financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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            County, Texas.
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                                                                                       it 9:0 a.m. at 1201 Franklin, Houston, Harris


                         Signed this                   day of .



                                                                                  Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 365 of 479
                                                                                                         omms-
THE STATE OF TEXAS                                       01959665                             D.A. LOG NUMBER:1773817
VS.                                                                                           CJIS TRACKING N0.:9166851203-A001
 DAMIAN ORION SMITH                            SPN:                                           BY: DB DA NO: 002215011
                                               DOB:                                           AGENCY:HPD
                                               DAT                 : 7/30/2011                O/RNO: 098538811Z
                                                                                                              --
                                                                                              ARREST DATE: 7 30 11


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NCIC CODE: 2300 79                            RELATED CASES:
                               -
FELONY CHARGE: THEFT THIRD OFFENDER
CAUSE NO:                                                                                      BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO:                                                               PRIOR CAUSE NO:
FIRST SETTING DATE:

                                                                                                     v
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                              <iQ)
Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, DAMIAN ORION SMITH hereafter styled the Defendant,
heretofore on or about JULY 30, 2011, did then and there unlawfully commit an offense hereafter styled the primary offense in that he did
appropriate by acquiring and otherwise exercising control over property, namely, ONE AIR CONDITIONING UNIT, owned by CARL
VEASLEY, hereafter styled the Complainant, of the value of under one thousand five hundred dollars, with the intent to deprive the Complainant
of the property.

  Before the Commission of the primary offense, on FEBRUARY 9, 2006, in Cause Number 1015109, in the 208TH DISTRICT COURT, of
HARRIS, County, Texas, the Defendant was convicted of the FELONY OFFENSE OF THEFT.

  Before the commission of the primary offense, on AUGUST 16, 2007, in Cause Number 1473816, in the COUNTY CRIMINAL COURT AT
LAW NO. 9, of HARRIS County, Texas, the Defendant was convicted of the MISDEMEANOR OFFENSE OF THEFT.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                   .
          Sworn to and subscribed before me on July 30, 2011




                                                                         ASSISTANT DISTRICT ATTORNEY                  BAR NO.
                                                                         OF HARRIS COUNTY, TEXAS.


                                                                 COMPLAINT
                                                                                                                          0002757
                                1VLS 1 £3
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 366 of 479


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         CAUSE NO.                                 CHARGE

         THE STATE OF TEXAS                                                                   DISTRICT COUR    £§)
         VS.      ,
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                                                                                OF HARRIS COUNTY

         JO,     WV\JO
         Defendant
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         TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                                ^                           cd  I         ( name), the DEFENDANT in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
         show the Court that he / she is financially unable to hire an attorney.


                                                                     Defendant                           **




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                                                                          J ) , a WITNESS in the above styled and
         numbered cause respectfully petitioJtfrd Courtto ppOmTcounsel to represent him / her in the interests of
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          District Clerk                                             Harris County , Texas

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                                             ORDER APPOINTING COUNSEL
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 367 of 479
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                                                                       *
THE STATE OF TEXAS                                            02572688                       DA. LOG NUMBER1774201
VS.                                                                                          CJIS TRACKING NO.:9166855489 A001   -
CLAUDIA ELIZABETH MUNOZ                         SPN:                                         BY: VF DA NO: 002333844
                                                DOB:|                                        AGENCY:HPD
                                                DATE PREPARED: 7/31/2011                     O/RNO: 099278011H
                                                                                             ARREST DATE: 7 31 11

NCIC CODE: 1314 08                             RELATED CASES:
                                                    -
FELONY CHARGE: Assault of Family Member Impeding Breathing
                                                                                                              m
CAUSE NO:                                                                                      BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO:                  1315123                                      PRIOR CAUSE NO:
FIRST SETTING DATE:                        *      176

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
CLAUDIA ELIZABETH MUNOZ, hereafter styled the Defendant, heretofore on or about JULY 31, 2011, did then and there unlawfully,
intentionally and knowingly cause bodily injury to CURTIS HARRIS, hereafter styled the Complainant, a PERSON WITH WHOM THE
DEFENDANT HAD A DATING RELATIONSHIP, by impeding the normal breathing and circulation of the blood of the Complainant by
APPLYING PRESSURE TO THE COMPLAINANTS THROAT AND BY APPLYING PRESSURE TO THE COMPLAINANTS NECK.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                              -oreman                              228th

                                                                           FOREMAN OF THE GRAND JURY

                                                          &     INDICTMENT                       RECORDER’S MEMORANDUM               .
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        Case 4:17-cv-03621 Document 89-8                         Filed on 01/05/23 in TXSD Page 368 of 479
         CAUSE NO.
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           THE STATE OF TEXAS  ^                                                  CHARGE

                                                                                                 DISTRICT COURT
                                                                                  OF HARRIS COUNTY, TEXAS
                                                              auy
           Defendant

           TO.     [E HONORABLE JUDGE OF SAID COURT: (check one)




                   uu i f riwteiMF   .                                      ( name), the DEFENDANT in the above styled and
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           numbered cause respectfully petitions the Court to appoint counsel th represent him / her in this cause and would
           show the Court that he / she is financially unable to hire an attorney!


                                                                    Defendant




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                                                                    Deputy District Clerk
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                                                                    Harris County, Texas
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                                                            PPOINTING COUNSEL
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          above named defendant /         witness has executed an affidavit stating that he / she is without counsel and is
          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 369 of 479


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THE STATE OF TEXAS                                           01866174                     D.A. LOG NUMBERS 774861
VS.                                                                                       CHS TRACKING NO.:916685959X-D001
PAUL CURTIS RIDEAUX                            SPN:                                       BY: CS DA NO: 002333948
                                                DOB:                                      AGENCY:HPD
                                                DATE PREPARED: 8/3/2011                   O/RNO: 99928311
                                                                                          ARREST DATE: 08/02/2011
                                               RELATE CASES: REFILE
NCIC CODE: 1314 08
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FELONY CHARGE: Assault of Family Member -Impeding Breathing
CAUSE NO:
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                                                                                            BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                   1315349                                  PRIOR CAUSE NO: 228TH D.CT./1315305
FIRST SETTING DATE:                                228

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                          CS
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PAUL CURTIS RIDEAUX, hereafter styled the Defendant, heretofore on or about AUGUST 2, 2011, did then and there unlawfully,
intentionally and knowingly cause bodily injury to ROZENA TONEY, hereafter styled the Complainant, a person with whom the Defendant had a
dating relationship, by impeding the normal breathing and circulation of the blood of die Complainant by applying pressure to the Complainant's
throat and applying pressure to the Complainant's neck.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

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                                                                          FOREMAN OF THE GRAND JURY

                                                                INDICTMENT                 RECORDER’S MEMORANDUM
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             Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 370 of 479
                                                        CHARGE

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              THE STATE OF TEXAS
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              Defendant
                                                                                    OF HARRIS COUNTY, TEXAS




              TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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              numbered cause respectfully petitt»n$ tfie        rftcTappoint counsel to represent him / her in the interests of




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          District Clerk                                                 Harris County, Texas

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              above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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              financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 371 of 479

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THE STATE OF TEXAS                                           02299858                        D.A. LOG NUMBER;1774990
VS.                                                                                          CJIS TRACKING NO.:9166863619-A001
 AUGUSTINE M. PERALEZ                             SPN:                                       BY: KL DA NO: 002094982
                                                  DOB:|                                      AGENCY:PASADENA PD
                                                  DATE PREPARED: 8/4/2011                    O/RNO: 201118806
                                                                                             ARREST DATE: 8/3/11
NCIC CODE: 2605 44                               RELATEl) CASES:
FELONY CHARGE: CREDIT/DEBIT CARD ABUSE
CAUSE NO:                                                                                     BAIL: $15000
HARRIS COUNTY DISTRICT COURT NO:                                   1315417                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                                176

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
AUGUSTINE M. PERALEZ, hereafter styled the Defendant, heretofore on or about AUGUST 3, 2011, did then and there unlawfully, with
intent to obtain a benefit fraudulently, use a VISA DEBIT DEBIT card knowing the use was without the effective consent of the cardholder,
ASHLEY VALDEZ, namely, without any consent of any kind, and knowing that the VISA DEBIT card had not been issued to the Defendant.

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Before the commission of the offense alleged above, (hereafter styled die primary offense, on SEPTEMBER 2, 2008, in Cause Number 1153816,
in the 179TH DISTRICT COURT, of HARRIS County, Texas, the Defendant was convicted of the felony offense of POSSESSION WITH
INTENT TO DELIVERY A CONTROLLED SUBSTANCE.                                s


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Before the commission of the primary offense, and after the conviction in Cause Number 1153816, was final, the Defendant committed the felony
offense of BRIBERY and was finally convicted of that offense on JUNE 30, 2010, in Cause Number 1253387, in the 337TH DISTRICT COURT,
of HARRIS County, Texas.




                                                                                        Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE                     .
                    RECORDER'S MEMORANDUM
                    This instrument is of poor quality                      FOREMAN OF THE GRAND JURY
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                                                                   INDICTMENT
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 CAUSE NO.

 THE STATE OF TEXAS
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 372 of 479
                                                                          CHARGE

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above named defendant / Witness has executed an affidavit stating that he / she is without counsel and is
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 373 of 479



THE STATE OF TEXAS                                                                    D.A. LOG NUMBER:1775180
VS.                                                                                   CJIS TRACKING NO.: 9166922984A001
 DOMINIC RENDON                              SPN: 1986592                             BY: DA NO: 2397278 AGENCY:SHERIFF'S
                                             DOB:                                     DEPARTMENT HARRIS COUNTY
                                             DATE PREPARED: 10/27/2011                O/RNO: 11103084
                                                                                      ARREST DATE:
NCIC CODE: 120305                            RELATED CASES:
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CAUSE NO: 1315485
                                       -
FELONY CHARGE: AGG ROBBERY OVER 65 OR DISABLE
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                                                                                        BAIL: $30000
HARRIS COUNTY DISTRICT COURT NO: 228                                                    PRIOR CAUSE NO:
FIRST SETTING DATE: 11/30/2011


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Hams County, Texas, that in Hams County, Texas,
DOMINIC RENDON, hereafter styled the Defendant, heretofore on or about August 3, 2011, did then and there unlawfully, while in the course
of committing theft of property owned by DANIEL MUNGUIA and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY CAUSE BODILY INJURY to DANIEL MUNGUIA, A PERSON AT LEAST SIXTY-FIVE YEARS
OF AGE by PUSHING THE COMPLAINANT TO THE GROUND.
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Before the commission of the offense alleged above, on MAY 19, 2006, in Cause Number 1062717 in the 339th District Court of HARRIS
County, Texas, the Defendant was convicted of the felony offense of BURGLARY OF A HABITATION.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                       FOREMAN OF THE GRAND JURY

                                                            INDICTMENT

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             Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 374 of 479
              CAUSE NO.                                CHARGE

              THE STATE OF TEXAS                                                          /11DISTRICT           COUR'

              VS .                                                   V
                                                                                      OF HARRIS COUNTY, TEXAS


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              TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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              show the Court that he / she is financially unable to hire an attorney. /]

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              above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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              financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
              represent the defendant / witness named above in this cause.
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*                   Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 375 of 479




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THE STATE OF TEXAS                                                                                LOG NUMBER:1775519
VS.
STEPHANIE ANN KAISER                             SPN: 01524553                              BY: ACV DA NO: 402 AGENCY:HCDA
                                                 DOB:                                       ARREST DATE: TO BE
                                                 DATE PREPARED: 8/5/2011
NCIC CODE: 2301/00                              RELATED CASES :
FELONY CHARGE: THEFTBYCH1ECK
CAUSE NO:                                                                                     BAIL: $2000.00
HARRIS COUNTYWSTRJCT COURT NO:
FIRST SETTING DATE: DIRECT                                                                                (i   &
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
STEPHANIE ANN KAISER , hereafter styled the Defendant, heretofore on or about FEBRUARY 1, 2010, did then and there unlawfully,
appropriate by acquiring and otherwise exercising control over property, namely, MEDICAL SERVICES, owned by KRISTEN HAVENSTEIN,
hereafter styled the Complainant, of the value of under one thousand five hundred dollars, with the intent to deprive the Complainant of property.

                                                                                 .
Before the commission of the offense alleged above, on June 1 , 2007, in Cause No 1442486, in the County Court at Law # 15, of Harris County,
Texas, the Defendant was convicted of Theft.
                                                                                3?
Before the commission of the offense alleged above, on June 1, 2007, in Cause No. 1442325, in the County Court at Law #15, of Harris County,
Texas, the Defendant was convicted of Theft.

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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                                INDICTMENT

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     CAUSE NO.                                 CHARGE 6
    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 376 of 479


     THE STATE OF TEXAS
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                                                                             <             DISTRICT COURT



      Woxkki S(Wkg
     Defendant
                                                                         OF HARRIS COUNTY, TEXAS




     TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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     numbered cause respectfully petitions the Court appoint counsel
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     show the Court that he / she is financially unable to hire an ttofney. / ]               „ /j
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                                                              Deputy District Clerk
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    above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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    financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
    reuresen/ uie defendant/ witness-named above in this cause.
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    County, Texas.
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                                                              Judge Presiding
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 377 of 479



THE STATE OF TEXAS                                       00682692                        DA. LOG NUMBER:1776192
                                                                                         CJIS TRACKING NO.:9166875951 A001   -
                                               SPN:                                      BY: AC DA NO: 002305227
                                               DOB:                                      AGENCY:HPD
                                               DATE PREPARED: 8/8/2011                   O/RNO: 102425711Y
                                                                                         ARREST DATE: 08/07/11
NCIC CODE: 5599 06                            RELATED CASES:
FELONY CHARGE: POSSESSION OF A CONTROLLED SUBSTANCE
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:                                 1315938
                                                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:                                              228
                                                                                               X-
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
FREDDY SANCHEZ, hereafter styled the Defendant, heretofore on or about AUGUST 7, 2011, did then and there unlawfully, intentionally and
knowingly possess a controlled substance, namely, HEROIN , weighing more than 4 grams and less than 200 grams by aggregate weight,
including any adulterants and dilutants.

Before the commission of the offense alleged above, (hereafter styled the primaiy offense), on SEPTEMBER 18, 1989, in Cause Number
0538609, in the 209TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of DELIVERY OF A
CONTROLLED SUBSTANCE.

Before the commission of the primary offense, and after the conviction in Cause Number 0538609 was final, the Defendant committed the felony
of THEFT and was finally convicted of that offense on MAY 4, 1992, in Cause Number 0631498, in the 263RD DISTRICT COURT of HARRIS
County, Texas.

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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                        0002769
     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 378 of 479
          CAUSE NO        .       / 3/                                                 CHARGE

          THJ             E OF TEXAS                                                 3J,                'STRICT COURT
          VS>                           *                                             OF HARRIS COUNTY, TEXAS


          Defendant

          TOTHE HONORABLE JUDGE OF SAID COURT: (check one)


                                        JU                                            ( name), the DEFENDANT in the above styled and

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          nlmbere cause respectfully peridots the Court to appoint counsel to represent him / her in this cause and would
         snow ae Court that he / she is financially unable to hire an attorney


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                                                                         ( name), a WITNESS in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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         justice and would show the Court that he / she is financially unable to hire an attorney.




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                     Sworn to and subscribed before me on this, the                            day of                      , 20.
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                                                                            Deputy District Clerk
                                                                            Harris County, Texas
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                                              ORDER APPOINTING COUNSEL
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By                       Deputy
                     On this, the                                                             ,//, the Court determined that the
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
         reprritent'ffife defendant / witness named above in this cause               .
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         on the                                                          , 20.                  ..
                                                                                     at 9:00 a m at 12Q/Fi      lm, Houston, Harris
         County, Texas        .
                    Signed this                day of                    AUG 11 21

                                                                           Judge Presraingl




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                                                                  DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 379 of 479
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THE STATE OF TEXAS                                        01488537                        D.A. LOG NUMBER:1776701
VS.                                                                                       CJIS TRACKING N0. ; 9166881056 A001   -
     ICE RENA JOHNSON                           SPN:                                      BY: EG DA NO: 002333948
                                                DOB:                                      AGENCY:HPD
                                                DATE PREPARED: 8/9/2011                   O/RNO: 103201S11I
                                                                                                                - -
                                                                                          ARREST DATE: 08 09 2011

NCIC CODE: 5599 04                             RELATED CASES: BABINO-FEL
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO:                                                                                   BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                    1316066                                 PRIOR CAUSE NO:
FIRST SETTING DATE:                                 339

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, JANICE RENA JOHNSON, hereafter styled the Defendant,
heretofore on or about AUGUST 9, 2011, did then and there unlawfully intentionally and knowingly possess a controlled substance, namely,
COCAINE, weighing less than one gram by aggregate weight, including any adulterants and dilutants.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

           Sworn t(v<r»d si         before me odAugufct 9, 2011




AFFIANT                                                                   ASSISTANT DISTRICT ATTORNEY                     BAR NO.
                                                                          OF HARRIS COUNTY, TEXAS.


                                                                COMPLAINT
                                                                                                                           0002771
      CAUSE NO.          iblUflu
  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 380 of 479
                                                                              CHARGE

      THE STATE OF TEXAS                                                                      DISTRICT COURT




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      TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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      number id cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
      show the Court that he / she is financially unable to hire a/ attorney.


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                                                                  Deputy District Clerk

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                                 AUG 3 I 2011                     Harris County, Texas
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      above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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      financially unable to hire anpttorney. The Court ORDERS that the attorney listed below is appointed to
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      County, Texas.
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                  Signed this



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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 381 of 479



THE STATE OF TEXAS                                        02516998                        D.A LOG NUMBER:1776730
VS.                                                                                       CJIS TRACKING NO.:9166881587-A001
                                   -
                        MAXIE MOUTON           SPN:
                                               DOB
                                                                                          BY: KL DA NO: 002294141
                                                                                          AGENCY:HPD
                                               DATE PREPARED; 8/10/2011                   O/RNO: 103286011V
                                                                                          ARREST DATE: 8/9/11
NCIC CODE: 1314 08                             RELATED CASES:                                                XU
FELONY CHARGE: Assault of Family Member -Impeding Breathing
CAUSE NO:                                                                                   BAIL:
HARRIS COUNTY DISTRICT COURT NO:                   1316076                                  PRIOR CAUSE NO:
FIRST SETTING DATE:                                228
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                            x
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
                               -
JYAMOS EDWARD MAXIE MOUTON, hereafter styled the Defendant, heretofore on or about AUGUST 9, 2011, did then and there
unlawfully, intentionally and knowingly cause bodily injury to DALECIA GRIFFIN, hereafter styled the Complainant, a MEMBER OF THE
DEFENDANT'S FAMILY, by impeding the normal breathing and circulation of the blood of the Complainant by APPLYING PRESSURE TO
THE COMPLAINANT’S THROAT.

                                                                                  -
   It is further presented that in Harris County, Texas, JYAMOS EDWARD MAXIE MOUTON, hereafter styled the Defendant, heretofcore on or
about AUGUST 9, 2011, did then and there unlawfully intentionally and knowingly cause bodily injury to DALECIA GRIFFIN, hereafter styled
the Complainant, a MEMBER OF THE DEFENDANT'S FAMILY, by impeding the normal breathing and circulation of the blood of the
Complainant by APPLYING PRESSURE TO THE COMPLAINANT'S NECK.

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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                            0002773
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 382 of 479
  CAUSE NO.

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                                                                     CHARGE    iW^Plnj Oy                             '

  THE STATE OF TEXAS                                                               DISTRICT COURT
                                                                     OF HARRIS COUNTY, TEXAS
                                                            UA$
  Defendant

  TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                           0                                      ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an attorney. „
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                                                           Defendant
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                                                                  ( name ) , a           hTTfieabove styled and
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 numbered cause respectfully petitions the
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                          AUG 11 2011                      Harris County , Texas
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                                  ORDERAPPOINTING COUNSEL
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            On this, the            day of                                         the Court determined that the
 above named defendant / witness has executecTan affidavit stating that he / she is without counsel and is
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 financially unable to hire an     Attorney.   The Court ORDERS that the attorney listed below is appointed to
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            Signed this




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 383 of 479



THE STATE OF TEXAS                                       01586887                           D.A. LOG NUMBER:1776770
VS.                                                                                         CJIS TRACKING N0.:9166881900 A001-
 JAMES EDWARD LEWIS                            SPN:                                         BY: MB DA NO: 0023334218
                                               DOB:|                                        AGENCY:HPD
                                               DATE PREPARED: 8/10/2011                     O/RNO: 103366611
                                                                                                              --
                                                                                            ARREST DATE: 8 9 11

NCIC CODE: 5599 48                                                       -
                                              RELATED CASES: CO DEF ROLLINS (F) LINK (F)
FELONY CHARGE: POSSESSION WITH INTENT TO DELIVER A CONTROLLED SUBSTANCE
CAUSE NO:                                                   BAIL: SNOBOND
HARRIS COUNTY DISTRICT COURT NO:           1316088          PRIOR CAUSE NO:
FIRST SETTING DATE:                        228                   0 ,0



IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JAMES EDWARD LEWIS, hereafter styled the Defendant, heretofore on or about AUGUST 9, 2011, did then and there unlawfully, knowingly
possess with intent to deliver a controlled substance, namely, COCAINE, weighing more than 4 grams and less than 200 grains by aggregate
weight, including any adulterants and dilutants.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on MARCH 28, 2001, in Cause Number 0863422, in
the 179TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of DEADLY CONDUCT.
                                                                              V
Before the commission of the primary offense, and after the conviction in Cause Number 0863422 was final, the Defendant committed the felony
of POSSESSION OF CONTROLLED SUBSTANCE and was finally convicted of that offense on SEPTEMBER 5, 2003, in Cause Number
0951999, in the 183RD DISTRICT COURT of HARRIS County, Texas         .




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AGAINST THE PEACE AND DIGNITY OF THE STATE                  .

                                                                             FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                        0002775
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 384 of 479
                                                    CHARGE _L


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                                                                                   OF HARRIS COUNTY, TEXAS
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           TO THE HONORABLE JUDGE OF SAID COURT: (check one )
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          \/     /    r                                                        ( name), the DEFENDANT in the above styled and
         raumtfered cause respectfully petitions the Court to appoijwCounsel to represent him / her in this cause and would
        / ¥how the Court that he / she is financially unable to hiregn attorney.
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                                                                           ( name), a WITNESS in the above styled and
           numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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           justice and would show the Court that he / she is financially unable to hire an attorney.




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                     Sworn to and subscribed before me on this, the                   day of                                    20     .
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                                                                   Deputy District Clerk
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                                         ORDER APPOINTING COUNSEL
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                                                       OCT 0 7 2011                   20    -        . the Court determined that the
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          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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          represent the defendant / witness named above in this cause.
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          Attorney
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                                                                                                 2028 Buffalo Terrace
          Phone Number                                                                          Houston, Texas 77019
                                                                                                 Phone 713237 8547
                                                                                                  Fax 713 528 0153
          Fax Number
                     The Court further ORDERS the cause set for :
          on the            day of .                           j   20 ..   _ at ShlXnMQ. at 1201 Franklin, Houston, Harris
          County, Texas.
                     Signed this          day of          mo7
                                                                   Judge


                                                                                           RECORDER’S MEMORANDUM
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                                                        DISTRICT CLERK
                 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 385 of 479



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THE STATE OF TEXAS                                                                             D.A. LOG NUMBER:1776910
VS.                                                                                            CJIS TRACKING NO.:
 NICHOLAS RAY BOSLEY                              SPN:                                         BY: EG DA NO: 002275023
                                                  DOB:                                         AGENCY:HPD
                                                  DATE PREPARED: 8/10/2011                     O/RNO: 09732961IX
                                                                                               ARREST DATE: TO BE
NCIC CODE: 2589 01                               RELATED CASES:
FELONY CHARGE: Forgery
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, NICHOLAS RAY BOSLEY, hereafter styled the Defendant, heretofore on or about
JULY 12, 2011, did then and there unlawfully, and with intent to defraud and harm, forge the writing duplicated attached hereto as Exhibit A,
which purported to be the act of another who did not authorize that act, by possessing it with intent to utter it and while knowing it was forged, and
the offense was committed against a person at least 65 years of age.

Before thqcommission       offense             ve, on MARCH 1, 20JJ5fm Cause No. 1018120, in the 184TH District Court of HARRIS
County, TejtesrdwfJefendant was convicted of the"                OSSESSION WITH INTENT TO DELIVER A CONTROLLED
SUBSTANCE.




AGAINST THE PEACE AND DIGNTTYlOF THE STATE.



                                                               C
                                        ASSISTANT DISTRICT ATTORNEY                                        BAR CARD NO.
                                        OF HARRIS COUNTY, TEXAS

                                                                                                         RECORDER’S MEMORANDUM
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                                    Case 4:17-cv-03621 Document    .
                                                                89-8 Filed on 01/05/23 in TXSD Page 386 of 479


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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 387 of 479
 CAUSE NO.                                CHARGE          Q / ^ A /.                               /
 THE STATE OF TEXAS                                                  J <6? DISTRICT COU1
                                                                     OF HARRIS COUNTY, T1


 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                                                    ^             ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an attorney.


                                                           Defendant




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                                                                  ( name), a WITNESS in the above styled and
 numbered   cause ?fcspectfully petitions the Court to appoint counsel to represent him / her in the interests of




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 justice and would showthe ourt that he / she is financially unable to hire an attorney.
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 above named        defendant / witness has executed an affidavit stating that he / she is without counsel and is
 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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           The Court furtherORDERS the cause set for :
on the                                                            at 9:00 a.m. at 1201 Fptmklin, Houston, Harris
County, Texas.
           Signed this                day of




                                                                                                               0002779
                                                  DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 388 of 479
  I

THE STATE OF TEXAS                                      02574327                        DA. LOG NUMBER:1777032
VS.                                                                                     CJ1S TRACKING NO.:
 KEVIN ANTONIO OWENS                          SPN:                                      BY: SP DA NO: 068910750
                                              DOB:                                      AGENCY:HPD
                                              DATE PREPARED: 8/10/2011                  O/R NO: 103634711 Y
                                                                                        ARREST DATE: TO BE
NCIC CODE: 1305 19                            RELATED CASES: SAME DEF 2F        -
FELONY CHARGE: AGGRAVATED ASSAULT
CAUSE NO:                                                                                BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                               1316171
                                                                                         PRIOR CAUSE NO:
FIRST SETTING DATE:                                            248
                                                                                                o. jur


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                        <,

                                                                                        CT
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Hams County, Texas,
KEVIN ANTONIO OWENS, hereafter styled the Defendant, heretofore on or about AUGUST 10, 2011, did then and there unlawfully,
intentionally and knowingly threaten with imminent bodily injury I. SIMPSON of the HOUSTON POLICE DEPARTMENT, hereafter called the
Complainant, while the Complainant was lawfully discharging an official duty, by using and exhibiting a deadly weapon, namely, A KNIFE,
knowing that the Complainant was a public servant.




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                                                                                 Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                        FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
                                                                                                                      0002780
            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page
             CAUSE NO.
                                                                        * 389 of 479
                                                                                 CHARGE          9oc s
             THE STATE OF TEXAS                                                  33S             DISTRICT COURT
             VS.                                                                 OF HARRIS COUNTY,
                                                        P vW \                   3
             Defendant


             TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                               (name), the DEFENDANT in the above styled and
             numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
             show the Court that he / she is financially unable to hire ftn attorney .


                                                                       Defendant




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                                                                             (name), a WITNESS in the above styled and
             numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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             justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                       Witness
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                              'oSjitto and subscribed before me on this, the            day of                             20.
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                                                                       Deputy District Clerk
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X                                                                      Harris County, Texas

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    Time:     HStrisCountyTre^5                ORDER APPOINTING COUNSEL
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                       On this, the              day of                c                 W
                                                                                        2(       . the Court determined that the
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            above named defendant / witness has executed an amdavit stating that                                  counsel and is
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            financially unable to hire an attorney The Court ORDERS thdf the attorney listed below isapjramted to
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            represent the defendant / witness named above in this cau e
                                                                               ^.                                           \
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                                                                                             R.P. SKIP CORNELIUS
                                                                                                 SBN 04831500
            Attorney
                                                yO




                                                                                               2028 Buffalo Terrace
                                                                                                 Houston, Texas 77019
                                                                                                  Phone 7132378547
                                             op




            Address                                                                                Fax 713 528 0153
                                           lC




            City                            State             Zip                   -
                                                                                 E Mail Address
                                     icia




            Bar Card/SPN Number                                            csy.                                           2> \
                                 off
                              Un




            Phone Number


            Fax Number
                      The Court further ORDERS the cause set for :
            on the                day of                              20       at 9:00 a.m. at 1201 Franklin, Houston, Harris
            County, Texas.
                      Signed this      >6     .day of




                                                                                                                         0002781
                                                              DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 390 of 479



THE STATE OF TEXAS                                         00787616                          D A. LOG NUMBER1777043
VS.                                                                                          CJIS TRACKING NO.:916688473X A001        -
NATHAN EDWARD WILLIAMS                           SPN:                                        BY: CP DA NO: 002271451
HOMELESS                                         DOB:                                        AGENCY METRO TRANSIT AUTHORITY
                                                 DATE PREPARED: 8/11/2011                    O/RNO: 10379611P
                                                                                             ARREST DATE: 8/10/2011
NCIC CODE: 5599 04                                                                    -.
                                                 RELATED CASES: CO DEF: BM R NELSON (F)
FELONY CHARGE: Possession of 8 Controlled Substance
CAUSE NO:                                                                                     BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO:                    1316230                                   PRIOR CAUSE NO:
FIRST SETTING DATE:                                 338                                              O, A 1



IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                  55
Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, NATHAN EDWARD WILLIAMS, hereafter styled the Defendant, heretofore on or
about AUGUST 10, 2011, did then and there unlawfully, intentionally and knowingly possess a controlled substance, namely, COCAINE,
weighing less than one gram by aggregate weight, including any adulterants and dilutants.
                                                                                    c
Before the commission of the offense alleged ove,      reaftcr styled the primary offense, on JULY 16, 2009, in Cause Number 1224043, in the
180TH DISTRICT COURT of HARRIS County- Te
CONTROLLED SUBSTANCE.
                                             ^Y
                                                       , the Defendant was convicted of the felony offense of POSSESSION OF A


Before the commission of the primary offensafand  the conviction in Cause Number 1224043 was final, the Defendant committed the felony
offense of PROSTITUTION and was finalj/convicted of that offense on MAY 16, 2008, in Cause Number 1149820, in the 178TH DISTRICT
COURT of HARRIS County, Texas.



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AGAINST THE PEACE AND DIGNITY OF THE STATE                     .

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                                       OF HARRIS COl
                                                                                                            BAR CARD NO.

                                                                                                       RECORDER'S MEMORANDUM
                                                                                                       This instrument Is of poor quality
                                                                INFORMATION                                  at the time of imaging

                                                                                                                               0002782
           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 391 of 479
                                                                             Q
            CAUSE NO.

            THE STATE OF TEXAS
                                                      CHARGE

                                                                            5S&                         ^
                                                                                             DISTRICT COURT
                                                                             OF HARRIS COUNTY, TEXAS
             V- \S SCL<\ ( ( 6
            Defendant    ^                              9 Ckc^eco
            TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                           ( name), the DEFENDANT in the above styled and
            numbered cause respectfully petitions the Court to appoint counsel to represenyfi\m / her in this cause and would
            show the Court that he / she is financially unable.         ittonfey.


                                                                   Defendant




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                                                                            ( name), a WITNESS in the above styled and
            numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




                                                                                         ric
            justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                  Witness
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                     Sworn to and subscribed before me on this, the                 day of    1                      , 20
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             SK8SS&                                               Deputy District Clerk
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               WJ6           izw                                  Harris County , Texas
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                                              ORDER APPOINTING COUNSEL
Time

                                       \s day of
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By
                     On this, the _                                              , 20   VA . the Court determined that the
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           above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
           financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                                        eo




           represent the defendant / witness named above in this cause.
                                                   ffic
                                                yO




           Attorney
                                             op




           Address
                                            lC




           City                             State        Zip                E-Mail Address
                                     icia




           Bar Card/SPN Number                                                           R.P. SKIP
                                                                                                    CORNELIUS
                                   off




                                                                                             SBN 04831500
                                                                                           2028 Buffalo
                                                                                          Houston, TexasTerrace
                          Un




           Phone Number                                                                                   77019
                                                                                           Phone 713 237 8547
                                                                                             Fax 713 528 0153
           Fax Number

                     Tj
                         ^
                             Court further ORDERS the cause set for :
                                                                                                  %
           on the
           County, Texas.
                     Signed this
                                   day of

                                              ^day of   vNO
                                                                 12(N \     at 9:00 a.m. at 1201 Franklin, Houston, Harris




                                                                   3i
                                                                  Judge Prenuing




                                                                                                                    0002783
                                                          DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 392 of 479



THE STATE OF TEXAS                                       02522101                        D.A. LOG NUMBER:1777274
VS.                                                                                      CJIS TRACKING NO.:
LISSANDRO PACHECO                              SPN:                                      BY: TD DA NO: 002198468
                                               DOB:|                                     AGENCY:HPD
                                               DATE PREPARED: 8/11/2011                  O/R NO: 10372421 IJ
                                                                                         ARREST DATE: TO BE
NCIC CODE: 2202 05                            RELATED CASES:
FELONY CHARGE: BURGLARY OF A HABITATION                                                                        ST
CAUSE NO:                                                                                  BAIL: $10000
HARRIS COUNTY DISTRICT COURT NO:                                1316317
                                                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:                                             338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
LISSANDRO PACHECO, hereafter styled the Defendant, heretofore on or about AUGUST 10, 2011, did then and there unlawfully, with intent
to commit theft, enter a habitation owned by BIBIANA ALVARADO, a person having a greater right to possession of the habitation than the
Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.




                                                                                         F Chris
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                                                                                                 ED
                                                                                             District Clerk
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                                                                                             Harris County. Taxas
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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                 Foreman


                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                       0002784
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 393 of 479
CAUSE NO.                                                        CHARGE

THE STATE OF TEXAS                                             33*              DISTRICT COURT                  0)
 VS.                                                             OF HARRIS COUNTY, TEXAS
                                                                                                          'i

Defendant

TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                   iame) , the DEFENDANT in the above styled and
numbered cause respectfully petitions the Court to appoint cpdnsel to represent him / her in this cause and would
show the Court that he / she is financially unable to hire aiyattorney. ,


                                                       Defendant
                                                                                L 2mn             .




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                                                                (name), a WITNESS in the above styled and
numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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justice and would show the Court that he / she is financially unable to hire an attorney .




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                 District      Clerk
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                                                      Deputy District Clerk
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                         .                            Harris County, Texas
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                             «         DERXpPOINTING COUNSEL
       Time:        ii5is
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         By                  Deputy

                             V Sday of                               , 2p   \\ . the Court determined that the
                                             fM




          On this, the
above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                                          eo




financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
represent the defendant / witness named above in this cause.
                                         ffic
                                      yO




Attorney
                                 op




Address
                             lC




City                           State         Zip                 E-Mail Address
                    icia




                                                                            R.P. SKIP CORNELIUS
                  off




Bar Card/SPN Number                                                             SBN 04831500
                                                                               2028 Buffalo Terrace
               Un




                                                                             Houston, Texas 77019
Phone Number                                                                  Phone 713 2378547
                                                                               Fax 713 528 0153

Fax Number
          The Court further ORDERS the cause set for :                             Q
on the So day of                                     , 20   W at 9:00 a.m. at 12(11 Franklin, Houston, Harris
County , Texas.
          Signed this




                                                                                                         0002785
                                                DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 394 of 479



THE STATE OF TEXAS                                                                       D A. LOG NUMBER:1777232
                                                                                                                                            J
                                                         01482659
VS.                                                                                      CJIS TRACKING NO.:
NIJA A. BROWN                                  SPN:                                      BY: RZ DA NO: 002327476
                                               DOB:                                      AGENCY: HPD
                                               DATE PREPARED: 8/12/2011                  O/RNO: 099973711W
                                                                                         ARREST DATE: TO BE

NCIC CODE: 1314 14                            RELATED CASES:
                                                  -
FELONY CHARGE: Assault - Family Violence 2 nd Offender
CAUSE NO:                                                                                  BAIL: $NO B
HARRIS COUNTY DISTRICT COURT NO:                    1316371                                PRIOR CAUSE NO:
FIRST SETTING DATE:                                 338                                           cr
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Hams County, Texas, presents in the District Court of HarrisCounty, Texas, that in Harris County, Texas,
NIJA A. BROWN , hereafter styled the Defendant, heretofore on or about JULY 23, 2011,.did then and there unlawfully, intentionally and
knowingly cause bodily injury to DEMETRIUS ROBERTS, hereafter styled the Complainant, a person with whom the Defendant had a dating
relationship, by GRABBING THE COMPLAINANT WITH HIS HAND.

It is further presented that m Harris County, Texas, NUA A. BROWN, hereafter styled the Defendant, heretofore on or about JULY 23, 2011, did
then and there unlawfully intentionally and knowingly cause bodily injury to DEMETRIUS ROBERTS, hereafter styled the Complainant, a person
with whom the Defendant had a dating relationship, by THROWING THE COMPLAINANT TO THE GROUND WITH HIS HAND.

   It is further presented that in Hams County, Texas, NIJA A. BROWN, hereafter styled the Defendant, heretofore on or about JULY 23, 2011,
did then and there unlawfully intentionally and knowingly cause bodilyjnjury to DEMETRIUS ROBERTS, hereafter styled the Complainant, a
person with whom the Defendant had a dating relationship, by HOLDING DOWN THE COMPLAINANT WITH HIS KNEES.

It is further presented that before the commission alleged above, the Defendant, on JANUARY 10, 2011, in the 248TH DISTRICT COURT of
HARRIS County, Texas, in Cause No. 1267044, was convicted of ASSAULT which was committed against a a person with whom the Defendant
had a dating relationship.
                                                   #
It is further presented that, at the time that the Defendant committed the felony offense of ASSAULT FAMILY MEMBER-SECOND on or about
JULY 23, 2011, as hereinabove alleged, he used and exhibited a deadly weapon, namely, a KNIFE, during the commission of said offense and
during the immediate flight from said offense.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on DECEMBER 27, 2000, in Cause Number 0860350,
in the 184TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of DELIVERY OF A CONTROLLED
SUBSTANCE.
                                  #
Before the commission of the primary offense, and after the conviction in Cause Number 0860350, was final, the Defendant committed the felony
of TAMPERING WITH EVIDENCE and was finally convicted of that offense on MAY 13, 2002, in Cause Number 0911585, in the 263RD
DISTRICT COURT of HARRIS County, Texas.




AGAINST THE PEACE AND DIGNITY OF THE STATE.                                        Foreman                            208
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                                                                          FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                       0002786
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 395 of 479
 CAUSE NO.                                 CHARGE X ts          ~ e<\ (L'                 - Aa
  THE STATE OF TEXAS                                                                   DISTRICT COURT
  VS.                                                               OF HARRIS COUNTY, TEXAS

  Defendant           ^
                                        CA
  TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                   [ name), the DEFENDANT i n a t j p v e styled and
  numbered  cause respectfully  petitions the Court to appoint  counsel to represent him / her mVta.     and would
  show the Court that he / she is financially unable to hire an/fttQpiey.                    J(

                                                          Defendant




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                                                                  ( name), a WITNESS in the above styled and
  numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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  justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                          Deputy District Clerk
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            AUG 15 IS           "                         Harris County, Texas
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Time -        HTV-                    ORDER APPOINTING COUNSEL
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            On this, the                day of    V*\ v                   , 20
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  above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
  financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                                 eo




  represent the defendant / witness named above in this cause.
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  Attorney
                                    op




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          The Court further ORDERS the cause set for :
 on the              day of          QOX                  20.
 County, Texas.
          Signed this                  day of                         j   20.
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                                                  DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 396 of 479
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THE STATE OF TEXAS                                       02113341                         D A. LOG NUMBER:1777235
                                                                                          CJIS TRACKING NO.:9166889774 A001   -
                                               SPN:                                       BY: EG DA NO: 002333841
                                               DOB:                                       AGENCY:PPD
                                               DATE PREPARED: 8/12/2011                   O/R NO: 1113237
                                                                                                               - -
                                                                                          ARREST DATE: 08 12 2011
NCIC CODE: 1105 51                            RELATED CASES:
FELONY CHARGE: Indecency with a Child
CAUSE NO:                                                                                  BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:                                1316432                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                             338                            o
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                           &
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
SERGIO LUIS GIL, hereafter styled the Defendant, heretofore on or about MAY 24, 2011, did then and there unlawfully, with intent to arouse
the sexual desire of the Defendant, have sexual contact with ARIANA AROCHA, hereafter styled the Complainant, a child under the age of
seventeen years, by having the Complainant touch the Defendant's genitals.




AGAINST THE PEACE AND DIGNITY OF THE STATE.                                         Foreman


                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                         0002788
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        CAUSE NO.
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     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 397 of 479> \
                                                                               CHARGE           CL< V<*O          rxwso.V\
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                                                                                                                          fnr
        THE STATE OF TEXAS                                                                    DISTRICT COURT
        VS.                                                                    OF HARRIS COUNTY, TEXAS

        A      VJi Q.<\
        Defendant
                                         V.   VJ   g N. Ch   - Lr,
        TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                          ( name), the DEFENDANT in the above styled and
        numbered cause respectfully petitions the Court to appoint coimssl to represent hips,/ her in this cause and would
        show the Court that he / she is financially unable to hire airaitorneV            /J
                                                                                                 4 C
                                                                     Defendant /                 *




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                                                                        ( name), a WITNESS in the above styled and
        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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        justice and would show the Court that he / she is financially unable to hire an attorney.




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                                         subscribed before me on this, the                                                     .
           I STrDanielaj
         F Chris            ^^                                                      day of                            , 20
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               District Clerk
                                                                     Deputy District Clerk
               AUG 16 2011
                                                                        Bu



                                                                     Harris County, Texas
Time:
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                 Harris County Texas
By                                            ORDER APPOINTING COUNSEL
                       Deputy
                                                                ari




                    On this, the               day of                              . 20   V\ , the Court determined that the
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        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
        financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                                        eo




        represent the defendant / witness named above in this cause.
                                                    ffic
                                              yO




        Attorney
                                           op




        Address
                                         lC




        City                               State              Zip              E-Mail Address
                                  icia




        Bar Card/SPN Number                                                                R.P. SKIP CORNELIUS
                            off




                                                                                               SBN 04831500
                       Un




                                                                                             2028 Buffalo Terrace
        Phone Number                                                                        Houston, Texas 77019
                                                                                             Phone 713 237 8547
                                                                                              Fax 713 528 0153
        Fax Number
                   The Court further ORDERS the cause set for :
        on the                  day of                              2oW      at 9:00 a.m. at 120rTtranklin, Houston, Harris
        County, Texas.
                   Signed this         \^ day of
                                                                    Judge Presiding




                                                                                                                     0002789
                                                              DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 398 of 479



THE STATE OF TEXAS                                       02529457                         D A. LOG NUMBER:1777777
VS.                                                                                       CJIS TRACKING NO.:9166892333-A002
 JUAN MANUEL LUCIO-LOPEZ                       SPN:                                       BY: NMC DA NO: 1777777
                                               DOB:                                       AGENCY.HPD
                                               DATE PREPARED: 8/13/2011                   O/RNO: 10491181ID
                                                                                          ARREST DATE: 8/13/2011
NCIC CODE: 5004 30                            RELATED CASES: ONE OTHER FELONY
FELONY CHARGE: RETALIATION
CAUSE NO:                                                                                  BAIL: $55,000
HARRIS COUNTY DISTRICT COURT NO:                                1316522                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                             338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                         o#
The duly organized Grand Jury of Harris Comity, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
                          -
JUAN MANUEL LUCIO LOPEZ, hereafter styled the Defendant, heretofore on or about AUGUST 13, 2011, did then and there unlawfully,
intentionally and knowingly harm and threaten to harm SANTOS LIRA by an unlawful act, namely MURDER/ASSAULT, in retaliation for and
on account of the service and status of SANTOS LIRA as a PERSON WHO HAS REPORTED THE OCCURRENCE OF A CRIME.




                                                                                          F Chris
                                                                                            I LDaniel
                                                                                                  ED
                                                                                              District Clerk
                                                                                            OCT 07 2011
                                                                                                 1 CT- S5



AGAINST THE PEACE AND DIGNITY OF THE STATE.                                            Foreman


                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                        0002790
    Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 399 of 479
     CAUSE NO.                                 CHARGE

     THE STATE OF TEXAS                                                                   DISTRICT COURT
     VS.                                                                    OF HARRIS COUNTY, TEXAS

                                        N\aW-WuJsS
     Defendant

     TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                      (name) , the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire aq attorney.         J
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                                                                     ( name), a WITNESS in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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     justice and would show the Court that he / she is financially unable to hire an attorney.




                                                                                   ist
                                                                  Witness
                                                                                D
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                  Sworn to and subscribed before me on this , the                day of

            1L E W
                                                                        rge


                                                                  Deputy District Clerk
                                                                                                       a
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              AUG 19 20        "                                  Harris County, Texas
                                                             lyn




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r rne:        “
               Harris County.19* *
                                3                 F.R APPOINTING COUNSEL
                                                        ari




By                    Deputy

                  On this, the            day of    N                           , 20   W . the Court determined that the
                                                     fM




     above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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     reprint
                      ^   defendant / wiftiessroamed above in this cause.
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     City                             State           Zip                   E-Mail Address
                               icia




     Bar Card/SPN Number
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     Phone Number


     Fax Number                                          ^
                  The Court further ORDERS the cause set for :
     on the                day of                            .   , 20    at 9:00 a.m. at 1201 Franklin, Houston, Harris
     County , Texas.
               Signed this                ay of             V)


                                                                 Judge Presiding




                                                                                                                  0002791
                                                       DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 400 of 479



• THE STATE OF TEXAS                                         02402910                         D A. LOG NUMBER:1776669
                                                                                              CJIS TRACKING NO.:
                                 HEWS             SPN:                                        BY: VF DA NO: 002268150
                                                  DOB:                                        AGENCY:HCSO
                                                  DATE PREPARED: 8/14/2011                    O/RNO: HC110105932
                                                                                              ARREST DATE: TO BE
 NCIC CODE: 7099 63                              RELATED CASES:
 FELONY CHARGE: HARASSMENT OF PUBLIC SERVANT
 CAUSE NO:                                                                                      BAIL: $5000
 HARRIS COUNTY DISTRICT COURT NO:          1316603
 FIRST SETTING DATE:                       338
                                                                                                PRIOR CAUSE NO:
                                                                                                               _
 IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                  Mi
 Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
 Court of Harris County, Texas, that in Harris County, Texas, KAYLA MICHELE MATTHEWS, hereafter styled the Defendant, heretofore on
 or about AUGUST 9, 2011, did then and there unlawfully, with the intent to HARASS, cause V. GAMBOA, hereafter styled the Complainant,
 whom the Defendant knew to be a public servant, to contact the SALIVA of THE DEFENDANT, WHILE THE COMPLAINANT WAS
 LAWFULLY DISCHARGING AN OFFICIAL DUTY.

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 AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                    ,                 V    CkxujdCorArCiOiu y \ toiiT?, T7s
                                        ASSISTANt DISTRICT ATTORNEY               T     v   NOT          BAR QA1D
                                        OF HARRIS COUNTY, TEXAS


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                                                                                                                               0002792
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        CAUSE NO.
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     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 401 of 479> \
                                                                               CHARGE           CL< V<*O          rxwso.V\
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                                                                                                                            '
                                                                                                                          fnr
        THE STATE OF TEXAS                                                                    DISTRICT COURT
        VS.                                                                    OF HARRIS COUNTY, TEXAS

        A      VJi Q.<\
        Defendant
                                         V.   VJ   g N. Ch   - Lr,
        TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                          ( name), the DEFENDANT in the above styled and
        numbered cause respectfully petitions the Court to appoint coimssl to represent hips,/ her in this cause and would
        show the Court that he / she is financially unable to hire airaitorneV            /J
                                                                                                 4 C
                                                                     Defendant /                 *




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                                                                                              tC
                                                                        ( name), a WITNESS in the above styled and
        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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        justice and would show the Court that he / she is financially unable to hire an attorney.




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                                         subscribed before me on this, the                                                     .
           I STrDanielaj
         F Chris            ^^                                                      day of                            , 20
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               District Clerk
                                                                     Deputy District Clerk
               AUG 16 2011
                                                                        Bu



                                                                     Harris County, Texas
Time:
                             .
                                                                    lyn




                 Harris County Texas
By                                            ORDER APPOINTING COUNSEL
                       Deputy
                                                                ari




                    On this, the               day of                              . 20   V\ , the Court determined that the
                                                                ^
                                                             fM




                                                                        5
        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
        financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                                        eo




        represent the defendant / witness named above in this cause.
                                                    ffic
                                              yO




        Attorney
                                           op




        Address
                                         lC




        City                               State              Zip              E-Mail Address
                                  icia




        Bar Card/SPN Number                                                                R.P. SKIP CORNELIUS
                            off




                                                                                               SBN 04831500
                       Un




                                                                                             2028 Buffalo Terrace
        Phone Number                                                                        Houston, Texas 77019
                                                                                             Phone 713 237 8547
                                                                                              Fax 713 528 0153
        Fax Number
                   The Court further ORDERS the cause set for :
        on the                  day of                              2oW      at 9:00 a.m. at 120rTtranklin, Houston, Harris
        County, Texas.
                   Signed this         \^ day of
                                                                    Judge Presiding




                                                                                                                     0002793
                                                              DISTRICT CLERK
                                                      - on 01/05/23 in TXSD Page 402 of 479
                 Case 4:17-cv-03621 Document 89-8 Filed
                                                  i




  THE STATE OF TEXAS                                         02529457                        D.A. LOG NUMBER:1778186
  VS.                                                                                        CJIS TRACKING NO. :9166892333-D001
  JUAN MANUEL LUCIO LOPEZ       -                 SPN:
                                                  DOB:
                                                                                             BY: KL DA NO: 002311840
                                                                                             AGENCY:HPD
                                                  DATE PREPARED: 8/15/2011                   O/RNO: 10491181ID
                                                                                             ARREST DATE: 8/13/11
. NCIC CODE: 2901 26                                                                                .
                                                 RELATED CASES: REFILE OF CAUSE NO 1316521 / 338TH DISTRICT COURT
  FELONY CHARGE: AGGREGATE CRIMINAL MISCHIEF
  CAUSE NO:                                                                                    BAIL: $52,000
                                                                                                             -   #
  HARRIS COUNTY DISTRICT COURT NO:         1316624                                             PRIOR CAUSE NO:
  FIRST SETTING DATE:                      338

  IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                               -v
  The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
  JUAN MANUEL LUCIO-LOPEZ, hereafter styled the Defendant, heretofore on or about AUGUST 13, 2011, did then and there unlawfully, ,
  intentionally and knowingly DAMAGE tangible property, namely MOTOR VEHICLES, owned by SHEQUILLE BURRELL, JOSE
                            -
  HERIBERTO HERRERA CELIS, LIZET MACEDO, AND SANTOS LUNA, persons having a greater right to possession of the property than
  the defendant and hereafter styled the Complainants without the effective consent of the Complainants, namely, without any consent of any kind,
  and the value of the pecuniary loss so inflicted was over one thousand five hundred dollars and under twenty thousand dollars, by REMOVING
  THE DOOR LOCKS WITH AN UNKNOWN OBJECT.                                            -

                                                                              -
  It is further presented that in Harris County, Texas, JUAN MANUEL LUCIO LOPEZ, hereafter styled the Defendant, heretofore on or about
  AUGUST 13, 2011, did then and there unlawfully, intentionally and knowingly DAMAGE tangible property, namely MOTOR VEHICLES,
  owned by SHEQUILLE BURRELL, JOSE HERIBERTO HERRERA-CELIS, LIZET MACEDO, AND SANTOS LUNA, persons having a
  greater right to possession of the property than the defendant and hereafter styled the Complainants without the effective consent of the
  Complainants, namely, without any consent of any kind, and the value of the pecuniary loss so inflicted was over one thousand five hundred
  dollars and under twenty thousand dollars, by DAMAGING THE IGNITION WITH AN UNKNOWN OBJECT.
                                                              -

  It is further presented that in Harris County, Texas, JUAN MANUEL LUCIO-LOPEZ, hereafter styled the Defendant, heretofore on or about
  AUGUST 13, 2011, did then and there unlawfully, intentionally and knowingly DAMAGE tangible property, namely MOTOR VEHICLES,
  owned by SHEQUILLE BURRELL, JOSE HERIBERTO HERRERA-CELIS, LIZET MACEDO, AND SANTOS LUNA, persons having a
  greater right to possession of the property than the defendant and hereafter styled the Complainants without the effective consent of the
  Complainants, namely, without any consent of any kind, and die value of the pecuniary loss so inflicted was over one thousand five hundred
  dollars and under twenty thousand dollars, by REMOVING STEREO SYSTEMS FROM THE MOTOR VEHICLE DASHBOARDS WITH AN
  UNKNOWN OBJECT.
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                                                                                           OCT 01 2011




  AGAINST THE PEACE AND DIGNITY OF THE STATE.
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                                                                                               Foreman


                                                                             FOREMAN OF THE GRAND JURY

                                                                  INDICTMENT
                                                                                                                              0002794
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 403 of 479
     CAUSE NO.                                                                    CHARGE

     THE STATE OF TEXAS
     VS.
                                                                                  22&                 DISTRICT COURT
                                                                                  OF HARRIS COUNTY,- TEXAS
          C                                              WQO\ N \
     Defendant
                                       o
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     TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                       ie), the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint/coun4ei to represent hitn /4ier indiis cause and would



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                                                                     ( name), a WITNESS in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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     justice and would show the Court that he / she is financially unable to hire an attorney.




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              N)6 .n         *«"                                   Deputy District Clerk
                                                                   Harris County, Texas
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                Hants                               ER APPOINTING COUNSEL
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By

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               On this, the                    day of                                      , 20
     above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                                                        eo




     financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
     represent the defendant / witness named above in this cause.
                                                  ffic
                                               yO




     Attorney
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     Address
                                   lC




     City                              State             Zip                           -
                                                                                 E Mail Address
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                         off




     Bar Card/SPN Number                                                                     R.P. SKIP CORNELIUS
                                                                                                 SBN 04831500
                 Un




                                                                                               2028 Buffalo Terrace
     Phone Number                                                                                 Houston, Texas 77019
                                                                                                   Phone 713 237 8547
                                                                                                    Fax 713 528 0153
     Fax Number
               The Court further           oftOijRf’           set f°r :                   AUG 17 2011             fllAO
    on the                day of                                  20             at 9:00 a.m. at 1201 Franklin, Houston, Harris
     County , Texas.
               Signed this        V \iay of                                                , 20                          -/ Si
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                                                                                                                             0002795
                                                         DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 404 of 479



THE STATE OF TEXAS                   01141636                                                D.A. LOG NUMBER:1778405
VS.                                                                                          CJIS TRACKING NO.:916689865X-A001
               IERNARD HAMLETT SPN:                                                          BY: SP DA NO: 002271451
                               DOB:                                                          AGENCY:HPD
                               DATE PREPARED: 8/15/2011                                      O/RNO: 105948911
                                                                                             ARREST DATE: 08-15 2011           -
NCIC CODE: 2300 79                              RELATED CASES:                                                                 (U
                                 -
FELONY CHARGE: THEFT THIRD OFFENDER
CAUSE NO:
                                                                                                                          £
                                                                                               BAIL: $15000
HARRIS COUNTY DISTRICT COURT NO:                                  1316714                      PRIOR CAUSE NO:
FIRST SETTING DATE:                                               338                                        ,f   .
                                                                                                         c



IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, CHRISTOPHER BERNARD HAMLETT, hereafter styled the Defendant,
heretofore on or about AUGUST 15, 2011, did then and there unlawfully, commit an offense hereafter styled the primary offense in that he did
appropriate by acquiring and otherwise exercising control over property, namely, ONE VIDEO GAME CONSOLE WIRELESS REMOTE
CONTROL AND FTVE BOXES OF FLEA REPELLANT, owned by J. CORMIER, hereafter styled the Complainant, of the value of under one
thousand five hundred dollars, withthe intent to deprive the Complainant of the property.

Before the Commission of the primary offense, on JANUARY 10, 2011, in Cause No. 1291329, in the 183RD DISTRICT COURT of HARRIS
County, Texas, the Defendant was convicted of the felony offense of THEFT.
                                                                           :
Before the Commission of the primary offense, on AUGUST 18, 2010, in Cause No. 1274440, in the 179TH DISTRICT COURT of HARRIS
County, Texas, the Defendant was convicted of the felony offense of THEFT.

Before the commission of the offense alleged above, on NOyEMBER 14, 2003, in Cause No. 0967914, in die 185TH DISTRICT COURT of
HARRIS County, Texas, the Defendant was convicted oPtfie felony offense of ATTEMPTED BURGLARY OF A HABITATION.




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                                                                                                              District Clerk
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                                                                                             By .
AGAINST THE PEACE AND DIGNITY
                                                                                                                      Deputy



                                        ASSET; NT DISTRICT ATTORNEY
                                        OF HAR US COUNTY, TEXAS
                                                                                                             BAR CARD NO.
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                                                                 INFORMATION                          RECORDER' S MEMORANDUM
                                                                                                      This instrument is of poor quality
                                                                                                            at Ihe time of imaging 0002796
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 405 of 479
 CAUSE NO.      i^KvkT
                                          ^n
                                           CHARGE \        &-                                VN
 THE STATE OF TEXAS                                                  331                 DISTRICT COURT
  VS.                                                                    OF HARRIS COUNTY, TEXAS

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 Defendant
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 TO THE HONORABLE JUDGE OF SAID COURT: (check one


                                                                  ( name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire airattorney.

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                                                              Defendant




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                                                                 (name), a WITNESS in the above styled and
 numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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 justice and would show the Court that he / she is financially unable to hire an attorney.




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                 17 20
                              "                               Deputy District Clerk
                                                              Harris County, Texas
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Time:

By
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                   Deputy
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 above named defendant / witness has           executed an   affidavit stating that he / she is without counsel and is
                                               eo




 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
 represent the defendant / witness named above in this cause.
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 Attorney
                                  op




 Address
                              lC




 City                             State            Zip                  E-Mail Address
                      icia




                                                                                    R P. SKIP CORNELIUS
                   off




 Bar Card/SPN Number
                                                                                         SBN 04831500
              Un




                                                                                      2028 Buffalo Terrace
 Phone Number                                                                        Houston, Texas 77019
                                                                                      Phone 713 237 8547
                                                                                         Fax 713 528 0153
 Fax Number
           The Court further ORDERS the cause set for :
                                                                     AUGlTZOtli
 on the            day of                                .   , 20       at 9:00 a .m. at 1201 Franklin, Houston, Harris
 County , Texas.              AUG 17 2011
           Signed this               day of              \


                                                              Judge RjsSMii




                                                                                                                 0002797
                                                   DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 406 of 479
                                                                                                                                          J
THE STATE OF TEXAS                                          02389225                         D.A. LOG NUMBER;1778495
VS.                                                                                          CJ1S TRACKING N0.:9166900034-A001
JORDAN LEE LANE                                   SPN:                                       BY: CS DA NO; 050789901
                                                  DOB:|                                      AGENCYDEER PARK PD
                                                  DATE PREPARED: 8/16/2011                   O/RNO: 1103295
                                                                                             ARREST DATE: 08/16/2011
NCIC CODE: 2300 79                                RELATED CASES:
                                 -
FELONY CHARGE: THEFT THIRD OFFENDER                                                                               (W
                                                                                                                    It
CAUSE NO:                                                                                      BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO:                                   1316737                     PRIOR CAUSE NO:
FIRST SETTING DATE:                                                338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                  fW
Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, JORDAN LEE LANE, hereafter styled the Defendant, heretofore on or about
AUGUST 16, 2011, did then and there unlawfully, commit an offense hereafter styled the primary offense in that he did appropriate by acquiring
and otherwise exercising control over property, namely, ONE CASE OF BEER, owned by BRYCE QUICK, hereafter styled the Complainant, of
the value of under one thousand five hundred dollars, with the intent to deprive the Complainant of the property.

Before the commission of the primary offense, on OCTOBER 25, 2010, in Cause Number 1714976, in the COUNTY CRIMINAL COURT AT
LAW NO. 4, of HARRIS County, Texas, the Defendant was convicted of the MISDEMEANOR OF THEFT.
                                                                            2
Before the commission of the primary offense, on OCTOBER 5, 2009, in Cause Number 1223682, in the 339TH DISTRICT COURT of HARRIS
County, Texas, the Defendant was convicted of the FELONY OF THEFT.

Before the commission of the offense alleged a)    e (hereinafter styled the primary offense), on DECEMBER 29, 2010, in Cause Number
1286211, in the 176TH District Court of ]          County, Texas, the Defendant was convicted of the state jail felony offense of
UNAUTHORIZED USE OF A MOr
                                                          \y            (2s
Before the commission of the primary offense, the Defendant committed the state jail felony offense of CRIMINAL MISCHIEF and was

                                                                    ^"
convicted on OCTOBER 5, 2009, in Cause Number 1223683 in tjje 39TH District Court of HARRIS County, Texas.


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AGAINST THE PEACE AND DIGNITY OF HE STATE.



                                        ASSIS'     sIT DISTRICT ATTORNEY
                                                                                                 7^4ovi M-a-      '

                                                                                                         BAR CARD NO.
                                        OF         IS COUNTY, TEXAS
                                                                                                     RECORDER'S MEMORANDUM
                                                                                                     This instrument is of poor quality
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                                                                                                                                0002798
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 407 of 479
                                                                ~\ Tr                                                       l
 CAUSE NO.

     THE STATE OF TEXAS
                                           CHARGE          >           \
                                                                                            ^     SS V\
                                                                                              DISTRICT COURT           ^   CTv

     VSL                                                                  OF HARRIS COUNTY , TEXAS )


     Defendant

     TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                      ( name), the DEFENDANT in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire an attorney
                                                                                ^
                                                                Defendant




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                                                                     ( name), a WITNESS in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




                                                                                           ric
     justice and would show the Court that he / she is financially unable to hire an attorney.




                                                                                      ist
                                                                Witness
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                                      scribed before me on this , the                day of                            , 20      .
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              Chris Daniel
              District Clerk
                                                               Deputy District Clerk
                                                                 Bu



                      '

              AUG 1 8 20 H                                     Harris County, Texas
                                                             lyn




Time:
               Harris County, Texas     T5RDER APPOINTING COUNSEL
By
                     Deputy
                                                          ari




             On this, the                 day of                                .,   20   \\ . the Court determined that the
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                                                      fM




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  above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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  financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
  represent the defendant / witness named above in this cause.
                                              ffic
                                         yO




  Attorney
                                    op




  Address
                                  C




  City                                State            Zip                  -
                                                                          E Mail Address
                               l
                          icia




  Bar Card/SPN Number                                                                     R .P. SKIP CORNELIUS
                      off




                                                                                               SBN 04831500
                                                                                             2028 Buffalo Terrace
                 Un




                                                                                           Houston, Texas 77019
  Phone Number
                                                                                            Phone 713 237 8547
                                                                                             Fax 713 528 0153

  Fax Number
             The Court further ORDERS the cause set for :
           7Z
 on the
 County, Texas.
                      day of                                  , 20
                                                                     ^   at 9:00 a.m. at 120
                                                                                           OU/ranklin, Houston, Harris
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             Signed this
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                                                       DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 408 of 479



THE STATE OF TEXAS                                        02382248                          D.A. LOG NUMBER;1778430
VS.                                                                                         CJIS TRACKING N0..9166899095-A002
 DANIEL MARTINEZ                                 SPN:                                       BY; CS/AC DA NO: 002294141
                                                 DOB:                                       AGENCY:HPD
                                                 DATE PREPARED: 8/16/2011                   O/RNO: 106062911
                                                                                            ARREST DATE; 08/15/2011
NCIC CODE: 1399 03                              RELATED CASES:
FELONY CHARGE: Assault of Family Member Second Offender and Impeding Breathing
CAUSE NO:                                         1316787                BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                         PRIOR  CAUSE NO:
FIRST SETTING DATE:
                                                  338
                                                                               V '
                                                                                                    ,  -V   '


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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                                               .
The duly organized Grand Jury of Harris County Texas, presents in the District Court of Hanis County, Texas, that in Harris County, Texas,
DANIEL MARTINEZ, hereafter styled the Defendant, heretofore on or about AUGUST 15, 2011, did then and there unlawfully, intentionally
and knowingly cause bodily injury to ELIZABETH TORRES, hereafter styled the Complainant, a person with whom the Defendant had a dating
relationship, by impeding the normal breathing or circulation of the blood of the Complainant by applying pressure to the Complainant's throat and
applying pressure to the Complainant's neck.

It is further presented that, before the commission alleged above, the Defendant, on JUNE 7, 2004, in the COUNTY CRIMINAL COURT AT
LAW NO. 7 of HARRIS County, Texas, in Cause Number 1240681, was convicted of ASSAULT OF A FAMILY MEMBER, which was
committed against a member of the Defendant's family.




                                                                                     .   FILED
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                                                                                            T 0 3 2011
                                                                                              County. Texas

                                                                                              Deputy




AGAINST THE PEACE AND DIGNITY OF THE STATE                    .

                                                                            FOREMAN OF THE GRAND JURY

                                                                  INDICTMENT
                                                                                                                            0002800
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 409 of 479
  CAUSE NO          .\                 Ifstav
                                            CHARGE

      THE STATE OF TEXAS                                           2SI                   DISTRICT COURT                     .
                                                                      OF HARRIS COUNTY, T


     Defendant

     TO THE HONORABLE JUDGE OF SAID COURT: (check one)



     numbered  cause respectfully  petitions the Court to appoint counsel
     show the Court that he / she is financially unable to hire an/ttorney.
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                                                                     (name), the DEFENDANT in the above styled and
                                                                          to represent him / her in this cause and would


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                                                                     ( name), a WITNESS in the above styled and
     numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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     justice and would show the Court that he / she is financially unable to hire an attorney.




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               Sworn to and subscribed before me on this, the                  day of                                           , 20
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         aassA                                             Deputy District Clerk
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                                                           Harris County, Texas

              AUG 18 20«
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                                        ORDER APPOINTING COUNSEL
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     above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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     represent the defendant / witness named above in this cause.
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     Attorney
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     City                             State         Zip                  -
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     Bar Card/SPN Number                                                            R.P. SKIP CORNELIUS
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                                                                                        SBN 04831500
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                                                                                      2028 Buffalo Terrace
     Phone Number                                                                    Houston, Texas 77019
                                                                                      Phone 713 237 8547
                                                                                       Fax 713 528 0153
     Fax Number
              The Court further ORDERS the cause set for :
     on the               day of                           20      at 9:00 a.m. at 1201 Franklin, Houston, Harris
     County, Texas    .
              Signed this                day of .                            , 20   Ai
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 410 of 479




THE STATE OF TEXAS                                          02275754                         D.A. LOG NUMBER:1778674
VS.                                                                                          CJIS TRACKING NO.:9166901510 A001      -
JEREMY MICHAEL GONZALEZ                          SPN:                                        BY: CS DA NO: 002359767
                                                 DOB:|                                       AGENCY:HPD
                                                 DATE PREPARED: 8/17/2011                    O/RNO: 106273511
                                                                                             ARREST DATE: 08/16/2011

NCIC CODE: 3562 18                               RELATED CASES:
FELONY CHARGE: POSSESSION OF MARIHUANA
CAUSE NO:                                                                                      BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:
                                                                    1316826
                                                                                               PRIOR CAUSE NO:
FIRST SETTING DATE:                                                 338                               o.



IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of tfae State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, JEREMY MICHAEL GONZALEZ, hereafter styled the Defendant, heretofore on
or about AUGUST 16, 2011, did then and there unlawfully, intentionally and knowingly possess marijuana in a usable quantity of more than four
ounces and less than five pounds.




                                                                                                   * ISSSSAt«
                                                                                                           M)6 18       "
                                                                                             Time .


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 AGAINST THE PEACE AND DIGNITY OF THE STATE                     .

                                        ASSISTANT DISTRICT ATTOR «1EY                                      BAR CARD NO.
                                        OF HARRIS COUNTY, TEXAS /


                                                                 INFORMATION
                                                                                                                               0002802
            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 411 of 479
             CAUSE NO.                                CHARGE

                                                                                      3                    RICT COURT
                                                                                      OF HARRIS COUNTY, TEXAS




            TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                           (name), the DEFENDANT in the above styled and
                      cause respectfully
             lumberedCourt he she is financially unable to hire an
                                         petitions the Court to appoint counseLtj      :sent him / her in this cause and would
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                                                                            ( name), a WITNESS in the above styled and
            numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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            justice and would show the Court that he / she is financially unable to hire an attorney.




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                        Sworn to and subscribed before me on this, the                         day of                          ., 21

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          I LDaniel
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              District Clerk                                               Deputy District Clerk
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              NOV - 8 2011                                                 Harris County, Texas
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Time:
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               Harris County Texas              ORDER APPOINTING COUNSEL
By

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                     Deputy
                        On this, the                day of                                 ., 20   / f. the Court determined that the
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            above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
            financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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            on the .               day of                                , 20   M    at 9:00 a.m. at f2Ql Franklin, Houston, Harris
            County, Texas.
                        Signed this
                                                    NOV - 8 2011
                                                day of                                     , 20.


                                                                          Judge Presidii




                                                                                                                               0002803
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 412 of 479

                                                                                                                                         J
THE STATE OF TEXAS                                      00569866                         D A. LOG NUMBER:1778622
VS.                                                                                      CJIS TRACKING NO. 9166900956-A001
 JOHN V, DANNA                                 SPN:                                      BY: BJE DA NO: 002294141
                                               DOB:                                       AGENCYHPD
                                               DATE PREPARED: 8/17/2011                   O/RNO: 106319811 R
                                                                                          ARREST DATE: 8-16-11

NCIC CODE: 1314 14                            RELATED CASES:
FELONY CHARGE: Assault - Family Violence - 2nd Offender
                                                                                                           :>
CAUSE NO:                                                                                 BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO:                     1316831
                                                                                          PRIOR CAUSE NO:
FIRST SETTING DATE:                                  339

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Hams County, Texas, presents in the District Court of Hams County, Texas, that in Harris County, Texas,
JOHN V. DANNA, hereafter styled the Defendant, heretofore on or about AUGUST 16, 20,11, did then and there unlawfully, intentionally and
knowingly cause bodily injury to LEILANI KIMBRELL , hereafter styled the Complainant, A MEMBER OF THE DEFENDANT'S
HOUSEHOLD, by STRIKING THE COMPLAINANT WITH HIS HAND.

It is further presented that before the commission alleged above, the Defendant, on FEBRUARY 2, 2011, in the COUNTY CRIMINAL COURT
AT LAW NO. 9 of HARRIS County, Texas, m Cause No. 1719689, was convicted of ASSAULT which was committed against a MEMBER OF
THE DEFENDANT'S FAMILY.
                                                                     dS
Before the commission of the offense alleged above, (hereafter styled the primary offense), on FEBRUARY 22, 1991, in Cause Number 0565445,
in the 177TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of INVOLUNTARY
MANSLAUGHTER.
                                                             /
Before the commission of the primary offense, and after the conviction in Cause Number 0565445 was final, the Defendant committed the felony
of ROBBERY and was finally convicted of that offense on OCTOBER 13, 1995, in Cause Number 0693773, in the 180TH DISTRICT COURT
ofHARRIS County, Texas.
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AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                               foreman


                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                      0002804
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 413 of 479
          CAUSE NO.                                CHARGE

         THE STATE OF TEXAS                                                                  DISTRICT COURT
         VS.                                                                 OF HARRIS COUNTY, TEXAS

          VJJ ' W                                                   ><\
         Defendant

         TO THE HONORABLE JUDGE OF SAID COURT: (check one )



                                                                         ( name), the DEFENDANT in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
         show the Court that he / she is financially unable to hire an .    ley .


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                                                                   Defendant




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                                                                         ( name), a WITNESS in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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         justice and would show the Court that he / she is financially unable to hire an attorney.




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                                and subscribed before me on this , the                                                           .
        FILW                                                                        day of                           , 20
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         Chris Daniel
         District Clerk
                                                                   Deputy District Clerk
                                                                    Bu



         AUG 18 2011                                               Harris County , Texas
Time:
                                                              lyn




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          Hams County Texas              ORDER APPOINTING COUNSEL
By .
                Deputy
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                   On this, the            day of             VJ
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         above named defendant / witness has executed an        affidavit stating that he / she without counsel and
                                                                                                      is                    is
         financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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         represent the defendant / witness named above in this cause.
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         Attorney
                                         op




         Address
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         City                          State            Zip                  E-Mail Address
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         Phone Number                                                                      2028 Buffalo Terrace
                                                                                          Houston, Texas 77019
                                                                                           Phone 713237 8547
                                                                                            Fax 713 528 0153
         Fax Number
                  The Court further ORDERS the cause set for :
         on thev O
                  ^           day of                            20   \X- at 9:00 a.m. at 1201 Franklin, Houston, Harris




                                                                                                                     —
         County, Texas.
                  Signed this             day of .   VN O
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 414 of 479



THE STATE OF TEXAS                                       00892032                       DA LOG NUMBEIL1778711
VS.                                                                                     CJIS TRACKING N0.:9166901863 A001    -
 WILLIAM GRIFFIN                              SPN:                                      BY: BJE DA NO: 001978003
                                              DOB:                                      AGENCY:HPD
                                              DATE PREPARED: 8/17/2011                  O/RNO: 106444411 P
                                                                                        ARREST DATE: 8-16-11

NCIC CODE: 1314 08                            RELATED CASES:
FELONY CHARGE: Assault of Family Member -Impeding Breathing
CAUSE NO:                                                                                 BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                 1316848                  PRIOR CAUSE NO:
FIRST SETTING DATE:                                              338
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EM THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
WILLIAM GRIFFIN, hereafter styled the Defendant, heretofore on or about AUGUST 16, 2011, did then and there unlawfully, intentionally and
knowingly cause bodily injury to CRYSTAL BRADSHAW, hereafter styled the Complainant, a PERSON WITH WHOM THE DEFENDANT
HAD A DATING RELATIONSHIP, by impeding the normal breathing and circulation of the blood of the Complainant by APPLYING
PRESSURE TO THE COMPLAINANT'S NECK.




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AGAINST THE PEACE AND DIGNITY OF THE STATE                  .

                                                                        FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                        0002806
                                                                                                            O N j f M f p T V ) \ a> vH*r
           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 415 of 479
            CAUSE NO.                                 CHARGE
                                                                                                                                      J
              THE STATE OF TEXAS                                                                DISTRICT COURT
              VS.                                                                OF HARRIS COUNTY, TEXAS

              C      N
                       \\ < vs\ o                                                    5
              Defendant

              TO THE HONORABLE JUDGE OF SAID COURT: (check one)



                                                                               ( name), the DEFENDANT in the above styled and
              numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
              show the Court that he / she is financially unable to hire an atto/nay         *




                                                                     Defendant




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                                                                             ( name), a WITNESS in the above styled and
             numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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             justice and would show the Court that he / she is financially unable to hire an attorney.




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        Ji Chris                                                                      day of                             , 20
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           District Clerk
                                                                     Deputy District Clerk
          AUG 1 9 2011
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                                                                     Harris County, Texas
Time:
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            Harris County Texas
By                                             ORDER APPOINTING COUNSEL
                  Deputy


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                             On this, the        day of                              , 20 \   \ . the Court determined that the
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             above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
             financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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             represent 4H3 defendant/ witiftss named above in this cause.

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            Fax Number     ^71 - lirf?F<ni
                           The Court further ORDERS the cause set for :
            on the       \\     Q day   of                          , 2o\   \   at 9:00 a.m. at 1201 Franklin, Houston, Harris
            County, Texas.
                         Signed this    xa    . day of      K                          vt



                                                                    Judge Presiding




                                                                                                                         0002807
                                                             DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 416 of 479
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THE STATE OF TEXAS                                              01218071                     D.A. LOG NUMBER;1778845
VS.                                                                                          CJIS TRACKING NO.:
CHRISTOPHER R. RHODES                             SPN:                                       BY: CS DA NO: 002466671
                                                  DOB;                                       AGENCY.HPD
                                                  DATE PREPARED: 8/18/2011                   O/RNO: 105897011
                                                                                             ARREST DATE: 08/13/2011

NCIC CODE: 1314 14                              RELATED CASES:
                                -
FELONY CHARGE: Assault Family Violence 2nd Offender
CAUSE NO:
                                                       -                                                        &
                                                                                                                b
                                                                                               BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                    1316953                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                                 338                                    a

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                                  '
                                                                                                 ,   N

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of die State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, CHRISTOPHER R. RHODES, hereafter styled the Defendant, heretofore on or
about AUGUST 12, 2011, did then and there unlawfully, intentionally and knowingly cause bodily injury to LYNNELL MORRISON, hereafter
styled the Complainant, a person with whom the Defendant had a dating relationship, by SHOVING THE COMPLAINANT TO THE GROUND
WITH HIS HAND.                                                                         X
                                                                                   :
It is further presented that in Harris County, Texas, CHRISTOPHER R. RHODES, hereafter styled the Defendant, heretofore on or about
AUGUST 12, 2011, did then and there unlawfully intentionally and knowingly cause bodily injury to LYNNELL MORRISON, hereafter styled
the Complainant, a person with whom the Defendant had a dating relationship, by STRIKING THE COMPLAINANT WITH HIS HAND.

It is further presented that before the compassion alleged above, the Defendant, on MAY 24, 2004, in the COUNTY CRIMINAL COURT AT
LAW NO. 8 of HARRIS County, TjxdsTm Cause No. 1238063, was convicted of ASSAULT which was committed against a member of the
Defendant's family.

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 AGAINST THE PEACE AND DIGNITY OF THE STATE.


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                                        ASSIST  ;           DISTRICT ATTORNEY                             BAR CARD NO.
                                        OF                  COUNTY, TEXAS


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     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 417 of 479
      CAUSE NO.                                 CHARGE                       O< V


        THE STATE OF TEXAS                                                               DISTRICT COURT
        VS.                                                              OF HARRIS COUNTY, TEXAS
                                           Q,
        Defendant

        TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                         (name), the DEFENDANT in the above styled and
        numbered cause  respectfully  petitions the Court to appoint  counsel to represent him / her in this cause and would
        show the Court that he / she is financially unable to hire an attorney.


                                                               Defendant




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                                                                        ( name), a WITNESS in the above styled and
        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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        justice and would show the Court that he / she is financially unable to hire an attorney.




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                 Sworn to and subscribed before me on this, the                 day of                             j   20   .
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            I LDaniel
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               District Clerk                                  Harris County, Texas
               AUG 19 2011
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                                               ORDER APPOINTING COUNSEL
Time:                       .
                Harris County Texas
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        above named defendant / witness has executed anamdavit stating that he / she is without counsel and is
        financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                 The Court further ORDERS the cause set for :
      on the   S<5> day of                                    , 20    at 9:00 a.m. at 1201 Franklin, Houston, Harris
      County, Texas.
                                                                                                           Y
                Signed this
                                                                                                               t
                                                               Judge Presiding




                                                                                                                   0002809
                                                        DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 418 of 479
                                                                                                               OlfS

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                                                                                                 I «15
THE STATE OF TEXAS                                                                          DA. LOG NUMBER:1779038
VS.                                                                                         CJIS TRACKING N0.:9166905389 A001    -
 TAMISHA RENEE JONES                            SPN:                                        BY: VF DA NO: 002397278
                                                DOB:|                                       AGENCY:HPD
                                                DATE PREPARED: 8/18/2011                    O/RNO: 106955911
                                                                                            ARREST DATE: 8 17 11
NCIC CODE: 3560 17                             RELATED CASES: CAROLYN BICKMAN; LINDA TURNER
FELONY CHARGE: DELIVERY OF MARIHUANA
CAUSE NO:                                                                                      BAIL
                                                                 1316985
HARRIS COUNTY DISTRICT COURT NO:                                                               PRIOR CAUSE NO:
FIRST SETTING DATE:                                              338

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, TAMISHA RENEE JONES, hereafter styled the Defendant,
heretofore on or about AUGUST 17, 2011, did then and there unlawfully intentionally and knowingly deliver by actual transfer more than one-
fourth ounce and less than five pounds of marihuana to T. PARKER .

   It is further presented that in Harris County, Texas, TAMISHA RENEE JONES, hereafter styled the Defendant, heretofore on or about
AUGUST 17, 2011, did then and there unlawfully, intentionally and knowingly deliver by constructive transfer more than one-fourth ounce and
less than five pounds of marihuana to T. PARKER.
                                                                       O'

   It is further presented that in Harris County, Texas, TAMISHA RENEE JONES, hereafter styled the Defendant, heretofore on or about
AUGUST 17, 2011, did then and there unlawfully, intentionally and knowingly deliver by offering to sell more than one-fourth ounce and less
than five pounds of marihuana to T. PARKER.




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                                                                                                   AUG 1 8 2011
                                                                                      Time :
                                                                                                      Hand Courtly. f
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                                                                                                            »wy         ldS2

AGAINST THE PEACE AND DIGNITY OF THE STATE.

           Sworn to and subscribed before me on August 18, 2011




    1ANT                                                                    ASSISTANT DISTRICT ATTORNEY                    BAR NO.
                                                                            OF       [SCI          , TEXAS.


                                                               COMPLAI1
                                                                                                                               0002810
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 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 419 of 479
  CAUSE NO.

   THE STATE OF TEXAS
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                                                                           -     jAumv
                                                                                    DISTRICT COURT
                                                                   OF HARRIS COUNTY, TEXAS


   Defendant

   TO THE HONORABLE JUDGE OF SAID COURT: (check one)




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   show the Court that he / she is financially unable to hire an attorney. [ (]
                                                                               the DEFENDANT in the above styled and
    JUnbdf &Tcause respectfully petitions the Court to appoint counsel to represent him/-her in,this cause and would
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                                                                  ( name), a WITNESS in the above styled and
  numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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  justice and would show the Court that he / she is financially unable to hire an attorney.




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  ‘' FrfLPWel
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                                                         Deputy District Clerk
                                                          Bu



                                                         Harris County , Texas
                                                      lyn




                                ORDER APPOINTING COUNSEL
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            On this, the          day of
                                             OCT 0 4 2011             .   , 20      , the Court determined that the
                                              fM




  above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
  financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                          eo




  represent the defendant / witness named above in this cause.
                                      ffic
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  Attorney
                              op




  Address
                           lC




  City                       State             Zip                 E- Mail Address
                     icia




  Bar Card/SPN Number                                                               R.P. SKIP CORNELIUS
                   off




                                                                                        SBN 04831500
                                                                                      2028 Buffalo Terrace
               Un




  Phone Number                                                                       Houston, Texas 77019
                                                                                      Phone 713237 8547
                                                                                       Fax 713 528 0153
  Fax Number


  on the
  County, Texas.
                                                       , 20
                                                           a
                                                     set for :
                                                                 at 9:00 a.m. at /201 Franklin, Houston, Harris


           Signed this           day of           sssjLLm
                                                                     -    1)


                                                        Judge Presiding




                                                                                                            0002811
                                               DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 420 of 479
      f



THE STATE OF TEXAS                                                                        D.A. LOG NUMBER;1779342
VS.                                                                                       CJIS TRACKING NO.:
 WALTER J. GAMBLE                               SPN: 01529344                             BY: CM DA NO. 002197869
                                                DOB:                                      AGENCY:CONSTABLE PCT8
                                                DATE PREPARED: 9/23/2011                  O/RNO: 110071420
                                                                                          ARREST DATE: TO BE

NCIC CODE: 2411 11                             RELATED CASES: ONE OTHER MISD
                                                                                                                  Sr
                                                                                                                  :
FELONY CHARGE: UNAUTHORIZED USE OF A VEHICLE
CAUSE NO: 1317118                                                                           BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO: 339                                                        PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                                                                     -
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
WALTER J. GAMBLE, hereafter styled the Defendant, heretofore on or about MAY 30, 2011, did then and there unlawfully, intentionally and
                          -
knowingly operate a motor propelled vehicle, namely, an automobile, owned by TRESHAN WILLIAMS, hereafter styled the Complainant,
without the effective consent of the Complainant.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on DECEMBER 3, 2001, in Cause Number 34,759, in
the 268TH DISTRICT COURT of FORT BEND County, Texas, the Defendant was convicted of the felony of POSSESSION OF A
CONTROLLED SUBSTANCE.

Before the commission of the primary offense, and after the conviction in Cause Number 34,759 was final, the Defendant committed the felony of
AGGRAVATED ASSAULT WITH A DEADLY WEAPON and was finally convicted of that offense on OCTOBER 3, 2006, in Cause Number
1032892, in the 178TH DISTRICT COURT of HARRIS County, Texas.




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                                                                                 Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                           0002812
                                                                                                                                                     I
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 421 of 479

CAUSE NO.

THE STATE OF TEXAS
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                                                                          ,
                                                                               CHARGE                  \

                                                                                                                      RICT COURT
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VS.



Defendant
            UWnfc
                           ^            WH
                                                C"             .gSS^     y-
                                                                          §                 HARRIS COUNTY, TEXAS

TO THE HONORABLE JUDGE OF SAID COURT:                             N


                                            (name),     [the DEFENDANT        a WITNESS in the above styled
and numbered cause respectfully petitions the Court to appoint counsel to represent him/her in this cause and
would show the Court that he/she is fii       unablejo hire an attorney.



                                                          efendant/Witness




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           Sworn to and subscribed before me on this, the                                   day of .                              20




                                                                                                       tC
                                                                               Deputy District Clerk




                                                                                                  ric
                                                                               Harris County, Texas




                                                                                              ist
                                           ORDER APPOINTING COUNSEL

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           On this, the                day of                   Qi                   , 20
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named defendant/ witness has executed an affidavit stating that he/ she is without counsel and is financially
                                                                      CUthe ATTORNEY LISTED BELOW dlthe HARRIS
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unable to hire an attorney. The Court ORDERS that
COUNTY PUBLIC DEFENDER'S OFFICE is appointed to represent the defendant/ witness named above in this
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cause.
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Attorney/ Assistant Public Defender Assigned by HCPD                           E-Mail Address
                                                                ari




                                                                               Phone Number
                                                                                                               R .P. SKIP CORNELIUS
                                                          fM




Address
                                                                                                                    S8N 04831500
                                                                                                                  2028 Buffalo Terrace
                                                                                                                Houston. Texas 77019
                                                    eo




City                           State            Zip                            Fax Number
                                                                                                                  Phone 713 237 8547
                                                                                                                  Fax 713 528 0153
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SPN Number                                                                     Bar Number
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The Court further ORDERS the cause set for:

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                ''2 0 day of
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On the
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Houston, Harris County, Texas.

Signed this      \ *~*^> day of                                       , 20.
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                                                                                                           fudge Presiding
| |    The State has offered or         | |The State and Defense agree as follows:
                  Un




 Defense Attorney (Initials)             Prosecutor (Initials)


                                                      FOR COURT STAFF ONLY
  Reset by: | | Court        | | Defense                  |     | Operation of Law                     Prosecution
  Reason for Reset:
 | | D.A. to Contact Complainant / Witness            | | Defense to Contact Witness                           | | Not Indicted
       D.A. to Evaluate Case                          | |      Disposition of Misc./OOC Case                       Other

       D.A. to Reindict                                        File Unavilable                                     Refer to

 | | D.A. to file MRP/MAJ                             |       1 MHMRA Evaluation                               | | Restitution Info
                                                                      21 Day         Full
 | | Defendant On Call                                | | No Tape/Lab                                          | | To Hire Attorney
       Defendant to Consider Offer                    | | No Offense Report

                                                                                                                                        5 / 2 / 12
                                                                                                                                       0002813
                                                              DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 422 of 479



THE STATE OF TEXAS                                       00401087                        D.A. LOG NUMBER.1779478
VS.                                                                                      CJ1S TRACKING NO.:
 LAVERNEM. BROWN                                                                         BY. EG DA NO: 050793311
                                                                                         AGENCY:HPD
                                               DATE PREPARED: 8/19/2011                  O/RNO: 09379001IN
                                                                                         ARREST DATE: TO BE
NCIC CODE: 5309 04 3rd                        RELATED CASES:
FELONY CHARGE: STALKING
CAUSE NO:                                                                                    BAIL: SNO BOND
HARRIS COUNTY DISTRICT COURT NO:                                1317189                      PRIOR CAUSE NO:
FIRST SETTING DATE:                                             184                                 fl*
                                                                                                &
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
              .
LAVERNE M BROWN, hereafter styled the Defendant, heretofore on or about FEBRUARY 5, 2011 CONTINUING THOUGH AND UP
UNTIL AUGUST 19, 2011, did then and there unlawfully, on FEBRUARY 5, 2011 CONTINUING THROUGH AND UP UNTIL AUGUST 19,
2011, and pursuant to the same scheme and course of conduct directed specifically at CHERYL BROWN, hereinafter called the Complainant, did
knowingly engage in conduct that the defendant knew and reasonably believed that the Complainant would regard as threatening the infliction of
bodily injury and death upon the Complainant , namely, BY CALLING THE COMPLAINANT AND THREATENING TO KILL HER AND
COMMUNICATING THREATS THOUGH A THIRD PERSON; and said conduct would cause a reasonable person to fear, and did cause the
Complainant to be placed in fear of, the infliction of bodily injury or death upon the Complainant.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.

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                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                         0002814
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      CAUSE NO .    \7 Xl
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                            * 89-8 Filed on 01/05/23 in TXSD Page 423 of 479
     Case 4:17-cv-03621 Document
                             \               CHARGE  /     n £? S     Wv V                          ZS
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      THE STATE OF TEXAS
      VS.
                                                                                  m                DISTRICT COURT
                                                                                OF HARRIS COUNTY, TEXAS

               \           VAJ       A \\ rx ca 3>
      Defendant

      TO THE HONORABLE JUDGE OF SAID COURT: (check one)


            VvS -C*\                                                   ( name), the DEFENDANT in the above styled and
      numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
      show the Court that he / she is financially unable to hire an attorney.

                                                                         Qw                             S? A <
                                                                  /   Defendant




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                                                                              ( name), a WITNESS in the above styled and
      numbered cause respectfully petitions the Court to appoint counsel to represent him / hp.r in fhp interests of




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      justice and would show the Court that he / she i t fiflarn i n l l y u h a n l e to nir * an attorney.
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                                                                      Deputy District Clerk
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                                                         ^            Harris County, Texas
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                                      ORDER APPOINTING COUNSEL
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                                                                                               ^   . the Court determined that the
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      above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
     financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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      represept the defendant / wiOiLsyTfimed above in this cause.
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     County, Texas.
                    Court further ORDERS the cause.set for :
                        day of                  J                 , 20  li_ at 9j00 a.m. at 1201 Franklin, Houston, Harris
              Signed this
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                                 n     day of                P,
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                                                                      Judge Presiding




                                                                                                                            0002815
                                                         DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 424 of 479



THE STATE OF TEXAS                                        02475851                         D.A. LOG NUMBER:1779514
                                                                                                                                           J
VS.                                                                                        CJ1S TRACKING N0.:9166909732-A001
 KIM ANTHONY WILLIAMS                           SPN:                                       BY: SP DA NO: 002197877
                                                DOB:                                       AGENCY:HPD
                                                DATE PREPARED: 8/19/2011                   O/RNO: 107406511Q
                                                                                                                 - -
                                                                                           ARREST DATE: 08 18 2011
NCIC CODE: 5599 48
                                                              CORMIER 1M
                                                                              -
                                               RELATED CASES: HOOD 2F; WILLIAMS, KENNETH 2F; BURLESON 1M;
                                                                                  -    -S                    '
                                                                                                                 -                  -

FELONY CHARGE: POSSESSION WITH INTENT TO DEflftlgftQS CONTROLLED SUBSTANCE
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO.
FIRST SETTING DATE:
                                              - 1 lldb           —
                                                               BAIL: $N BOND
                                                               PRIOR CAUSE NO:                         °
                                                                                               -
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas, KIM
ANTHONY WILLIAMS, hereafter styled the Defendant, heretofore on or about AUGUST 18, 2011, did then and there unlawfully, knowingly
possess with intent to deliver a controlled substance, namely, COCAINE, weighing more than 4 grams and less than 200 grams by aggregate
weight, including any adulterants and dilutants.




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                                                                                  Foreman                              184tfc
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
                                                                                                                           0002816
m           Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 425 of 479
                             gotcr         v^
             CAUSE NO.                                CHARGE

            THE STATE OF TEXAS                                                               VTj?         DISTRICT COURT
            VS.                                                                             OF HARRIS COUNTY, TEXAS

            \^rx X C r\
            Defendant
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            TO THE HONORABLE JUDGE OF SAID COURT: (check one)


            B-   \ a soA Co
            numbered cause
                                                            .               (name), the DEFENDANT in the above styled and
                            respectfully petitions the Court to appoint cojms Uo represent Kim / her in this cause and would
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            show the Court that he / she is financially unable to hire an /uo py. ]

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                                                                                          / SQ ,              /
                                                                                  defendant




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                                                                          ( name), a WITNESS in the above styled and
            numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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            justice and would show the Court that he / she ii                 reto hire an attorney.


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                                                                                  Deputy District Clerk
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    By.
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                                                      ORDER APPOINTING COUNSEL
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                       On this, the                     day of .                                   2oVL-rthe Court determined that the
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            above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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            financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
            represent the defendant / witnessnamed above in this cause.
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            Attorney
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            Address
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            City                                    State               Zip                 E-Mail Address
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                                                                                                             2028 Buffalo Terrace
            Phone Number                                                                                  Houston, Texas 77019
                                                                                                           Phone 713 237 8547
                                                                                                            Fax 713 528 0153
            Fax Number

                       The Court furthe


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                                                       RDERS the cause set for :                              \
            on the                         day of                             .          aHMWTa.m. al 1201 Franklin, Honstnn, Harris
            County, Texas.
                                                                       M 21 2012            32,0
                       Signed this                     day of    " 7                             , 20\

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                                                                                  Judge Presiding
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                                                                 DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 426 of 479



THE STATE OF TEXAS                                                                         D.A. LOG NUMBER:1782110
VS.                                                                                        CJ1S TRACKING N0.:9166937000-A001
 DAVID MICHAEL CAIN                             SPN: 00588018                              BY: LM DA NO: 002333841
                                                DOB:                                       AGENCY:DEER PARK PD
                                                DATE PREPARED: 11/10/2011                  O/RNO: 1103478
                                                                                           ARREST DATE: 08 28 2011
NCIC CODE: 5404 23                             RELATED CASES:
FELONY CHARGE: DRIVING WHILE INTOXICATED                                                                  j/ j
CAUSE NO: 1318215                                                                           BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO: 178                                                        PRIOR CAUSE NO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                           o   IP
                                                                                                  m
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DAVID MICHAEL CAIN, hereafter styled the Defendant, heretofore on or about AUGUST 28, 2011, did then and there unlawfully, operate a
motor vehicle in a public place while intoxicated
                                                                                      ms   ?
It is further presented that before the commission of the offense alleged above, on FEBRUARY 16, 200 , the Defendant was convicted of the
offense of DRIVING WHILE INTOXICATED in Cause No. 1011799 in 337TH DISTRICT COURT, HARRIS County, Texas.

It is further presented that before the commission of the offense alleged above, on DECEMBER 16, 1986, the Defendant was convicted of the
offense of DRIVING WHILE INTOXICATED in Cause No. 0905992 in COUNTY CRIMINAL COURT AT LAW NO. 9, HARRIS County,
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Texas.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                             FOREI     OF THE
                                                                                                           a
                                                                                                         JURY

                                                               INDICTMENT

                                                                                                                         0002818
      Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 427 of 479
          CAUSE NO.                                                                CHARGE

          THE STATE OF TEXAS                                                                                   COURT
                                                                                   OF HARRIS COUNTY, TEXAS


          Defendant

          TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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          \   /                                                                   the DEFENDANT in the above styled and
          AhjjiberetWause respectfully petitions the Court to appoint counylf .o represent him / her in this cause and would
          show thrCourt that he / she is financially unable to hire




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                                                                          ( name), a WITNESS in the above styled and
          numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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          justice and would show the Court that he / she is financially unable to hire an attorney.




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                     Sworn to and subscribed before me on this, the                       day of                             ,2\
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                                                                         Deputy District Clerk
                                                                         Harris County, Texas

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                                                          ER APPOINTING COUNSEL
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          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
          represent the defendant / witness-named above in this cause.
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          on the                       iy                                        at 9:00 a.n£rat 1201 Franklin, Houston, Harris

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          County, Texas.
                    Signed this                  day of                              ., 20.


                                                                        Judge PresidinJ




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                                                                DISTRICT CLERK
 Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 428 of 479




                IN THE 337TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                   AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                           §
Ex parte OBEL CRUZ-GARCIA, §
                           §             Writ No.
                           §             Trial Court Case No:
                           §             1384794
                           §
                Applicant. §              CAPITAL CASE
                           §
                           §
                           §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                     EXHIBIT 139 B
                                   Jeremy Schepers (Texas 24084578)
                                   Supervisor, Capital Habeas Unit
                                   David Currie (TX 24084240)
                                   Naomi Fenwick (TX 24107764)
                                   Assistant Federal Public Defender
                                   Office of the Federal Public Defender
                                   Northern District of Texas
                                   525 S. Griffin St., Ste. 629
                                   Dallas, Texas 75202
                                   jeremy_schepers@fd.org
                                   (214) 767-2746
                                   (214) 767-2886 (fax)

                                   Counsel for Obel Cruz-Garcia



                                                                       0002820
Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 429 of 479




                  EXHIBIT 139 B




                                                                      0002821
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 430 of 479



THE STATE TEXAS                                            02577425                         D.A. LOG NUMBER;1782611
VS.                                                                                         CJ1S TRACKING NO.:9166941814-A001
ZACORRIEON JHONTRAE NAULING                       SPN:                                      BY: MB DA NO: 002156159
                                                  DOB:                                      AGENCY:WEST UNIV PDP
                                                  DATE PREPARED: 8/31/2011                  O/RNO: 11P0414
                                                                                            ARREST DATE: 8-26-2011
NCIC CODE; 1204 04                                                       -
                                                  RELATED CASES: CO DEF BROWN (F) SARGEON (F0) MORANT (F)
                                              -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO:
                                                                                                            M
                                                                                             BAIL: $30,000.00
HARRIS COUNTY DISTRICT COURT NO:                1318466                                      PRIOR CAUSE NO:
FIRST SETTING DATE:                             339
                                                                                                    ‘,0
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ZACORRIEON JHONTRAE NAULING, hereafter styled the Defendant, heretofore on or about AUGUST 26, 2011, did then and there
unlawftilly, while in the course of committing theft of property owned by CHRISTOPHER COLLINS, and with intent to obtain and maintain
control of the property, INTENTIONALLY AND KNOWINGLY threaten and place CHRISTOPHER COLLINS in fear of imminent bodily
injury and death, and the Defendant did then and there use and exhibit a deadly weapon, namely, FIREARM .




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                              Foreman                              228ft
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                                                                             FOREMAN OF THE GRAND JURY

                                                                INDICTMENT
                                                                                                                          0002822
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 431 of 479
         CAUSE NO.                                 CHARGE

                                                                                   Vbv                                <3          >
         THE STATE OF TEXAS


         Vi
         Defendant
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                                                                                                    DISTRICT COURT
                                                                                   OF HARRIS COUNTY, TEXAS




         TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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                                                                               ^   nameV the DEFENDANT in the above styled and
         numbered cause respectfully petitions the Court to apppinnrotuisel to represent him / her in this cause and would
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         show the Court that he / she is financially unable tcynire an ttarney.


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                                                                                Ca WITNESS in the above styled and
         numbered cause respectfully petitions the Cfemt to appojjjl>tf6unsel to represent him / her in the interests of




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         justice and would show the Court that he / she rvimarlmlly unable to hire an attorney.




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Time:                                                             Harris County, Texas
By
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                 Deputy    1             ORDER APPOINTING COUNSEL
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                  On this, the           day of                                        , 20
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
         financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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        represent     e defendant / witness named above in this cause.
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        County , Texas.
                 Signed this
                                                  SEP 3 0 2011
                                                                  Judge Presiding




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                                                       DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 432 of 479



                                                         02577425                        D.A. LOG NUMBER:1783147
THE STATE OF TEXAS
VS.                                                                                      CJ1S TRACKING NO.:9166947456-A001
 ZACORR1EN JHONTRAE NAULING                      SPN:                                    BY: AC DA NO: 002275023
                                                 DOB:                                    AGENCY:BELLAIRE PD
                                                 DATE PREPARED: 9/1/2011                 O/RNO: 1108262565
                                                                                         ARREST DATE: 09/01/11

NCIC CODE: 1204 04                               RELATED CASES: MORANT, BROWN AND SARGEON ALL 1 FEL          -            .
                                             -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO:                                       1318694                                    BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                                           PRIOR CAUSE NO:
FIRST SETTING DATE:
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ZACORRIEN JHONTRAE NAULING, hereafter styled the Defendant, heretofore on or about AUGUST 26, 2011, did then and there
unlawfully, while in the course of committing theft of property owned by HASSAN GEBARA, and with intent to obtain and maintain control of
the property, INTENTIONALLY AND KNOWINGLY threaten and place HASSAN GEBARA in fear of imminent bodily injury and death, and
the Defendant did then and there use and exhibit a deadly weapon, namely, A FIREARM.




                                                                                           JSA"


AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                                          Foreman                             228th

                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                        0002824
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 433 of 479
                CAUSE NO.                                CHARGE

                                                                                                2
                 THE STATE OF TEXAS


                     f)o/VLr JhhQsi )
                 Defendant
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                                          f/
                                                                                          ^             DISTRICT COURT
                                                                                         OF HARRIS COUNTY, TEXAS




                 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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                    bered cause respa
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                                         mlly petitions the Court to appoint counsel to represent him / her in this cause and would
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                 showj the Court that he*7 she is

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                                                                              Defendant




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                                                                                 ( name), a WITNESS in the above styled and
                 numbered   cause respectfully petitions the Court to appoint counsel to represent him / her ii        EsoT




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                 justice and would show the Court that he / she is fmancij                   an attorney.




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         District Clerk                                                       Deputy District Clerk
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                                                                              Harris County, Texas
          SEP - 6 2011
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Time:
          Hat MS County, Texas
                                                     ORDER APPOINTING COUNSEL

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By
                Deputy
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                above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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                 rcpresorft the defendants witness named above in this cause.
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                                               ORDER! the cause set for ;
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                County, Texas.
                            Signed this     (rf      day of
                                                                              20        at 9:00 a.p
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                                                                              Judge Pr!

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                                                                    DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 434 of 479



THE STATE OF TEXAS                                        02389993                        D.A. LOG NUMBER:1784073
VS.                                                                                       CJIS TRACKING NO.:9166957931 A001    -
 DAMIEN DESHONE JONES                            SPN:                                     BY: BLC DA NO: 002126743
                                                 DOB:|                                    AGENCY:HCSO
                                                 DATE PREPARED: 9/4/2011                  O/R NO: HC1100118182
                                                                                          ARREST DATE: 09/04/11
NCIC CODE: 1204 04                                                              .
                                                 RELATED CASES: CO DEF D PRESTON (FEL)
                                             -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO:
                                                                 1318985
                                                                                            BAIL: $30000 N
                                                                                                             *
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HARRIS COUNTY DISTRICT COURT NO:                                                            PRIOR CAUSE NO:
FIRST SETTING DATE:                                              177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                          * J&i

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DAMIEN DESHONE JONES, hereafter styled the Defendant, heretofore on or about SEPTEMBER 04, 2011, did then and there unlawfully,
                                                                                    -
while in the course of committing theft of property owned by HASSAM A M ROLLAH MAJDABADI, and with intent to obtain and maintain
control of the property, INTENTIONALLY AND KNOWINGLY THREATEN AND PLACE HASSAM AMROLLAH MAJDABADI IN                  -
FEAR OF IMMINENT BODILY INJURY AND DEATH, and the Defendant did then and there use and exhibit a deadly weapon, namely, A
FIREARM.




                                                                                                     FXL                   D
                                                                                                            T   u 2011
                                                                                                                   Texas




                                                                                    Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.


            RECORDER' S MEMORANDUM
            This instrument is of poor quality                            FOREMAN OF THE GRAND JURY
                  at the time of imaging
                                                               INDICTMENT
                                                                                                                           0002826
                                                                                v
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 435 of 479                                         £U -
         CAUSE NO.                                 CHARGE

         THE STATE OF TEXAS                                                         irz           DISTRICT COURT
                                                                                   OF HARRIS COUNTY, TEXAS


         Defendant
                        AD ^ , 0
         TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                       ( najpe), the DEFENDANT in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would




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         show the Court that he / she is financially unable to hirei  tomev.



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                                                                        (name), a WITNESS in the above styled and
         numbered cause respectfully petitions the Co            int counsel to represent him / her in the interests of




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         justice and would show the Court that he Lshe is finahoi lly unable to hire an attorney.
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          Chris Daniel
          District Cleric
                                                                       Deputy District Clerk
           SEP - i» 2011
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                                                                       Harris County, Texas
Time:
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            Harris County Tsxas
                                           ORDER APPOINTING COUNSEL
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                                                                                 the Court determined that the
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        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
        financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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        represent               t / witness named above in this cause.
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                   The Court further ORDERS Ihe cause set for :
        on the       ( _[    day of         CD                         20.     //at 9:00 a.m. at 1201 Franklin, Houston, Harris
        County, Texas.                            SEP - 9 2011
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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 436 of 479



THE STATE OF TEXAS                                           02466514                   D.A. LOG NUMBER:1784038
VS.                                                                                     CHS TRACKING NO.:9166957923-A001
DESMON WAYNE PRESTON                                 SPN:                               BY: BLC DA NO: 002126743
                                                     DOB:                               AGENCY:HCSO
                                                     DATE PREPARED: 9/4/2011            O/RNO: HC1100118182
                                                                                        ARREST DATE: 09/04/11
NCIC CODE: 1204 04                                   RELATED CASES: CO DEF D. JONES (FEL)
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO:
                                                 -
                                                                                          BAIL: $30000
HARRIS COUNTY DISTRICT COURT NO:                1318986                                   PRIOR CAUSE NO:
FIRST SETTING DATE:                             177                                             «,   r
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DESMON WAYNE PRESTON, hereafter styled the Defendant, heretofore on or about SEPTEMBER 04, 2011, did then and there unlawfully,
while in the course of committing theft of property owned by MOHAMMED CHAWLA, and with intent to obtain and maintain control of die
property, INTENTIONALLY AND KNOWINGLY THREATEN AND PLACE MOHAMMED CHAWLA IN FEAR OF IMMINENT BODILY
INJURY AND DEATH, and the Defendant did then and there use and exhibit a deadly weapon, namely, A FIREARM.




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                                                                                    Foreman                            209th
AGAINST THE PEACE AND DIGNITY OF THE STATE.




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                                                                INDICTMENT
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            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 437 of 479
             CAUSE NO. I
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               THE STATE OF TEXAS                 ^                                     OF HARRIS COUNTY, TEXAS




               TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                  i                                               ( name), the DEFENDANT in the above styled and
               numb          :ause           lly petitions the Court to appoint Counsel to represent him / her in this cause and would
               show               that hiI ihc is financially unable tphire am attornay>                           . /)


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               numbered cause respectfully petitions                                     TS61 to represent him / her in the interests of




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               justice and would show theCgucUhet        -          is fins              ible to hire an attorney.



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           District Clerk
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              above named defendant / witness has executed an affidavit stating th
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              financially unable to hire an attorney The Court ORDERS that the'attorney luted below isafipointed to
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                          JBhe Court fuijher ORDERS the cause set for :                     !l
              on the                  day of                                                              1201 Franklin, Houston, Harris
              County, Texas       .
                          Signed this




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                                                                 DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 438 of 479



THE STATE OF TEXAS                                                                          D.A. LOG NUMBER:1784020
VS.                                                                                         CJIS TRACKING N0.:9166957370 A001 -
 JEREMY WILLIAMS                               SPN: 01689180                                BY: LM DA NO: 002126743
                                               DOB:                                         AGENCY:HPD
                                               DATE PREPARED: 9/27/2011                     O/R NO: 114674411Z
                                                                                            ARREST DATE: 09 03 2011
NCIC CODE: 4801 26                             RELATED CASES:
                                                                                                              A
                                                     -
FELONY CHARGE: Evading Arrest or Detention Second Offender
CAUSE NO: 1318992                                                                            BAIL: SNO BOND
HARRIS COUNTY DISTRICT COURT NO: 262                                                         PRIOR CAUSBNO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JEREMY WILLIAMS, hereafter styled the Defendant, heretofore on or about SEPTEMBER 3, 2011, did then and there unlawfully,
intentionally flee from E. SEPOLIO, hereafter styled the Complainant, a peace officer employed by THE HOUSTON POLICE DEPARTMENT,
lawfully attempting to detain die Defendant, and the Defendant knew that the Complainant was a peace officer attempting to detain the
Defendant, and before the commission of the offense alleged herein, on APRIL 25, 2002, in Cause Number 1109052 in the COUNTY CRIMINAL
COURT AT LAW NO. 13 of HARRIS County, Texas, the Defendant was finally convicted of the offense of evading ARREST.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on AUGUST 13, 2002, in Cause Number 917803, in
the 262ND DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of TAMPERING WITH EVIDENCE.

Before the commission of the primary offense, and after the conviction in Cause Number 917803 was final, the Defendant committed the felony of
AGGRAVATED ASSAULT and was finally convicted of that offense on JANUARY 10, 2006, in Cause Number 1001226, in the 209TH
DISTRICT COURT of HARRIS County, Texas.




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                                                                                        Foreman                            228th
AGAINST THE PEACE AND DIGNITY OF THE STATE.
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                                                                          FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                          0002830
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 439 of 479
          CAUSE NO.          iMim                                          CHARGE

          THE STATE OF TEXAS                                                Z22 DISTRICT COURT
           MULL /A )i/ lid
                                                                           OF HARRIS COUNTY, TEXAS


          Defendant

          TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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                                                      ’/ /I M S             (name), the DEFENDANT in the above styled and
          numbered cause res &ttfully petitions the Court to appoinLcounsel to represent him / her in this cause and would
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          numbered cause respectfully petitions the Court to appoint




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          justice and would show the Court that h* j ch i im ' i i rii unable to hire an attorney.




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                                                                 Deputy District Clerk

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         SEP '                             ORDER APPOINTING COUNSEL
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By        abovtfnamed defendant / witness has executed an affidavit stating that he / she is without counsel and is
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          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
          rep      ent/Hl defendant / witness named above in this cause.
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          County, Texas.
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                    Signed this    1
                                                                 Judge Presidlhg>               .V.- .


                                                                                             RECORDER'S MEMORANDUM
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                                                        DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 440 of 479




THE STATE OF TEXAS
                                                         01784052                        D.A. LOG NUMBER:!784415
VS.                                                                                      CHS TRACKING NO :916696              A001
STACY DEMON WILLIAMS                           SPN:                                      BY: YT DA NO: 002397167
                                               DOB:                                      AGENCY:HPD
                                               DATE PREPARED: 9/5/2011                   O/RNO: 115388311
                                                                                         ARREST DATE: 09/05/11
NCIC CODE: 1399 03                            RELATED CASES:
FELONY CHARGE: Assault of Family Member Second Offender and Impeding Breathing                               m£
                                                                                                               -
CAUSE NO:                                         1319096                 BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                          PRIOR CAUSE NO:
FIRST SETTING DATE:
                                                  177

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                             #
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
STACY DEMON WILLIAMS, hereafter styled the Defendant, heretofore on or about SEPTEMBER 5, 2011, did then and there unlawfully,
intentionally and knowingly cause bodily injury to SARA WILLIAMS, hereafter styled the Complainant, a member of the Defendant’s household,
by impeding the normal breathing or circulation of the blood of the Complainant by applying pressure to the Complainant's neck.

It is further presented that, before the commission alleged above, the Defendant, on OCTOBER 13, 2006, in the COUNTY CRIMINAL COURT
AT LAW NO. 7 of HARRIS County, Texas, in Cause Number 1369738, was convicted of ASSAULT, which was committed against a member
of the Defendant's family.

Before the commission of the offense alleged above, (hereafter styled the primary offense), on OCTOBER 12, 2006, in Cause Number 1065974, in
the 178TH DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of FELON IN POSSESSION OF A
WEAPON.                                                            '
                                                               :
Before die commission of the primary offense, and after the conviction in Cause Number 1065974 was final, the Defendant committed the felony
of ASSAULT and was finally convicted of that offense on SEPTEMBER 13, 2010, in Cause Number 1206955, in the 339TH DISTRICT COURT
of HARRIS County, Texas.

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                                                                                                     ED
                                                                                                 District Clerk

                                                                                                SEP 20 2011
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                                                                                    By
                                                                                                 HWTIB Qwnty, TWM
                                                                                                                      ¥
                                                                                 Foreman                            208th
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                        0002832
        CAUSE NO.               \3Am3%
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 441 of 479
                                                  CHARGE

        THE STATE OF TEXAS                                                     \ nn DISTRICT COURT
                                                                               OF HARRIS COUNTY, TEXAS
             j)c> vves
        Defendant
                                *   O^v^ ie ^
        TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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           ^                         j                                   fnamel. the DEFENDANT in the above styled and
        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
        show the Court that he / she is financially unable to hire an attorney.


                                                                    Defendant




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                                                                      ( name), a WITNESS in the above styled and
        numbered cause respectfully petitlba§ the Cdurt to appoint counsel to represent him / her in the interests of




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        justice and would show the Court thaujt he is financially unable to hire an attorney.
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                                                                    Deputy District Clerk
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                                                                    Harris County, Texas
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                                           ORDER APPOINTING COUNSEL
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        above named defendanF/^
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                              witness has executed an affidavit stating thi it he / she is without counsel and is
        financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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        represei            defendant / witness named above in this cause.
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                    The Court further.ORDERS the cause set for :
                                                                          _ at 9:00 a.m. at 1201 Franklin, Houston, Harris
        on the
        County, Texas.
                    Signed this             day of    SEP 0 8 2011
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                                                                    Judge Presidihj




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              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 442 of 479



THE STATE OF TEXAS                                       02389993                        D.A. LOG NUMBER:1784558
VS.                                                                                      CJIS TRACKING NO.:
 DAMIEN DESHONE JONES                            SPN:                                    BY: RZ DA NO: 002197878
                                                 DOB:|                                   AGENCY:HCSO
                                                 DATE PREPARED: 9/6/2011                 O/R NO: 11105666
                                                                                         ARREST DATE: 09-04-2011
NCIC CODE: 1204 04                               RELATED CASES: SAME DEF TRANS#1784555
                                             -
FELONY CHARGE: Aggravated Robbery Deadly Weapon
CAUSE NO:                                                                                 BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                1319138                                   PRIOR CAUSE NO:
FIRST SETTING DATE:                             177                                                c   .   Cl
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                        »   @5
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DAMIEN DESHONE JONES, hereafter styled the Defendant, heretofore on or about AUGUST 9, 2011, did then and there unlawfully, while in
the course of committing theft of property owned by JASON THOMAS, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY threaten and place JASON THOMAS, in fear of imminent bodily injury and death, and the Defendant
did then and there use and exhibit a deadly weapon, namely, A FIREARM.




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                                                                                   Foreman
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                         FOREMAN OF THE GRAND JURY
              RECORDER’S MEMORANDUM
              This instrument is of poor quality              INDICTMENT
                    at the time of imaging                                                                                      0002834
             Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 443 of 479
              CAUSE NO.                                 CHARGE

              THE STATE OF TEXAS
                                             tWm                                        HI           DISTRICT COURT
              V!                                                                      OF HARRIS COUNTY, TEXAS


              Defendant
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              TO THE HONORABLE JUDGE OF SAID COURT: (check one )



                                                       JL                   (name), the DEFENDANT in the above styled and
              numbered cause respectflfiiypetitions the Court to appoint counsel to represent him / her in this cause and would
              show the Court that he Nshe is financially unable to hirejm ttorney.\
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              numbered cause respectfully petitions the Court             counsel to represent him / her in the interests of




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              justice and would show the Court tl         iels financially unable to hire an attorney.



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              above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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              financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
              represent the defendant/ witness named above in this cause .
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             on the V         -/    day of       (        •       . 20 ( at 9:00 a.m. a1 001 Franklin, Houston, Harris
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                                                                            Judge Presiding




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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 444 of 479
                                                                      *-                                                       \
THE STATE OF TEXAS                                       02389993                       D. A. LOG NUMBER:1784555
VS.                                                                                     CHS TRACKING NO.:
 DAMIEN DESHONE JONES                         SPN:                                      BY: DB DA NO: 001638714
                                              DOB:                                      AGENCY:HCSO
                                              DATE PREPARED: 9/6/2011                   O/RNO: 1190491        ^
                                                                                        ARREST DATE: 9 6 11  --
NCIC CODE: 1204 04                            RELATED CASES:
FELONY CHARGE: Aggravated Robbery - Deadly Weapon
                                                                                                              Mr
CAUSE NO:                                                                                  BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                  1319149                                  PRIOR CAUSE NO:
FIRST SETTING DATE:                               183
                                                                                                     ri
IN THE NAME AND BY rAUTHORITY OF THE- STATE
                                      -     OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DAMIEN DESHONE JONES, hereafter styled the Defendant, heretofore on or about JULY 8, 2011, did then and there unlawfully, while in the
course of committing theft of property owned by NHU CHAW, and with intent to obtain and maintain control of the property, INTENTIONALLY
AND KNOWINGLY THREATEN AND PLACE NHU CHAW IN FEAR OF IMMINENT BODILY INJURY AND DEATH, and the Defendant
did then and there use and exhibit a deadly weapon, namely, A FIREARM.




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                                                                                  Foreman                            208th
AGAINST THE PEACE AND DIGNITY OF THE STATE.                                          JTm c.
                                                                           FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
                                                                                                                        0002836
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 445 of 479
          CAUSE NO.                                 CHARGE

          THE STATE OF TEXAS                                                         121            DISTRICT COURT
                                                                                     OF HARRIS COUNTY, TEXAS


          Defendant
                                          Ac Uss^JU^r
          TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                        ( nanjejTthe DEFENDANT in the above styled and

          show the Court that he / she is financially unable to hire an      V.        ^
          numbered cause respectfully petitions the Court to appoint coupS l to represent him / her in this cause and would




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          numbered cause respectfully petitions ttosQourt                   ^oint counsel to represent him / her in the interests of



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        F Chris
          I LDaniel
                ED                                                         Deputy District Clerk
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         District Clerk                                                    Harris County, Texas

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                                              ORDER APPOINTING COUNSEL
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          Harris County, Texas
By                    Qn   tfiifgj                 day of .                                          the Court determined that the
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                 Deputy
          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                                          / witness named above in this cause.
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          County, Texas.                                                              SEP o 9 2011
                     Signed this                  day of       SEP - 9 2011             ,v

                                                                           Judge Presiding




                                                                                                                                0002837
                                                           DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 446 of 479



THE STATE OF TEXAS                                      02374996                          D A. LOG NUMBER:1784636
VS.                                                                                       CJ1S TRACKING NO.:
 ALEXANDER SCOTT                               SPN:                                       BY: EV DA NO: 002156159
 HOUSTON , TX                                  DOB:]                                      AGENCY:HPD
                                               DATE PREPARED: 9/7/2011                    O/RNO: 109333111Q
                                                                                          ARREST DATE: TO BE

NCIC CODE: 1301 19                            RELATED CASES: CO-DEF HOLMES, J.-FEL
FELONY CHARGE: Aggravated Assault
CAUSE NO:                                                                                  BAIL: $10,000
HARRIS COUNTY DISTRICT COURT NO:                               1319241                     PRIOR CAUSE NO:
FIRST SETTING DATE:

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                               177
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                                                                                                  v - -'
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ALEXANDER SCOTT, hereafter styled the Defendant, heretofore on or about AUGUST 23, 2011, did then and there unlawfully, intentionally
and knowingly threaten IBEN CERVANTES with imminent bodily injury by using and exhibiting a deadly weapon, namely, A FIREARM          .




                                                                                                 F Chris
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                                                                                                     District Clerk

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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                        0002838
                                                                                v
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 447 of 479                                         £U -
         CAUSE NO.                                 CHARGE

         THE STATE OF TEXAS                                                         irz           DISTRICT COURT
                                                                                   OF HARRIS COUNTY, TEXAS


         Defendant
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         TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                                                       ( najpe), the DEFENDANT in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would




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         show the Court that he / she is financially unable to hirei  tomev.



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                                                                        (name), a WITNESS in the above styled and
         numbered cause respectfully petitions the Co            int counsel to represent him / her in the interests of




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         justice and would show the Court that he Lshe is finahoi lly unable to hire an attorney.
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                                                                       Harris County, Texas
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        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
        financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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                                            • Filed on 01/05/23 in TXSD Page 448 of 479
              Case 4:17-cv-03621 Document 89-8
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THE STATE OF TEXAS                                       02466514                        D A. LOG NUMBER:1784916
VS.                                                                                      CJIS TRACKING NO.:
DESMON WAYNE PRESTON                           SPN:                                      BY: EV DA NO: 002197878
                                               DOB:|                                     AGENCY:HCSO
                                               DATE PREPARED: 9/7/2011                   O/RNO: 1191853
                                                                                         ARREST DATE: 09/07/2011

NCIC CODE: 1204 04                            RELATED CASES:
FELONY CHARGE: Aggravated Robbery - Deadly Weapon
CAUSE NO:
                                                  131928                   Xf\/            BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:                               177                       r              PRIOR CAUSE NO:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
DESMON WAYNE PRESTON, hereafter styled the Defendant, heretofore on or about JULY 11, 2011, did then and there unlawfiilly, while in
the course of committing theft of property owned by JEREMIAH TJARKS, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY THREATEN AND PLACE JEREMIAH TJARKS, IN FEAR OF IMMINENT BODILY INJURY
AND DEATH and the Defendant did then and there use and exhibit a deadly weapon, namely, A FIREARM.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.


                RECORDER’S MEMORANDUM
                This instrument is of poor quality                         FOREMAN OF THE GRAND JURY
                      at the time of imaging
                                                              INDICTMENT
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     Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 449 of 479
      CAUSE NO

     THE STATE OF TEXAS
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                                                CHARGE




     ^fVk/jLrV r TLj                                                         OF HARRIS       COUNTY, TEXAS
      Defendant                 ^^             fig   Do \
      TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                                                                    ( name), the DEFENDANT in the above styled and
      numbered cause respectfully petitions the Court to appoint odunsel to represent him / her in this cause and would
     show the Court that he / she is financially unable to hire an attorney.


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                                                                    ( name), a WITNESS in the above styled and
     numbered cause respectfully petitiohstije CcjurticTappoint counsel to represent him / her in the interests of




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              SEP - » 2011                                         Harris County, Texas
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               Harris County Texas
By                         Deputy

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     above named defendant / witness has executed an affidavit stating that he / she is without .counsel and is
     financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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     on the     2^5 day of             :                       j   20   ff at 9:00 a.m. at 1201 Franklin, Houston, Harris
     County, Texas.
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               Case 4:17-cv-03621 Document 89-8 Filed
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                                                *•0 • - *on 01/05/23 in TXSD Page 450 of 479



THE STATE OF TEXAS                                        02433976                            D.A. LOG NUMBER:1784982
VS.                                                                                           CJIS TRACKING N0.:9166967201 A001 -
ADOLFO MARTINEZ                                 SPN:                                          BY: EG DA NO: 0021S61S9
                                                                                              AGENCY:HPD
                                                DATE PREPARED: 9/7/2011                       O/RNO: 11623461IB
                                                                                              ARREST DATE: 09-07 2011       -
NCIC CODE: 2300 79                             RELATED CASES: SAME DEF M1SD       -                                   5$
FELONY CHARGE: THEFT - THIRD OFFENDER                                                                                 &
                                                                                                                      -
CAUSE NO:                                                                                      BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                  1319301                      PRIOR CAUSE NO:
FIRST SETTING DATE:                                               177                                     &
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ADOLFO MARTINEZ, hereafter styled the Defendant, heretofore on or about SEPTEMBER 7, 2011, did then and there unlawfully, commit an
offense hereafter styled the primary offense in that he did appropriate by acquiring and otherwise exercising control over property, namely, TWO
SOCKET WRENCH SETS, ONE WRENCH, AND ONE LASER, owned by KRISTAN PANLHJNAN, hereafter styled the Complainant, of the
value of under one thousand five hundred dollars, with the intent to deprive the Complainant of the property.

  Before the Commission of die primary offense, on DECEMBER 29, 2010, in Cause Number 1727470, in the COUNTY CRIMINAL COURT
AT LAW NO. 10, of HARRIS, County, Texas, the Defendant was convicted of the Misdemeanor of Theft

  Before the commission of the primary offense, on MARCH 17, 2011, iri Cause Number 1731004, in the COUNTY CRIMINAL COURT AT
LAW NO. 10, of HARRIS County, Texas, the Defendant was convicted of the Misdemeanor of Theft


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AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                          FOREMAN OF THE GRAND JURY
                                                                                                  RECORDER'S MEMORANDUM
                                                               INDICTMENT                         This instrument is of poor quality
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        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD
         CAUSE NO          .
                                                                   Page 451 of 479
                                                                                    CHARGE             £CS
         THE STATE OF TEXAS                                                                           DISTRICT COURT




         Defendant
                                                K     - AtoviJlto                   OF HARRIS COUNTY, TEXAS




         TO THE HONORABLE JUDGE OF SAID COURT: (check one)

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                Mered cause respectfully petitions the CodA to appoint counsel
                                                                          ( name), the DEFENDANT in the above styled and
                                                                               to represent him / her in this cause and would
         show the Court that he / she is financially unable to hire an attorney.

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          District Clerk
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          SEP 1 2 2011                                                    Harris County, Texas
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                    On this, the          /2-     day of                                    , 20      , the Court determined that the
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         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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         financially unable to hire an attorney The Court ORDERS that the attorney listed below is appointed to
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                    The Court further ORDERS the cause set for :
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         County, Texas         .
                    Signed this



                                                                          Judge Prl




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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 452 of 479




THE STATE OF TEXAS                                         0189037»                          D.A. LOG NUMBER:1785328
VS.                                                                                          CJIS TRACKING N0.:9166971039-A001
VALENTINA REBECCA GONZALES                       SPN:                                        BY: KL DA NO: 002359767
                                                 DOB :|                                      AGENCY:HPD
                                                 DATE PREPARED: 9/9/2011                     O/RNO: 116679711G               PZ
                                                                                             ARREST DATE: 9/8/11

NCIC CODE: 5599 04                              RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO:                                                                                     BAIL: $15000
HARRIS COUNTY DISTRICT COURT NO:                    1319441                                   PRIOR CAUSE NO:
FIRST SETTING DATE:                                 262


                                                                                                A#
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, VALENTINA REBECCA GONZALES, hereafter styled the Defendant, heretofore
on or about SEPTEMBER 8, 2011, did then and there unlawfully, intentionally and knowingly possess a controlled substance, namely, HEROIN,
weighing less than one gram by aggregate weight, including any adulterants and dilutants.




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                                                                                                                         District Clerk

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                                                                                                                            Hants County. Texas

                                                                                                                                   Deputy




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 AGAINST THE PEACE AND DI



                                            [1STANT DISTRICT ATTORNEY
                                                                                                       1«.BAR CARD NO
                                         >F HARRIS COUNTY, TEXAS


                                                                INFORMATION                   RECORDER'S MEMORANDUM
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 453 of 479
 CAUSE NO.                                 CHARGE

 THE STATE OF TEXAS                                                           DISTRICT COURT
                                                                   OF HARRIS COUNTY, TEXAS




 TO THE HONORABLE JUDGE OF SAID COURT: (check one)



o                         Tvl                                     (name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the £o«rt to appoint counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an attorneys




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 above named defendant / witness has executed an affidavit stating that he / she/is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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          Signed this          day of




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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 454 of 479



THE STATE OF TEXAS                                                                          D.A. LOG NUMBER:1785783
                                                                                                                                               J
VS.                                                                                         CJIS TRACKING NO.:9166976073 A001     -
 JAMES PRICE FAGAN                               SPN: 01003497                               BY: LM DA NO: 062187900
                                                 DOB:                                        AGENCY:BAYTOWN PD
                                                  DATE PREPARED: 10/11/2011                  O/RNO: 201135155
                                                                                             ARREST DATE: 09 09 2011
NCIC CODE: 5404 23                              RELATED CASES:
FELONY CHARGE: DRIVING WHILE INTOXICATED
CAUSE NO: 1319596                                                                                           . J/J.
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                                                                                              BAIL: SI 0,000
HARRIS COUNTY DISTRICT COURT NO: 262                                                          PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JAMES PRICE FAGAN, hereafter styled the Defendant, heretofore on or about SEPTEMBER 9, 2011 , did then and there unlawfully, operate a
motor vehicle in a public place while intoxicated.

It is further presented that before the commission of the offense alleged above, on JUNE 30, 1998, die Defendant was convicted of the offense of
DRIVING WHILE INTOXICATED in Cause No. 9818705 in COUNTY CRIMINAL COURT AT LAW NO. 11, HARRIS County, Texas.

It is further presented that before the commission of the offense alleged above, on OCTOBER 5, 1998, the Defendant was convicted of the offense
of DRIVING WHILE INTOXICATED in Cause No. 9839892 in COUNTY CRIMINAL COURT AT LAW NO. 3, HARRIS County, Texas.
                                                                        fir
Before the commission of the offense alleged above, (hereafter styled the primary offense), on OCTOBER 8, 1990, in Cause Number 0568182, in
the 351 ST DISTRICT COURT of HARRIS County, Texas, the Defendant was convicted of the felony of AGGRAVATED ASSAULT.

Before the commission of the primary offense, and after the conviction in Cause Number 0568182 was final, the Defendant committed the felony
of BOATING WHILE INTOXICATED and was finally convicted of that offense on DECEMBER 6, 2007, in Cause Number 1124207, in the
351ST DISTRICT COURT of HARRIS County, Texas.

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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                           Foreman                              228th
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                                                                            FOREMAN OF THE GRAND JURY

                                                                INDICTMENT                                RECORDER’S MEMORANDUM
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 455 of 479
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 THE STATE OF TEXAS                                                                        TRICT m
                                                                     OF HARRIS COUNTY, TEXAS

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 Defendant

 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


 A
 numbered cause  respectfully  petitions the Court
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                                                   to appoint
                                                                  ( name), the DEFENDANT in the above styled and
                                                               counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an attorney

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                           Chris Daniel
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 above named defendant / Witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 456 of 479



THE STATE OF TEXAS                                        02570407                        D.A. LOG NUMBER:1786297 OlfOjCfyCSj
VS.                                                                                       CJ1S TRACKING NO.:916698176X-A001
 AARON DAVON KOSSIE                                SPN:                                   BY: EV DA NO: 001638615
                                                   DOB:|                                  AGENCY:HPD
                                                   DATE PREPARED: 9/12/2011               O/RNO: 118335411B
                                                                                          ARREST DATE: 09/12/2011

NCIC CODE: 3899 01                                 RELATED CASES:
FELONY CHARGE: VIOLATION OF PROTECTIVE ORDER FAMILY VIOLENCE         -
CAUSE NO:                                                 BAIL: $ NO BOND
HARRIS COUNTY DISTRICT COURT NO:          1319804         PRIOR CAUSE NO:
FIRST SETTING DATE:                       228

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                           #
Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, AARON DAVON KOSSIE, hereafter styled the Defendant,
heretofore on or about SEPTEMBER 12, 2011, did then and there unlawfiilly intentionally and knowingly violate a protective order, issued
under Article 17.292, Code Criminal Procedure, and attached hereto as Exhibit A, by committing the offense of assault of ADRIAN KELLER
namely, by intentionally causing bodily injury to ADRIAN KELLER by STRIKING THE COMPLAINANT WITH HIS HAND AND by
committing the offense of assault of ADRIAN KELLER namely, by knowingly causing bodily injury to ADRIAN KELLER by STRIKING
THE COMPLAINANT WITH HIS HAND.




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                                                                                                         SEP 1 2 2011
AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                                             Time:
           Sworn to and subscribed before me on September 12, 2011                           By
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AFFIANT                                                                   ASSISTANT DISTRICT ATTORNEY                   BAR NO.
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                                                                          OF HARRIS COUNTY, TEXAS.
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 458 of 479
 CAUSE NO.                                 CHARGE                                                    bm
 THE STATE OF TEXAS                                                                             DISTRICT COURT



 Defendant                                                                                        ( jJ)
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 TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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 financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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County, Texas.
          Signed this                 day of



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                                                                                        RECORDER’S MEMORANDUM
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 459 of 479



THE STATE OF TEXAS                                       01850601                        D.A. LOG NUMBER;1786329
VS.                                                                                      CJIS TRACKING N0.:9166982081 A001    -
 ADRIAN URIOSTIGUE                               SPN:                                    BY: SP DA NO: 001638615
                                                 DOB:|                                   AGENCY:HPD
                                                 DATE PREPARED: 9/12/2011                O/RNO: 11829861IX
                                                                                                              - -
                                                                                         ARREST DATE: 09 12 2011

NCIC CODE: 2202 05                               RELATED CASES: SUMRALL IF       -                           A   *

FELONY CHARGE: BURGLARY OF HABITATION
CAUSE NO:
                                                                                                           #
                                                                1319827                    BAIL: $20000
HARRIS COUNTY DISTRICT COURT NO.             -                  228                        PRIOR CAUSE NO:
FIRST SETTING DATE:


IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Hairis County, Texas, that in Harris County, Texas,
ADRIAN URIOSTIGUE, hereafter styled the Defendant, heretofore on or about SEPTEMBER 12, 2011, did then and there unlawfully, with
intent to commit an assault, enter a habitation owned by ANTONIO VILLAMAR-HERNANDEZ, a person having a greater right to possession of
the habitation than the Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any
consent of any kind.

Before the commission of the offense alleged above, on JUNE 22, 2009, in Cause No. 1220928, in the 262ND DISTRICT COURT of HARRIS
County, Texas, the Defendant was convicted of the felony offense of BURGLARY OF A HABITATION.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                            Foreman                             22Stfc

                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                        0002851
  Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 460 of 479
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   CAUSE NO.

   THE STATE OF TEXAS
                                             CHARGE                      _
                                                                                                      ^
                                                                                               DISTRICT COURT


                             S - 6UCJiA
                                                                            OF HARRIS COUNTY, TEXAS


   Defendant

   TO THE HONORABLE JUDGE OF SAID COURT: (check one)


                                      GQMJPT                        ( name), the DEFENDANT in the above styled and
   numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
   show the Court that he / she is financially unable to hire an attorney.


                                                                 Defendant




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   numbered cause respectfully petitions                 >oint counsel to represent him / her in the interests of




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                                                                 Harris County, Texas                      SEP 21 2011
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   financially unable to hire an (torney. The Court ORDERS that the attorney listed below is appointed to
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 461 of 479


THE STATE OF TEXAS                                                                                              -
                                                                                          D.A. LOG NUMBER.1788511
VS.                                                        02004571                       CJIS TRACKING NO.:916700430X-A001
MANUEL S. GARCIA                               SPN:                                       BY: JL DA NO: 001896241
                                               DOB:                                       AGENCY:HCSO
                                               DATE PREPARED: 9/19/2011                   O/R NO: 110125570                     \
                                                                                          ARREST DATE: 9/19/2011                 \
NCIC CODE: 1314 14                             RELATED CASES:
                               -                  -
FELONY CHARGE: Assault Family Violence 2nd Offender
CAUSE NO:
HARRIS COUNTY DISTRICT COURT NO:
                                                                                            BAIL: $NO BOND
                                                                                            PRIOR CAUSE NO:
                                                                                                             A      -
FIRST SETTING DATE:                               1320627
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
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The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
MANUEL S. GARCIA, hereafter styled the Defendant, heretofore on or about SEPTEMBER 19, 2011, did then and there unlawfully,
intentionally and knowingly cause bodily injury to AMANDA GARCIA, hereafter styled the Complainant, a member of the Defendant's family,
by PUSHING THE COMPLAINANT WITH HIS HANDS.

It is further presented that before the commission alleged above, the Defendant, on FEBRUARY 1, 2011, in the COUNTY CRIMINAL COURT
AT LAW NO. 2 of HARRIS County, Texas, in Cause No. 1731798, was convicted of ASSAULT which was committed against a member of the
Defendant’s family.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                                          Foreman                             228th

                                                                          FOREMAN OF THE GRAND JURY
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                                                               INDICTMENT

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    CAUSE NO.
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   Case 4:17-cv-03621
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                      Document 89-8 Filed on 01/05/23 in TXSD Page 462 of 479
                                              CHARGE

        THE STATE OF TEXAS                                                                          DISTRICT COURT
                                                                                            IS COUNTY, TEXAS


        Defendant
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        TO THE HONORABLE JUDGE OF SAID COURT: (check one)


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        numbered cause respectfully petitions the Court to appoint counsel to represent him / her in this cause and would
        show the Court that he / she is financially unable to hire an attorney.


                                                                 Defendant




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        above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
        financially unable to hire an Attorney. The Court ORDERS that the attorney listed below is appointed to
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 463 of 479



THE STATE OF TEXAS                                          01214061                       D.A. LOG NUMBER:1788565
VS.                                                                                        CJIS TRACKING NO.:9167005020 A00.1   -
 PATRICE ANNETTE BREELER                        SPN:                                       BY: CS DA NO: 063842100
                                                DOB:                                       AGENCY:HPD
                                                DATE PREPARED: 9/20/2011                   O/RNO: 121890311
                                                                                           ARREST DATE: 09/19/2011
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NCIC CODE: 2300 79                             RELATED CASES:
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HARRIS COUNTY DISTRICT COURT NO:
FIRST SETTING DATE:
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FELONY CHARGE: THEFT THIRD OFFENDER
CAUSE NO:
                                                                   1320647
                                                                   228                             _
                                                                                             BAIL: $15
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                                                                                             PRIOR CAUSE NO:


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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
PATRICE ANNETTE BREELER, hereafter styled the Defendant, heretofore on or about SEPTEMBER 19, 2011, did then and there
unlawfully, commit an offense hereafter styled the primary offense in that he did appropriate by acquiring and otherwise exercising control over
property, namely, TWO PACKAGES OF DIAPERS, owned by MITCHELL HONIG, hereafter styled the Complainant, of the value of under one
thousand five hundred dollars, with the intent to deprive the Complainant of the property.
                                                                                     '




Before the commission of the primary offense, on MAY 17, 2001, in Cause Number 1057557, in the COUNTY CRIMINAL COURT AT LAW
NO. 7, of HARRIS County, Texas, the Defendant was convicted of the MISDEMEANOR OF THEFT.

Before the commission of the primary offense, on MAY 17, 2001, in Cause Number 1059176, in the COUNTY CRIMINAL COURT AT LAW
NO. 7, of HARRIS County, Texas, the Defendant was convicted of the MISDEMEANOR OF THEFT.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                              Foreman                           228th


                                                                            FOREMAN OF THE GRAND JURY

                                                               INDICTMENT
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Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 464 of 479
                                           CHARGE

    E STATE OF TEXAS                                                                    DISTRICT COURT
                                                                          OF HARRIS COUNTY, TEXAS


 Defendant

        THE HONORABLE JUDGE OF SAID COURT: (check ohe)


                                 TWO                          e    (name), the DEFENDANT in the above styled and
 numbered cause respectfully petitions the Court to appoin( counsel to represent him / her in this cause and would
 show the Court that he / she is financially unable to hire an jtttorney.


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              District Clerk                                  Deputy District Clerk
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 above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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 financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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           The Court further ORDERS the cause set for :
 on the             day of                                ., 20          at f .:00 a.m. at 1201 Franklin, Houston, Harris
 County, Texas.
          Signed this                    day of   a p n|!                   4«—
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               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 465 of 479


THE STATE OF TEXAS                                                                            DA. LOG NUMBER:1788788
VS.                                                         02329094                          CJIS TRACKING N0.9167007252 A001      -
ROY CHARLES FINDLEY                              SPN:                                         BY: TD DA NO: 002128142      Uj
                                                 DOB:                                         AGENCY:HSCO
                                                 DATE PREPARED: 9/20/2011                     O/R NO: HC110126053                       '
                                                                                              ARREST DATE: 09/20/2011
NCIC CODE: 2202 05                               RELATED CASES: J. FLANERY:FEL & K. FLANERY:FEL
FELONY CHARGE: BURGLARY OF A HABITATION
CAUSE NO:                                                                                      BAIL: $10000       m
HARRIS COUNTY DISTRICT COURT NO:                                                               PRIOR CAUSE NO:
                                                                   1320744
FIRST SETTING DATE:
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IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Comes now the undersigned Assistant District Attorney of Harris County, Texas, in behalf of the State of Texas, and presents in and to the District
Court of Harris County, Texas, that in Harris County, Texas, ROY CHARLES FINDLEY, hereafter styled the Defendant, heretofore on or about
SEPTEMBER 20, 2011, did then and there unlawfully, with intent to commit theft, enter a habitation owned by ANA LAURA SARABLA, a
person having a greater right to possession of the habitation than the Defendant and hereafter styled the Complainant, without the effective consent
of the Complainant, namely, without any consent of any kind.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                                                              £ Y * 3- 2- 0 O C*
                                        ASSISTANT DISTRICT ATTORNEY                                       BAR CARD NO.




                                                                                                                          -
                                        OF HARRIS COUNTY, TEXAS




                                                                                              *Bss
                                                                 INFORMATION

                                                                                                                              0002857
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 466 of 479
          CAUSE NO.

          THE STATE 6 F TEXAS
                                 13ao v&o          _CHARGE

                                                                                                              RICT COURT
          VS.                                                                        .   OF HARRIS COUNTY, TEXAS


          Defendant




                                                ^
          TO THE HONORABLE JUD                         OF SAID COURT: (check one)



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         Jpilfered                                                                              ), the DEFENDANT in the above styled and


         ^            cause respectfully petitions the Court to a
         1 snow the Court that he / she is financially unable to )
                                                                          int ci             1 to represent him / her in this cause and would




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                                                                          (name), a WITNESS in the above styled and
          numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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          justice and would show the Court that he / she is financially unable to hire an attorney.




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                                                                        Deputy District Clerk
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             OCTO * *                                                   Harris County, Texas




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                                                   RDER APPOINTING COUNSEL
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 By
                    On this, the                day of   OCT 0 4 2011                         , 20.        the Court determined that the
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          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
          financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
                                                           eo




          represent the defendant / witness named above in this cause.
                                                       ffic
                                               yO




          Attorney
                                           op




          Address
                                          lC




          City                             State              Zip                    E- Mail Address
                                     icia




          Bar Card/SPN Number                                                                         R P. SKIP CORNELIUS
                              off




                                                                                                          SBN 04831500
                                                                                                        2028 Buffalo Terrace
                      Un




          Phone Number                                                                                 Houston, Texas 77019
                                                                                                      A Phone 713 237 8547




                                                                                                           ^
                                                                                                             7 528 0153
         Fax Number                                                                           /f /v              /
                                     further             the cause. set for :    i       /
         on the
         County, Texas.
                                 day of                               , 20
                                                                             J it        9:00 a.m. at 1201 Franklin, Houston, Harris


                    Signed this                day of       OCT 0 4 2011                     , 20


                                                                       Judge Presidinj




                                                                                                                                  0002858
                                                              DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 467 of 479



THE STATE OF TEXAS                                        02581013                        D.A. LOG NUMBER:1788923
VS .                                                                                      CHS TRACKING N0.:9167008704-A001
 ADAM WADE BUCHANAN                            SPN:                                       BY: EV DA NO: 065021651
                                               DOB                                        AGENCY:HCCO 4
                                               DATE PREPARED: 9/21/2011                   O/RNO: HC110124277
                                                                                          ARREST DATE: 09/21/2011

NCIC CODE: 5205 12 F3                          RELATED CASES:

FELONY CHARGE: PROHIBITED WEAPONS
CAUSE NO:                                                         1320820                   BAIL: $5,000



                                                                                                           —
HARRIS COUNTY DISTRICT COURT NO:                                  339                       PRIOR CAUSE NO:
FIRST SETTING DATE:                                                                                •
                                                                                                   '   >



IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Hanis County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
ADAM WADE BUCHANAN, hereafter styled the Defendant, heretofore on or about SEPTEMBER 20, 2011, did then and there unlawfully,
intentionally and knowingly POSSESS AN EXPLOSIVE WEAPON.




                                                                                      F Chris
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                                                                                         Blofrlsf Clerk
                                                                                         SEP 3 9 2011
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                                                                                           irrts County Toxau

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                                                                                                                     185th
                                                                                 Foreman

AGAINST THE PEACE AND DIGNITY OF THE STATE                   .

                                                                          FOREMAN OF THE GRAND JURY

                                                                 INDICTMENT
                                                                                                                         0002859
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 468 of 479
          CAUSE NO.                                                               CHARGE

          THE STATE OF TEXAS                                                                                    OURT
          VS  .                                                                   <5F HARRIS COUNTY, TEXAS

          Defendant

          TO THE HO                                           AID COURT, (check one)
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                                                                               e), the DEFENDANT in the above styled and
              bered cause respectfully petitions the Court to appointaounsel to represent im / her in this cause and would
          show the Court that he / she is financially unable to hiio mattpTftp .
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                                                                                 (name), a WITNESS in the above styled and
          numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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          justice and would show the Court that he / she is financially unable to hire an attorney.




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                        Sworn to and subscribed before me on this, the                    day of                             20.
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        F Chris
          I LDaniel
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                                                                       Deputy District Clerk
         District Clerk                                                Harris County, Texas
                                                                      lyn




         OCT 0 3 2011
                                                ORDER APPOINTING COUNSEL
Time:
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         Hams County, Texas
By .
                        Oil tills, tlie   -       day of .   Off o 3 an;                ., 20.       the Court determined that
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               Deputy


          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
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          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
          represent the defendant / witness named above in this cause.
                                                    ffic
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          Attorney
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          Address
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          City                                State             Zip                 -
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          Bar Card/SPN Number                                                               R.P. SKIP CORNELIUS
                                                                                                   SBN 04831500
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                                                                                                  2028 Buffalo Terrace
          Phone Number                                                                           Houston, Texas 77019
                                                                                                  Phone 713237 8547
                                                                                                   Fax 713 528 0153
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          Fax Number                 •
                        T« flMnfurther QffflUERS the cause set for;
          on the                                                            %- 3?                 at 120lAfankIin, Houston, Harris
          County, Texas        .
                        Signed this              day of

                                                           OCT 03 2011
                                                                       Judge


                                                                                                            RECOUOER'S E«
                                                                                                                          ^0002860
                                                                DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 469 of 479



THE STATTOF TEXAS                                         01710391                       D.A LOG NUMBER.1788956
VS.                                                                                      CJIS TRACKING NO.:
KENNETH GRADNIGO                               SPN:                                      BY: EV DA NO: 002156159
                                               DOB                                       AGENCY:HCSO
                                               DATE PREPARED: 9/21/2011                  O/RNO: 11121549
                                                                                         ARREST DATE: TO BE

NCIC CODE: 1204 04                            RELATED CASES:
FELONY CHARGE: Aggravated Robbery - Deadly Weapon
                                                                                                                    —
                                                                                                                  ssA

                                                                                           BAIL: $30,000
HARRIS COUNTY DISTRICT COURT NO:                                 1320838                   PRIOR CAUSE NO:
FIRST SETTING DATE:                                              339                             a ' 1

                                                                                               &
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                            #
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
KENNETH GRADNIGO , hereafter styled the Defendant, heretofore on or about SEPTEMBER 11, 2011, did then and there unlawfully, while
in the course of committing theft of property owned by WALTER TRAPPIO, and with intent to obtain and maintain control of the property,
INTENTIONALLY AND KNOWINGLY THREATEN AND PLACE WALTER TRAPPIO IN FEAR OF IMMINENT BODILY INJURY
AND DEATH, and the Defendant did then and there use and exhibit a deadly weapon, namely, A FIREARM.

Before the commission of the offense alleged above, on JULY.2, 2004, in Cause Number 992771 in the 248TH District Court of HARRIS County,
Texas, the Defendant was convicted of the felony offense of ROBBERY.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.
                                                                                         Foreman                            22Kh
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                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                        0002861
                 CAUSE NO.            132101
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 470 of 479
                                                          CHARGE

                  THE STATElOFTEXAS'
                                    132 iHL            1

                                                                                          OF HARRIS COUNTY, TEXAS


                  Defendant

                  TO THE HONORABLE JUDGE OF SAID COURT: (check one )


                    Csyi jAttj/lW jf }\C                              ^          (name), the DEFENDANT in the above styled and
                  numbeJeacaurerespectfullypetitions the Court to appOlhtxounsel to represent him / her in this cause and would
                    ow tne/Court that he / she is financially unable toiure nqttorfley. ,
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                  numbered cause respectfully petitionstRS'GaujI to appoipfcectTnSel to represent him / her in the interests of
                  justice and would show the Court that he / shejjSwHfwkllxunable to hire an attorney.




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                               Sworn to and subscribed before me on this, the                   day of                           , 20
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            Chris Daniel
        District Clerk                                                         Deputy District Clerk
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        JUN 11 2012                                                            Harris County , Texas


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Time:
            Harris County , Texas                 - ORDER APPOINTING COUNSEL
By
                                                              JUN 11 2012
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                  Deputy                      "
        \                      On this, the            day of _                                 20     -
                                                                                                     ) 2 rthe Court determined that the
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                  above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                  financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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                  represent the defendant / witness named above in this cause.
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                  Attorney

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                               The Court further ORDERS the cause set for :
                 on th„       3       day of                                                               1201 Franklin, Houston, Harris
                 County, Texas.
                              Signed this



                                                                               Judge Preiding
                                                                                                         JUN 11 2012


                                                                                                                                 0002862
                                                                  DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 471 of 479



THE STATE OF TEXAS                                       02465659                       D A LOG NUMBER:1789683
VS.                                                                                     CHS TRACKING N0.:9167016529 A001    -
JUSTIN MCGEE                                   SPN:                                     BY: EG DA NO: 050788045
                                               DOB;                                      AGENCY:HPD
                                               DATE PREPARED: 9/23/2011                  O/RNO: 103113611N
                                                                                         ARREST DATE: 09 23 2011    - -
NCIC CODE: 1204 04                                                               -
                                              RELATED CASES: SAME DEF FEL / BARTHOLOMEW FEL                        -
FELONY CHARGE: Aggravated Robbery - Deadly Weapon                                                                'P/£
                                                                                                                    S'
CAUSE NO:                                                                                 BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                  1321171                                 PRIOR CAUSE NO:
FIRST SETTING DATE:                               263                                                  -




IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JUSTIN MCGEE, hereafter styled the Defendant, heretofore on or about AUGUST 8, 2011, did then and there unlawfully, while in the course of
committing theft of property owned by CAMERON DANSBY, and with intent to obtain and maintain control of the property, intentionally and
knowingly threaten and place CAMERON DANSBY in fear of imminent bodily injury and death, and the Defendant did then and there use and
exhibit a deadly weapon, namely, A FIREARM.




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                                                                                              Chris
                                                                                              District Clerk
                                                                                             NOV 1 7 2011
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                                                                                              Hirtit County; t
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AGAINST THE PEACE AND DIGNITY OF THE STATE.

                                                                            y/ 2m
                                                                         FOREMAN OF THE GRAND JURY

                                                              INDICTMENT
                                                                                                                          0002863
                 CAUSE NO.            132101
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 472 of 479
                                                          CHARGE

                  THE STATElOFTEXAS'
                                    132 iHL            1

                                                                                          OF HARRIS COUNTY, TEXAS


                  Defendant

                  TO THE HONORABLE JUDGE OF SAID COURT: (check one )


                    Csyi jAttj/lW jf }\C                              ^          (name), the DEFENDANT in the above styled and
                  numbeJeacaurerespectfullypetitions the Court to appOlhtxounsel to represent him / her in this cause and would
                    ow tne/Court that he / she is financially unable toiure nqttorfley. ,
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                  numbered cause respectfully petitionstRS'GaujI to appoipfcectTnSel to represent him / her in the interests of
                  justice and would show the Court that he / shejjSwHfwkllxunable to hire an attorney.




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            Chris Daniel
        District Clerk                                                         Deputy District Clerk
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        JUN 11 2012                                                            Harris County , Texas


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Time:
            Harris County , Texas                 - ORDER APPOINTING COUNSEL
By
                                                              JUN 11 2012
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                  Deputy                      "
        \                      On this, the            day of _                                 20     -
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                  above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                  financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
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                  represent the defendant / witness named above in this cause.
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                  Attorney

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                 City      ^                      State                 Zip              E-Mail Address
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                               The Court further ORDERS the cause set for :
                 on th„       3       day of                                                               1201 Franklin, Houston, Harris
                 County, Texas.
                              Signed this



                                                                               Judge Preiding
                                                                                                         JUN 11 2012


                                                                                                                                 0002864
                                                                  DISTRICT CLERK
               Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 473 of 479



THE STATE OF TEXAS                                         02465659                        D.A. LOG NUMBER:1789683
vs.                                                                                        CJIS TRACKING N0.:9167016529 A002    -
JUSTIN MCGEE                                    SPN:                                       BY: EG DA NO: 050788045
                                                DOB:                                       AGENCY:HPD
                                                    DATE PREPARED: 9/23/2011               O/RNO: 103113611N
                                                                                                                 - -
                                                                                           ARREST DATE: 09 23 2011
NCIC CODE: 1007 10                                                                -
                                                RELATED CASES: SAME DEF FEL / BARTHOLOMEW-FEL
FELONY CHARGE: AGGRAVATED KIDNAPPING
CAUSE NO:                                                                                    BAIL: $NO BOND
HARRIS COUNTY DISTRICT COURT NO:                                  1321172                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                               m.
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:
                                                                                                 J;
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
JUSTIN MCGEE, hereafter styled the Defendant, heretofore on or about AUGUST 8, 2011, did then and there unlawfully, intentionally and
knowingly abduct CAMERON DANSBY, hereafter styled the Complainant, without his consent, with intent to prevent his liberation by using and
threatening to use deadly force namely, a FIREARM, on the Complainant, and with intent to terrorize the Complainant and inflict bodily injury on
the Complainant.




                                                                                         F Chris
                                                                                           I LDaniel
                                                                                                 ED
                                                                                             District Clerk

                                                                                             NOV 17 2011
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AGAINST THE PEACE AND DIGNITY OF THE STATE.


               RECORDER’S MEMORANDUM
               This instrument is of poor quality                             iRJBMAN OF THE GRAND JURY
                     at the time of imaging
                                                               INDICTMENT
                                                                                                                           0002865
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            Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 474 of 479
             CAUSE NO.

              THE STATE Of TEXAS
              VS.                                                                       OF HARRIS COUNTY, TEXAS
                          A                                             X.
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              TO THE HONORABLE JUDGE OF SAH) COURT: (check one)
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                                                     -/f/-//UU    l4/ Q*                (name), the DEFENDANT in the above styled and
                          cause respectfully petiGdfis the Court to appoint counsel to represent him / her in this cause and would
              show the Court that he / she is financially unable to hire an attorney.




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                                                                              ( name), a WITNESS in the above styled and
              numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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              justice and would show the Court that he / she is financially unable to hire an attorney.




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                        Sworn to and subscribed before me on this, the              .    .      day of .
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        F Chris
          I LDaniel
                ED                                                          Deputy District Clerk
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                                                                            Harris County, Texas
         District Clerk
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         OCT 07 2011                                 ORDER APPOINTING COUNSEL
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time:               .
          Harris Coumy T«*0n      thiSj                day of                                   20   //   . the Court determined that the
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             aBWV named defendant / witness has executed an affidavit stating that he / she is without counsel and is
             financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
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             repi                         indant / witness named above in this cause.
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             on the           /      day of                                 20               9:00 am. at                    Houston, Harris
             County, Texas.
                                                                   OCI o 7 toil
                        Signed this                  day of



                                                                            Judge




                                                                                                             at the time of imaging
                                                                                                                                      0002866
                                                                  DISTRICT CLERK
              Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD * Page 475 of 479




THE STATE OF TEXAS                                        01644967                       D.A. LOG NUMBER:1787897
VS.                                                                                      CJIS TRACKING NO.:9166997941 A001   -
KETR1CK DEMONTA WHITE                          SPN:                                      BY: MB DA NO: 001901698
                                               DOBl                                      AGENCY:HPD
                                               DATE PREPARED: 9/29/2011                  O/RNO: 120717311
                                                                                                            - -
                                                                                         ARREST DATE: 9 17 2011
NCIC CODE: 2202 OS                            RELATED CASES:                                                 '
                                                                                                                 '


FELONY CHARGE: BURGLARY OF A HABITATION
CAUSE NO:
                                                                 1321806                  BAIL: $20,000.00
                                                                                                          #
HARRIS COUNTY DISTRICT COURT NO:                                                          PRIOR CAUSE NO:
FIRST SETTING DATE:                                              339
                                                                                                      *
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
                                                                                           -
KETRICK DEMONTA WHITE, hereafter styled the Defendant, heretofore on or about 9-17 2011, did then and there unlawfully, with intent to
commit theft, enter a habitation owned by RANDY RASHON GRAY, a person having a greater right to possession of the habitation than the
Defendant and hereafter styled the Complainant, without the effective consent of the Complainant, namely, without any consent of any kind.
                                                                               o
Before the commission of the offense alleged above, on MAY 29, 1998, in Cause Number 774820 in the 177TH DISTRICT COURT District
Court of HARRIS County, Texas, the Defendant was convicted of the felony offense of ROBBERY.
                                                                       A   "




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                                                            OA




                                                                                   Asst. Foreman                       339th
AGAINST THE PEACE AND DIGNITY OF THE STATE.



                                                                           FOREMAN OF THE GRAND JURY

                                                             INDICTMENT
                                                                                                                        0002867
           CAUSE NO.            iM&f
         Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 476 of 479
                                                                               CHARG1

           THE STATE OF TEXAS                                            31                        DISTRICT COURT
                                                                               OF HARRIS COUNTY, TEXAS
                                    'C
           Defendant

           TO THE HONORABLE JUDGE OF SAID COURT: (check one)
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                           * / /                                           (name) the DEFENDANT in the above styled and

          shdw thqfcCourt that he / she is financially unable to hire tTattortyey.
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                     ause respectfully petitions the Court to appoint counsel to represent him Aheyathis cause and would
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                                                                          ( name), a WITNESS in the above styled and
          numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




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          justice and would show the Court that he / she is financially unable to hire an attorney.




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                         Sworn to and subscribed before me on this, the                 day of .
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        F Chris
          I LDaniel
                ED
         District Clerk
                                                                     Bu



                                                                  Deputy District Clerk
         OCT 0 3 2011                                             Harris County, Texas
                                                                lyn




Time:
                      .
          Harris County TexaB               ORDER APPOINTING COUNSEL
                                                             ari




By
                Deputy

                      On this, the           day of
                                                          OCT 03 2(1)1                  20       , the Court determined that the
                                                         fM




          above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                                                      eo




          financially unable to hire an attorney. The Court ORDERS that the attorney listed below is appointed to
          represent the defendant / witness named above in this cause.
                                                ffic
                                             yO




          Attorney
                                          op




          Address
                                      lC




          City                           State           Zip                  E-Mail Address
                                  icia
                                off




          Bar Card/SPN Number                                                                R.P. SKIP CORNELIUS
                                                                                                 SBN 04831500
                           Un




                                                                                                  2028 Buffalo Terrace
          Phone Number                                                                           Houston, Texas 77019
                                                                                                   Phone 713 237 8547
                                                                                             |      Fax 713 528 0153
          Fax Number


          on the
                                                               set for
                                                                 , 20   //
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                                                                              at 9:00 a.m. at 1A)1 Franklin, Houston, Harris
          County, Tdxas.                                        ocr 03 2011                        * /1
                      Signed this           day of                                  , 20.
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                                                                  Judge Pi              (g




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                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 477 of 479
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THE STATE? OF TEXAS                                       01848986                        D.A. LOG NUMBER:!791599
VS.                                                                                       CJIS TRACKING N0.:9 l 67036309-A 001
KYLE YAMCEY MCWHORTER                             SPN :                                   BY: CM DA NO: 070917650
                                                  DOB:                                    AGENCY:H PD
                                                  DATE PREPARED: 9/30/2011                O/ R NO: 126266911Q
                                                                                          ARREST D JE: 9 28 11- -
NCIC CODE: 3802 57                                RELATED CASES:
                                                                                                         ^
FELONY CHARGE: INJURY TO ELDERLY INDIVIDUAL
CAUSE NO:                                                                                   BAIL:
HARRIS COUNTY DISTRICT COURT NO:           1321919                                          PRIOR CAUSE NO:
FIRST SETTING DATE:                        339                                                    o,o*
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                                      9

                                                                                             x
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texas,
KYLE YAMCEY MCWHORTER, hereafter styled the Defendant, heretofore on or about SEPTEMBER 28, 2011, did then and there
unlawfully, intentionally and knowingly cause bodily injury to BETTE MARTIN, hereinafter styled the Complainant, an individual who was at
         -
least sixty five years of age, by CHOKING THE COMPLAINANT WITH HIS HAND.




                                                                                                             F Chris
                                                                                                               I LDaniel
                                                                                                                     ED
                                                                                                               District Clark
                                                                                    OCT 1 3 2011              OCT 1 3 hni
                                                                                                 Time:                          )
                                                                                                               Harris County. T«ug




AGAINST THE PEACE AND DIGNITY OF THE STATE.                                   Foreman


             RECORDER’S MEMORANDUM
             This instrument is of poor quality                           FOREMAN OF THE GRAND JURY
                   at the time of imaging
                                                               INDICTMENT
                                                                                                                            0002869
        Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 478 of 479
         CAUSE NO.                                                                       CHARGE

         THE STA3PE OF TEXAS                                                                            •ISTRICT COURT
         VS.                                                                             OF HARRIS COUNTY, TEXAS


         Defendant

         TO THE HONORABLE JUDGE OF SAID COURT: (check one)
                                                                         ft
                                                                           ( name), the DEFENDANT in theahoyestyled and

        £       fiered cause respectfully pentions thwCourt to appoint counsel to represent him / her in thyfcause ancfwOttk
                                                   financial
              owv the Court that he / she is fmancia unable to hire an att                                                              ^
                                                                             Defendant




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                                                                                                       tC
                                                                         ( name), a WITNESS in the above styled and
         numbered cause respectfully petitions the Court to appoint counsel to represent him / her in the interests of




                                                                                                   ric
         justice and would show the Court that he / she is financially unable to hire an attorney.




                                                                                                  ist
                                                                             Witness
                                                                                            D
                                                                                          ss
                       Sworn to and subscribed before me on this, the                         day of                          J   20.
                                                                                   rge


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         SKSrtSSl
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                                                                             Deputy District Clerk
                                                                             Harris County , Texas
          OCT 0 3
                                                                          lyn




Time:
                                                   ORDER APPOINTING COUNSEL
              Harris County. le*as
                                                                     ari




By                   Deputy                                           OCT 03 2011
                      On this, the                      day of                              , 20       , the Court deter    That the
                                                                  fM




         above named defendant / witness has executed an affidavit stating that he / she is without counsel and is
                                                                 eo




         financially unable to hire an attorney . The Court ORDERS that the attorney listed below is appointed to
         reoresent the defendant / witness named above inohis cause.
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          TTJNumber
        7Phone 3                                                                                     2028 Buffalo Terrace
                                                                                                    Houston , Texas 77019
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         7 I i l 3 / I &I 4
         Fax Number
                              -                                  mu                                  Phone 713 237 8547
                                                                                                      Fax 713 528 0153


                      u               'tiurther.
                                                                               u.
                                                                   cause set for : i ,
         on the               /      lay of                                 , 20       at 9:00 a.m. at 12QI/Franklin, Houston, Harris
         County, Texas.                                                OCT 0 3 2011
                      Signed this                  day of                                    21


                                                                             Judge Presiding




                                                                                                                             0002870
                                                                     DISTRICT CLERK
                Case 4:17-cv-03621 Document 89-8 Filed on 01/05/23 in TXSD Page 479 of 479




THE STATE OF TEXAS                                           02445210                        D.A. LOG NUMBER:1791804
VS.                                                                                          CJIS TRACKING NO.:9 l 67038506 A001   -
ROBERT EDWARD BVRP                               SPN :                                       BY: TM DA NO: 002197878
                                                 DOB:M—                                      AGENCY:HPD
                                                 DATE PREPARED: 10/1/2011                    O/ R NO: 1266749110
                                                                                             ARREST DATE: 9 30 11 - -
NCIC CODE: 2300 79         3                     RELATED CASES; CO-DEF: R. STERGIOU-2 FEL * l oTK
FELONY CHARGE: THEFT - THIRD OFFENDER
CAUSE NO:
                                                                                                                 n
                                                                                               BAIL: $15,000
HARRIS COUNTY DISTRICT COURT NO:                                    1322034                    PRIOR CAUSE NO:
FIRST SETTING DATE:                                                 339

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:                                               .
                                                                                              S
The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Terf &s, that in Harris County, Texas,
ROBERT EDWARD BYRD, hereafter styled the Defendant, heretofore on or about SEPTEMBER 30, 2011 , did then and there unlawfully,
commit an offense hereafter styled the primary offense in that he did appropriate by acquiring and otherwise exercising control over property,
namely, A GPS TRACKER, owned by MCKINLEY CHITTENDEN, hereafter styled the Complainant, of the value of under one thousand five
hundred dollars, with the intent to deprive the Complainant of the property.

Before die Commission of the primary offense, on JUNE 23, 2010, in Cause Number 1267797, in the 262nd District Court , of Harris, County,
Texas, the Defendant was convicted of the Felony of Theft.

Before the commission of the primary offense, on OCTOBER 5, 2009, in Cause Number 1632497, in the Cdunty Criminal Court at Law No. 14,
of Harris County, Texas, the Defendant was convicted of the Misdemeanor of Theft.




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AGAINST THE PEACE AND DIGNITY OF THE STATE.                                                                               337th
                                                                                    Foreman

                                                                            FOREMAN OF THE GRAND JURY6'

                                                                 INDICTMENT                            RECORDER ’S MEMORANDUM
                                                                                                                               0002871
                                                                                                       This instrument is of poor quality
                                                                                                             at the time of imaging
